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                         UNITED STATES COURT FOR THE
                          WESTERN DISTRICT OF TEXAS


THE UNITED STATES OF AMERICA,

THE STATE OF ALASKA,

THE STATE OF HAWAII, AND

THE NORTHWEST CLEAN AIR AGENCY

     Plaintiffs,
v.

TESORO REFINING & MARKETING                 Civ. No. 5:16-cv-No. 00722
COMPANY LLC,

TESORO ALASKA COMPANY LLC,

TESORO LOGISTICS L.P.,

AND

PAR HAWAII REFINING, LLC,


     Defendants.


                                 CONSENT DECREE
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           WHEREAS, Plaintiff the United States of America (“United States”), by the authority
of the Attorney General of the United States and through its undersigned counsel, acting at the
request and on behalf of the United States Environmental Protection Agency (“EPA”), has
simultaneously filed a complaint under the Clean Air Act (“CAA”), 42 U.S.C. § 7401 et seq. (the
“Complaint”), and lodged this Consent Decree against defendants Tesoro Alaska Company LLC,
Tesoro Logistics L.P., Tesoro Refining & Marketing Company LLC, and Par Hawaii Refining,
LLC (“Settling Defendants”) for alleged environmental violations at their refineries located in
Anacortes, Washington; Kapolei, Hawaii; Kenai, Alaska; Mandan, North Dakota; Martinez,
California; and Salt Lake City, Utah (the “Covered Refineries”);

           WHEREAS, the State of Alaska, the State of Hawaii, and the Northwest Clean Air
Agency (“State Co-Plaintiffs”) have joined in this matter alleging violations of their applicable
state implementation plan (“SIP”) provisions and/or other laws, rules, regulations, and permits
incorporating and implementing CAA requirements;

            WHEREAS, the United States and Tesoro Petroleum Corporation are among the
parties to a consent decree entered on August 29, 2001, in the matter of United States of
America, et al. v. BP Exploration & Oil Co. et al., Civil Action No. 96-0095, which covers the
Mandan, North Dakota, and Salt Lake City, Utah, refineries owned and operated by Defendant
Tesoro Refining & Marketing Company LLC;

            WHEREAS, the United States and Tesoro Refining & Marketing Company, Inc.
(predecessor to Defendant Tesoro Refining & Marketing Company LLC) are among the parties
to a consent decree entered on November 23, 2005, in the matter of United States of America, et
al. v. Valero Refining Co. et al., and Tesoro Refining & Marketing Company, Inc., Civil Action
No. SA05CA0569-RF, which covers the Martinez, California, refinery owned and operated by
Defendant Tesoro Refining & Marketing Company LLC;

            WHEREAS, the Complaint alleges that Settling Defendants violated and/or continue
to violate the Prevention of Significant Deterioration (“PSD”) provisions in Part C of Subchapter
I of the CAA, 42 U.S.C. §§ 7470-7492; the Nonattainment New Source Review (“NNSR”)
provisions in Part D of Subchapter I of the CAA, 42 U.S.C. §§ 7501-7515; the regulations
implementing those CAA provisions; and federally-enforceable SIPs of Alaska, California,
Hawaii, North Dakota, Utah, and Washington;

          WHEREAS, the Complaint alleges that Settling Defendants made major modifications
to the Covered Refineries and operated such modifications without obtaining and/or complying
with the CAA’s PSD and NNSR requirements, regulations promulgated thereunder, and/or SIP
requirements and regulations, regarding installing and operating pollution control technology,
emission limits, monitoring, recordkeeping, and reporting;

            WHEREAS, the Complaint alleges that Settling Defendants violated and/or continue
to violate the flaring requirements promulgated pursuant to Sections 111 and 112 of the CAA,
42 U.S.C. §§ 7411 and 7412, and found at 40 C.F.R. Part 60; Subparts A, GGG, GGGa, and J;
40 C.F.R. Part 61, Subparts A and FF; and 40 C.F.R. Part 63, Subparts A, CC, and UUU;



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            WHEREAS, the Complaint alleges that Settling Defendants violated and/or continue
to violate the Leak Detection and Repair (“LDAR”) requirements promulgated pursuant to
Sections 111 and 112 of the CAA, 42 U.S.C. §§ 7411 and 7412, and found at 40 C.F.R. Part 60,
Subpart GGG; 40 C.F.R. Part 61, Subpart FF; and 40 C.F.R. Part 63, Subpart CC;

           WHEREAS, the Complaint alleges that Tesoro Refining & Marketing Company LLC
violated and/or continues to violate at its Anacortes, Washington, refinery the Standards of
Performance for Petroleum Refineries, 40 C.F.R. Part 60, Subparts A and J and the National
Emission Standard for Benzene Waste Operations, 40 C.F.R. Part 61, Subpart FF
(“Subpart FF”);

          WHEREAS, the Complaint alleges that Par Hawaii Refining, LLC violated and/or
continues to violate at its refinery in Kapolei, Hawaii, the Standards of Performance for
Petroleum Refineries, 40 C.F.R. Part 60, Subpart J; the Standards of Performance for Volatile
Organic Liquid Storage Vessels, 40 C.F.R. Part 60, Subpart Kb; the General Provisions for these
Standards of Performance, 40 C.F.R. Part 60, Subpart A; and the National Emission Standards
for Hazardous Air Pollutants from Petroleum Refineries, 40 C.F.R. Part 63, Subpart CC;

          WHEREAS, the Complaint alleges that Tesoro Alaska Company LLC, violated and/or
continues to violate at its Kenai, Alaska refinery the Standards of Performance for Petroleum
Refineries, 40 C.F.R. Part 60, Subpart J, the Standards of Performance for Stationary Gas
Turbines, 40 C.F.R. Part 60, Subpart GG, the Standards of Performance for VOC Emissions
from Petroleum Refinery Wastewater Systems, 40 C.F.R. Part 60, Subpart QQQ, the General
Provisions for these Standards of Performance, 40 C.F.R. Part 60, Subpart A, and the National
Emission Standards for Hazardous Air Pollutants from Petroleum Refineries, 40 C.F.R. Part 63,
and UUU;

           WHEREAS, the Complaint alleges that Tesoro Refining & Marketing Company LLC
violated and/or continues to violate at its refinery in Martinez, California, the Standards of
Performance for Sulfuric Acid Plants, 40 C.F.R. Part 60, Subpart H and the General Provisions
for these Standards of Performance, 40 C.F.R. Part 60, Subpart A;

           WHEREAS, the Complaint alleges that Settling Defendants violated the requirements
of Title V of the CAA, 42 U.S.C. §§ 7661a(a), 7661b(c), and 7661c(a); the regulations
promulgated thereunder, 40 C.F.R. §§ 70.1(b), 70.5(a) and (b), 70.6(a) and (c), and 70.7(b); and
state regulations and operating permits issued under Title V of the CAA;

           WHEREAS, EPA has issued several Notices of Violation and Findings of Violations
(collectively “NOVs”) to Settling Defendants relating to many of the claims asserted in the
Complaint;

         WHEREAS, Settling Defendants have waived any applicable federal or state
requirements of statutory notice of the alleged violations;

           WHEREAS, Settling Defendants have denied and continue to deny the violations
alleged in the Complaint and NOVs;


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         WHEREAS, discussions between the United States, State Co-Plainitffs, and Settling
Defendants (collectively, the “Parties”) have resulted in the settlement embodied in this Consent
Decree;

           WHEREAS, the objectives of the Parties in entering into this Consent Decree are to
further the purposes of the CAA as described in CAA Section 101, 42 U.S.C. § 7401, to protect
public health, public welfare, and the environment, to have Settling Defendants perform the
actions described below, and to ensure that Settling Defendants achieve and maintain compliance
with the CAA, applicable state law, and the terms and conditions of applicable CAA permits;

           WHEREAS, by entering into this Consent Decree, Settling Defendants are committed
to proactively resolving environmental concerns related to operations at their refineries;

            WHEREAS, the United States, State Co-Plaintiffs, and Settling Defendants anticipate
that the installation and operation of pollution control technology and other measures required
pursuant to this Consent Decree will achieve significant reductions of emissions from the
Covered Refineries, thereby significantly improving air quality;

           WHEREAS, notwithstanding the foregoing reservations, the Parties agree that:
(a) settlement of the matters set forth in the Complaint is in the best interests of the Parties and
the public; and (b) entry of this Consent Decree without litigation is the most appropriate means
of resolving this matter;

            WHEREAS, the Parties recognize, and the Court by entering this Consent Decree
finds, that this Consent Decree has been negotiated at arms-length and in good faith and that this
Consent Decree is fair, reasonable, and in the public interest;

          WHEREAS, Settling Defendants consent to the simultaneous filing of the Complaint
and lodging of this Consent Decree without any adjudication of any issue of fact or law;

           NOW THEREFORE, with respect to the matters set forth in the Complaint, and in
Section XVII of this Consent Decree (Effect of Settlement/Reservation of Rights), and before the
taking of any testimony, without adjudication of any issue of fact or law, and upon the consent
and agreement of the Parties to this Consent Decree, it is hereby ORDERED, ADJUDGED, and
DECREED as follows:

                             I.    JURISDICTION AND VENUE

     1. This Court has jurisdiction over the subject matter of this action and over the Parties
pursuant to 28 U.S.C. §§ 1331, 1345, and 1355. In addition, this Court has jurisdiction over the
subject matter of this action pursuant to Sections 113(b) and 167 of the CAA, 42 U.S.C.
§§ 7413(b) and 7477. For purposes of this Consent Decree, Settling Defendants admit that the
Complaint states a claim upon which relief may be granted for injunctive relief and civil
penalties against Settling Defendants under the Clean Air Act and applicable state law.
Authority to bring this suit is vested in the United States Department of Justice by 28 U.S.C.
§§ 516 and 519 and Section 305 of the CAA, 42 U.S.C. § 7605, and in State Co-Plaintiffs by


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Section 304 of the CAA, 42 U.S.C. § 7604, Alaska Statute 46.23.020, Hawaii Revised Statutes
Section 342B-44, and RCW 70.94.081 and 70.94.141.

     2. Venue is proper in the Western District of Texas pursuant to Section 113(b) of the
CAA, 42 U.S.C. § 7413(b), and 28 U.S.C. §§ 1391(b) and (c), and 1395(a). Settling Defendants
consent to the personal jurisdiction of this Court and waive any objections to venue in this
District.

     3. Notice of the alleged violations and notice of the commencement of this action has
been given to the States of Alaska, California, Hawaii, North Dakota, Utah, and Washington and
Applicable Permitting Authorities in accordance with Sections 113(a)(1) and (b) of the CAA,
42 U.S.C. § 7413(a)(1) and (b).

                    II.    APPLICABILITY AND BINDING EFFECT

     4. The provisions of Sections I-XXIV of this Consent Decree shall apply to all Settling
Defendants as defined herein and shall be binding upon the United States, State Co-Plaintiffs,
and Settling Defendants, their agents, successors, and assigns.

      5. Except as provided in Section XIV (Force Majeure), each Settling Defendant is
responsible for ensuring that performance of the requirements set forth in Sections V, VI, IX, X,
and XIII of this Consent Decree is undertaken at each Covered Refinery for which it is
responsible for compliance pursuant to Paragraph 6 below in accordance with the deadlines and
requirements contained in this Consent Decree and the appendices hereto. Settling Defendants
shall provide a copy of the applicable provisions of this Consent Decree to each consulting or
contracting firm that is retained to perform work required under this Consent Decree upon the
later of execution of any contract relating to such work or within sixty (60) Days of the Date of
Entry. Copies of the relevant portions of this Consent Decree do not need to be supplied to
firms, including subcontractors, who are retained solely to supply materials or equipment to
satisfy the requirements of this Consent Decree.

      6. Settling Defendants Responsible for Compliance. The following table identifies the
Settling Defendant responsible for compliance at each Covered Refinery.


       Refinery                                   Settling Defendant Responsible for
                                                  Compliance with this Consent Decree
       Anacortes                                  Tesoro Refining & Marketing Company LLC
       Kapolei                                    Par Hawaii Refining, LLC
       Kenai                                      Tesoro Alaska Company LLC
       Mandan                                     Tesoro Refining & Marketing Company LLC
       Martinez                                   Tesoro Refining & Marketing Company LLC
       Salt Lake City                             Tesoro Refining & Marketing Company LLC




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In addition, during the term of this Consent Decree, Tesoro Logistics L.P. shall be responsible
for compliance with respect to all assets, facilities, and/or equipment that it owns or operates at
one or more of the Covered Refineries. To the extent that such assets, facilities, and/or
equipment is owned or operated by another Settling Defendant, such Settling Defendant shall
also be responsible for compliance.

      7. Effective from the Date of Entry of this Consent Decree until Termination pursuant to
Section XXI below, Settling Defendants agree that the Covered Refineries are subject to this
Consent Decree. Effective from the Date of Entry of this Consent Decree, Settling Defendants
shall give written notice of this Consent Decree to any successors in interest to the owners or
operators of any Covered Refinery prior to the transfer of ownership or operation of any portion
of a Covered Refinery, and shall provide a copy of this Consent Decree to any such successor in
interest unless the successor in interest is also a Settling Defendant under this Consent Decree.
Settling Defendants shall notify the United States and the Applicable State Co-Plaintiff of any
such successor in interest at least thirty (30) Days prior to any such transfer.

      8. Prior to Termination of this Consent Decree pursuant to Section XXI below, Settling
Defendants shall condition any transfer, in whole or in part, of ownership or operation of any
Covered Refinery upon the execution by the transferee of a modification to this Consent Decree
pursuant to Section XX (Modification), which makes the terms and conditions of this Consent
Decree applicable to the transferee, but only to the extent that such terms and conditions affect
the transferee’s ownership or operation of the applicable Covered Refinery. No earlier than
thirty (30) Days after giving notice of a successor in interest pursuant to Paragraph 7 above, the
Settling Defendant transferring ownership or operation may file a motion to modify this Consent
Decree in accordance with Section XX below with the Court to make the terms and conditions of
this Consent Decree applicable to the transferee. A Settling Defendant transferring both
ownership and operation shall be released from the obligations and liabilities of this Consent
Decree unless the United States or the Applicable State Co-Plaintiff opposes the motion and the
Court finds that the transferee does not have the financial and technical ability to assume the
obligations and liabilities under this Consent Decree. Notwithstanding the foregoing, nothing in
this provision mandates modification of this Consent Decree or notice to the United States or
Applicable State Co-Plaintiff for transfer of ownership or operation of a Covered Refinery or
part thereof by a Settling Defendant to Tesoro Logistics L.P.

                                     III.    OBJECTIVES

     9.    It is the purpose of this Consent Decree to further the objectives of the Clean Air Act.

     10. The purpose of the affirmative relief in Sections V, VI, IX, and X of this Consent
Decree is to reduce emissions that the United States and the State Co-Plaintiffs contend were in
violation of the Clean Air Act. This affirmative relief is not in lieu of penalties.




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                             IV.    GENERAL DEFINITIONS

     11. Except as expressly set forth elsewhere in this Consent Decree, the terms used in this
Consent Decree shall have the meaning given to those terms in this Paragraph 11, or, if not
defined in this Consent Decree, as defined in the Clean Air Act and the regulations promulgated
thereunder. The following terms used in this Consent Decree shall be defined, solely for
purposes of this Consent Decree and the reports and documents submitted pursuant thereto, as
follows:

           “100% Sulfuric Acid Produced” shall mean the combined measured acid flow
     rate and concentration for all product streams and the estimated amount of liquid that
     condenses from the acid mist in the Brinks Mist Eliminator Tank. For purposes of this
     definition, scrubber byproduct (if any) shall be considered to be included in “100%
     Sulfuric Acid Produced.”

          “12-hour rolling average” shall mean the arithmetic average of 12 contiguous
     one-hour averages (starting at the top of the hour).

          “2005 Martinez Consent Decree” shall mean the consent decree entered by the
     United States Court for the Western District of Texas on November 23, 2005, in the
     matter of United States of America, et al. v. Valero Refining Co., et al. and Tesoro
     Refining and Marketing Corp., Civil Action No. SA05CA0569-RF, and any
     amendments thereto.

         “24-hour average” shall mean the average emission rate over 24 hours from
     midnight to midnight.

          “3-hour block average” shall mean the arithmetic average of 3 one-hour test runs.

          “3-hour rolling average” shall mean the arithmetic average of 3 contiguous one-
     hour averages (starting at the top of the hour).

          “30-day rolling average” shall mean the average daily emission rate or
     concentration during the preceding 30 Days that the unit(s) was operating.

         “365-day rolling average” shall mean the average daily emission rate or
     concentration during the preceding 365 Days that the unit(s) was operating.

         “7-day rolling average” shall mean the average daily emission rate or
     concentration during the preceding 7 Days that the unit(s) was operating.

          “Acid Gas” shall mean any gas that contains hydrogen sulfide and is generated at
     a Covered Refinery by the regeneration of an amine scrubber solution, but does not
     include Tail Gas.




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         “Acid Mist” shall mean the pollutant sulfuric acid mist as measured by Method 8 of
    40 C.F.R. Part 60, Appendix A consistent with 40 C.F.R. § 60.81(b), or an alternative EPA-
    approved method.

         “ADEC” shall mean the Alaska Department of Environmental Conservation and
    any successor departments or agencies of the State of Alaska.

          “Air-Assisted Flare” shall mean a Flare at any Covered Refinery that utilizes
    forced air piped to a Flare tip to assist in combustion. Air-Assisted Flares subject to
    the terms of this Consent Decree are set forth in Appendix C - 2.1 of this Consent
    Decree.

          “Assist Air” shall mean all air that intentionally is introduced prior to or at a
    Flare tip through nozzles or other hardware conveyance for the purposes including, but
    not limited to, protecting the design of the Flare tip, promoting turbulence for mixing
    or inducing air into the flame. Assist Air includes Premix Assist Air and Perimeter
    Assist Air. Assist Air does not include the surrounding ambient air.

          “Assist Steam” shall mean all steam that intentionally is introduced prior to or at
    a Flare tip through nozzles or other hardware conveyance for the purposes including,
    but not limited to, protecting the design of the Flare tip, promoting turbulence for
    mixing or inducing air into the flame. Assist Steam includes, but is not necessarily
    limited to, Center Steam, Lower Steam, and Upper Steam.

         “Automatic Control System” shall mean a system that utilizes programming
    logic to automate the operation of the instrumentation and systems required in
    Paragraph 137 of this Consent Decree so as to produce the operational results required
    in Paragraph 139 of this Consent Decree.

          “Available for Operation” shall mean, with respect to a Compressor within a
    FGRS, that the Compressor is capable of commencing the recovery of Potentially
    Recoverable Gas as soon as practicable but not more than one hour after the Need for
    a Compressor to Operate arises; the period of time, not to exceed one hour, allowed by
    this definition for the Startup of a Compressor shall be included in the amount of time
    that a Compressor is Available for Operation.

         “BAAQMD” shall mean the Bay Area Air Quality Management District and any
    successor departments or agencies of the State of California.

          “Baseload Waste Gas Flow Rate” shall mean, for a particular Covered Flare, the
    daily average flow rate, in scfd, to the Flare, excluding all flows during periods of
    Startup, Shutdown, and Malfunction. The flow rate data period that shall be used to
    determine Baseload Waste Gas Flow Rate for the Covered Flares is set forth in
    Paragraph 127.h.ii below. The Baseload Waste Gas Flow Rate shall be identified in
    the Initial Flare Management Plan due under Paragraph 127 below and may be
    updated in subsequent Flare Management Plans due under Paragraph 128 below.


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         “Block Average” as it pertains to the flaring requirements in Section VI.B, shall have
    the meaning set forth in Appendix C - 1.15 of this Consent Decree.

         “Block Average Period” or “Block Period,” as it pertains to the flaring requirements in
    Section VI.B, shall have the meaning set forth in Appendix C - 1.15 of this Consent Decree.

        “Block Sum,” as it pertains to the flaring requirements in Section VI.B, shall have the
    meaning set forth in Appendix C - 1.15 of this Consent Decree.

         “Block Sum Period,” as it pertains to the flaring requirements in Section VI.B, shall
    have the meaning set forth in Appendix C - 1.15 of this Consent Decree.

         “BP/Amoco Consent Decree” shall mean the consent decree entered by the
    United States Court for the Northern District of Indiana on August 29, 2001, in the
    matter of United States of America, et al. v. BP Exploration & Oil Co., et al., Civil
    Action No. 96-0095 and any amendments thereto as of the Date of Lodging.

         “BTU/scf” shall mean British Thermal Unit per standard cubic foot.

         “BTU/ft2” shall mean British Thermal Units per standard square foot.

         “Calendar Quarter” shall mean the three month period ending on March 31st,
    June 30th, September 30th, and December 31st.

         “Capable of Receiving Sweep, Supplemental, and/or Waste Gas” shall mean, for
    a Flare, that the flow of Sweep, Supplemental, and/or Waste Gas is/are not prevented
    from being directed to the Flare by means of closed valves and/or blinds.

          “CD Emissions Reductions” shall mean any emissions reductions in NOx, SO2,
    PM, PM10, PM2.5, TRS, reduced sulfur compounds, VOCs, CO, H2S, and H2SO4 that
    result from any projects conducted, controls utilized, or any other actions taken to
    comply with this Consent Decree.

         “CEMS/CMS Root Cause Failure Analyis” or “CMS Root Cause Failure
    Analysis” shall mean a process of analysis and investigation to determine the primary
    cause(s) for CEMS/CMS Downtime.

         “CEMS” shall mean continuous emissions monitoring system.

          “Center Steam” shall mean the portion of Assist Steam introduced into the stack
    of a Flare to reduce burnback. Diagrams illustrating the meaning and location of
    Center, Lower, and Upper Steam are set forth in Appendix C - 1.1 of this Consent
    Decree.

         “Certified Low-Leaking Valves” shall mean valves for which a manufacturer has
    issued either: (i) a written guarantee that the valve will not leak above 100 ppm for


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    five years; or (ii) a written guarantee, certification or equivalent documentation that
    the valve has been tested pursuant to generally-accepted good engineering practices
    and has been found to be leaking at no greater than 100 ppm.

         “Certified Low-Leaking Valve Packing Technology” shall mean valve packing
    technology for which a manufacturer has issued either: (i) a written guarantee that the
    valve packing technology will not leak above 100 ppm for five years; or (ii) a written
    guarantee, certification or equivalent documentation that the valve packing technology
    has been tested pursuant to generally-accepted good engineering practices and has
    been found to be leaking at no greater than 100 ppm.

         “CGA” shall mean cylinder gas audit.

        “Chronically Leaking” shall mean any valve that is part of the Covered
    Equipment, as defined in Section VI.A, that has leaked twice at a Screening Value
    above 5,000 ppm in any forty-eight month rolling period.

         “CMS” shall mean continuous monitoring system.

         “CO” shall mean carbon monoxide.

         “Coke Drum” shall mean a pressurized vessel where coke is formed in the
    Martinez Refinery Delayed Coker. As of the Date of Lodging, the Martinez Refinery
    Delayed Coker has four Coke Drums.

         “Coke Drum Overhead Pressure” shall mean the difference between the absolute
    pressure inside a Coke Drum and atmospheric pressure, expressed as psig, as
    measured on the Coke Drum overhead vapor line, during the coke steaming and
    quenching operations prior to commencing Coke Drum Venting.

         “Coke Drum Steam Vent” or “Steam Vent” shall mean the vent and associated
    valves and piping on a Coke Drum that is used to vent vapors to the atmosphere.
    “Coke Drum Steam Vents” do not include the opening at the top of the Coke Drum
    used to insert the coke cutting device or the opening at the base of the Coke Drum
    used to discharge coke or water.

         “Coke Drum Venting” shall mean the period between opening the Coke Drum’s
    Steam Vent valves and visual verification of no significant steam exiting the steam
    vent to the atmosphere.

          “Coke Pit/Pad Area” shall mean a walled area into which coke and Quench
    Water are discharged from the opening at the base of the Coke Drum after cooling and
    cutting.

         “Combustion Efficiency” or “CE” shall mean a Flare’s efficiency in converting
    the organic carbon compounds found in Vent Gas to carbon dioxide. Combustion


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    Efficiency shall be calculated as set forth in Equation 1 in Appendix C - 1.2 of this
    Consent Decree.

            “Combustion Unit” shall mean any stationary emissions unit that burns a fossil
    fuel.

       “Combustion Zone” shall mean the area of the Flare flame where the
    Combustion Zone Gas combines for combustion.

         “Combustion Zone Gas” shall mean all gases and vapors found just after a Flare
    tip. This gas includes all Vent Gas, Total Steam, and Premix Assist Air.

          “Compressor” shall mean with respect to a FGRS, a mechanical device designed
    and installed to recover gas from a Flare header. Types of FGRS compressors include
    reciprocating compressors, centrifugal compressors, liquid ring compressors, and
    liquid jet ejectors.

            “COMS” shall mean continuous opacity monitoring system.

        “Consent Decree” or “Decree” shall mean this Consent Decree, including all
    appendices attached to this Consent Decree.

        “Covered Flare” shall mean a Flare listed in Appendix C - 2.1 of this Consent
    Decree.

        “Covered Refineries” shall mean the following facilities, each one of which is a
    “Covered Refinery” as that term is used herein:

            Anacortes Refinery
            10200 W March Point Rd.
            Anacortes, WA 98221

            Kapolei Refinery
            91-325 Komohana St.
            Kapolei, HI 96707

            Kenai Refinery
            54741 Tesoro Rd.
            Kenai, AK 99611

            Mandan Refinery
            900 Old Red Trail NE
            Mandan, ND 58554

            Martinez Refinery including its Sulfuric Acid Plant



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         150 Solano Way
         Martinez, CA 94553

         Salt Lake City Refinery or “SLC Refinery”
         474 West 900 North
         Salt Lake City, UT 84103

         “Date of Entry” shall mean the date on which this Consent Decree is entered by
    the United States District Court for the Western District of Texas as indicated on the
    Court’s docket.

         “Date of Lodging” shall mean the date this Consent Decree is lodged with the
    United States District Court for the Western District of Texas for public comment
    pursuant to Paragraph 239 of this Consent Decree.

         “Day” or “Days” shall mean a calendar day or days. “Working Day” shall mean
    a day other than a Saturday, Sunday, or Legal holiday, as that term is defined by
    Federal Rule of Civil Procedure 6(a)(6). In computing any period of time under this
    Consent Decree, where the last day would fall on a Saturday, Sunday, or Legal
    holiday, the period shall run until the close of business on the next Working Day.

         “DOR” shall mean Delay of Repair.

          “Downtime” or “CEMS Downtime” or “CMS Downtime” shall mean the period
    of time during operation of the emission unit being monitored in which any of the
    required CEMS/CMS data are either not recorded or are invalid for any reason (e.g.,
    monitor malfunctions, data system failures, preventive maintenance, unknown causes,
    etc.), but shall not include downtime associated with routine CEMS/CMS zero and
    span checks and Quality Assurance (“QA”) and Quality Control (“QC”) (collectively
    “QA/QC”) activities required by this Consent Decree. CEMS/CMS data that meet the
    requirements of 40 C.F.R. § 60.13 shall be considered valid for purposes of
    determining Downtime.

         “ELDAR Program” shall mean the Enhanced Leak Detection and Repair
    Program specified in Paragraphs 64-110 of this Consent Decree.

         “Environmental Mitigation Project” or “Project” shall mean the projects
    identified in Section IX (Environmental Mitigation Projects) and Appendix D of this
    Consent Decree.

        “EPA” or “U.S. EPA” shall mean the United States Environmental Protection
    Agency and any successor departments or agencies of the United States.

         “External Power Loss” shall mean a loss in the supply of electrical power to a
    Covered Refinery that is caused by events occurring outside the boundaries of the
    refinery, excluding power losses due to an interruptible power service agreement.


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         “FAT” shall mean field accuracy test as defined in BAAQMD regulations or
    procedures.

          “FCCU” as used herein shall mean a fluidized catalytic cracking unit as that term
    is defined in 40 C.F.R. § 60.101a and any associated CO boiler(s) and waste heat
    boiler(s).

         “FCCU Catalyst Regenerator” shall mean a fluid catalytic cracking unit catalyst
    regenerator, as defined in 40 C.F.R. § 60.101.

         “Flare” shall mean a combustion device lacking an enclosed combustion
    chamber that uses an uncontrolled volume of ambient air to burn gases. For the
    purposes of this Consent Decree, the definition of Flare includes, but is not necessarily
    limited to, Air-Assisted Flares, Steam-Assisted Flares, and non-assisted Flares.

         “Flare Gas Recovery System” or “FGRS” shall mean a system of one or more
    Compressors, piping, and associated liquid seal, rupture disk, or similar device used to
    divert Potentially Recoverable Gas from a Flare and direct Potentially Recoverable
    Gas to a Fuel Gas System, to a combustion device other than the Flare, or to a product,
    co-product, by product, or raw material recovery system or other system that avoids
    combustion of the gases.

         “Flare Tip Velocity” or “Vtip” shall mean the velocity of gases exiting the Flare tip as
    defined in Equation 7 of Appendix C - 1.2.

         “Fuel Gas” shall have the meaning set out in 40 C.F.R. § 60.101a.

         “Fuel Gas Combustion Device” or “FGCD” shall have the meaning set out in
    40 C.F.R. § 60.101(g).

          “Fuel Gas System” means the offsite and onsite piping and control system that
    gathers gaseous streams generated by refinery operations, may blend them with
    sources of gas, if available, and transports the blended gaseous fuel at suitable
    pressures for use as fuel in heaters, furnaces, boilers, incinerators, gas turbines, and
    other combustion devices located within or outside of the refinery. The fuel is piped
    directly to each individual combustion device, and the system typically operates at
    pressures over atmospheric. The gaseous streams can contain a mixture of methane,
    light hydrocarbons, hydrogen, and other miscellaneous species.

         “H2S" shall mean hydrogen sulfide.

         “Hawaii DOH” shall mean the Hawaii Department of Health and any successor
    departments or agencies of the State of Hawaii.

         “Heater F-201” shall mean the Heater at the Anacortes Refinery identified as
    either “F-201” or “source ID 05” as of the Date of Lodging of this Consent Decree.


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         “Hours of Applicability” shall have the meaning set forth in Paragraph 152.c below.

         “In gas/vapor service” shall have the definition set forth in the applicable
    provisions of 40 C.F.R. Part 60, Subpart VVa.

         “In light liquid service” shall have the definition set forth in the applicable
    provisions of 40 C.F.R. Part 60, Subpart GGGa.

         “In Operation” shall mean any and all times that any gas (e.g. Waste Gas, Vent
    Gas, Purge Gas, Pilot Gas) is or may be vented to a Flare. A Flare that is In Operation
    is Capable of Receiving Sweep, Supplemental, and/or Waste Gas unless all Sweep,
    Supplemental, and/or Waste Gas flow is prevented by means of closed valves, and/or
    blinds.

        “Initial Flare Management Plan” or “Initial FMP” shall mean the document
    submitted pursuant to Paragraph 127 below.

         “Interest” shall mean interest calculated at the rate set forth at 28 U.S.C. § 1961.

         “LDAR” shall mean Leak Detection and Repair.

         “LDAR Audit Commencement Date” shall mean the first Day of the on-site
    inspection that accompanies an LDAR audit pursuant to Paragraphs 76-82 below.

          “LDAR Audit Completion Date” shall mean one hundred twenty (120) Days
    after the LDAR Audit Commencement Date.

          “LoTOx” shall mean a NOx control technology that includes a quench system,
    sufficient residence time, ozone injection ports, ozone generators, and oxygen supply,
    and that uses ozone to oxidize NOx which is then removed in a wet gas scrubber.

         “Lower Heating Value” means the energy released as heat when a compound
    undergoes complete combustion with oxygen to form gaseous carbon dioxide and
    gaseous water.

         “Lower Steam” shall mean the portion of Assist Steam piped to an exterior
    annular ring near the lower part of a Flare tip, which then flows through tubes to the
    Flare tip, and ultimately exits the tubes at the Flare tip. Diagrams illustrating the
    meaning and location of Center, Lower, and Upper Steam are set forth in
    Appendix C - 1.1 of this Consent Decree.

         “Malfunction” shall mean any sudden, infrequent, and not reasonably
    preventable failure of air pollution control equipment, process equipment, or a process
    to operate in a normal or usual manner. Failures that are caused in part by poor
    maintenance or careless operation are not Malfunctions. This definition does not
    apply to Section VI.B (Requirements for Control of Flaring Events).


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        “Mandan Refinery FCCU” or “Mandan FCCU” shall mean the Fluid Catalytic
    Cracking Unit at the Mandan Refinery.

         “Martinez Refinery Delayed Coker” or “Delayed Coker” shall mean the delayed
    coking unit at the Martinez Refinery. The Delayed Coker includes, but is not limited to,
    Coke Drums, the Quench Water System, and the associated coke handling systems.

         “Martinez Refinery FCCU” or “Martinez FCCU” shall mean the Fluid Catalytic
    Cracking Unit at the Martinez Refinery and includes, but is not limited to, the Martinez
    FCCU Catalyst Regenerator and the Martinez FCCU CO Boiler (currently known as the
    No. 7 Boiler).

        “Martinez Refinery Sulfur Recovery Plant” or “Martinez SRP” shall mean the Sulfur
    Recovery Plant at the Martinez Refinery and includes, but is not limited to, the Sulfur
    Recovery Unit, tail gas unit, incinerator, and Sulfur Pit.

         “Martinez Refinery Sulfuric Acid Plant” or “Martinez SAP” shall mean a process unit
    engaged in the production of sulfuric acid and related products using the contact process at
    or adjacent to the Martinez Refinery.

        “Method 21” shall mean the test method found at 40 C.F.R. Part 60,
    Appendix A-7, Method 21.

         “Minimum Total Steam Rate” shall mean the Total Steam Mass Flow Rate, in
    standard cubic feet per minute or in pounds per hour, recommended by the manufacturer of
    the Flare’s tip at the time of Flare tip installation, or such lower Total Steam Mass Flow
    Rate as determined by the Flare tip manufacturer after Flare tip installation upon re-
    examination of the tip’s requirements.

         “MMBtu” shall mean million British Thermal Units.

         “Need for a Compressor to Operate” shall mean: (i) for a situation in which no
    Compressor within the FGRS is recovering gas: when a Potentially Recoverable Gas
    flow rate (as determined by Paragraph 124 below) to the Covered Flare(s) serviced by
    the FGRS exists; or (ii) for a situation in which one or more Compressors within the
    FGRS already are recovering gas: when the Potentially Recoverable Gas flow rate
    (determined on a 15-minute Block Average) exceeds the capacity of the operating
    Compressor(s).

         “NESHAP” shall mean the National Emission Standards for Hazardous Air
    Pollutants codified at 40 C.F.R. Parts 61 and 63.

         “Net Heating Value” or “NHV” shall mean Lower Heating Value.




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         “Net Heating Value of Combustion Zone Gas” or “NHVcz” shall mean the Lower
    Heating Value, in BTU/scf, of the Combustion Zone Gas in a Flare. NHVcz is represented
    by Equations 3 and 4 in Appendix C - 1.3 of this Consent Decree.

        “Net Heating Value Dilution Parameter” or “NHVdil’ shall mean the Net Heating
    Value Dilution Parameter as calculated by Equation 5 of Appendix C - 1.3 of this Consent
    Decree.

         “Net Heating Value of Vent Gas” or “NHVvg” shall mean the Lower Heating Value, in
    BTU/scf, of the Vent Gas directed to a Flare. NHVvg is calculated as set forth in Equations
    1 and 2 in Appendix C - 1.3 of this Consent Decree.

         “New Limit(s) Based on Actuals” shall have the meaning set forth in Paragraph 133.f.i
    below.

         “New Limit(s) Based on Projections” shall have the meaning set forth in Paragraph
    133.a below.

          “NOx” shall mean nitrogen oxides.

         “NSPS” shall mean the New Source Performance Standards codified at 40 C.F.R.
    Part 60.

         “NWCAA” shall mean the Northwest Clean Air Agency and any successor
    departments or agencies.

         “O2” shall mean oxygen.

         “One-hour block average” shall mean the average hourly emission rate that
    commences at the start of a “clock” hour (e.g., beginning at 2:00 PM and ending at
    3:00 PM).

         “Opacity” shall have the same meaning as in 40 C.F.R. § 60.2.

         “Par” shall mean Par Hawaii Refining, LLC.

        “Parties” shall mean the United States, the State Co-Plaintiffs, and Settling
    Defendants.

        “Paragraph” shall mean a portion of this Consent Decree identified by an Arabic
    numeral, including subparts thereof identified by lower case English letters, small
    Roman numerals, and all of the above listed indicators in parentheses.

         “Passive FTIR” shall mean a Fourier Transform Infrared System that collects
    thermal (infrared) radiation emitted by a hot gas plume, and through the analysis of the



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    resulting emission spectrum, identifies and quantifies the compounds producing values
    proportional to the path-integrated gas concentrations.

         “Perimeter Assist Air” means the portion of Assist Air introduced at the
    perimeter of the Flare tip or above the Flare tip. Perimeter Assist Air includes air
    intentionally entrained in Lower and Upper Steam. Perimeter Assist Air includes all
    Assist Air except Premix Assist Air.

         “Permitting Authority” or “Applicable Permitting Authority” shall mean the
    following air permitting authorities for each Refinery:

         Anacortes Refinery: NWCAA

         Kenai Refinery: ADEC

         Kapolei Refinery: Hawaii DOH

         Mandan Refinery: North Dakota Department of Health

         Martinez Refinery: BAAQMD

         Salt Lake City Refinery: Utah Division of Air Quality

          “Pilot Gas” shall mean gas introduced into a Flare tip that provides a flame to
    ignite the Vent Gas.

         “Plaintiffs” shall mean the United States and the State Co-Plaintiffs.

        “PM” shall mean particulate matter as measured by 40 C.F.R. Part 60,
    Appendix A-3, Method 5B or 5F (front half only).

        “Portable Flare” shall mean a Flare that is not permanently installed that receives
    Waste Gas that has been redirected to it from a Covered Flare.

         “Potentially Recoverable Gas” shall mean the Sweep Gas, Supplemental Gas
    introduced prior to a Covered Flare’s liquid seal, and/or Waste Gas directed to a
    Covered Flare’s FGRS or group of Covered Flares’ FGRS. Purge Gas and
    Supplemental Gas introduced between a Covered Flare’s liquid seal and a Covered
    Flare’s tip is not Potentially Recoverable Gas. Hydrogen venting from the steam
    methane reformer (hydrogen plant) is not Potentially Recoverable Gas. Recycled
    hydrogen that bypasses the FGRS to reestablish hydrogen balance in the event that
    hydrogen demand declines or stops rapidly is also not Potentially Recoverable Gas.
    Excess Fuel Gas and excess gases generated during Shutdown, in turnaround, and
    during Startup, caused by a gas imbalance that cannot be consumed by Fuel Gas
    consumers in the refinery, because there is not sufficient demand for the gas, is not
    Potentially Recoverable Gas provided that when the excess gas is routed around the


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    FGRS, no natural gas is being supplied to the Fuel Gas mix drum. Nitrogen purges of
    Flaring Process Units that are being Shutdown, in turnaround and during Startup, or
    the nitrogen purging of operating Flaring Process Units during a partial refinery
    turnaround scenario, that cause the NHV of the Fuel Gas at the exit of the mix drum to
    fall below 740 BTU/scf, shall not be considered Potentially Recoverable Gas, and may
    be routed around the FGRS. The gas stream from the spent air vent from the Tesoro
    Mandan Refinery’s Merox Unit regenerator vessel shall not be considered Potentially
    Recoverable Gas.

         “ppm” shall mean parts per million.

         “ppmvd” shall mean parts per million by volume, dry basis.

         “Premix Assist Air” means the portion of Assist Air that is introduced to the
    Vent Gas, whether injected or induced, prior to the Flare tip. Premix Assist Air also
    includes any air intentionally entrained in Center Steam.

         “Prevention Measure” shall mean an instrument, device, piece of equipment,
    system, process change, physical change to process equipment, procedure, or program
    to minimize or eliminate flaring.

         “Project Dollars” shall mean Tesoro’s expenditures and payments incurred or
    made in carrying out the Environmental Mitigation Projects identified in Section IX
    and Appendix D of this Consent Decree to the extent that such expenditures or
    payments both: (i) comply with the requirements set forth in Section IX and
    Appendix D of this Consent Decree; and (ii) constitute Tesoro’s direct payments for
    such Projects, or Tesoro’s external costs for contractors, vendors, and equipment.
    Tesoro shall not include its own personnel costs in overseeing the implementation of
    the Projects as Project Dollars.

         “psig” shall mean pounds per square inch gauge, which is the difference between
    absolute pressure at the measurement point and atmospheric pressure.

          “Purge Gas” shall mean the minimum amount of gas introduced between a Flare
    header’s liquid seal and the Flare tip necessary to prevent freezing and oxygen
    infiltration (backflow) into the Flare. For a Flare with no liquid seal, the function of
    Purge Gas is performed by Sweep Gas and, therefore, by definition, such a Flare has
    no Purge Gas. Purge Gas includes the gas stream from the Tesoro Mandan Refinery’s
    Merox Unit regenerator vessel’s (D-552) spent air vent otherwise satisfying the
    conditions of this definition.

          “Quench Water” shall mean the water, in liquid phase, used to cool coke after it
    is formed in a Coke Drum.

       “Quench Water Fill Time” shall mean the duration of time between: (i) the
    commencement of the initial addition of Quench Water to a Coke Drum; and (ii) the


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    point at which the coke bed has been covered with water and the water addition rate
    drops below 100 gallons per minute.

        “Quench Water Make-Up” shall mean the water, in liquid phase, added to the
    Quench Water System to compensate for water loss.

         “Quench Water System” shall mean the system used to receive, manage, treat, or
    convey Quench Water commencing from the point of discharge from the Coke Drum
    drains continuing through the Coke Pit/Pad Area, maze (coke fines settling basin),
    clean water sump, and Quench Water Tank to the Coke Drums.

         “Quench Water Tank” shall mean any tank that holds Quench Water.

         “RAA” shall mean relative accuracy audit.

         “RATA” shall mean relative accuracy test audit.

         “Repair Verification Monitoring” shall mean the utilization of monitoring (or
    another method that indicates the relative size of the leak) by no later than the end of
    the next Day of each attempt at repair of a leaking piece of Covered Equipment as
    defined in Section VI.A below in order to verify that the leak is below the applicable
    leak definition or repair attempt threshold.

         “Rolling Average,” as it pertains to the Flaring Requirements in Section VI.B, shall
    have the meaning set forth in Appendix C - 1.15 of this Consent Decree.

          “Rolling Average Period,” as it pertains to the Flaring Requirements in Section VI.B,
    shall have the meaning set forth in Appendix C - 1.15 of this Consent Decree.

         “Rolling Sum,” as it pertains to the Flaring Requirements in Section VI.B, shall have
    the meaning set forth in Appendix C - 1.15 of this Consent Decree.

         “Rolling Sum Period,” as it pertains to the Flaring Requirements in Section VI.B, shall
    have the meaning set forth in Appendix C - 1.15 of this Consent Decree.

          “SAP Shutdown” shall mean the period beginning at the time when feedstock is
    discontinued at the Martinez SAP and lasting until production ceases. For the purpose
    of this definition, “feedstock” shall include, but not be limited to, spent acid from the
    alkylation plant, hydrogen sulfide from diethanolamine unit strippers, sulfuric acid
    from the Martinez SAP, or gas vented from the Martinez SRP Sulfur Pit(s).

         “SAP Startup” shall mean the period of time beginning when feedstock is first
    introduced to the Martinez SAP and lasting until 24 hours after the Martinez SAP has
    achieved a production rate of 100 tons of 100% Sulfuric Acid Produced per Day (1-
    hour average). For the purpose of this definition, “feedstock” shall include, but not be
    limited to, spent acid from the alkylation plant, hydrogen sulfide from diethanolamine


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    unit strippers, sulfuric acid from the Martinez SAP, or gas vented from the Martinez
    SRP Sulfur Pit(s).

         “SCFD” or “scfd” shall mean standard cubic feet per day.

         “SCFM” or “scfm” shall mean standard cubic feet per minute.

          “Scheduled Turnaround” shall mean the Shutdown of any emission unit or
    process unit that is scheduled at least six months in advance of the Shutdown, and the
    purpose of such Shutdown is to: (i) perform general equipment cleaning and repairs
    due to normal equipment wear and tear; (ii) perform required equipment tests and
    internal inspections; (iii) install any unit or equipment modifications/additions, or
    make provisions for a future modification or addition; and/or (iv) perform normal end
    of run catalyst changeouts or refurbishments.

         “Screening Value” shall mean the highest emission level that is recorded at each
    piece of Covered Equipment as it is monitored in compliance with Method 21.

        “Section” shall mean a portion of this Consent Decree identified by a Roman
    numeral.

         “Settling Defendants” shall mean Tesoro, Tesoro Logistics L.P., and Par.

         “Shutdown” shall mean the cessation of operation of equipment for any purpose.

         “SLC FCCU” shall mean the FCCU at the SLC Refinery located at 474 West 900
    North, Salt Lake City, Utah 84103.

         “Smoke Emissions” shall have the definition set forth in Section 3.5 of Method
    22 of 40 C.F.R. Part 60, Appendix A. Smoke Emissions may be documented by either
    a person pursuant to Method 22 or by a video camera.

         “SO2” shall mean sulfur dioxide.

          “Sour Water Stripper Gas” shall mean the gas produced by the process of
    stripping or scrubbing refinery sour water.

         “Standard Conditions” shall mean a temperature of 68 degrees Fahrenheit and a
    pressure of 1 atmosphere. Unless otherwise expressly set forth in this Consent Decree
    or an Appendix, Standard Conditions shall apply.

         “Startup” shall mean the setting into operation of equipment for any purpose.

          “State Co-Plaintiffs” shall mean the following States or Applicable Permitting
    Authorities in which the Covered Refineries subject to this Consent Decree are located
    that have joined as plaintiffs in this action and are referred to herein as the “Applicable


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    State Co-Plaintiff” for the Covered Refinery in their jurisdictions: the State of Alaska
    for the Kenai Refinery, the State of Hawaii for the Kapolei Refinery, and the NWCAA
    for the Anacortes Refinery.

          “Steam-Assisted Flare” shall mean a Flare that utilizes steam piped to a Flare tip
    to assist in combustion. Steam-Assisted Flares subject to the terms of this Consent
    Decree are set forth in Appendix C - 2.1 of this Consent Decree.

          “Sulfur Pit” means the storage vessel in which sulfur that is condensed after each
    Claus catalytic reactor is initially accumulated and stored. A Sulfur Pit does not
    include secondary sulfur storage vessels downstream of the initial Claus reactor Sulfur
    Pits.

         “Sulfur Recovery Plant” or “SRP” shall mean the collection of Sulfur Recovery
    Units that are fed by one common Acid Gas feed line.

         “Sulfur Recovery Unit” or “SRU” shall mean a process unit that recovers sulfur
    from hydrogen sulfide by a vapor phase catalytic reaction of sulfur dioxide and
    hydrogen sulfide.

         “Sulfuric Acid Plant” or “SAP” shall mean a process unit engaged in the
    production of sulfuric acid and related products using the contact process.

        “Supplemental Gas” shall mean all gas introduced to the Flare in order to
    improve the combustible characteristics of Combustion Zone Gas.

          “S/VG” or “Total-Steam-Mass-Flow-Rate-to-Vent-Gas-Mass-Flow-Rate Ratio”
    shall mean the ratio of the Total Steam Mass Flow Rate to the Vent Gas Mass Flow
    Rate.

          “Sweep Gas” shall mean, for a Flare with a Flare Gas Recovery System, the
    minimum amount of gas necessary to maintain a constant flow of gas through the
    Flare header in order to prevent oxygen buildup, corrosion or freezing in the Flare tip
    or header; Sweep Gas in these Flares is introduced prior to and recovered by the Flare
    Gas Recovery System. Sweep Gas may be added to certain FGRS bypass lines that
    contain gas that is not Potentially Recoverable Gas. For a Flare without a Flare Gas
    Recovery System, Sweep Gas means the minimum amount of gas necessary to
    maintain a constant flow of gas through the Flare header in order to prevent oxygen
    buildup, corrosion or freezing in the Flare header or tip and to prevent oxygen
    infiltration (backflow) into the Flare tip.

        “Tail Gas” shall mean the exhaust gas from the Claus train(s) of a Sulfur
    Recovery Plant and/or from the tail gas unit.

        “Termination” shall be the date on which the Court orders that this Consent
    Decree (or a part thereof) terminates pursuant to Section XXI of this Decree.


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         “Tesoro” shall mean each of the following Tesoro entities: Tesoro Refining &
    Marketing Company LLC and Tesoro Alaska Company LLC, including their
    successors in interest and assigns.

         “Tesoro Refineries” shall mean the Anacortes, Kenai, Mandan, Martinez, and
    Salt Lake City refineries listed above.

         “Title V” shall mean Title V of the CAA, 42 U.S.C. § 7661-7661f.

        “Title V Permit” shall mean the permit for a Covered Refinery issued by an
    Applicable Permitting Authority pursuant to Title V of the CAA, 42 U.S.C. § 7661-
    7661f.

         “TOC” shall mean total organic compounds.

         “Total Steam” or “S” shall mean the total of all steam that is supplied to a Flare
    and includes, but is not limited to, Lower Steam, Center Steam and Upper Steam.

         “Total Steam Mass Flow Rate” or “ṁs” shall mean the mass flow rate of Total
    Steam supplied to a Flare. Total Steam Mass Flow Rate shall be calculated as set forth
    in Equation 3 in Appendix C - 1.2 of this Consent Decree.

         “Total Steam Volumetric Flow Rate” or “Qs-rate” shall mean the volumetric flow rate
    of Total Steam supplied to a Flare, in scfm.

          “Total Steam Volumetric Flow” or “Qs” shall mean the cumulative volumetric
    flow of Total Steam during the 15-minute Block Average Period, in standard cubic
    feet.

          “Ultra-Low NOx Burner” or “ULNB” shall mean those burners that are designed
    to achieve a NOx emission rate of less than or equal to 0.020 pound/MMBtu (Higher
    Heating Value) when firing natural gas at 3% stack oxygen at full design load without
    air preheat, even if upon installation actual emissions exceed 0.020 pound/MMBtu
    (Higher Heating Value).

         “United States” shall mean the United States of America, including the United
    States Department of Justice and the EPA.

         “Unobstructed Cross Sectional Area of the Flare Tip” or “Atip-unob” shall mean the
    open, unobstructed area of a Flare tip through which Vent Gas and Center Steam pass.
    Diagrams of four common Flare types are set forth in Appendix C - 1.6 together with
    the equations for calculating the Atip-unob of these four types.

        “Updated Flare Management Plan” or “Updated FMP” shall mean the document
    submitted pursuant to Paragraph 128 below as the annual update to the Initial FMP.



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         “Upper Steam,” sometimes called ring steam, shall mean the portion of Assist
    Steam introduced via nozzles located on the exterior perimeter of the upper end of the
    Flare tip. Diagrams illustrating the meaning and location of Center, Lower, and Upper
    Steam are set forth in Appendix C - 1.1 of this Consent Decree.

         “Variable Speed Drive” shall mean a piece of equipment that regulates the speed
    and rotational force, or torque output, of an electric motor and that outputs a variable
    frequency to a motor to allow it to operate at variable speeds between the motor’s
    minimum and maximum speed.

         “Variable Speed Motor” shall mean a motor that operates at continuously
    variable speeds between a minimum and maximum as regulated by a Variable Speed
    Drive.

         “Vent Gas” shall mean all gas found just prior to the Flare tip. This gas includes
    all Waste Gas and that portion of Sweep Gas that is not recovered, Purge Gas and
    Supplemental Gas, but does not include Pilot Gas, Total Steam, or Assist Air.

          For the purposes of calculating S/VG only, “Vent Gas Mass Flow Rate” or
    Qmass-rate shall mean the mass flow rate of Vent Gas directed to a Covered Flare. Vent
    Gas Mass Flow Rate shall be calculated as set forth in Equation 4 in Appendix C - 1.2
    of this Consent Decree.

          “Vent Gas Volumetric Flow” or “Qvg” shall mean the cumulative volumetric
    flow rate of Vent Gas during the 15-minute Block Average Period in standard cubic
    feet.

          “Vent Gas Volumetric Flow Rate” or “Qvg-rate” shall mean the volumetric flow
    rate of Vent Gas directed to a Covered Flare in wet scfm.

         “Visible Emissions” shall mean five minutes or more of Smoke Emissions during
    any two consecutive hours. Visible Emissions may be documented either by a person
    pursuant to Method 22 or by a video camera.

         “VOC” or “Volatile Organic Compounds” shall have the definition set forth in
    40 C.F.R. § 51.100(s).

         “Waste Gas” shall mean the mixture of all gases from facility operations at a
    Covered Refinery that is directed to a Flare for the purpose of disposing of the gas.
    Waste Gas does not include gas introduced to a Flare exclusively to make it operate
    safely and as intended; therefore, Waste Gas does not include Pilot Gas, Total Steam,
    Assist Air, or the minimum amount of Sweep Gas and Purge Gas that is necessary to
    perform the functions of Sweep Gas and Purge Gas. Waste Gas also does not include
    gas introduced to a Flare to comply with regulatory requirements; therefore, Waste
    Gas does not include Supplemental Gas. Waste Gas also does not include gases
    received from the Hawaii Gas synthetic natural gas plant downstream of the FGRS at


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     the Kapolei Refinery. Depending upon the instrumentation that measures Waste Gas,
     certain compounds (hydrogen, nitrogen, oxygen, carbon dioxide, carbon monoxide,
     and/or water (steam)) that are directed to a Flare for the purpose of disposing of these
     compounds may be excluded from calculations relating to Waste Gas flow; in the
     substantive provisions of this Section, the circumstances in which such exclusions are
     permitted are specifically identified. Appendix C - 1.7 of this Consent Decree depicts
     the meaning of Waste Gas, together with its relation to other gases associated with
     Flares.

      V.     AFFIRMATIVE RELIEF APPLICABLE TO SPECIFIC REFINERIES

     A.    Anacortes Refinery

      12. NSPS Applicability to Heater F-201. Heater F-201 at the Anacortes Refinery shall be
considered an “affected facility” as that term is used in 40 C.F.R. Part 60, Subparts A and J, and
shall be subject to and comply with the requirements of 40 C.F.R. Part 60, Subparts A and J, for
H2S by no later than January 1, 2016, unless it is fired only with natural gas.

     13. BWON Auditing Provisions.

           a. Current NESHAP Part 61 Subpart FF Status. The Tesoro Anacortes Refinery has
a total amount of benzene in waste streams on an annual basis (“Total Annual Benzene” or a
“TAB”) of greater than 10 Mg/year and has currently elected to meet the requirements set forth
at 40 C.F.R. § 61.342(c) (hereinafter referred to as the “2 Mg Compliance Option”). Nothing in
this Paragraph prohibits Tesoro from implementing any other compliance option as set forth in
40 C.F.R. § 61.342.

           b. One-Time Third-Party Review and Verification of Anacortes Refinery's TAB:
Phase One of the Review and Verification Process. By no later than July 1, 2016, Tesoro will
complete a third-party review and verification of the TAB at the Anacortes Refinery and its
compliance with the 2 Mg Compliance Option set forth in 40 C.F.R. § 61.342(c) (“Phase One
Review and Verification process”). Tesoro's Phase One Review and Verification process will
include, but not be limited to:

               i.   an identification of each waste stream that is required to be included in the
Anacortes Refinery's TAB (e.g., slop oil, tank water draws, spent caustic, desalter rag layer
dumps, desalter vessel process sampling points, other sample wastes, maintenance wastes, and
turnaround wastes (that meet the definition of waste under NESHAP Subpart FF));

                ii. a review and identification of the calculations and/or measurements used to
determine the flows of each waste stream for the purpose of ensuring the accuracy of the annual
waste quantity for each waste stream;

               iii. an identification of the benzene concentration in each waste stream,
including sampling for benzene concentration at no less than 10 waste streams consistent with
the requirements of 40 C.F.R. § 61.355(c)(l) and (3); and


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                iv. an identification of whether or not each waste stream is controlled
consistent with the requirements of NESHAP Subpart FF.

           c. By no later than sixty (60) Days after the deadline for completion of the Phase
One Review and Verification process set forth in Paragraph 13.b. above, Tesoro will submit to
EPA and NWCAA for comment a Benzene Waste Operations NESHAP Compliance Review and
Verification report (“BWON Compliance Review and Verification Report”) for the Anacortes
Refinery that sets forth the results of the Phase One Review and Verification process, including
but not limited to the items identified in Paragraph 13.b.i through b.iv above.

           d. One-Time Review and Verification of the Anacortes Refinery's TAB: Phase
Two of the Review and Verification Process. Based on EPA's review of the BWON Compliance
Review and Verification Report, by no later than ninety (90) Days after receipt of Tesoro’s
submission of the BWON Compliance Review and Verification Report required by
Paragraph 13.c above, EPA may select up to twenty (20) additional waste streams at the
Anacortes Refinery for sampling for benzene concentration. Tesoro will conduct the required
sampling and submit the results to EPA and NWCAA within ninety (90) Days of receipt of
EPA's request (“Phase Two sampling”). Tesoro will use the results of this Phase Two sampling
to reevaluate the TAB and the uncontrolled benzene quantity and to amend the BWON
Compliance Review and Verification Report, as needed. To the extent that EPA requires Tesoro
to sample a waste stream as part of the Phase Two sampling that Tesoro chose to sample as part
of the Phase One Review and Verification process, Tesoro may average the results of the two
sampling events. If Phase Two sampling is required by EPA, Tesoro will submit to EPA and
NWCAA for comment, an Amended BWON Compliance Review and Verification Report within
one-hundred twenty (120) Days following the date of the completion of the required Phase Two
sampling. This Amended BWON Compliance Review and Verification Report will supersede
and replace the originally-submitted BWON Compliance Review and Verification Report and
will be considered the Final BWON Compliance Review and Verification Report. If Phase Two
sampling is not required by EPA, the originally-submitted BWON Compliance Review and
Verification Report will constitute the Final BWON Compliance Review and Verification
Report.

          e. Amended TAB Reports. If the results of the Final BWON Compliance Review
and Verification Report indicate that the Anacortes Refinery's most recently-filed TAB report
pursuant to 40 C.F.R. § 61.357(a)(1) does not satisfy the requirements of NESHAP Subpart FF,
then Tesoro’s Final BWON Compliance Review and Verification Report will be deemed an
amended TAB report for purposes of NESHAP Subpart FF reporting to EPA.

          f.   Implementation of Actions Necessary to Correct Non-Compliance. Tesoro shall
correct any non-compliance with the 2 Mg Compliance Option identified in the Final BWON
Compliance Review and Verification Report as follows. If the results of the Final BWON
Compliance Review and Verification Report indicate that Tesoro’s Anacortes Refinery is not in
compliance with NESHAP Subpart FF, then Tesoro will submit to EPA and NWCAA for
comment, by no later than one-hundred twenty (120) Days after submission of the Final BWON
Compliance Review and Verification Report, a plan that identifies with specificity the


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compliance strategy and schedule that Tesoro will implement to ensure that the Anacortes
Refinery complies with NESHAP Subpart FF as soon as practicable, including, as an alternative
to the 2 Mg Compliance Option, adopting the 6 BQ option set forth in 40 C.F.R. § 61.342(e).

            g. Implementation of Actions Necessary to Correct Non-Compliance: Certification
of Compliance. By no later than thirty (30) Days after completion of the implementation of all
actions, if any, required pursuant to Paragraph 13.f above to come into compliance with
NESHAP Subpart FF, Tesoro will submit its certification and a report to EPA and NWCAA that
the Anacortes Refinery complies with NESHAP Subpart FF.

     B.   Kapolei Refinery

      14. Except as expressly set forth elsewhere in this Consent Decree, the terms used in this
Section V.B, shall have the meaning given to those terms in this Paragraph, or, if not defined in
this Consent Decree, as defined in the Clean Air Act and the regulations promulgated thereunder.

         a. “Flue Gas Recirculation” or “FGR” shall mean extraction of a portion of the flue
gas downstream of the furnace exit and reintroducing it into the combustion air stream to reduce
NOx emissions.

         b. “Fuel Oil” shall mean any liquid fossil fuel with sulfur content of greater than
0.05% by weight.

          c. “Kapolei Refinery Catalytic Reformer Unit Heaters” or “Kapolei CRU Heaters”
shall mean the following Kapolei Covered Heaters: CRU Charge Heater H501, CRU Interheater
H502, CRU Interheater H503, and CRU Interheater H504.

           d. “Kapolei Refinery Covered Heater or Boiler” or “Kapolei Covered Heater or
Boiler” shall mean each of the following twelve heaters or boilers at the Kapolei Refinery as
referred to in the initial or current Kapolei Refinery Title V/Covered Source Permit: (i) Vacuum
Distillation Unit Charge Heater, ID No. H175 (“Vacuum Unit Charge Heater H175”); (ii)
Catalytic Reformer Unit Charge Heater, ID No. H501 (“CRU Charge Heater H501”); (iii)
Catalytic Reformer Unit Interheater, ID No. H502 (“CRU Interheater H502”); (iv) Catalytic
Reformer Unit Interheater, ID No. H503 (“CRU Interheater H503”); (v) Catalytic Reformer Unit
Interheater, ID No. H504 (“CRU Interheater H504”); (vi) Distillate Hydrocracker Unit Second
Stage Charge Heater, ID No. H601 (“Hydrocracker 2nd Stage Charge Heater H601”); (vii)
Distillate Hydrocracker Unit Fractionator Inlet Heater, ID No. H602 (“Hydrocracker Fractionator
Inlet Heater H602”); (viii) Distillate Hydrocracker Unit First Stage Charge Heater, ID No. H603
(“Hydrocracker 1st Stage Charge Heater H603”); (ix) Asphalt Waste Gas Incinerator, ID No.
H802 (“Asphalt Waste Gas Incinerator H802”); (x) Visbreaker Unit Heater, ID No. H901
(“Visbreaker Heater H901”); (xi) Hydrogen Generation Unit Reformer Furnace, ID No. H2001
(“Hydrogen Reformer Furnace H2001”); and (xii) Package Boiler, ID No. SG 1103 (“Package
Boiler SG1103”). Collectively, these twelve heaters or boilers shall be referred to as the
“Kapolei Refinery Covered Heaters and Boilers” or “Kapolei Covered Heaters and Boilers.”




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           e. “Kapolei Refinery Sulfur Recovery Plant” or “Kapolei SRP” shall mean the SRP
 at the Kapolei Refinery and includes, but is not limited to SRU 2 (BR1371), SRU 2 Sulfur Pit,
 SRU 3 (BR1381), SRU 3 Sulfur Pit, Tail Gas Unit (BR1393), Tail Gas Incinerator H1353, and
 Tail Gas Incinerator H1391. The Kapolei SRP has a capacity greater than 20 long tons per day.

         NOx Emissions Reductions from the Kapolei Refinery Covered Heaters and Boilers

       15. Kapolei Refinery Covered Heaters and Boilers NOx Control Technologies and
 Emission Limits. For each Kapolei Covered Heater or Boiler listed in the following table, Par
 shall: (i) install the corresponding control technology on (or permanently shut down) the
 indicated heater or boiler by no later than the Kapolei Covered Heater’s or Boiler’s
 corresponding compliance date specified in the table; (ii) maintain and continuously operate such
 control technology on and after the Kapolei Covered Heater’s or Boiler’s corresponding
 compliance date specified in the table; and (iii) comply with the Kapolei Covered Heater’s or
 Boiler’s corresponding NOx emission limits by no later than the corresponding compliance date
 specified in the table below. For the Long-Term NOx Emission Limit (365-day rolling average),
 the first complete 365-day rolling average shall be calculated on the corresponding compliance
 date specified in the table below, based on monitoring data from such compliance date and the
 364 Days prior to such compliance date.

                                                         SHORT-           LONG-
KAPOLEI COVERED        RATED                                                             COMPLIANCE
                                    CONTROL              TERM NOx         TERM NOx
HEATER OR              CAPACITY                                                          DATES
                                    TECHNOLOGY           EMISSION         EMISSION
BOILER                 (MMBtu/hr)
                                                         LIMIT            LIMIT
                                    ULNB and             50.0 ppmvd @
Vacuum Unit Charge                  convert from co-     0% O2            Not            January 1, 2018
                       86
Heater H175                         fired to gas-fired   (3-hour block    Applicable
                                    only                 average)
CRU Charge Heater                                        When not         Proposed and
                       80.4         FGR
H501                                                     firing with      Final Long-    For installation
                                                         liquid fuel,     Term CRU       and operation of
CRU Interheater                                                                          FGR and CEMS
                       74           FGR                  Interim Short-   NOx
H502                                                                                     and for Interim
                                                         Term CRU         Emission
                                                         NOx Emission     Limits to be   Short-Term CRU
CRU Interheater                                          Limit of         established    NOx Emission
                       36.3         FGR                                                  Limit:
H503                                                     130.0 ppmvd      pursuant to




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                                                          @ 0% O2           Paragraph    January 1, 2018
                                                          (30-day rolling   15.d below
                                                          average)                       Compliance dates
                                                                                         for the Proposed
                                                          Proposed and                   and Final Short-
                                                          Final Short-                   Term and Long-
                                                          Term CRU                       Term CRU NOx
                                                          NOx Emission                   Emission Limits
CRU Interheater                                           Limits to be                   to be established
                            18.4         FGR              established                    pursuant to
H504
                                                          pursuant to                    Paragraph 15.d
                                                          Paragraph 15.d                 below
                                                          below




                                                          SHORT-            LONG-
KAPOLEI COVERED             RATED                                                        COMPLIANCE
                                         CONTROL          TERM NOx          TERM NOx
HEATER OR                   CAPACITY                                                     DATES
                                         TECHNOLOGY       EMISSION          EMISSION
BOILER                      (MMBtu/hr)
                                                          LIMIT             LIMIT
                                                          40.0 ppmvd @
Hydrocracker 2nd Stage
                                                          0% O2                          By the earliest
Charge                      40           ULNB
                                                          (3-hour block                  occurrence of
Heater H601
                                                          average)          Not          either (i) 90 Days
                                                          50.0 ppmvd @      Applicable   after the first
Hydrocracker
                                                          0% O2                          Scheduled
Fractionator Inlet Heater   77           ULNB
                                                          (3-hour block                  Turnaround of the
H602
                                                          average)                       hydrocracker
                                                          40.0 ppmvd @                   plant after the
Hydrocracker 1st Stage                                    0% O2                          Date of Lodging;
                            76           ULNB                                            or (ii) by January
Charge Heater H603                                        (3-hour block
                                                          average)                       1, 2018
                                         Permanent
Asphalt Waste Gas                        Shutdown                           Not          October 1, 2015
                            26.9                          Not Applicable
Incinerator H802                         pursuant to                        Applicable
                                         Paragraph 15.c
                                                          40.0 ppmvd @
                                                          0% O2             Not          January 1, 2017
Visbreaker Heater H901      75           ULNB
                                                          (3-hour block     Applicable
                                                          average)




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                                                                                          By the earliest
                                                                                          occurrence of
                                                                                          either (i) 90 Days
                                                                                          after the first
                                                                                          Scheduled
                                                                                          Turnaround of the
                                                                                          hydrogen plant
                                                                                          after the Date of
                                                                                          Lodging (455
                                                                                          Days after such
                                                                                          Scheduled
                                                                             50.0 ppmvd   Turnaround for
                                                          60.0 ppmvd @
                                                                             @ 0% O2      the Long-Term
Hydrogen Reformer                                         0% O2
                        172.8        ULNB                                    (365-day     NOx Emission
Furnace H2001                                             (30-day rolling
                                                                             rolling      Limit only); or (ii)
                                                          average)
                                                                             average)     by January 1,
                                                                                          2018 (January 1,
                                                                                          2019, for the
                                                                                          Long-Term NOx
                                                                                          Emission Limit
                                                                                          only)




                                                          SHORT-             LONG-
KAPOLEI COVERED         RATED
                                     CONTROL              TERM NOx           TERM NOx     COMPLIANCE
HEATER OR               CAPACITY
                                     TECHNOLOGY           EMISSION           EMISSION     DATES
BOILER                  (MMBtu/hr)
                                                          LIMIT              LIMIT
                                                          35.0 ppmvd @
                                                          0% O2
                                                          (3-hour block                   January 1, 2017
                                                          average) when
                                                          the main fuel
                                     ULNB, FGR,           valve is open
                                     convert from co-     and SG1103 is
                                     fired to gas-fired   firing at or
                                     only, and reduce     more than 25       Not
Package Boiler SG1103   126
                                     design firing rate   MMBtu/hr; and      Applicable
                                     from 126 to 98       70.0 ppmvd @
                                     MMBtu/hr (high       0% O2 (3-hour
                                     heating value)       block average)
                                                          when the main
                                                          valve is open
                                                          and SG1103 is
                                                          firing less than
                                                          25 MMBtu/hr




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          a. Rated Capacities. The rated capacities listed in the preceding table in this
Paragraph 15 are the rated capacities as of the Date of Lodging and are included solely for the
purpose of identifying each Kapolei Covered Heater or Boiler listed in the table.

            b. Startup, Shutdown, or Malfunction. NOx emissions during periods of Startup,
Shutdown, or Malfunction of the Hydrogen Reformer Furnace H2001 or a Kapolei CRU Heater,
or Malfunction of the associated NOx control equipment, if any, shall not be used in determining
compliance with the following corresponding limits provided that during such periods Par, to the
extent practicable, maintains and operates the Hydrogen Reformer Furnace H2001 or the Kapolei
CRU Heater, including associated air pollution control equipment, in a manner consistent with
good air pollution control practices for minimizing emissions: (i) the Hydrogen Reformer
Furnace H2001 30-day rolling average Short-Term NOx Emission Limit; or (ii) if and only if
there is a concurrent and corresponding Long-Term NOx Emission Limit, the Proposed or Final
Short-Term CRU NOx Emission Limit. All other emission limits set forth in this Paragraph 15
(including, but not limited to, the Interim Short-Term CRU NOx Emission Limit) for Kapolei
Refinery Covered Heaters and Boilers shall apply at all times.

            c. Permanent Shutdown of the Asphalt Waste Gas Incinerator H802. By no later
than October 1, 2015, Par shall provide a report to EPA and Hawaii DOH with a written
certification that: (i) the Asphalt Waste Gas Incinerator H802 is permanently shut down; (ii) the
Asphalt Waste Gas Incinerator H802 is no longer included in any currently applicable EPA or
Hawaii DOH permits; and (iii) all emissions of air pollutants associated with the Asphalt Waste
Gas Incinerator H802 are no longer included as part of any Kapolei Refinery emissions
inventory.

          d.   NOx Emission Limits for the Kapolei CRU Heaters.

                i.    Interim Short-Term CRU NOx Emission Limit. By no later than the
compliance date specified in the table in this Paragraph 15 for the Kapolei CRU Heaters Interim
Short-Term NOx Emission Limit, when not firing with liquid fuel and when the air preheater is
operating, Par shall comply with the Interim Short-Term CRU NOx Emission Limit until either:
(i) Par proposes more stringent Final Short-Term and Long-Term CRU NOx Emission Limits
pursuant to Paragraph 15.d.vi below; or (ii) EPA establishes Final Short-Term and Long-Term
CRU NOx Emission Limits pursuant to Paragraph 15.d.vii below.

              ii. Final Short-Term and Long-Term CRU NOx Emission Limits. For the
Kapolei CRU Heaters, Par shall comply with Final Short-Term and Long-Term CRU NOx
Emission Limits established during a Demonstration Period pursuant to Paragraph 15.d.iii-vii.

                iii. FGR Optimization Study. By no later than January 1, 2018, Par shall
commence a FGR Optimization Study for the Kapolei CRU Heaters pursuant to this Paragraph,
which shall be completed by no later than April 1, 2018 (“FGR Optimization Study”). The goal
of the FGR Optimization Study shall be to determine the optimal performance of the FGR that
the Kapolei CRU Heaters can be operated at to minimize NOx emissions. During the FGR
Optimization Study period, Par shall provide both EPA and Hawaii DOH, on a monthly basis


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and by electronic mail, data specified in (a) through (j) below obtained as part of the FGR
Optimization Study. By no later than sixty (60) Days after completing the FGR Optimization
Study, Par shall report to EPA and Hawaii DOH the results of the FGR Optimization Study. The
report shall include, at a minimum, the following information on an hourly average basis:

                     (a) Firing rate (in MMBtu/hr);

                     (b) Flue Gas Recirculation rate (in scfm);

                     (c) Recirculated gas temperature (in degrees Fahrenheit);

                     (d) Recirculated gas O2;

                     (e) Stack gas O2;

                     (f)   Stack gas temperature (in degrees Fahrenheit);

                     (g) NOx ppmvd at 0% O2;

                     (h) Type of fuel and amount of refinery fuel gas or liquid fuel burned;

                     (i)   Mode of operation for forced draft or natural draft; and

                     (j)   Flue gas flow rate.

As part of the report on the FGR Optimization Study required by this Paragraph, Par shall
propose to EPA and Hawaii DOH the range of recirculation rates at which the Kapolei CRU
Heaters shall operate during an eighteen (18) month Demonstration Period that will follow
submittal of the FGR Optimization Study report. The proposed Flue Gas Recirculation rates,
impact on flame stability, and O2 levels may also give consideration to the unique operating
constraints that may affect the ability of the Kapolei CRU Heaters to continuously operate at a
given recirculation rate.

                iv. Demonstration Period. By no later than September 1, 2018, Par shall
commence and by no later than March 1, 2020, Par shall complete an eighteen (18) month
demonstration of FGR in order to establish final NOx emission limits for the Kapolei CRU
Heaters (“Demonstration Period”). During the Demonstration Period, Par shall operate the
Kapolei CRU Heaters and the FGR in a manner that minimizes NOx emissions to the extent
practicable and without interfering with conversion or processing rates. During the
Demonstration Period, Par shall provide both EPA and Hawaii DOH, on a monthly basis and by
electronic mail, data specified in (a) through (j) of Paragraph 15.d.iii above obtained as part of
the Demonstration Period.

               v. Demonstration Report. Par shall report the results of the Demonstration
Period to EPA and Hawaii DOH by no later than sixty (60) Days after completion of the
Demonstration Period (“Demonstration Report”). The Demonstration Report shall include, at a


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minimum, the NOx and O2 CEMS data recorded during the Demonstration Period and all
process and control device data listed in Paragraph 15.d.iii above on an hourly average basis for
the Demonstration Period. Par shall submit any additional available data that EPA and Hawaii
DOH determine is needed to evaluate the demonstration.

                vi. Proposed Final CRU NOx Emission Limits. In the Demonstration Report,
Par shall submit concentration-based (ppmvd) Proposed Final Short-Term and Long-Term CRU
NOx Emission Limits (each corrected to 0% O2) and corresponding rolling averaging times (i.e.,
3-hour, 12-hour, or 24-hour for short-term rolling averages and 365-day for long-term rolling
averages), including, but not limited to, short-term and long-term limits and averaging times that
apply (i) when no liquid fuel is burned in any of the Kapolei CRU Heaters and when the air
preheater is operating, and (ii) when liquid fuel is burned in any of the Kapolei CRU Heaters
and/or when the air preheater is not operating. Par shall comply with the Proposed Final Short-
Term and Long-Term CRU NOx Emission Limits beginning immediately upon submission of
the Demonstration Report until Par is required to comply with Final Short-Term and Long-Term
CRU NOx Emission Limits established by EPA, after an opportunity for consultation with
Hawaii DOH, pursuant to Paragraph 15.d.vii below.

                vii. Final NOx Emission Limits for the Kapolei CRU Heaters. EPA, after an
opportunity for consultation with Hawaii DOH, will use the data collected about the Kapolei
CRU Heaters during the Demonstration Period, as well as all other available and relevant
information, to establish Final Short-Term and Long-Term CRU NOx Emission Limits that shall
apply to the Kapolei CRU Heaters.

                      (a) EPA will establish concentration-based (ppmvd) Final Short-Term and
Long-Term CRU NOx Emission Limits (each corrected to 0% O2) and corresponding rolling
averaging times (i.e., 3-hour, 12-hour, or 24-hour for short-term rolling averages and 365-day for
long-term rolling averages), including, but not limited to, short-term and long-term limits and
averaging times that apply:

                          (1) when no liquid fuel is burned in any of the Kapolei CRU Heaters
and when the air preheater is operating; and

                          (2) when liquid fuel is burned in any of the Kapolei CRU Heaters
and/or when the air preheater is not operating.

                     (b) EPA will determine these limits based on:

                          (1) the level of performance during the baseline, Optimization, and
Demonstration Period;

                          (2) a reasonable certainty of compliance; and

                          (3) any other available and relevant information.




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                     (c) EPA will notify Par of its determination of the Final Short-Term and
Long-Term CRU NOx Emission Limits that shall apply to the Kapolei CRU Heaters. Par shall
immediately (or within sixty (60) Days, if EPA’s final NOx emission limits are more stringent
than Par’s proposed NOx emission limits) operate the Kapolei CRU Heaters so as to comply
with the EPA-established Final Short-Term and Long-Term CRU NOx Emission Limits. If Par
disputes the EPA-determined Final Short-Term and Long-Term CRU NOx emission limits, Par
shall invoke dispute resolution provisions of this Consent Decree by no later than thirty (30)
Days after EPA’s determination of the Final Short-Term and Long-Term CRU NOx Emission
Limits. During the period of dispute resolution, Par shall continue to comply with the Proposed
Final Short-Term and Long-Term CRU NOx Emission Limits that Par proposed pursuant to
Paragraph 15.d.vi above.

    16. Demonstrating Compliance with Kapolei Refinery Covered Heaters and Boilers NOx
Emission Limits.

           a. CEMS Requirements. Beginning no later than the corresponding compliance
dates in the table in Paragraph 15 above, Par shall use NOx and O2 CEMS at each of the
following Kapolei Covered Heaters and Boilers to monitor performance and to report
compliance with the terms and conditions of Paragraphs 15-16 of this Consent Decree: CRU
Charge Heater H501, CRU Interheater H502, CRU Interheater H503, CRU Interheater H504,
and Hydrogen Reformer Furnace H2001. A single NOx and O2 CEMS may be used for the
Kapolei CRU Heaters so long as the Kapolei CRU Heaters share and exclusively use a common
stack. The NOx and O2 CEMS shall be used to demonstrate compliance with the NOx emission
limits specified in the table in Paragraph 15 above. Par shall make CEMS data available to EPA
or Hawaii DOH upon request. Par shall install, certify, calibrate, maintain, and operate all
CEMS required by this Paragraph in accordance with the provisions of 40 C.F.R. § 60.13 that are
applicable to CEMS (excluding those provisions applicable only to COMS) and Part 60,
Appendices A and F, and the applicable performance specification test of 40 C.F.R. Part 60,
Appendix B.

           b. Annual Performance Tests. Beginning no later than the corresponding
compliance dates in the table in Paragraph 15 above and once every calendar year thereafter, Par
shall conduct a NOx performance test under representative operating conditions for each of the
following Kapolei Covered Heaters and Boilers to test and report compliance with the terms and
conditions of Paragraphs 15-16 of this Consent Decree: Vacuum Unit Charge Heater H175,
Hydrocracker 2nd Stage Charge Heater H601, Hydrocracker Fractionator Inlet Heater H602,
Hydrocracker 1st Stage Charge Heater H603, Visbreaker Heater H901, and Package Boiler
SG1103. Par shall comply with the performance test protocols established by EPA Method 7E in
conjunction with either EPA Method 19 or EPA Methods 1, 2, 3, 3A, and 4, or an EPA-approved
alternative test method. No more than ninety (90) Days after each test, Par shall submit the
performance test report to Hawaii DOH and shall make performance test data and test results,
including, but not limited to, mass emission rates, available to EPA or Hawaii DOH upon
request.

     SO2 Emissions Reductions from the Combustion Units at the Kapolei Refinery


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     17. Reducing or Eliminating Fuel Oil Burning.

          a. Limit on Sulfur Content of Fuel Oil Burned. Beginning no later than October 1,
2015, Par shall not burn Fuel Oil with a sulfur content greater than 0.5 percent by weight
(determined daily on a 30-day rolling average basis) in any Combustion Unit at the Kapolei
Refinery.

                 i.    Monitoring. At least five Days per week, Par shall monitor the sulfur
content of all fuel oil burned in any Combustion Unit at the Kapolei Refinery in accordance with
American Society for Testing and Materials D129, D2622, D4294, or D5453. Samples shall be
taken from the pump/circulation loop of Tank 1103, which is the only source of fuel oil delivered
to the Combustion Units that burn Fuel Oil at the Kapolei Refinery.

                 ii. Reporting and Recordkeeping. Par shall record the quantity and sulfur
content of all Fuel Oil burned in any Combustion Unit at the Kapolei Refinery, and shall include
this data with the semi-annual report submitted in accordance with Section X of this Consent
Decree.

          b.    Study to Minimize or Eliminate Fuel Oil Burning.

                 i.    One year prior to seeking Termination under Section XXI for all of its
remaining obligations under this Consent Decree, Par shall conduct a study on the minimization
or elimination of Fuel Oil burning at the Kapolei Refinery (“Fuel Oil Study”). Par shall
complete the Fuel Oil Study within four (4) months of commencement of the Fuel Oil Study. By
no later than sixty (60) Days after the completion of the Fuel Oil Study, Par shall submit to EPA
and Hawaii DOH a report on the results of the Fuel Oil Study. The Fuel Oil Study report shall
include all of the following:

                      (a) A detailed and comprehensive evaluation of the availability of natural
gas and the availability of synthetic natural gas for use at the Kapolei Refinery in place of Fuel
Oil burning;

                     (b) A proposed volumetric limit on or the proposed elimination of Fuel
Oil burning at the Kapolei Refinery based on the lowest feasible volume of Fuel Oil burning
needed to operate the Kapolei Refinery, given the availability of natural gas or synthetic natural
gas; and

                     (c) If Par concludes that it is not feasible to eliminate all Fuel Oil burning
at the Kapolei Refinery, then an estimated cost associated with Par’s proposed volumetric limit
on Fuel Oil burning and the estimated cost associated with eliminating all Fuel Oil burning at the
Kapolei Refinery.

                ii. After an opportunity to review the Fuel Oil Study report, EPA may request,
in writing, any other information EPA deems necessary to evaluate Par’s report. If EPA requests
additional information, Par shall provide such information to EPA and Hawaii DOH within thirty
(30) Days or such other period as agreed upon by EPA and Par.


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                iii. EPA shall, after consultation with Hawaii DOH, approve or disapprove, in
writing, Par’s proposed volumetric limit on, or proposed elimination of, Fuel Oil burning at the
Kapolei Refinery pursuant to Section XVI (Review, Approval, and Comment on Deliverables).
If EPA disapproves Par’s proposal, EPA will establish an alternative volumetric limit on or
require the elimination of Fuel Oil burning at the Kapolei Refinery.

                 iv. Par shall comply with its proposed volumetric limit on or proposed
elimination of Fuel Oil burning at the Kapolei Refinery upon submission of its Fuel Oil Study
report and until it is required to comply with the EPA-approved or EPA-established volumetric
limit on, or elimination of, Fuel Oil burning at the Kapolei Refinery pursuant to Paragraph
17.b.iii above.

                v. Within thirty (30) Days of receipt of the written notice of EPA’s response to
the Fuel Oil Study Report pursuant to Section XVI (Review, Approval, and Comment on
Deliverables), Par shall be subject to the EPA-approved or EPA-established volumetric limit on,
or elimination of, Fuel Oil burning at the Kapolei Refinery in accordance with the EPA-approved
or EPA-established time-frames. If Par disagrees with the EPA-established volumetric limit on,
or elimination of, Fuel Oil burning at the Kapolei Refinery, Par shall invoke dispute resolution,
pursuant to Section XV of this Consent Decree, within the same thirty (30) Day period or such
other period as agreed upon by EPA and Par.

     18. NSPS Applicability to Specific Kapolei Refinery Fuel Gas Combustion Devices.

           a. Beginning no later than October 1, 2015, Crude Heater No. 1 (Title V/Covered
Source Permit ID No. H101A), Stabilizer Heater No. 1 (Title V/Covered Source Permit ID
No. H102A), and Stabilizer Heater No. 2 (Title V/Covered Source Permit ID No. H102B) at the
Kapolei Refinery shall be “affected facilities” as that term is used in 40 C.F.R. Part 60, Subparts
A and J, and shall be subject to and comply with the requirements of 40 C.F.R. Part 60, Subparts
A and J, for SO2 applicable to FGCDs. H2S CMS(s) for these three FGCDs shall comply with
(i) the applicable monitoring requirements of 40 C.F.R. Part 60, Subparts A and J (or, if
applicable, Subparts A and Ja); and (ii) Part 60, Appendix F. Par shall make CMS data available
to EPA or Hawaii DOH upon request. Entry of this Consent Decree and compliance with the
relevant monitoring requirements of this Consent Decree for Crude Heater No. 1 (Title
V/Covered Source Permit ID No. H101A), Stabilizer Heater No. 1 (Title V/Covered Source
Permit ID No. H102A), and Stabilizer Heater No. 2 (Title V/Covered Source Permit ID No.
H102B) shall satisfy the notice requirements of 40 C.F.R. § 60.7(a) and the initial performance
test requirement of 40 C.F.R. § 60.8(a).

            b. By no later than October 1, 2015, Par shall provide a report to EPA and Hawaii
DOH with a written certification that all non-flare FGCDs at the Kapolei Refinery (i) are
“affected facilities” as that term is used in 40 C.F.R. Part 60, Subparts A and J (or, if applicable,
Subparts A and Ja); and (ii) are subject to the requirements of 40 C.F.R. Part 60, Subparts A and
J (or, if applicable, Subparts A and Ja), for SO2 applicable to FGCDs.

     SO2 Emissions Reductions from the Kapolei Refinery Sulfur Recovery Plant


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       19. Long-Term Kapolei SRP SO2 Emission Limit. Beginning no later than October 1,
2016, Par shall comply with a long-term Kapolei SRP SO2 emission limit of 180 ppmvd SO2
@ 0% O2 (365-day rolling average) (“Long-Term Kapolei SRP SO2 Emission Limit”), with the
first complete 365-day rolling average calculated on October 1, 2016, based on monitoring data
(obtained from the CEMS on Tail Gas Incinerator H1391) from October 1, 2016, and the 364
Days prior to October 1, 2016. Par shall comply with the Long-Term Kapolei SRP SO2
Emission Limit at each and every process train or release point or comply with a flow weighted
average of the limit for all release points from the Kapolei SRP. The Long-Term Kapolei SRP
SO2 Emission Limit shall apply at all times when the Kapolei SRP is operating (i.e., when there
is Acid Gas feed to the Kapolei SRP).

      20. Demonstrating Compliance with Long-Term Kapolei SRP SO2 Emission Limit.
Beginning no later than October 3, 2015, Par shall use SO2, O2, and flow CEMS on Tail Gas
Incinerator H1391 to monitor performance of the Kapolei SRP and to report compliance with the
terms and conditions of Paragraph 19 above. Beginning no later than October 1, 2016, Par shall
use SO2, O2, and flow CEMS to monitor performance of the Kapolei SRP at all release points
and to report compliance with the terms and conditions of Paragraph 19 above. CEMS shall be
used to demonstrate compliance with the SO2 emission limit established in Paragraph 19 above.
Par shall make CEMS data available to EPA or Hawaii DOH upon request. Par shall install,
certify, calibrate, maintain, and operate all CEMS required by this Paragraph in accordance with
the provisions of 40 C.F.R. § 60.13 that are applicable to CEMS (excluding those provisions
applicable only to COMS) and Part 60, Appendices A and F, and the applicable performance
specification test of 40 C.F.R. Part 60, Appendix B.

     21. NSPS Applicability to Kapolei SRP. Beginning no later than October 1, 2016, the
Kapolei SRP shall be an “affected facility” as that term is used in 40 C.F.R. Part 60, Subparts A
and Ja, and shall be subject to and comply with the requirements of 40 C.F.R. Part 60, Subparts
A and Ja, for SO2 applicable to sulfur recovery plants (including, but not limited to, the
requirements to install, certify, calibrate, maintain, and operate SO2 and O2 CEMS on Tail Gas
Incinerator H1353 and Tail Gas Incinerator H1391). Entry of this Consent Decree and
compliance with the relevant monitoring requirements of this Consent Decree for the Kapolei
SRP shall satisfy the notice requirements of 40 C.F.R. § 60.7(a) and the initial performance test
requirement of 40 C.F.R. § 60.8(a).

     CEMS/CMS Downtime Minimization, O&M, and Corrective Action

       22. Certification of Installation, Upgrade, or Replacement of Kapolei SRP CEMS and
Non-Flare FGCD CMS. By no later than January 1, 2017, Par shall provide a report to EPA and
Hawaii DOH with a written certification that: (i) all Kapolei SRP CEMS have been installed,
upgraded, or replaced to meet the requirements of 40 C.F.R. Part 60, Subparts A and Ja; and
(ii) all non-flare FGCD CMS have been installed, upgraded, or replaced to meet the applicable
requirements of 40 C.F.R. Part 60, Subparts A and J (or, if applicable, Subparts A and Ja).




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     23. CEMS/CMS O&M Plan. By no later than July 1, 2017, Par shall develop and submit
for EPA and Hawaii DOH review and comment, as provided in Paragraph 27 below, a
comprehensive CEMS/CMS Operation and Maintenance Plan (“CEMS/CMS O&M Plan” or
“Plan”) for the Kapolei Refinery that is designed to enhance the performance of CEMS/CMS
components, improve CEMS/CMS accuracy and stability, and minimize periods of CEMS/CMS
Downtime. This CEMS/CMS O&M Plan shall include at a minimum each of the elements
identified in Paragraphs 24 through 26 below. By no later than July 1, 2018, Par shall submit for
EPA and Hawaii DOH review and comment, as provided in Paragraph 27 below, a revision to
the CEMS/CMS O&M Plan to account for the new NOx CEMS installed pursuant to Paragraph
16.a above.

     24. CEMS Operations and Maintenance Training. Par shall provide regular training for all
individuals (Par employees and contractors) involved in CEMS/CMS operations and
maintenance to maintain necessary levels of monitoring competency. All newly-hired
individuals (Par employees and contractors) involved in CEMS/CMS operations and
maintenance shall be trained prior to undertaking any CEMS/CMS-related responsibilities. The
CEMS/CMS O&M Plan shall additionally ensure that all individuals involved in CEMS/CMS
operations and maintenance have access to and are familiar with the CEMS/CMS O&M Plan.

    25. CEMS Testing and Calibration. Par shall certify, calibrate, maintain, and operate all
CEMS/CMS in accordance with the provisions of 40 C.F.R. § 60.13 that are applicable to
CEMS/CMS (excluding those provisions applicable only to COMS) and 40 C.F.R. Part 60,
Appendices A and F, and the applicable performance specification test of 40 C.F.R. Part 60,
Appendix B. These requirements shall be included in the CEMS/CMS O&M Plan.

    26. Preventative Maintenance and Repair, and Quality Assurance/Quality Control
(“QA/QC”). The Kapolei Refinery’s CEMS/CMS O&M Plan shall include the following:

          a. A CEMS/CMS preventative maintenance program to provide for a regularly
scheduled set of activities designed to prevent problems before they occur. Such activities and
procedures may be based initially on the CEMS/CMS vendor’s recommendations. Routine
preventative maintenance procedures shall be updated periodically to include such procedures as
may be necessary or appropriate based on experience with each CEMS/CMS.

            b. A CEMS/CMS QA/QC program to include provisions for assessing and
maintaining the quality of continuous emission monitoring data, including regular (e.g., daily,
weekly, monthly) routine internal (and, as needed, external) maintenance and operation checks
designed to maintain or improve data quality and minimize CEMS/CMS Downtime. Internal
checks include, but are not limited to, CEMS/CMS inspections, periodic calibrations, routine
maintenance, and measures to assess the quality of CEMS/CMS data (i.e., accuracy and
precision). External checks include, but are not limited to, independent third-party CEMS/CMS
audits, third-party sampling and analysis for accuracy and precision, or other assessments to
ensure continuous and accurate CEMS/CMS operations.




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           c. A CEMS/CMS repair program to ensure the timely repair of CEMS/CMS to
address both routine maintenance and repair and non-routine maintenance and repair. Par shall
maintain a spare parts inventory adequate to meet the normal operating and CEMS/CMS
preventative maintenance requirements. Par shall establish procedures for acquisition of parts on
an emergency basis (e.g., vendor availability on a next-day basis). An individual at the Kapolei
Refinery shall be designated for overall responsibility for maintaining the adequacy of the spare
parts inventory. The on-site spare parts inventory may be based on the vendor’s
recommendations and shall be modified on an as-needed basis.

     27. EPA Review and Comment on CEMS/CMS O&M Plan.

           a. EPA may provide written comments on the CEMS/CMS O&M Plan submitted
by Par, in whole or in part, or EPA may decline to comment, as provided by Section XVI of this
Decree (Review, Approval, and Comment on Deliverables).

           b. Upon the latter of expiration of sixty (60) Days from the date of Par’s submission
of the CEMS/CMS O&M Plan, or upon completion of any dispute resolution process under
Section XV of this Consent Decree regarding the CEMS/CMS O&M Plan, Par shall implement
the CEMS/CMS O&M Plan in accordance with the requirements and schedule within the Plan,
or as otherwise agreed by the Parties or ordered by the Court in dispute resolution (if applicable).

      28. CEMS/CMS Root Cause Failure Analysis. For any CEMS/CMS having a Downtime
greater than 5% of the total operating time for each of two consecutive Calendar Quarters, no
later than ninety (90) Days following the end of the second Calendar Quarter triggering this
requirement, Par shall conduct a CEMS/CMS Root Cause Failure Analysis and develop a
downtime corrective action plan (“Downtime Corrective Action Plan”) to promptly address the
findings of the CEMS/CMS Root Cause Failure Analysis. Solely for the purpose of conducting a
CEMS/CMS Root Cause Failure Analysis under this Paragraph 28, Downtime for the Kapolei
SRP CEMS on each Tail Gas Incinerator (i.e., H1353 and H1391) will be quantified
independently. The CEMS/CMS Root Cause Failure Analysis shall include the following
elements, at a minimum:

       a. An identification and detailed analysis setting forth the root cause(s) of the
CEMS/CMS Downtime;

          b.    The steps, if any, taken to limit the duration of the CEMS/CMS Downtime; and

           c. An analysis of the measures reasonably available to prevent the root cause(s) of
the CEMS/CMS Downtime from recurring. This analysis shall include an evaluation of possible
design, operational, and maintenance measures. For any CEMS/CMS for which a CEMS/CMS
Root Cause Failure Analysis is required twice within 12 consecutive Calendar Quarters, Par shall
retain an independent third party to evaluate Par’s assessment of CEMS/CMS Downtime
cause(s), which may include recommendations for additional corrective actions or modification
to Par’s CEMS/CMS O&M Plan.




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      29. The findings of the CEMS/CMS Root Cause Failure Analysis and Downtime
Corrective Action Plan, including a schedule for implementation, shall be submitted to EPA and
Hawaii DOH in a written report included with the first semi-annual report required by Section X
of this Consent Decree following completion of the CEMS/CMS Root Cause Failure Analysis.

      30. Corrective Action related to the CEMS/CMS Root Cause Failure Analysis and
Downtime Corrective Action Plan. The Downtime Corrective Action Plan shall require Par to
undertake, as expeditiously as reasonably possible, such reasonably available corrective actions
as are necessary to correct the cause of the CEMS/CMS Downtime and to prevent a recurrence
of the root cause(s) identified in the CEMS/CMS Root Cause Failure Analysis. The Downtime
Corrective Action Plan shall include a description of any corrective actions already completed or,
if not complete, a schedule for their implementation including proposed commencement and
completion dates.

            a. After a review of a CEMS/CMS Root Cause Failure Analysis and Downtime
Corrective Action Plan, EPA may notify Par in writing of: (i) any deficiencies in the corrective
actions listed in the findings; or (ii) any objections to the schedules of implementation of the
corrective actions and explain the basis for EPA’s objections.

               i.    If Par has not yet commenced implementation of the Downtime Corrective
Action Plan, Par shall implement an alternative or revised corrective action or implementation
schedule based on EPA’s comments.

                ii. If a corrective action that EPA has identified as deficient has already
commenced or is already completed, then Par is not obligated to implement the corrective action
identified by EPA. However, Par shall be on notice that EPA considers such corrective action
deficient and not acceptable for remedying any subsequent, similar root cause(s) of any future
CEMS/CMS Downtime.

          b. If EPA and Par cannot agree on the appropriate corrective action(s) or
implementation schedule(s), if any, to be taken in response to a CEMS/CMS Root Cause Failure
Analysis, either party may invoke dispute resolution pursuant to Section XV of this Consent
Decree.

     Requirements for Certain Tanks at the Kapolei Refinery

      31. Tanks 106, 107, 110, 202, 204, 405, 510, 611, and 3526. By no later than October 1,
2015, Par shall provide a report to EPA and Hawaii DOH with a written certification that
(i) Tanks 106, 107, 110, 202, 204, 405, 510, 611, and 3526 at the Kapolei Refinery are in
compliance with the applicable requirements of NESHAP Subparts A and CC, including, but not
limited to, 40 C.F.R. §§ 63.646 and 63.647; and (ii) Tanks 107, 110, 611, and 3526 at the
Kapolei Refinery are in compliance with the applicable requirements of NSPS Subparts A and
Kb, including, but not limited to, 40 C.F.R. § 60.112b.

     C.   Kenai Refinery



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     32. Additional Definitions. Except as expressly set forth elsewhere in this Consent
Decree, the terms used in this Section V.C shall have the meaning given to those terms in this
Paragraph, or, if not defined in this Consent Decree, as defined in the Clean Air Act and the
regulations promulgated thereunder.

          a. An “Acid Gas Flaring Event” shall mean the continuous or intermittent
combustion of Acid Gas and/or Sour Water Stripper Gas in the Kenai SRU Flare that results in
the emission of SO2 equal to, or in excess of, 500 pounds in any 24-hour period; provided,
however, that if 500 pounds or more of SO2 has been emitted in a 24-hour period and Acid Gas
Flaring continues into subsequent, contiguous, non-overlapping 24-hour period(s), each period of
which results in emissions equal to, or in excess of, 500 pounds of SO2, then only one Acid Gas
Flaring Event shall have occurred. Subsequent, contiguous, non-overlapping periods are
measured from the initial commencement of flaring within the Acid Gas Flaring Event.

          b. “AOP” or “Kenai Refinery AOP” shall mean the Title V Permit issued by ADEC
for the Kenai Refinery.

          c. “Kenai SRU Flare” shall mean the emission unit labeled SRU Flare in Table A of
the Kenai Refinery AOP.

          d. “Kenai Main Refinery Flare” shall mean the emission unit labeled J-801 in
Table A of the Kenai Refinery AOP.

           e. “SO2 Monitor Trigger Event” shall mean the third Acid Gas Flaring Event
(“Event”) from the Kenai SRU Flare within any rolling 12-month period between the period
starting January 1, 2013, and the Termination of this Consent Decree. A rolling 12-month period
shall include the first Day of the month in which an Event occurs and runs to the last Day of the
11th subsequent month. A SO2 Monitor Trigger Event will not include any Acid Gas Flaring
Event caused by a force majeure event.

     33. H2S Monitoring for the Kenai Main Refinery Flare and Kenai Refinery Fuel Gas
System. By July 1, 2015, Tesoro shall comply with the following requirements:

         a. Tesoro shall comply with the applicable NSPS Subpart A and NSPS Subpart J
requirements, 40 C.F.R. § 60.1-19 and § 60.100-109, at the Kenai Refinery Fuel Gas System.

          b. Tesoro shall upgrade the H2S or Total Sulfur (“TS”) CMS at the Kenai Refinery
for the Kenai Main Refinery Flare and the Kenai Refinery Fuel Gas System (“Upgraded CMS”).

                i.   The TS CMS monitor (AI-8716) for the Main Refinery Flare shall be
capable of satisfying the span value requirements set forth in 40 C.F.R. § 60.107a(e)(1)(i).

                ii. The H2S CMS monitor (AI-7408) for the Kenai Refinery Fuel Gas System
shall be capable of recording a range up to 3,000 ppm H2S.




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          c. Tesoro shall install and continuously operate the Upgraded CMS monitors in
accordance with the applicable requirements of the Kenai Refinery AOP and 40 C.F.R.
§ 60.13(e).

     34. NSPS Subpart QQQ Compliance.

          a. Tesoro shall comply with the applicable NSPS Subpart QQQ requirements,
40 C.F.R. §§ 60.690-699, at the Kenai Refinery.

           b. By no later than January 1, 2014, Tesoro shall install an above ground storage
tank or tanks sufficient to replace the capacity of the API canals (emission unit ID 110) at the
Kenai Refinery.

         c. The storage tank(s) shall meet the applicable requirements of 40 C.F.R. Part 60,
Subpart QQQ for oil-water separators.

    35. Subpart KKKK Compliance. Tesoro shall comply with the applicable NSPS
Subpart KKKK requirements, 40 C.F.R. §§ 60.4300-4420, at the Kenai Refinery.

   36. NESHAP Subpart UUU Compliance. Tesoro shall comply with the applicable
NESHAP Subpart UUU requirements, 40 C.F.R. §§ 63.1560-1579, at the Kenai Refinery.

     37. Ambient SO2 Monitoring Requirements.

           a. Acid Gas Flaring Event Reporting. Beginning on January 1, 2013, by no later
than thirty (30) Days after the end of a month during which an Acid Gas Flaring Event ends,
Tesoro shall submit to EPA and ADEC a report that sets forth the following:

                 i.   The date and time that the Acid Gas Flaring Event started and ended. To
the extent that the Acid Gas Flaring Event involved multiple releases within a 24-hour period or
within subsequent, contiguous, non-overlapping 24-hour periods, Tesoro will set forth the
starting and ending dates and times of each release;

                ii. An estimate of the quantity of SO2 that was emitted during the Acid Gas
Flaring Event, and the calculations or data analyzed or used to determine the quantity;

               iii. The steps, if any, Tesoro took to limit the duration and/or quantity of SO2
emissions associated with the Acid Gas Flaring Event;

               iv. An analysis that sets forth the root cause and all contributing causes of the
Acid Gas Flaring Event, to the extent determinable;

               v. A statement on whether Tesoro claims that the Acid Gas Flaring Event was
caused by force majeure and the basis for that claim;




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               vi. A statement on the number of Acid Gas Flaring Events in the preceding
12-month period, including any Acid Gas Flaring Events that have been claimed as attributable
to force majeure;

                 vii. An analysis of the measures, if any, that are available to reduce the
likelihood of a recurrence of an Acid Gas Flaring Event resulting from the same root cause or
contributing causes in the future;

                 viii. To the extent that analysis and investigation of the estimated quantity of
SO2 released and the causes and/or possible corrective actions still are underway on the due date
of the report, a statement of the anticipated date by which a follow-up report fully conforming to
the requirements of this Paragraph will be submitted; and

                  ix. To the extent that completion of the implementation of corrective action(s),
if any, is not finalized at the time of the submission of the report required under this Paragraph,
then, by no later than thirty (30) Days after completion of the corrective action(s), Tesoro will
submit a report identifying the corrective action(s) taken and the dates of commencement and
completion of those actions.

         b. No later than twelve (12) months from the last Day of the month when an SO2
Monitor Trigger Event ends, Tesoro will install, operate, and maintain an ambient SO2
monitoring system including meteorological monitoring equipment at the Kenai Refinery in
accordance with the requirements in Paragraphs 37.c-i below. If EPA concludes that an SO2
Monitor Trigger Event has occurred, it will notify Tesoro in writing within a reasonable time.

            c. SO2 Monitoring Equipment. The ambient SO2 monitoring system required by
Paragraph 37.b above shall measure the concentrations of SO2 in air in accordance with the EPA
federal reference test method or the EPA equivalent reference test method requirements specified
in 40 C.F.R. Part 53. Concentrations of SO2 will be continuously measured and reported in
accordance with PSD monitoring requirements outlined in 40 C.F.R. Part 58, and the most recent
version of EPA Quality Assurance (“QA”) Handbook for Air Pollution Measurement Systems,
Volume II (available at http://www.epa.gov/ttn/amtic/qalist.html). Within ninety (90) Days of an
SO2 Monitor Trigger Event, Tesoro shall provide EPA and ADEC with a monitoring plan that
includes, at a minimum, an identification of the locations of the meteorological station and the
monitoring station and how those sites meet this Consent Decree’s requirements and a proposed
Quality Assurance Project Plan (“QAPP”) that describes the Quality Assurance/Quality Control
procedures, specifications, and other technical activities to be implemented to ensure that the
results of the monitoring program meet project specifications and data availability requirements
of this Consent Decree. The monitoring plan is subject to EPA approval in consultation with
ADEC in accordance with Section XVI of this Consent Decree (Review, Approval, and
Comment on Deliverables).

          d. Meteorological Monitoring Equipment. The SO2 monitoring system required by
Paragraph 37.b above shall include meteorological monitoring equipment/sensors that shall meet
or exceed PSD performance specifications as outlined in the most recent version of EPA


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document QA Handbook for Air Pollution Measurement Systems, Volume IV: Meteorological
Measurements Version 2.0. Specific meteorological parameters will be continuously monitored
and recorded to obtain data representative of prevailing meteorological conditions for the Kenai
Refinery area. The data set produced shall be adequate to correlate prevailing conditions with
pollutant measurements and transport.

                i.   Continuously measured meteorological parameters shall include hourly-
averaged (scalar or vector) measurements of horizontal wind speed and wind direction, the
standard deviation of the horizontal wind direction (sigma theta), air temperature and relative
humidity. Wind speed and direction shall be measured at a height of approximately 10 meters.
Temperature shall be measured at both a height of 2 meters and 10 meters (for determining delta
temperature). Relative humidity, solar radiation and barometric pressure shall be measured at a
height of 2 meters.

               ii. Wind direction and sigma theta measurement data shall be compiled and
reported as hourly block averages in degrees (o), rounded to the nearest whole degree. Wind
speed data measurement data shall be compiled and reported as hourly block averages in meters
per second (m/s) rounded to the nearest tenth of a m/s.

               iii. Air temperature measurement data will be compiled and reported as hourly
block averages in degrees Fahrenheit (º F) or Celsius (º C), rounded to the nearest tenth of a
degree.

               iv. Relative humidity measurement data will be compiled and reported as
hourly block averages in percent, rounded to the nearest whole percent.

            e. Quality Assurance/Quality Control (“QA/QC”). In accordance with Section XVI
(Review, Approval, and Comment on Deliverables), Tesoro shall, no later than ninety (90) Days
after the SO2 Monitor Triggering Event, and prior to commencing operation of the monitor,
develop and submit to EPA and ADEC for approval by EPA in consultation with ADEC a QAPP
that describes the make and model of the monitor to be used, Quality Assurance/Quality Control
procedures, specifications, and other technical activities to be implemented to ensure that the
results of the monitoring meets project specifications. Tesoro shall, at a minimum, incorporate
into their QAPP the QC checks and QC criteria specified in the SO2 Validation Template located
in Appendix D of the EPA document QA Handbook for Air Pollution Measurement Systems,
Volume II. Tesoro shall ensure that all data collected by the monitor is verified and validated on
a monthly basis or more frequently. The verification/validation process for a given month’s data
shall be completed by no later than the end of the month following the month within which the
data were collected and shall follow the procedures described in the approved QAPP. EPA or
ADEC may request data or a demonstration from Tesoro at any time that the monitoring
equipment is functioning as contemplated in the approved QAPP.

         f.    Monitor Station. All monitoring equipment (except the meteorological
equipment and support tower) shall be installed and operated inside a temperature controlled
equipment shelter. The temperature within this shelter shall be continuously monitored and


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recorded to a data acquisition system (“DAS” or “data logger”) with an averaging time of no
greater than 1 hour. The climate control system for the monitoring shelter shall be capable of
maintaining a stable temperature within the range of 15° C to 30° C or per manufacturer
specifications, and shall meet 24-hour standard deviation criteria as specified in the EPA QA
Handbook for Air Pollution Measurement Systems, Volume II.

           g. Monitor Location. The SO2 ambient monitor shall be located at the existing
monitoring station site (referred to as “UTAMP1”) located to the southwest of the Kenai
Refinery. The following siting criteria based on 40 C.F.R. Part 58 Appendix E requirements
shall be considered, unless otherwise approved by EPA in consultation with ADEC:

                 i.   Probe or sampler inlet should be 2 to 5 meters above ground and have
unrestricted airflow 270 degrees around the sample inlet probe. The Kenai SRU Flare shall be
within this 270 degree arc of unrestricted airflow.

                ii.   Probe or sampler inlet shall be >20 meters from the drip line of any tree(s).

               iii. The SO2 sampler inlet shall be >1 meter away from supporting structures,
walls and parapets.

                iv. The distance from a sampler probe inlet to an obstacle, such as a building,
should be at least twice the height the obstacle protrudes above the sampler, probe, or monitoring
path.

                v. All probes and samplers should be away from minor sources, such as
incineration flues, to avoid undue influences from minor sources. The separation distance is
dependent on the height of the minor source’s emission point (such as a flue), the type of fuel or
waste burned, and the quality of the fuel.

            h. Monitor Operation. Tesoro shall operate and maintain the SO2 monitor described
herein in accordance with manufacturers’ recommendations for a period of five (5) years after an
SO2 Monitor Trigger Event and installation has occurred. Nothing in this Paragraph shall
preclude the use of any other, additional ambient monitoring equipment and/or monitoring of any
other, additional pollutants around the Kenai Refinery. The requirements of this Paragraph 37
shall cease to apply if the Kenai Refinery becomes subject to an enforceable requirement to
conduct equivalent SO2 monitoring as a result of a newly promulgated SIP or any other federal or
state legal requirement applicable to the Kenai Refinery. In the event Tesoro believes such a
requirement exists, it may request a Certificate of Completion under Section XXI of this Consent
Decree (Termination). Upon issuance of such Certification of Completion, the requirements of
this Paragraph 37 shall cease.

          i.    SO2 Monitor Data Reporting.

               i.   Tesoro shall retain all data recorded by the SO2 monitor pursuant to this
Paragraph 37 in accordance with the record retention provisions of this Consent Decree, and



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shall make all data recorded by the monitor available to EPA or ADEC within thirty (30) Days of
a written request.

                ii. Tesoro shall submit to EPA and ADEC in report form all quality reviewed
raw data from the SO2 monitor and the meteorological sensors on a semi-annual basis pursuant
to Section X (Reporting and Recordkeeping). For all missing or invalidated data points, Tesoro
shall provide qualifying remarks which provide an explanation as to why the data is not present.

               iii. Tesoro shall also submit to EPA and ADEC an event report for any period
when: (i) any 1-hour SO2 concentration equals or exceeds 75 ppb; (ii) any 3-hour SO2
concentration equals or exceeds 500 ppb; or (iii) any 24-hour SO2 concentration equals or
exceeds 140 ppb. Tesoro shall submit its event report to EPA and ADEC by no later than
fourteen (14) Days after any event meeting the criteria set out in this Paragraph.

                iv. These notification and reporting requirements shall not supersede any other
applicable notification or reporting requirements that apply to releases pursuant to Tesoro’s
permits or other legal obligations.

      38. Kenai Refinery Title V Compliance.

         a. Tesoro shall comply with AOP conditions identified in the following table at the
Kenai Refinery (or future succeeding AOP condition(s) as applicable):



 Permit Number AQ0035TVP02                  Source of Underlying Obligation
 Rev. 4 (Issue Date: October 15,
 2012, Revision Date: August 6, 2015
 Expiration Date: Oct. 15, 2017)
 Condition Number
 10.2                                       1/18/97 & 10/1/2004 SIP Requirements found at 18
                                            AAC 50.055(d)(3)(A)
 10.6, 35.3 & 35.4                          Construction Permit No. 9923-AC010 Rev.1, Exhibits
                                            C & D(6), 12/31/02
 20.1-20.2                                  Construction Permit No. 9923-AC010 Rev.1, Exhibits
                                            B(A), C & D(5), 12/31/02
 16                                         Construction Permit No. 9923-AC010 Rev.1 Exhibits B
                                            (G), 12/31/02
 23                                         Construction/Operating Permit No. 9323-AA008
                                            (amended), Condition 22 and Exhibit C, 11/18/96
 137                                        1/18/97 & 10/1/2004 SIP requirements found at 18
                                            AAC 50.205
 140.1                                      1/18/97 SIP requirements found at 18 AAC 50.240(c)

           b.   Title V Compliance Audit.


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               i.   Tesoro shall implement a third-party compliance auditing program at the
Kenai Refinery that will consist of at least two cycles of auditing and correction.

                 ii. The third-party auditor shall be an entity with demonstrated experience and
expertise in evaluating compliance with applicable Clean Air Act requirements, and shall not
share any common ownership or management responsibilities with the Settling Defendants or
their subsidiaries or affiliates.

               iii. The objective of the auditing program will be to determine compliance with
the requirements identified in the Kenai Refinery AOP excluding the Kenai Refinery’s LDAR
obligations.

                 iv. The scope of the audit shall be broad enough to enable the third-party
auditor to identify and address applicable requirements under the Clean Air Act that are not
identified in the facility’s AOP.

                 v. Tesoro shall initiate the first cycle of the compliance audit by retaining a
third-party auditor to perform the audit by no later than December 1, 2016. The audit shall
review compliance with any of the facility’s applicable requirements under the Clean Air Act
during the one year period immediately preceding the beginning of the onsite audit. The audit
report shall be submitted to the EPA and ADEC no later than July 1, 2017 (“AOP Compliance
Audit Report”).

                 vi. Tesoro shall initiate the second cycle of the compliance audit by retaining a
third party to perform an audit no later than October 1, 2020, and no earlier than July 1, 2017.
The second cycle of the compliance audit shall identify any non-compliance with any of the
Kenai Refinery’s applicable requirements under the Clean Air Act during the two-year period
preceding the date of the beginning of the second onsite audit. The AOP Compliance Audit
Report shall be submitted to the EPA no later than 18 months after initiating the second cycle of
the compliance audit.

                 vii. Tesoro shall provide supporting documentation used in the preparation of
the audit report upon written request by the EPA and/or ADEC.

               viii. Tesoro shall include in each AOP Compliance Audit Report at least the
following information:

                     (a) An identification of each AOP requirement covered by the compliance
audit;

                    (b) Identification of any applicable requirements that were not included in
the AOP at the time of the audit;

                     (c) Description of the compliance status with respect to each applicable
requirement; and



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                     (d) If non-compliance was identified, a description of the root cause of
each non-compliant condition, to the extent determinable, as well as what actions were taken or
are being taken to achieve compliance with each applicable requirement as soon as practicable.

     D.   Mandan Refinery

      39. Stack Test Requirements for Mandan Refinery FCCU. By no later than July 1, 2016,
Tesoro shall conduct annual PM stack testing using three test runs of at least one hour in length
as set forth in 40 C.F.R. § 63.1571(b)(2) to demonstrate compliance with 40 C.F.R. § 63.1564.

     40. Tesoro shall operate the scrubber and the wet electrostatic precipitator at the Mandan
Refinery according to manufacturer’s specifications and good engineering practices.

     41. CMS Downtime Minimization, O&M, and Corrective Action.

           a. CMS Operation and Maintenance Plan. By no later than July 1, 2016, Tesoro
shall develop and submit for EPA comment, a comprehensive CMS Operation and Maintenance
Plan (“CMS O&M Plan” or “Plan”) for the Mandan Refinery that is designed to enhance the
performance of CMS components, improve CMS accuracy and stability, and minimize periods of
CMS Downtime. This CMS O&M Plan shall include, at a minimum, each of the elements
identified in Paragraph 41.a.i through 41.a.iv. below.

                i.    CMS Operations and Maintenance Training. The CMS O&M Plan shall
provide for regular training for all individuals (Tesoro employees and contractors) involved in
CMS operations and maintenance to maintain necessary levels of monitoring competency. All
newly-hired individuals (Tesoro employees and contractors) involved in CMS operations and
maintenance shall be trained prior to undertaking any CMS-related responsibilities. The CMS
O&M Plan shall additionally ensure that all individuals involved in CMS operations and
maintenance have access to and are familiar with the CMS O&M Plan.

               ii. CMS Testing and Calibration. Tesoro shall certify, calibrate, maintain, and
operate all CMS in accordance with the provisions of 40 C.F.R. § 60.13 that are applicable to
CMS (excluding those provisions applicable only to COMS) and 40 C.F.R. Part 60, Appendices
A and F, and the applicable performance specification test of 40 C.F.R. Part 60, Appendix B.
These requirements shall be included in the CMS O&M Plan.

              iii. Preventative Maintenance and Repair, and Quality Assurance/Quality
Control (“QA/QC”). The CMS O&M Plan shall include the following:

                      (a) A CMS preventative maintenance program to provide for a regularly
scheduled set of activities designed to prevent problems before they occur. Such activities and
procedures may be based initially on the CMS vendor’s recommendations. Routine preventative
maintenance procedures shall be updated periodically to include such procedures as may be
necessary or appropriate based on experience with each CMS.




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                       (b) A CMS QA/QC program to include provisions for assessing and
maintaining the quality of continuous emission monitoring data, including regular (e.g., daily,
weekly, monthly) routine internal (and, as needed, external) maintenance and operation checks
designed to maintain or improve data quality and minimize CMS Downtime. Internal checks
include, but are not limited to, CMS inspections, periodic calibrations, routine maintenance and
measures to assess the quality of CMS data (i.e., accuracy and precision). External checks
include, but are not limited to, independent third-party CMS audits, third-party sampling and
analysis for accuracy and precision, or other assessments to ensure continuous and accurate CMS
operations.

                iv. A CMS repair program to ensure the timely repair of CMS to address both
routine maintenance and repair and non-routine maintenance and repair. Tesoro shall maintain a
spare parts inventory adequate to meet the normal operating and CMS preventative maintenance
requirements. Tesoro shall establish procedures for acquisition of parts on an emergency basis
(e.g., vendor availability on a next-day basis). An individual at the Mandan Refinery shall be
designated for overall responsibility for maintaining the adequacy of the spare parts inventory.
The on-site spare parts inventory may be based on the vendor's recommendations and shall be
modified on an as-needed basis.

        b. EPA Review and Comment on CMS O&M Plan. EPA may provide written
comments on the CMS O&M Plan submitted by Tesoro, in whole or in part, or EPA may decline
to comment, as provided by Section XVI (Review, Approval, and Comment on Deliverables).

           c. Upon the latter of expiration of sixty (60) Days from the date of Tesoro’s
submission of the CMS O&M Plan, or if Tesoro invokes dispute resolution, upon completion of
any dispute resolution process under Section XV of this Consent Decree regarding the CMS
O&M Plan, Tesoro shall implement the CMS O&M Plan in accordance with the requirements
and schedule within the Plan or as otherwise agreed by the Parties or ordered by the Court in
dispute resolution (if applicable).

          d. CMS Root Cause Failure Analysis. For any CMS having a Downtime greater
than 5% of the total time for each of two consecutive Calendar Quarters, no later than ninety (90)
Days following the end of the second Calendar Quarter triggering this requirement, Tesoro shall
conduct a CMS Root Cause Failure Analysis and develop a downtime corrective action plan
(“Downtime Corrective Action Plan”) to promptly address the findings of the CMS Root Cause
Failure Analysis and submit this plan to EPA for comment. The CMS Root Cause Failure
Analysis shall include the following elements, at a minimum:

           i.        An identification and detailed analysis setting forth the root cause(s) of the
CMS Downtime;

               ii.   The steps, if any, taken to limit the duration of the CMS Downtime; and

                iii. An analysis of the measures reasonably available to prevent the root
cause(s) of the CMS Downtime from recurring. This analysis shall include an evaluation of
possible design, operational, and maintenance measures. For any CMS for which a CMS Root

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Cause Failure Analysis is required twice within 12 consecutive Calendar Quarters, Tesoro shall
retain an independent third party to evaluate Tesoro’s assessment of CMS Downtime cause(s),
which may include recommendations for additional corrective actions or modification to
Tesoro’s CMS O&M Plan.

           e. Corrective Action. The Downtime Corrective Action Plan shall require Tesoro
to undertake as expeditiously as reasonably possible such reasonably available corrective actions
as are necessary to correct the cause of the CMS Downtime and to prevent a recurrence of the
root cause(s) identified in the CMS Root Cause Failure Analysis. The Downtime Corrective
Action Plan shall include a description of any corrective actions already completed or, if not
complete, a schedule for their implementation including proposed commencement and
completion dates.

            f.    After a review of a CMS Root Cause Failure Analysis and Downtime Corrective
Action Plan, EPA may notify Tesoro in writing of: (i) any deficiencies in the corrective actions
listed in the findings; and/or (ii) any objections to the schedules of implementation of the
corrective actions and explain the basis for EPA’s objections.

               i.   If Tesoro has not yet commenced implementation of the Downtime
Corrective Action Plan, Tesoro shall implement an alternative or revised corrective action or
implementation schedule based on EPA’s comments.

                 ii. If a corrective action that EPA has identified as deficient has already
commenced or is already completed, then Tesoro is not obligated to implement the corrective
action identified by EPA. However, Tesoro shall be on notice that EPA considers such
corrective action deficient and not acceptable for remedying any subsequent, similar root
cause(s) of any future CMS Downtime.

                iii. If EPA and Tesoro cannot agree on the appropriate corrective action(s) or
implementation schedule(s), if any, to be taken in response to a CMS Root Cause Failure
Analysis, either party may invoke the dispute resolution pursuant to Section XV of this Consent
Decree.

     E.   Martinez Refinery

     42. Additional Definitions. Except as expressly set forth elsewhere in this Consent
Decree, the terms used in this Section V.E shall have the meaning given to those terms in this
Paragraph, or, if not defined in this Consent Decree, as defined in the Clean Air Act and the
regulations promulgated thereunder.

          a. “Acid Gas” or “AG” for purposes of this Section V.E shall mean any gas that
contains H2S and is generated at the Martinez Refinery by the regeneration of an amine scrubber
solution.

          b.     “Acid Gas Flaring” shall mean the combustion of Acid Gas or Sour Water
Stripper Gas in an AG Flaring Device. Nothing in this definition shall be construed to modify,


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limit, or affect EPA’s authority to regulate the flaring of gases that do not fall within the
definitions contained in this Consent Decree of Acid Gas or Sour Water Stripper Gas.

           c. “AG Flaring Device” shall mean any device at the Martinez Refinery that is used
for the purpose of combusting Acid Gas or Sour Water Stripper Gas, except facilities in which
gases are combusted to produce elemental sulfur, sulfuric acid, or ammonium thiosulfate.

     NOx Emissions Reductions from the Martinez Refinery FCCU

     43. Interim and Final Martinez FCCU NOx Emission Limits.

            a. Interim Limits. Beginning no later than October 1, 2015, Tesoro shall comply
with the following interim emission limits at the Martinez FCCU: (i) a short-term FCCU NOx
emission limit of 175.1 ppmvd NOx @ 0% O2 (24-hour average) (“Interim Short-Term Martinez
FCCU NOx Emission Limit”); and (ii) a long-term FCCU NOx emission limit of 52.5 ppmvd
NOx @ 0% O2 (365-day rolling average) (“Interim Long-Term Martinez FCCU NOx Emission
Limit”). For the Interim Long-Term Martinez FCCU NOx Emission Limit, the first complete
365-day rolling average shall be calculated on October 1, 2015, based on monitoring data
(obtained from CEMS certified as compliant with either EPA or BAAQMD CEMS monitoring
requirements) from October 1, 2015, and the 364 Days prior to October 1, 2015.

           b. Final Limits. Tesoro shall comply with the following final emission limits at the
Martinez FCCU: (i) beginning no later than July 1, 2017, a short-term Martinez FCCU NOx
emission limit of 40 ppmvd NOx @ 0% O2 (7-day rolling average) (“Final Short-Term Martinez
FCCU NOx Emission Limit”); and (ii) beginning no later than July 1, 2018, a long-term
Martinez FCCU NOx emission limit of 20 ppmvd NOx @ 0% O2 (365-day rolling average)
(“Final Long-Term Martinez FCCU NOx Emission Limit”). For the Final Long-Term Martinez
FCCU NOx Emission Limit, the first complete 365-day rolling average shall be calculated on
July 1, 2018, based on monitoring data from July 1, 2018, and the 364 Days prior to July 1,
2018.

          c. Startup, Shutdown, or Malfunction. NOx emissions during periods of Startup,
Shutdown, or Malfunction of the Martinez FCCU or Malfunction of the associated NOx control
equipment, if any, shall not be used in determining compliance with the Interim or Final Short-
Term Martinez FCCU NOx Emission Limits (i.e., 24-hour average or 7-day rolling average)
required by this Paragraph, provided that during such periods Tesoro, to the extent practicable,
maintains and operates the Martinez FCCU, including associated air pollution control equipment,
in a manner consistent with good air pollution control practices for minimizing emissions. The
Interim and Final Long-Term Martinez NOx Emission Limits shall apply at all times.

           d. Martinez FCCU CO Boiler. Compliance with the NOx emission limits
established pursuant to this Paragraph 43 shall be determined by measuring the emissions from
the Martinez FCCU CO Boiler exit stack (as opposed to measuring the gases exiting the
Martinez FCCU Catalyst Regenerator prior to the gases entering the Martinez FCCU CO Boiler).




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           e. Exception to the NOx Emission Limits at Martinez FCCU CO Boiler Stack. The
Interim and Final Short-Term and Long-Term Martinez FCCU NOx Emission Limits shall not
apply at the Martinez FCCU CO Boiler exit stack when the Martinez FCCU CO Boiler is
operating and firing only refinery fuel gas (i.e., not processing gases from the Martinez FCCU
Catalyst Regenerator).

      44. Demonstrating Compliance with Martinez FCCU NOx Emission Limits. Beginning
no later than October 1, 2015, Tesoro shall use NOx and O2 CEMS to monitor performance of
the Martinez FCCU and to report compliance with the terms and conditions of this Section V.E.
CEMS shall be used to demonstrate compliance with the NOx emission limits established
pursuant to this Section V.E. Tesoro shall make CEMS data available to EPA upon request.
Tesoro shall install, certify, calibrate, maintain, and operate all CEMS required by this Paragraph
in accordance with the provisions of 40 C.F.R. § 60.13 that are applicable to CEMS (excluding
those provisions applicable only to COMS) and Part 60, Appendices A and F, and the applicable
performance specification test of 40 C.F.R. Part 60, Appendix B. With respect to 40 C.F.R. Part
60 Appendix F, in lieu of the requirements of 40 C.F.R. Part 60, Appendix F §§ 5.1.1, 5.1.3 and
5.1.4, Tesoro shall conduct either a RAA or a RATA on each CEMS at least once every three (3)
years. Tesoro shall also conduct CGAs each Calendar Quarter during which a RAA or a RATA
is not performed. Tesoro may conduct a FAT in lieu of the required RAA or CGA.

     CO Emissions Reductions from the Martinez Refinery FCCU

      45. Martinez FCCU CO Emission Limit. Beginning no later than October 1, 2015, Tesoro
shall comply with the following emission limit at the Martinez FCCU: a long-term Martinez
FCCU CO emission limit of 180 ppmvd CO @ 0% O2 (365-day rolling average) (“Long-Term
Martinez FCCU CO Emission Limit”). For the Long-Term Martinez FCCU CO Emission Limit,
the first complete 365-day rolling average shall be calculated on October 1, 2015, based on
monitoring data from October 1, 2015, and the 364 Days prior to October 1, 2015. The Long-
Term Martinez FCCU CO Emission Limit shall apply at all times.

      46. Demonstrating Compliance with Martinez FCCU CO Emission Limit. Beginning no
later than October 1, 2015, Tesoro shall use CO CEMS to monitor performance of the Martinez
FCCU and to report compliance with the terms and conditions of this Section V.E. CEMS shall
be used to demonstrate compliance with the CO emission limit established in this Section V.E.
Tesoro shall make CEMS data available to EPA upon request. Tesoro shall install, certify,
calibrate, maintain, and operate all CEMS required by this Paragraph in accordance with the
provisions of 40 C.F.R. § 60.13 that are applicable to CEMS (excluding those provisions
applicable only to COMS) and Part 60, Appendices A and F, and the applicable performance
specification test of 40 C.F.R. Part 60, Appendix B. With respect to 40 C.F.R. Part 60
Appendix F, in lieu of the requirements of 40 C.F.R. Part 60, Appendix F §§ 5.1.1, 5.1.3 and
5.1.4, Tesoro shall conduct either a RAA or a RATA on each CEMS at least once every three (3)
years. Tesoro shall also conduct CGAs each Calendar Quarter during which a RAA or a RATA
is not performed. Tesoro may conduct a FAT in lieu of the required RAA or CGA.

     SO2 Emissions Reductions from the Martinez Refinery Sulfur Recovery Plant


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     47. Sulfur Pit Emissions. Beginning no later than January 1, 2016, Tesoro shall re-route
any Martinez SRP Sulfur Pit emissions such that all Sulfur Pit emissions to the atmosphere are
either: (i) eliminated; (ii) included as part of the Martinez SRP’s emissions subject to the NSPS
Subpart J SO2 limit; or (iii) included as part of the Martinez SAP’s emissions subject to the limits
in Paragraphs 52 and 54 of this Consent Decree.

     48. Good Operation and Maintenance. Beginning no later than December 31, 2005,
Tesoro shall comply with the Martinez Refinery’s Preventive Maintenance and Operation Plan
(“PMO Plan”) at all times. If Tesoro makes changes to the PMO Plan related to minimizing
Acid Gas Flaring or SO2 emissions, such changes shall be summarized and reported to EPA on
an annual basis.

     VOC, H2S, and PM Emissions Reductions from the Martinez Refinery Delayed Coker

     49. Control of VOC, H2S, and PM Emissions from the Delayed Coker.

         a. From October 1, 2015, through December 31, 2018, Tesoro shall not commence
Coke Drum Venting until the Coke Drum Overhead Pressure is 2.0 psig or less prior to closing
the Coke Drum overhead valve to the blowdown quench tower.

         b. Beginning no later than January 1, 2019, Tesoro shall not commence Coke Drum
Venting until the Coke Drum Overhead Pressure is 2.0 psig or less prior to venting to the
atmosphere.

    50. Delayed Coker Quench Water Operating Practices. Beginning no later than
October 1, 2015, Tesoro shall comply with all the following operating limits:

          a.    Tesoro shall use only the following for the Quench Water Make-Up:

                i.   Water that is fresh (i.e., water brought into the Martinez Refinery that has
not been in contact with process water or process wastewater);

                ii.    Non-contact cooling water blowdown;

                iii.   Water that has been stripped in a sour water stripper;

                iv. Water from other refinery sources where the water has a TOC concentration
of less than 745 ppm and a total sulfide concentration of less than 35 ppm; or

                v.     Some combination of water from Paragraph 50.a.i to 50.a.iv above.

         b. Tesoro shall not feed or dispose of any materials with a TOC concentration of
745 ppm or greater into any Coke Drum during the quench cycle.

          c.    Quench Water Fill Time shall be at least five (5) hours per cycle.



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      51. Control of PM Emissions from the Coke Pit/Pad Area. By no later than October 1,
2015, the Coke Pit/Pad Area shall have walls on all four sides that are at least 30 feet in height
above the ground level of the Coke Pit/Pad Area’s pad. A portion of the east side of the Coke
Pit/Pad Area shall consist of the Delayed Coker structure. The south side of the Coke Pit/Pad
Area shall have a wall cutout that leads to the Delayed Coker settling basin. Sections of the
north wall of the Coke Pit/Pad Area can be removed to allow access. The requirements in this
Paragraph are in addition to the coke handling requirements already contained in the Martinez
Refinery’s Title V permit, including an enclosed coke conveyance system, enclosed coke storage
facilities, vehicle wash-off, and other measures to control fugitive PM.

     SO2 Emissions Reductions from the Martinez Refinery Sulfuric Acid Plant

     52. Martinez SAP SO2 Emission Limits.

          a. Limits. Tesoro shall comply with the following SO2 emission limits at the
Martinez SAP (expressed as pounds of SO2 emitted per ton of 100% Sulfuric Acid Produced
(“lbs SO2/ton H2SO4”)): (i) beginning no later than January 1, 2016, Tesoro shall comply with a
short-term SAP emission limit of 1.85 lbs SO2/ton H2SO4 (3-hour rolling average) (“Short-Term
SAP SO2 Emission Limit”); and (ii) beginning no later than January 1, 2017, Tesoro shall
comply with a long-term SAP emission limit of 1.7 lbs SO2/ton H2SO4 (365-day rolling average)
(“Long-Term SAP SO2 Emission Limit”). For the Long-Term SAP SO2 Emission Limit, the first
complete 365-day rolling average shall be calculated on January 1, 2017, based on monitoring
data from January 1, 2017, and the 364 Days prior to January 1, 2017.

            b. Startup, Shutdown, or Malfunction. SO2 emissions during periods of
Malfunction, SAP Startup, or SAP Shutdown of the Martinez SAP or Malfunction of the
associated SO2 control equipment, if any, shall not be used in determining compliance with the
Short-Term SAP SO2 Emission Limit set forth in Paragraph 52.a above, provided that during
such periods Tesoro, to the extent practicable, maintains and operates the Martinez SAP,
including associated air pollution control equipment, in a manner consistent with good air
pollution control practices for minimizing emissions. The Long-Term SAP SO2 Emission Limit
set forth in Paragraph 52.a above shall apply at all times.

      53. Demonstrating Compliance with the Martinez SAP SO2 Emission Limits. Beginning
no later than January 1, 2016, to monitor performance of the Martinez SAP, and to demonstrate
and report compliance with the Short-Term and Long-Term SAP SO2 Emission Limits, Tesoro
shall: (i) use 100% sulfuric acid production meters, a SO2 CEMS on the final stack, and a flow
rate monitor on the final stack of the Martinez SAP; and (ii) implement the Martinez SAP
Monitoring Plan, which is attached hereto as Appendix A-1. The Martinez SAP Monitoring Plan
describes how Tesoro shall monitor compliance with the Short-Term and Long-Term SAP SO2
Emission Limits, including the methodology that Tesoro shall use to demonstrate compliance in
the event of SO2 CEMS Downtime lasting longer than twenty-four (24) hours. Tesoro shall
make CEMS data available to EPA upon request. Tesoro shall install, certify, calibrate,
maintain, and operate all CEMS required by this Paragraph in accordance with the provisions of



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the SAP Monitoring Plan. For the Long-Term SAP SO2 Emission Limit, Tesoro shall
demonstrate compliance each Day in the manner specified in the Martinez SAP Monitoring Plan.

     54. NSPS Applicability to the Martinez SAP.

            a. Beginning no later than January 1, 2016, the Martinez SAP shall be an “affected
facility” as that term is used in 40 C.F.R. Part 60, Subparts A and H, and shall be subject to and
comply with the applicable requirements of 40 C.F.R. Part 60, Subparts A and H. Entry of this
Consent Decree and compliance with the relevant monitoring and performance testing
requirements of this Consent Decree for the Martinez SAP shall satisfy the notice requirements
of 40 C.F.R. § 60.7(a) and the initial performance testing requirement of 40 C.F.R. § 60.8(a).

           b. SO2,, Acid Mist, and Opacity Emission Limits. Beginning no later than January
1, 2016, the Martinez SAP shall comply with the SO2, Acid Mist, and Opacity emission limits of
40 C.F.R. §§ 60.82 and 60.83. Compliance with the SO2 and Acid Mist emission limits shall be
demonstrated using the performance tests required by Paragraph 55 below. The SO2 and Acid
Mist performance tests required by Paragraph 55 below may be undertaken at the same time. At
Tesoro’s election, a COMS may be used for monitoring compliance with the Opacity limit found
at 40 C.F.R. § 60.83(a)(2).

     55. Performance Testing.

            a. SO2 Emission Limits. By no later than January 1, 2016, Tesoro shall complete a
performance test at the Martinez SAP measuring the SO2 emission rate in accordance with the
applicable requirements of 40 C.F.R. Part 60, Appendix A, Reference Test Method 8, and Part
60, Appendix B, Performance Specification 2 or an alternative EPA-approved method. This test
shall consist of at least three (3) reference method test runs; however, if this test is also to serve
as the SO2 CEMS RATA required under Performance Specification 2, then this test shall consist
of at least nine (9) reference method test runs. Tesoro shall collect accurate measurements of
100% Sulfuric Acid Produced during each test run and shall include in the test protocol all
measurements to be taken during the test to ensure accurate measurements of 100% Sulfuric
Acid Produced during each test run.

            b. Acid Mist Limit. By no later than January 1, 2016, Tesoro shall complete a
performance test at the Martinez SAP measuring the Acid Mist emission rate in accordance with
the applicable requirements of 40 C.F.R. Part 60, Appendix A, Reference Test Method 8, or an
alternative EPA-approved method. This performance test shall be used to demonstrate
compliance with the Acid Mist emission limit of 40 C.F.R. § 60.83(a)(1). Tesoro shall collect
accurate measurements of 100% Sulfuric Acid Produced during each test run and shall include in
the test protocol all measurements to be taken during the test to ensure accurate measurements of
100% Sulfuric Acid Produced during each test run.

         c. Opacity Limit. By no later than January 1, 2016, Tesoro shall complete a
performance test at the Martinez SAP measuring Opacity in accordance with the applicable
requirements of 40 C.F.R. § 60.11 and Part 60, Appendix A, Reference Test Method 9, or an



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alternative EPA-approved method. This performance test shall be used to demonstrate
compliance with the Opacity limit of 40 C.F.R. § 60.83(a)(2).

           d. Advance Notification. By no later than thirty (30) Days before any performance
test required by this Paragraph is conducted or such other period agreed upon by EPA and
Tesoro, Tesoro shall provide notice to EPA of its intent to conduct such testing. This notification
shall include the schedule date of the test(s), an emission test protocol, a description of the
planned operating rate and operating conditions, and the procedures that will be used to measure
100% Sulfuric Acid Produced. If EPA requires any adjustment of the testing protocol or
operating conditions, Tesoro shall either (i) make such adjustments and conduct the performance
test in conformity with EPA’s requirements; or (ii) submit the issue(s) for dispute resolution
under Section XV of this Consent Decree.

          e. Report of Results. By no later than sixty (60) Days after conducting a
performance test required under this Paragraph or such other period agreed upon by EPA and
Tesoro, Tesoro shall submit to EPA a report documenting the results of the performance tests.

     56. Operation and Maintenance Plan.

           a. By no later than January 1, 2016, Tesoro shall prepare and submit to EPA an
Operation and Maintenance Plan (“O&M Plan”) for the Martinez SAP. The O&M Plan shall
describe the operating and maintenance procedures necessary to: (i) minimize the frequency of
SAP Shutdowns (thereby reducing the number of SAP Startups); and (ii) maintain and operate
the Martinez SAP, including associated air pollution control equipment, in a manner consistent
with good air pollution control practices for minimizing emissions.

          b. EPA may provide written comments on the O&M Plan submitted by Tesoro, in
whole or in part, or EPA may decline to comment, as provided by Section XVI of this Decree
(Review, Approval, and Comment on Deliverables).

          c. By no later than April 1, 2016, Tesoro shall implement the O&M Plan, provided
that the O&M Plan need not include elements that specifically respond to EPA’s comments or
recommendations until the process for responding to or disputing such comments or
recommendations has been completed in accordance with Section XVI (Review, Approval, and
Comment on Deliverables). All other elements of the O&M Plan shall be implemented.

     2005 Consent Decree Requirements Applicable to the Martinez Refinery

      57. Appendix A-2 to this Consent Decree contains those requirements from the 2005
Martinez Consent Decree applicable to the Martinez Refinery that are being incorporated into
this Consent Decree.

     58. Tesoro shall comply with all requirements set forth in Appendix A-2 until the
requirements therein are terminated pursuant to Section XXI (Termination).

     F.     SLC Refinery


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     59. [Reserved]

     60. NOx Emissions Reductions from the SLC FCCU.

            a. By January 31, 2018, Tesoro shall and install and operate a non-regenerative wet
gas scrubber and LoTOx System or equivalent on the SLC FCCU.By January 1, 2018, Tesoro
shall install a non-regenerative wet gas scrubber and LoTOx System or equivalent on the SLC
FCCU.

           b. Final NOx Emission Limits. By no later than January 1, 2018, Tesoro shall
comply with the following NOx limits at the SLC FCCU: (i) 10 ppmvd NOx @ 0% O2 (365-day
rolling average) (“Long-Term SLC FCCU NOx Limit”); and (ii) 20 ppmvd NOx @ 0% O2
(7-day rolling average) (“Short-Term SLC FCCU NOx Limit”). For the Long-Term SLC FCCU
NOx Limit, the first complete 365-day rolling average shall be calculated on January 1, 2019,
based on monitoring data from January 1, 2019, and the 364 Days prior to January 1, 2019.

           c. Startup, Shutdown and Malfunction. NOx emissions during periods of Startup,
Shutdown, or Malfunction of the SLC FCCU, or Malfunction of the associated NOx control
equipment, if any, shall not be used in determining compliance with the Short-Term SLC FCCU
NOx Limit established in Paragraph 60.b above provided that during such periods Tesoro, to the
extent practicable, maintains and operates the SLC FCCU, including associated air pollution
control equipment, in a manner consistent with good air pollution control practices for
minimizing emissions. The Long-Term SLC FCCU NOx Limit established in Paragraph 60.b
above shall apply at all times.

           d.    Demonstrating Compliance with FCCU NOx Emission Limits. By no later than
January 1, 2018, Tesoro shall use NOx and O2 CEMS to monitor performance of the SLC FCCU
and to report compliance with the terms and conditions of this Consent Decree. CEMS shall be
used to demonstrate compliance with the Short-Term and Long-Term SLC FCCU NOx Emission
Limits established pursuant to Paragraph 60.b above. Tesoro shall make CEMS data available to
EPA within thirty (30) Days of a written request. Tesoro shall install, certify, calibrate, maintain,
and operate all CEMS at the SLC FCCU required by this Paragraph in accordance with the
provisions of 40 C.F.R. § 60.13 that are applicable to CEMS (excluding those provisions
applicable only to COMS) and Part 60 Appendices A and F, and the applicable performance
specification test of 40 C.F.R. Part 60 Appendix B.

     61. SO2 Reductions from the SLC FCCU.

          a. Final SO2 Emission Limits at the SLC FCCU. By no later than January 1, 2018,
Tesoro shall comply with the following SO2 limits at the SLC FCCU: (i) 10 ppmvd SO2 @ 0%
O2 (365-day rolling average) (“Long-Term SLC FCCU SO2 Emission Limit”); and (ii) 18 ppmvd
SO2 @ 0% O2 (7-day rolling average) (“Short-Term SLC FCCU SO2 Emission Limit”). For the
Long-Term SLC FCCU SO2 Limit, the first complete 365-day rolling average shall be calculated
on January 1, 2019, based on monitoring data from January 1, 2019, and the 364 Days prior to
January 1, 2019.



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           b. Startup, Shutdown or Malfunction. SO2 emissions during periods of Startup,
Shutdown, or Malfunction of the SLC FCCU, or Malfunction of the associated SO2 control
equipment, if any, shall not be used in determining compliance with the Short-Term SLC FCCU
SO2 Emission Limit established in Paragraph 61.a above, provided that during such periods
Tesoro, to the extent practicable, maintains and operates the SLC FCCU, including associated air
pollution control equipment, in a manner consistent with good air pollution control practices for
minimizing emissions. The Long-Term SLC FCCU SO2 Emission Limit established in
Paragraph 61.a above, shall apply at all times.

            c. Demonstrating Compliance with FCCU SO2 Emission Limits. By no later than
January 1, 2018, Tesoro shall use an SO2 and O2 CEMS to monitor the performance of the SLC
FCCU and to report compliance with the terms and conditions of this Consent Decree. Tesoro
shall make CEMS data available to EPA within thirty (30) Days of a written request. Tesoro
shall install, certify, calibrate, maintain, and operate all CEMS at the SLC FCCU required by this
Paragraph in accordance with the provisions of 40 C.F.R. § 60.13 that are applicable to CEMS
(excluding those provisions applicable only to COMS) and Part 60 Appendices A and F, and the
applicable performance specification test of 40 C.F.R. Part 60 Appendix B19.

            d. SLC FCCU Shutdown. No later than December 30, 2017, Tesoro shall shut down
the SLC FCCU until the wet gas scrubber and LoTOx System required by Paragraph 60.a above
is installed and operational.

            e. Interim Additive Rate Increase. Starting on October 9, 2017, Tesoro will
increase its S02 additive rate for the SLC FCCU from its historical average of I08 lb/day to a range of
200-300 lb/day until the SLC FCCU is shutdown on December 30, 2017. Tesoro will increase
additives for the SLC FCCU within the 200-300 lbs/day range to affect the maximum S02
concentration reduction possible. For purposes of this Consent Decree, the maximum S02
concentration reduction is defined as the additive rate where further addition of additives no
longer reduces S02 concentrations as measured when regenerator afterbum is 30 Deg. F or lower as
averaged for the control period when the additive rate is ≤ 300 lb/day. Regenerator afterbum is the
temperature difference between the regenerator flue gas outlet temperature and the average
regenerator dense bed temperature . (The lack of afterbum is an indication of a lack of oxygen in the
regenerator bed necessary for the reaction of coke sulfur to S02 and then S03).

                 i.   Increase of additive rates: If the afterburn measurement remains above the
20 °F minimum based on 1-min increments for 3 consecutive days, additive addition will be
increased until either the 30 °F afterburn average limit is reached or the maximum additive
addition rate of 300 lb/day is reached.

                ii. Decrease of additive rates: Should the afterburn temperature drop below 20
°F then additive addition may be decreased but not below 200 lb/day.

     62. CO Emissions from the SLC FCCU.

          a. Final CO Emission Limit at the SLC FCCU. Beginning on October 1, 2015,
Tesoro shall comply with the following CO limits at the SLC FCCU: (i) a short-term FCCU CO


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emission limit of 500 ppmvd CO @ 0% O2 (one-hour block average) ("Short-Term FCCU CO
Emission Limit”); and (ii) a long-term FCCU CO emission limit of 100 ppmvd CO @ 0% O2
(365-day rolling average) (“Long-Term FCCU CO Emission Limit”). For the Long-Term SLC
FCCU CO Emission Limit, the first complete 365-day rolling average shall be calculated on
October 1, 2015, based on monitoring data from October 1, 2015 and the 364 Days prior to
October 1, 2015.

           b. Startup, Shutdown or Malfunction. CO emissions during periods of Startup,
Shutdown, or Malfunction of the SLC FCCU, or Malfunction of the associated CO control
equipment, if any, shall not be used in determining compliance with the Short-Term SLC FCCU
CO Emission Limit established in Paragraph 62.a above, provided that during such periods
Tesoro, to the extent practicable, maintains and operates the SLC FCCU, including associated air
pollution control equipment, in a manner consistent with good air pollution control practices for
minimizing emissions. The Long-Term SLC FCCU CO Emission Limit established in
Paragraph 62.a above shall apply at all times.

            c. Demonstrating Compliance with FCCU CO Emission Limits. By October 1,
2015, Tesoro shall use a CO and O2 CEMS to monitor the performance of the SLC FCCU and to
report compliance with the terms and conditions of this Consent Decree. Tesoro shall make
CEMS data available to EPA within thirty (30) Days of a written request. Tesoro shall install,
certify, calibrate, maintain, and operate all CEMS at the SLC FCCU required by this Paragraph
in accordance with the provisions of 40 C.F.R. § 60.13 that are applicable to CEMS (excluding
those provisions applicable only to COMS) and Part 60 Appendices A and F, and the applicable
performance specification test of 40 C.F.R. Part 60 Appendix B.

     63. NSPS Applicability to the SLC FCCU.

          a. The SLC FCCU Catalyst Regenerator is an “affected facility” as that term is used
in 40 C.F.R. Part 60, Subparts A and J for PM, SO2, and CO. On and after October 1, 2015, until
January 1, 2018, the SLC FCCU Catalyst Regenerator shall continue to be subject to and shall
comply with 40 C.F.R. Part 60, Subparts A and J for SO2.

            b. Beginning on October 1, 2015, the SLC FCCU shall become an “affected
facility” as that term is used in 40 C.F.R. Part 60, Subpart Ja for PM and CO in lieu of Subpart J.
Beginning on January 1, 2018, the SLC FCCU shall become an “affected facility” as that term is
used in 40 C.F.R. Part 60, Subpart Ja for NOx, and Subpart Ja for SO2 in lieu of Subpart J. On
and after January 1, 2018, Tesoro shall comply with all applicable requirements in 40 C.F.R.
Part 60, Subpart Ja at the SLC FCCU.

          c. Entry of this Consent Decree and compliance with the relevant monitoring
requirements of this Consent Decree for the SLC FCCU shall satisfy the notice requirements of
40 C.F.R. § 60.7(a) and the initial performance test requirement of 40 C.F.R. § 60.8(a).




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  VI.     AFFIRMATIVE RELIEF APPLICABLE TO ALL COVERED REFINERIES

     A.   Enhanced Leak Detection and Repair (“ELDAR Program”)

     General LDAR Provisions

     64. Definitions. The terms used in this Section VI.A (ELDAR Program) shall have the
meanings as set forth below. Any other terms shall have the meaning given to those terms in the
Clean Air Act and the regulations promulgated thereunder.

          a. “Covered Equipment” shall mean all pumps and valves (excluding pressure relief
devices and check valves), in light liquid or gas/vapor service in all Covered Process Units.

          b. “Covered Process Unit” shall mean any process unit that is, or under the terms of
this Consent Decree becomes, subject to the equipment leak provisions of 40 C.F.R. Part 60,
Subpart GGGa or 40 C.F.R. Part 63, Subpart CC.

          c.    “Equipment” shall mean any equipment as defined in 40 C.F.R. § 60.591a.

           d. “Maintenance Shutdown” shall mean a Shutdown of a Covered Process Unit that
lasts longer than 30 Days.

           e. “Process Unit Shutdown” means a work practice or operational procedure that
stops production from a process unit or part of a process unit during which it is technically
feasible to clear process material from a process unit, or part of a process unit, consistent with
safety constraints, and during which repairs can be accomplished. The following are not
considered Process Unit Shutdowns: (i) an unscheduled work practice or operational procedure
that stops production from a process unit or part of a process unit for less than 24 hours; (ii) an
unscheduled work practice or operational procedure that would stop production from a process
unit or part of a process unit for a shorter period of time than would be required to clear the
process unit or part of the process unit of materials and start up the unit, and would result in
greater emissions than delay of repair of leaking components until the next scheduled Process
Unit Shutdown; and (iii) the use of spare equipment and technically feasible bypassing of
equipment without stopping production.

      65. NSPS & Covered Process Units Applicability. No later than October 1, 2016, all
process units as defined by 40 C.F.R. Part 60 Subpart GGGa at each Covered Refinery shall be
an “affected facility” for purposes of that standard. Once Subpart GGGa applies to a process
unit pursuant to this Consent Decree, then the requirements of Subpart GGG shall no longer
apply prospectively to that unit. The dates that various process units become “affected facilities”
under Subpart GGGa and “Covered Process Units” as defined in Paragraph 64.b above shall be
in accordance with the following intervals:

           a. 30 percent of the process units to be completed at each Covered Refinery by no
later than April 1, 2016;



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            b. 60 percent of the process units to be completed at each Covered Refinery by no
later than July 1, 2016; and

           c. 100 percent of the process units to be completed at each Covered Refinery by no
later than October 1, 2016.

For purposes of this Consent Decree only, “Covered Process Unit” also includes petroleum
refining process units (as defined by 40 C.F.R. § 63.641) and process units (as defined by
40 C.F.R. § 60.591a). “Covered Process Units” subject to this ELDAR Program by virtue of this
provision will be addressed under the schedule set forth above.

    66. The requirements in this Section VI.A of this Consent Decree shall not apply to
compressors at the Covered Refineries.

     67. Initial monitoring of valves subject to 40 C.F.R. Part 60, Subpart GGGa shall be
completed as of the date each particular process unit becomes an affected facility under
Paragraph 65 above. In implementing initial monitoring of valves under this provision, a
monitoring event already completed under existing regulatory or Consent Decree requirements
may be used as a consecutive monthly monitoring event.

      68. Beginning on the date that any particular process unit becomes an “affected facility”
as set forth in Paragraph 65 above, it shall be subject to and comply with the requirements of
Subpart GGGa and this ELDAR Program.

     69. Entry of this Consent Decree satisfies the notification and testing requirements that are
triggered by initial applicability of 40 C.F.R. Part 60, Subparts A and GGGa: 40 C.F.R 60.7,
60.8, 60.18.

     70. The two consecutive months of monitoring that Tesoro previously conducted for
purposes of 40 C.F.R. Part 60, Subpart GGGa satisfies the requirement to conduct monitoring of
those components for two consecutive months following the initial applicability of 40 C.F.R.
Part 60, Subpart GGGa for the following units:

Refinery         Covered Process Unit                                      Month Completed
Anacortes        BenSat/Reformate Splitter                                   January 2012
                 Crude Railcar Offloading Facility                          October 2012
                 Clean Fuels and Diesel Hydrotreaters                          June 2015
                 Vacuum Flasher                                                June 2015
                 Crude Unit                                                    June 2015
                 Selective Hydrogenation Unit                                 Nov. 2015
                 Amine Treating Unit (ATU) 2                                  Nov. 2015
                 Flare                                                         Dec. 2015
                 Truck Rack                                                    Dec. 2015




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Refinery        Covered Process Unit                                Month Completed
Kenai           Crude Unit                                             April 2011
                DIB Unit
                Vacuum Unit                                          December 2014
                PRIP Unit                                             March 2014

                Hydrogen Unit                                        February 2014
                Diesel Desulfurization Unit                          February 2015
                LPG Unit                                              April 2015
                Hydrocracker Unit                                      May 2015

Mandan         Ultraformer Unit
               Crude Unit
                                                                       July 2013
               Poly Unit
               Power Station
               Gasoline Hydrotreating Unit
               Diesel Desulfurization Unit                            August 2013
               Alkylation Unit
               Racks Unit                                            November 2013
               Vapor Recovery Unit                                   June 2014
               Fluid Catalytic Cracking Unit                          March 2015
               Merox Unit                                             March 2015
               Oil Movements (Including Tank Farm)                    March 2015
               Sulfur Recovery Unit                                   March 2015
Salt Lake City Gasoline Hydrotreating Unit                             June 2009
               BenSat Unit                                             June 2012
               Co-generation Unit
               Sulfur Recovery Unit                                   March 2014
               Virgin Naphtha Stabilizer
               Fluid Catalytic Cracking Unit                         December 2013
               Vapor Recovery Unit
               Alkylation Unit                                       November 2013
               Distillate Desulfurization Unit
               Butane Loading Rack                                     July 2014
               Polymerization Unit
               Transport Loading Rack                                 August 2014
               Crude Unit (N2C)                                      September 2014
               Ultra Former
               Tank Farm                                              October 2014
               Remote Tank Farm                                      December 2014


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Between the Date of Lodging and the Date of Entry for this Consent Decree, Settling Defendants
can provide notice of additional units which have satisfied the two consecutive months of
monitoring under 40 C.F.R. Part 60, Subpart GGGa (and therefore the two consecutive months
of monitoring required by this Consent Decree) by providing written notice to the United States
and Applicable State Co-Plaintiffs.

     71. Nothing in this Consent Decree shall relieve Settling Defendants of their independent
obligation to comply with the requirements of any other federal, state or local LDAR regulation
that may be applicable to equipment at each Covered Refinery.

      72. Enhanced Leak Detection and Repair. Settling Defendants shall implement and
comply with the requirements of the ELDAR Program for all Covered Equipment at each
Covered Refinery by the dates specified herein and shall continue to comply with all ELDAR
Program requirements until Termination. The requirements of this ELDAR Program are in
addition to, and not in lieu of, the requirements of any federal, state or local LDAR regulation
that may be applicable to a piece of Covered Equipment. If there is a conflict between a federal,
state or local LDAR regulation and this ELDAR Program, Settling Defendants shall follow
whichever regulation is more stringent.

     73. Exceptions/Limitations for Martinez Refinery. Settling Defendants shall comply with
the ELDAR Program set forth in this Section VI.A at the Martinez Refinery except for the
following requirements:

          a.    Leak Detection and Repairs for Valves and Pumps (Paragraphs 87-96 below).

         b. Monitoring Frequency and Methods (Paragraphs 83-85 below), except Settling
Defendants shall comply with Paragraph 86 below (Calibration of LDAR Monitoring
Equipment).

          c.    Valve Replacement/Improvement Program (Paragraphs 98-102 below).

          d. However, in lieu of the above excepted ELDAR Program, Settling Defendants
shall comply with all applicable BAAQMD requirements and 40 C.F.R. Part 60, Subpart GGGa
requirements. If BAAQMD requirements and Subpart GGGa requirements differ, Settling
Defendants shall comply with the more stringent requirement.

     Facility-Wide LDAR Program and Training at Each Covered Refinery

      74. Written LDAR Program. By no later than January 1, 2016, Settling Defendants shall
develop a written facility-wide LDAR Program for each Covered Refinery that describes: (i) the
facility-wide LDAR program for that Covered Refinery (e.g., applicability of regulations to
process units and/or specific Equipment; leak definitions; monitoring frequencies); (ii) a tracking
program (e.g., “Management of Change”) that ensures that new pieces of Equipment added to
that Covered Refinery for any reason are integrated into the LDAR program and that pieces of
Equipment that are taken out of service are removed from the LDAR program; (iii) the roles and

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responsibilities of all employee and contractor personnel assigned to LDAR functions at that
Covered Refinery; (iv) the basis for the Settling Defendant’s determination that the number of
personnel dedicated to LDAR functions is sufficient to satisfy the requirements of the LDAR
program; and (v) how the Covered Refinery plans to implement this ELDAR Program.
Beginning on October 1, 2016, Settling Defendants shall review this document on an annual
basis and update it as needed by no later than December 31 of each year, after completion of the
initial written facility-wide LDAR Program.

     75. Training. Settling Defendants shall implement the following training programs:

          a. By no later than April 1, 2016, for any employee newly-assigned to LDAR
responsibilities, Settling Defendants shall require that each such employee satisfactorily
complete LDAR training prior to beginning any LDAR work;

            b. By no later than April 1, 2016, for all the Covered Refineries’ employees
assigned specific LDAR responsibilities as a primary job function, such as monitoring
technicians, database users, Quality Assurance (“QA”)/Quality Control (“QC”) personnel and the
LDAR Coordinator, Settling Defendants shall provide and require completion of initial training
before the employee begins LDAR responsibilities and annual LDAR refresher training
thereafter;

          c. By no later than April 1, 2016, for all employee operations and maintenance
personnel, who have duties relevant to LDAR, such as operators and mechanics performing
valve repacking and designated unit supervisors reviewing DOR work, Settling Defendants shall
provide and require completion of an initial training program that includes instruction on aspects
of LDAR that are relevant to the person’s duties. Refresher training for these personnel shall be
performed every three years; and

          d. If contract employees are performing LDAR work, Settling Defendants shall
maintain copies of all training records, as required under this Paragraph, for the contract
employees.

     LDAR Audits at Each Covered Refinery.

      76. LDAR Audits. Settling Defendants shall conduct a third-party or internal LDAR audit
at each Covered Refinery every other year pursuant to the requirements of Paragraphs 77 through
82 below.

       77. Third-Party Audits. Settling Defendants shall retain a third party with experience in
conducting LDAR audits to conduct the initial LDAR audit under this Consent Decree at each
Covered Refinery. Third parties shall be utilized at least every four years for any subsequent
required audits until Termination of this Consent Decree. To perform the third-party LDAR
audit, Settling Defendants shall select a different company than its regular LDAR contractor with
expertise in LDAR program requirements. For the Anacortes, Kapolei, and Kenai Refineries, the
first third-party LDAR Audit Commencement Date shall be no later than October 1, 2016. For
each subsequent third-party LDAR audit, the LDAR Audit Completion Date shall occur within

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the same Calendar Quarter that the first LDAR Audit Completion Date occurred. For the
Martinez, Mandan, and Salt Lake City Refineries, the LDAR audits shall follow the schedule set
forth below.

Refinery                 2016       2017          2018          2019          2020          2021
                           th
                         4
Martinez                                          4th Quarter                 4th Quarter
                         Quarter
                         3rd or 4th               3rd or 4th                  3rd or 4th
Mandan
                         Quarter                  Quarter                     Quarter
Salt Lake City                      3rd Quarter                 3rd Quarter                 3rd Quarter

Subsequent audits shall occur within the same Calendar Quarter as the previous audits on a
biennial basis until Termination of this Consent Decree pursuant to Section XXI (Termination).

      78. Internal LDAR Audits. In years in which Settling Defendants are not required to
retain a third-party auditor, Settling Defendants may conduct an LDAR audit internally by using
its own personnel, provided that the personnel Settling Defendants use are not employed at the
Covered Refinery to be audited but rather are employed at another refinery owned or operated by
a Settling Defendant that at the time of the audit uses Certified Low-Leaking Valve and/or
Certified Low-Leaking Valve Packing Technology. All such internal LDAR audits shall be
conducted by personnel familiar with regulatory LDAR requirements and this ELDAR Program.
At its discretion, Settling Defendants may use a third-party auditor in lieu of conducting these
internal LDAR audits.

     79. Each LDAR audit shall include, but not be limited to, reviewing compliance with all
applicable regulations including valves and pumps in heavy liquid service, reviewing and/or
verifying the same items that are required to be reviewed and/or verified in Paragraph 105 of this
Consent Decree, and performing the following activities for Covered Equipment:

           a. Calculating a Comparative Monitoring Audit Leak Percentage. Covered
Equipment shall be monitored to calculate a leak percentage for each Covered Process Unit
broken down by Covered Equipment type (i.e., valves and pumps). The monitoring that takes
place during each LDAR audit shall be called “comparative monitoring” and the leak
percentages derived from the comparative monitoring shall be called the “Comparative
Monitoring Audit Leak Percentage.” Until Termination of this Consent Decree pursuant to
Section XXI, Settling Defendants shall conduct a comparative monitoring audit pursuant to this
Paragraph during each LDAR audit. Each Covered Process Unit at a Covered Refinery that is
not the subject of the current audit shall have a comparative monitoring audit at least once before
a previously-audited Covered Process Unit is audited again.

          b. Calculating the Historic Average Leak Percentage from Prior Periodic
Monitoring Events. For the Covered Process Unit that is audited, the historic average leak
percentage from prior monitoring events, broken down by Covered Equipment type (i.e., valves
and pumps) shall be calculated. The following number of complete monitoring periods
immediately preceding the comparative monitoring audit shall be used for this purpose:


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valves-4 periods if valves are on quarterly cycle or 2 periods if valves are on an annual cycle;
and pumps-12 periods.

            c. Calculating the Comparative Monitoring Leak Ratio. For the Covered Process
Unit that is audited, the ratio of the Comparative Monitoring Audit Leak Percentage from
Paragraph 79.a above to the historic average leak percentage from Paragraph 79.b above shall be
calculated (“Comparative Monitoring Leak Ratio”). If a calculated ratio yields an infinite result,
Settling Defendants shall assume one leaking piece of Covered Equipment was found in the
process unit through its routine monitoring during the 12-month period before the audit, and the
ratio shall be recalculated.

          d. In addition to these items, LDAR audits after the first audit shall include
reviewing each Covered Refinery’s compliance with this ELDAR Program.

      80. When More Frequent Periodic Monitoring is Required. If a Comparative Monitoring
Audit Leak Percentage calculated pursuant to Paragraph 79.a above triggers a more frequent
monitoring schedule under any applicable federal, state, or local law or regulation than the
frequencies listed in Paragraphs 83-84 of this Consent Decree for the equipment type in that
Covered Process Unit, Settling Defendants shall monitor the affected type of Covered Equipment
at the greater frequency unless and until less frequent monitoring is again allowed under the
specific federal, state, or local law or regulation.

     81. Corrective Action Plan (“CAP”).

           a. Requirements of a CAP. By no later than thirty (30) Days after each LDAR
Audit Completion Date, Settling Defendants shall develop a preliminary CAP if the results of an
LDAR audit identify any deficiencies or if the Comparative Monitoring Leak Ratio calculated
pursuant to Paragraph 79.c above is 3.0 or higher and a Comparative Monitoring Audit Leak
Percentage calculated pursuant to Paragraph 79.a above is 0.5% or higher. The CAP shall
describe the actions that Settling Defendants shall take to correct the deficiencies and/or the
systemic causes of a Comparative Monitoring Leak Ratio that is 3.0 or higher. The CAP also
shall include a schedule by which those actions shall be undertaken. Settling Defendants shall
complete each corrective action as expeditiously as possible with the goal of completing each
action within ninety (90) Days after the LDAR Audit Completion Date. If any action is not
completed or is not expected to be completed within ninety (90) Days after the LDAR Audit
Completion Date, Settling Defendants shall explain the reasons in the final CAP to be submitted
under Paragraph 81.b below, together with a proposed schedule for completion of the action(s) as
expeditiously as practicable.

           b. Submissions of the CAP to EPA. By no later than one hundred and twenty (120)
Days after the LDAR Audit Completion Date, Settling Defendants shall submit the final CAP to
EPA for approval, together with a certification of the completion of corrective action(s). For any
corrective action(s) requiring more than ninety (90) Days to complete, Settling Defendants shall
include an explanation together with a proposed schedule for completion as expeditiously as
practicable.


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           c.   Approval/Disapproval of All or Parts of a CAP.

               i.    Unless within sixty (60) Days after receipt of the CAP, EPA disapproves all
or part of a CAP’s proposed actions and/or schedules, the CAP shall be deemed approved.

                ii. By no later than sixty (60) Days after receipt of a Settling Defendant’s
CAP, EPA may disapprove any or all aspects of the CAP. Each item that is not specifically
disapproved in writing shall be deemed approved. Except for good cause, EPA may not
disapprove any action within the CAP that already has been completed. Within forty-five (45)
Days of receipt of any disapproval from EPA, the submitting Settling Defendant shall submit a
revised CAP that addresses the deficiencies that EPA identified that Settling Defendant shall
implement the revised CAP either pursuant to the schedule that EPA proposed, or, if EPA did not
so specify, as expeditiously as practicable.

               iii. A dispute arising with respect to any aspect of a CAP shall be resolved in
accordance with the dispute resolution provisions of this Decree set forth in Section XV.

      82. Certification of Compliance. Within 180 Days after the initial LDAR Audit
Completion Date, each Settling Defendant shall submit a certification to EPA and the Applicable
State Co-Plaintiff that certifies, to the best of the certifier’s knowledge and belief after
reasonable inquiry, that: (i) the Covered Refinery is in compliance with all applicable LDAR
regulations; (ii) Settling Defendant has completed all corrective actions, if applicable, or is in the
process of completing all corrective actions pursuant to a CAP; and (iii) all Equipment at the
Covered Refinery that is regulated under any federal, state, or local leak detection program has
been identified and included in each Covered Refinery’s LDAR program. To the extent that a
Settling Defendant cannot make the certification in all respects, it shall specifically identify any
deviations from items (i)–(iii).

     Monitoring Frequency and Methods

     83. For all Covered Equipment, Settling Defendants shall comply with the monitoring
frequency for valves as required by 40 C.F.R. § 60.482-7a, except as provided in 40 C.F.R.
§ 60.482-1a, and for pumps as required by 40 C.F.R. § 60.482-2a.

    84. Alternative Standards for Valves – Skip Period Leak Detection and Repair. Settling
Defendants may elect to comply with the skip period monitoring requirements set forth in
40C.F.R. § 60.483-2a, if applicable.

     85. Method 21.

           a. Except as provided in Paragraph 85.b below, for all Covered Equipment, Settling
Defendants shall comply with Method 21 in performing LDAR monitoring, using a Toxic Vapor
Analyzer 1000B Flame Ionization Detector, or equivalent equipment attached to a data logger, or
equivalent equipment, which directly electronically records the Screening Value detected at each
piece of Covered Equipment, the date and time that each Screening Value is taken, and the
identification numbers of the monitoring instrument and technician. Settling Defendants shall


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transfer this monitoring data to an electronic database on at least a weekly basis for
recordkeeping purposes. Notwithstanding the foregoing, Settling Defendants may use paper logs
where necessary or more feasible (e.g., small rounds, re-monitoring, or when data loggers are not
available or broken). Any manually recorded monitoring data shall be transferred to the
electronic database within seven (7) Days of monitoring.

          b.    Alternative Work Practice.

                i.    From October 1, 2015, Settling Defendants may utilize the Alternative
Work Practice as defined at 40 C.F.R. § 60.18(g) (the “AWP”) for monitoring Equipment that
meets the “difficult to monitor” criteria set out at 40 C.F.R. § 60.482-7a(h)(1).

                ii. No sooner than October 1, 2018, Settling Defendants may submit to EPA
pursuant to Section XVI (Review, Approval, and Comment on Deliverables) a request for review
and approval of an AWP for LDAR monitoring of all Covered Equipment. Such request shall
include a protocol that, at a minimum, addresses the following operational criteria: (i)
calibration procedures; (ii) Startup (i.e., warming-up the Optical Gas Imaging (“OGI”)
Instrument)/Shutdown procedures; (iii) video recording and storage; (iv) site-specific impact of
weather conditions (e.g., wind speed, temperature, and visibility); (v) maintenance of the OGI
Instrument; (vi) certification of personnel to use the OGI Instrument; (vii) minimum number of
hours of field use by certified personnel prior to certified personnel performing compliance
monitoring; and (viii) identified process unit(s) where certified personnel may monitor with an
OGI instrument. If such request is approved by EPA, Settling Defendants may utilize the AWP
for monitoring all Covered Equipment.

      86. Calibration of LDAR Monitoring Equipment. Except as provided below, before each
monitoring shift or before monitoring equipment is restarted during a monitoring shift, Settling
Defendants shall calibrate LDAR monitoring equipment as required by Subpart GGGa in
accordance with 40 C.F.R. Part 60, EPA Reference Test Method 21, prior to each time LDAR
monitoring equipment is used to monitor Covered Process Units. Settling Defendants shall
conduct calibration drift assessment rechecks of the LDAR monitoring equipment at the end of
each monitoring shift and prior to each time LDAR monitoring equipment is turned off during
each monitoring shift, except when LDAR monitoring equipment is unable to function such that
the calibration drift assessment recheck cannot be performed before the LDAR monitoring
equipment turns off. Settling Defendants are not required to conduct a calibration drift
assessment re-check during the same monitoring shift in the event of a “flame-out” of the
instrument if the instrument can be promptly re-ignited. The calibration drift assessment shall be
conducted using calibration gas as provided in 40 C.F.R. § 60.485a(b)(1) with a concentration
approximately equal to the applicable internal leak definition. If any calibration drift assessment
after the initial calibration shows a negative drift of more than 10% from the previous
calibration, Settling Defendants shall re-monitor all components as required by 40 C.F.R.
§ 60.485a. Settling Defendants shall retain all calibration records for at least one year, or as
otherwise required by any federal, state or local law, whichever is most stringent.




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     Leak Detection and Repairs for Valves and Pumps

     87. Leak Definition for Valves and Pumps. Settling Defendants shall utilize the following
leak definitions in Paragraphs 87.a and 87.b below for valves and pumps in light liquid and/or
gas/vapor service in Covered Process Units, unless other permit(s), regulations, or laws require
the use of lower leak definitions.

         a. Leak Definition for Valves. Settling Defendants shall utilize a leak definition of
500 ppm VOCs for all of the valves in Covered Process Units.

         b. Leak Definition for Pumps. Settling Defendants shall utilize a leak definition of
2,000 ppm VOCs for all of the pumps in Covered Process Units.

     88. For each leak detected at or above the leak definition for valves in Covered Process
Units, Settling Defendants shall perform repairs in accordance with Paragraphs 90-96 of this
Consent Decree.

      89. For each leak detected at or above the leak definition for pumps in Covered Process
Units, Settling Defendants shall perform repairs in accordance with Paragraphs 91-92 and 95-96
of this Consent Decree.

      90. Settling Defendants shall make an attempt at repair on any valve in a Covered Process
Unit that has a reading greater than 100 ppm of VOCs, excluding control valves and other valves
that LDAR personnel are not authorized to repair.

      91. For each leak subject to Paragraph 87 of this Consent Decree, by no later than five (5)
Days after detecting a leak, Settling Defendants shall perform a first attempt at repair. By no
later than fifteen (15) Days after detection, Settling Defendants shall perform a final attempt at
repair or may place the valve or pump on the Delay of Repair list provided that Settling
Defendants has complied with 40 C.F.R. Part 60, Subpart GGGa and with the requirements of
Paragraph 97 of this Consent Decree.

      92. For each attempt at repair as set forth in Paragraphs 88-91 above, Settling Defendants
shall perform Repair Verification Monitoring. After Repair Verification Monitoring for an
attempt performed under Paragraph 90 above, no further action is necessary, unless the
provisions of Paragraph 99.e below (Chronically Leaking valves) apply or unless the re-
monitored leak rate is greater than the applicable leak definition.

      93. Drill-and-Tap Repairs. Except as otherwise provided for in Paragraph 94 for leaking
valves in Covered Process Units (other than control valves), when other repair attempts have
failed to reduce emissions below the applicable leak definition and a Settling Defendant is not
able to remove the leaking valve from service, that Settling Defendant shall attempt at least one
drill-and-tap repair (with a second injection of sealant if the first injection is unsuccessful at
repairing the leak) as set forth below before placing the valve on the DOR list. Prior to October
1, 2015, each Covered Refinery shall select one of the following two compliance options for
drill-and-tap repairs. Each Covered Refinery may change the selection between Paragraphs 93.a


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and 93.b below no more than once every four years but may not change options prior to October
1, 2017. If under Paragraph 79 above, a Comparative Monitoring Audit Leak Percentage
calculated pursuant to Paragraph 79.a triggers a more frequent monitoring schedule under any
applicable federal, state, or local law or regulation than the frequencies listed in Paragraphs 83-
84 of this Consent Decree for the equipment type in that Covered Process Unit, then the selection
shall automatically change from option in Paragraph 93.a below to the option in Paragraph 93.b
below.

           a. If a Settling Defendant is performing skip period monitoring on any process units
at a Covered Refinery pursuant to Paragraph 84 above, then for valves in Covered Process Units
(other than control valves) leaking at a rate of 500 ppm or greater that cannot otherwise be
repaired, that Settling Defendant shall use drill-and-tap before placing the valve on the DOR list.

            b. If a Settling Defendant is not performing skip period monitoring on any process
units at a Covered Refinery pursuant to Paragraph 84 above, then for valves in Covered Process
Units (other than control valves) leaking at a rate of 1,000 ppm or greater that cannot otherwise
be repaired, that Settling Defendant shall use drill-and-tap before placing the valve on the DOR
list.

           c. If a drill-and-tap attempt can reasonably be completed within the fifteen-day
repair period set forth in Paragraph 91 above, the Covered Refinery shall complete the drill-and-
tap attempt in that time period. If a drill-and-tap attempt cannot reasonably occur within the
fifteen-day repair period (i.e., if the Covered Refinery’s drill-and-tap contractor is not local and
must mobilize to the Refinery), the Settling Defendant provisionally may place the valve on the
DOR list pending attempting the drill-and-tap repair as expeditiously as practical. In no event
(other than as provided in Paragraph 94 below) may Settling Defendant take more than thirty
(30) Days from the initial monitoring to attempt a drill-and-tap repair. If drill-and-tap is
successful, the valve shall be removed from the provisional DOR list.

      94. Drill-and-tap is not required when there is a major safety, mechanical, product quality,
or environmental issue with repairing the valve using the drill-and-tap method, in which case,
Settling Defendants shall document the reason(s) why any drill-and-tap attempt was not
performed prior to placing any valve on the DOR list.

     95. For each leak in a Covered Process Unit, Settling Defendants shall record the
following information: the date of all repair attempts; the repair methods used during each repair
attempt; the date, time and Screening Values for all re-monitoring events; and, if relevant, the
information required under Paragraph 97 below for Covered Equipment placed on the DOR list.

      96. Nothing in Paragraphs 88-95 of this Consent Decree is intended to prevent Settling
Defendants from taking a leaking piece of Covered Equipment out of service; provided however,
that prior to placing the leaking piece of Covered Equipment back in service, Settling Defendants
shall repair the leak or shall comply with the requirements of Paragraph 97 of this Consent
Decree (Delay of Repair) to place the piece of Covered Equipment on the DOR list.




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     Delay of Repair

   97. Settling Defendants shall require the following for Covered Equipment placed on the
DOR list:

           a. Sign-off from the plant manager, a Settling Defendant official responsible for
environmental management and compliance, a Settling Defendant official responsible for plant
engineering, an operations manager, or an area supervisor that the piece of Covered Equipment is
technically infeasible to repair without a Process Unit Shutdown;

        b. Periodic monitoring, at the frequency required for other pieces of Covered
Equipment of that type in the process unit, of the Covered Equipment placed on the DOR list;

           c. No more than 0.10% of all valves in all Covered Process Units may be on the
DOR list at any one time. If a valve is: (i) isolated and taken out of VOC and/or HAP service at
the same time it is placed on the DOR list and is repacked with Certified Low-Leaking Valve
Packing Technology or is replaced with Certified Low-Leaking Valves before it is placed back
into VOC and/or HAP service; or (ii) scheduled to be repacked with Certified Low-Leaking
Valve Packing Technology or replaced with Certified Low-Leaking Valves at the next
Maintenance Shutdown, such valve shall not be included in computing the applicable percentage
limitation of valves that may be on the DOR list at any one time; and

           d. Covered Equipment may be removed from the DOR list if it is monitored at the
frequency required for other pieces of Covered Equipment of that type in the process unit for two
successive monitoring periods without detecting a leak greater than the leak definition as set
forth in Paragraph 87 above for that type of Covered Equipment.

     Valve Replacement/Improvement Program

      98. Settling Defendants shall implement the program set forth in Paragraphs 99-102 below
to replace and/or improve the emissions performance of the valves in each Covered Process Unit.

     99. Valves.

          a. By no later than October 1, 2015, Settling Defendants shall implement modified
purchasing procedures that evaluate the availability of valves and valve packing for Covered
Equipment that meet the requirements for a Certified Low-Leaking Valve or Certified Low-
Leaking Valve Packing Technology at the time that the valves and/or valve packing is acquired.

          b. Except as provided in Paragraph 100 below, by no later than October 1, 2016,
Settling Defendants shall install valve packing material that meets the requirements for Certified
Low-Leaking Valve Packing Technology whenever repacking any valve in gas/vapor or light
liquid VOC service in a Covered Process Unit.




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         c. Settling Defendants shall ensure that each new valve in gas/vapor or light liquid
VOC service that it purchases for use in any Covered Process Unit either is a Certified Low-
Leaking Valve or is fitted with Certified Low-Leaking Valve Packing Technology.

            d. By no later than October 1, 2016, Settling Defendants shall ensure that each new
valve in gas/vapor or light liquid VOC service that it installs in any Covered Process Unit either
is a Certified Low-Leaking Valve or is fitted with Certified Low-Leaking Valve Packing
Technology.

           e. Replacing or Repacking Chronically Leaking Valves (Existing Valves that have
Screening Values At or Above 5,000 ppm). Except as provided in Paragraph 100 below, for
each Chronically Leaking valve in a Covered Process Unit, Settling Defendants shall replace or
repack the existing Chronically Leaking valve in the Covered Process Unit with a Certified Low-
Leaking Valve or with Certified Low-Leaking Valve Packing Technology. Settling Defendants
shall undertake this replacement or repacking by no later than thirty (30) Days after the
monitoring event that triggers the replacement or repacking requirement, unless the replacement
or repacking requires a Process Unit Shutdown. If the replacement or repacking requires a
Process Unit Shutdown, Settling Defendants shall undertake the replacement or repacking during
the Maintenance Shutdown that follows the monitoring event that triggers the requirement to
replace or repack the valve. If a Settling Defendant completes the replacement or repacking
within thirty (30) Days of detecting the leak, that Settling Defendant shall not be required to
comply with Paragraph 93 of this Consent Decree. If a Settling Defendant does not complete the
replacement or repacking within thirty (30) Days, or if, at the time of the leak detection, that
Settling Defendant reasonably can anticipate that it might not be able to complete the
replacement or repacking within thirty (30) Days, that Settling Defendant shall comply with all
applicable requirements of Paragraph 93 of this Consent Decree.

    100. Commercial Unavailability of a Certified Low-Leaking Valve or Certified Low-
Leaking Valve Packing Technology.

            a. Settling Defendants shall not be required to utilize a Certified Low-Leaking
Valve or Certified Low-Leaking Valve Packing Technology to replace or repack a valve if a
Certified Low-Leaking Valve or Certified Low-Leaking Valve Packing Technology is
commercially unavailable in accordance with the provisions in Appendix B (“Commercial
Unavailability”). Prior to claiming this Commercial Unavailability exemption, Settling
Defendants shall contact a reasonable number of vendors of valves and obtain a written
representation or equivalent documentation from each vendor that the particular valve that
Settling Defendants need is commercially unavailable either as a Certified Low-Leaking Valve
or with Certified Low-Leaking Valve Packing Technology. In the Compliance Status Reports
due under Paragraph 108 of this Consent Decree, Settling Defendants shall: (i) identify each
valve which could not comply with the requirement to replace or repack the valve with a
Certified Low-Leaking Valve or Certified Low-Leaking Valve Packing Technology; (ii) identify
the vendors contacted to determine the unavailability of such a Valve or Packing Technology;
and (iii) include the written representations or documentation secured from each vendor
regarding the unavailability.


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            b. Ongoing Assessment of Availability. Settling Defendants may use a prior
determination of Commercial Unavailability of a valve or valve packing pursuant to this
Paragraph and Appendix B for a subsequent Commercial Unavailability claim for the same valve
or valve packing (or valve or valve packing in the same or similar service), provided that the
previous determination was completed within the preceding twelve (12) month period. After one
year, Settling Defendants shall conduct a new assessment of the availability of a valve or valve
packing meeting Certified Low-Leaking Valve or Certified Low-Leaking Valve Packing
Technology requirements.

     101. Records of Certified Low-Leaking Valves and Certified Low-Leaking Valve Packing
Technology. Prior to installing any Certified Low-Leaking Valves or Certified Low-Leaking
Valve Packing Technology, Settling Defendants shall secure from each manufacturer
documentation that demonstrates that the proposed valve or packing technology meets the
definition of “Certified Low-Leaking Valve” and/or “Certified Low-Leaking Valve Packing
Technology.” Settling Defendants shall retain that documentation for the duration of this
Consent Decree and make it available upon request.

      102. Valve Replacement/Improvement Report. In each Compliance Status Report due
under Paragraph 108 of this Consent Decree, Settling Defendants shall include a separate section
in the Report that: (i) describes the actions taken to comply with Paragraphs 98-101 above,
including identifying each valve that was replaced or upgraded; and (ii) identifies the schedule
for any future replacements or upgrades.

     Tracking Program or Management of Change

      103. For each Management of Change process or analysis or other tracking program,
Settling Defendants shall ensure that each piece of Equipment added to any Covered Refinery or
removed from any Covered Refinery for any reason is evaluated to determine if it is or was
subject to ELDAR Program requirements and that such pieces of Equipment are integrated into
or removed from the ELDAR Program.

     Quality Assurance (“QA”)/Quality Control (“QC”)

     104. Daily Certification by Monitoring Technicians. Commencing no later than October 1,
2015, on each Day that monitoring occurs, at the end of such monitoring Day to the extent
practical, but in no case later than the next Working Day for the monitoring technician, Settling
Defendants shall ensure that each monitoring technician certifies that the data collected
represents the monitoring performed for that Day by requiring the monitoring technician to sign
a form that includes the following certification:

                  On [insert date], I reviewed the monitoring data that I collected on
       [insert date] and to the best of my knowledge and belief, the data accurately
       represents the monitoring I performed.




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In lieu of a form for each technician for each Day of monitoring, a log sheet may be created that
includes the certification that the monitoring technicians would date and sign each Day that the
technician collects data.

     105. Commencing no later than January 1, 2016, during each Calendar Quarter, at
unannounced times, an LDAR-trained employee or contractor of a Settling Defendant, who does
not serve as an LDAR monitoring technician on a routine basis, shall undertake the following:

           a. Process unit walk-throughs as may be necessary to assure that all Covered
Process Units are reviewed at least once per year, conduct spot checks of Covered Equipment to
verify that the Equipment checked is included in the LDAR database and is properly tagged;

          b.    Review the LDAR database to:

                i.     verify that Covered Equipment was monitored at the appropriate frequency;

              ii. verify that proper documentation and sign-offs have been recorded for all
Equipment placed on the DOR list;

                iii.   ensure that repairs have been performed within the required timeframe;

             iv. review monitoring data and Equipment counts (e.g., number of pieces of
Covered Equipment monitored per Day) for feasibility and unusual trends; and

               v. verify that proper calibration records and monitoring instrument
maintenance information are stored and maintained;

          c. Conduct spot checks of LDAR program records to verify that those records are
maintained as required in Paragraph 107 below; and

          d. Observe each LDAR monitoring technician in the field to ensure monitoring is
being conducted as required.

      106. Settling Defendants shall correct any deficiencies detected or observed as soon as
practicable. Settling Defendants shall maintain a log that: (i) records the date and time that the
reviews, verifications, and observations required by Paragraph 105 above were undertaken; and
(ii) describes the nature and timing of any corrective actions taken.

     Recordkeeping and Reporting

     107. Settling Defendants shall keep all records, including copies of all LDAR audits, to
document compliance with the requirements of this ELDAR Program in accordance with
Section X (Reporting and Recordkeeping) of this Consent Decree. All monitoring data, leak
repair data, training records, and audits shall be retained for five (5) years, except for the
calibration records (including calibration drift assessments) which shall be retained for one
(1) year. Upon request by EPA or an Applicable State Co-Plaintiff, Settling Defendants shall


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make all such documents available to EPA and shall provide, in their original electronic format,
all LDAR monitoring data generated during the life of this Consent Decree.

     108. Compliance Status Reports. On the dates and for the time periods set forth in
Paragraph 109 of this Consent Decree, Settling Defendants shall submit a compliance status
report regarding compliance with this ELDAR Program. The compliance status report shall
include the following information:

          a. The number of personnel assigned to LDAR functions at each Covered Refinery
and the percentage of time each person dedicated to performing his/her LDAR functions;

           b.   An identification and description of any non-compliance with the ELDAR
Program;

         c. An identification of any problems encountered in complying with the
requirements of the ELDAR Program;

           d.   The information required in Paragraph 100 of this Consent Decree;

          e. A description of any LDAR training required in accordance with Paragraph 75 of
this Consent Decree;

          f.   Any deviations identified in the QA/QC performed under Paragraphs 104-105
above as well as any corrective actions taken under Paragraph 106 above;

           g. A summary of LDAR audit results including specifically identifying all
deficiencies; and

          h. The status of all actions under any CAP that was submitted pursuant to
Paragraph 81 above during the reporting period.

      109. Due Dates. The first compliance status report shall be due on September 1, 2016.
Until Termination, the Settling Defendants shall submit subsequent compliance status reports on
each March 1 and September 1 for the preceding six month period. The initial report shall cover
the period between October 1, 2015 and June 30, 2016. Subsequent semi-annual compliance
status reports shall cover the time period from January 1 through June 30 of each year (submitted
by September 1 of each year) and the period of July 1 through December 31 of each year
(submitted by March 1 of each year).

      110. Each compliance status report submitted under Paragraph 108 shall be certified as set
forth in Paragraph 173 below.




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     B.   Requirements for Control of Flaring Events

     Definitions

      111. Definitions. The following terms used in this Section VI.B of this Consent Decree
shall be defined, solely for the purposes of this Section VI.B of this Consent Decree and the
reports and documents submitted pursuant thereto, as follows:

            a.    “Malfunction” solely for the purposes of this Section VI.B (Requirements for
Control of Flaring Events) shall mean “any sudden, infrequent, and not reasonably preventable
failure of air pollution control equipment, process equipment, or a process to operate in a normal
or usual manner. Failures that are caused in part by poor maintenance or careless operation are
not Malfunctions.” In any action under Section XV of this Consent Decree (Dispute Resolution)
involving this definition, Settling Defendants shall have the burden of proving all of the
following factors:

               i.   The excess emissions were caused by a sudden, unavoidable breakdown of
technology, beyond the control of the Settling Defendant;

               ii. The excess emissions (a) did not stem from any activity or event that could
have been foreseen and avoided, or planned for, and (b) could not have been avoided by better
operation and maintenance practices;

               iii. To the maximum extent practicable the air pollution control equipment or
processes were maintained and operated in a manner consistent with good practice for
minimizing emissions;

               iv. Repairs were made in an expeditious fashion when the operator knew or
should have known that applicable emission limitations were being exceeded. Off-shift labor
and overtime must have been utilized, to the extent practicable, to ensure that such repairs were
made as expeditiously as practicable;

              v. The amount and duration of the excess emissions (including any bypass)
were minimized to the maximum extent practicable during periods of such emissions;

               vi. All possible steps were taken to minimize the impact of the excess
emissions on ambient air quality;

                vii. All emission monitoring systems were kept in operation if at all possible;

              viii. The Settling Defendant’s actions during the period of excess emissions
were documented by properly signed, contemporaneous operating logs, or other relevant
evidence; and

               ix. The Settling Defendant properly and promptly notified the appropriate
regulatory authority.


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           b. “Flaring Process Unit” means the equipment assembled and connected by pipes
or ducts to process raw and/or intermediate materials and to manufacture an intended product. A
Flaring Process Unit includes any associated storage vessels. For the purpose of this Section
VI.B Flaring Process Unit includes, but is not limited to petroleum refining process units as
defined by 40 C.F.R. § 63.641.

     112. Covered Flares Subject to the Requirements Set Forth in Paragraphs 113 through 153
below. Appendix C -2.1 sets forth which requirements of Paragraphs 113 through 153 below
apply to which Covered Flares and the dates by which Settling Defendants shall comply with
such requirements.

     Interim Measures for Flare Combustion Efficiency and Vent and Waste Gas
     Minimization at the Covered Flares

     113. Interim Combustion Efficiency Measures. Settling Defendants shall implement the
following Interim Combustion Efficiency Measures at each Covered Flare as set forth in
Appendix C - 2.1 until such Covered Flare complies with the requirements of Paragraph 139.

          a. By no later than the applicable date(s) in Appendix C - 2.1, based on the
monitoring systems and instrumentation existing at each Covered Flare as of the Date of Entry,
Settling Defendants shall complete the installation of a system that depicts, on each Covered
Flare’s control panel, a visual image of the S/VG ratio of each Covered Flare.

           b. By no later than the applicable date(s) in Appendix C - 2.1, for all operators and
supervisors with responsibility and/or oversight for the operation of each Covered Flare as set
forth in Appendix C - 2.1, Settling Defendants shall complete training on steam control for each
Covered Flare. Such training shall include describing and identifying the existing monitoring
and instrumentation systems, how to manually adjust the Total Steam Mass Flow Rate so as to
optimize Combustion Efficiency and minimize oversteaming, and how to target the S/VG ratio at
the lowest possible value to just avoid Smoke Emissions.

           c. By no later than the applicable date(s) in Appendix C - 2.1, based on the visual
readout at the control panel for each Covered Flare and other applicable operating information,
Settling Defendants shall operate each Covered Flare to minimize the S/VG ratio to the extent
practical with the existing monitoring and instrumentation systems.

      114. Evaluating and Upgrading or Replacing, as Necessary, Meters Measuring Sweep Gas
and Purge Gas Volumetric Flow Rates. By no later than the applicable date(s) in Appendix
C - 2.1, Settling Defendants shall complete an evaluation of all meters that measure the flow of
Sweep Gas and Purge Gas to each Covered Flare and shall upgrade or replace, as necessary, each
such meter in order to ensure an acceptable level of control over flow. If the implementation of
any such upgrade or replacement takes longer than the applicable date(s) in Appendix C - 2.1,
Settling Defendants shall complete the implementation as soon as practicable and shall provide a
schedule for such completion in the first semi-annual report under Section X (Reporting and
Recordkeeping) of this Consent Decree that is due after the applicable date(s) in Appendix


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C - 2.1. Under no circumstances may Settling Defendants implement any such measure later
than the date set forth in Appendix C - 2.1 for installing Flare monitoring systems pursuant to
Paragraph 117 below for the affected unit that first occurs after the applicable date(s) in
Appendix C - 2.1.

      115. Minimizing Sweep and Purge Gas Flow Rates Based on Survey Findings. Prior to the
applicable date(s) in Appendix C - 2.1, Settling Defendants shall complete a survey of the
amount of Sweep Gas and Purge Gas introduced to each Covered Flare. Based on the results of
the survey, by no later than the applicable date(s) in Appendix C - 2.1, Settling Defendants shall
complete the implementation of all measures necessary to minimize the amount of Sweep Gas
and Purge Gas being directed to each Covered Flare. If the implementation of any such measure
takes longer than the applicable date(s) in Appendix C - 2.1, Settling Defendants shall complete
the implementation as soon as practicable and shall provide a schedule for such completion in
the first semi-annual report under Section X (Reporting and Recordkeeping) of this Decree that
is due after the applicable date(s) in Appendix C - 2.1. Under no circumstances may Settling
Defendants implement any such measure later than the Scheduled Turnaround for the affected
unit that first occurs after the applicable date(s) in Appendix C - 2.1.

      116. Minimizing Leaking Pressure Relief Valves. By no later than one year after the
applicable date(s) in Appendix C - 2.1, Settling Defendants shall conduct and complete a survey
(“Initial PRV Leak Survey”) of the large, high-pressure hydrocarbon pressure relief valves
(“PRVs”) that discharge to a Covered Flare; the PRVs are identified in Appendix C - 2.2. The
Initial PRV Leak Survey shall include but not be limited to acoustic monitoring. During the first
Scheduled Turnaround that occurs after eighteen months following completion of the Initial PRV
Leak Survey of any unit that houses any PRV listed in Appendix C - 2.2, Settling Defendants
shall repair or replace each leaking PRV in that unit. For all other hydrocarbon PRVs directed to
a Covered Flare (that is, all those that are not identified in Appendix C - 2.2) that are tied into
Flare headers and subheaders, Settling Defendants shall conduct acoustic monitoring pursuant to
a plan and schedule that Settling Defendants shall include in the Initial Flare Management Plan
due under Paragraph 127 below.

     Instrumentation and Monitoring Systems for Covered Flares

      117. Installation and Operation of Flare Monitoring Systems at Each Covered Refinery. By
no later than the applicable date for each Covered Flare as set forth in Appendix C - 2.1, Settling
Defendants shall have completed the installation and commenced the operation of the
instrumentation, controls and monitoring systems set forth in this Paragraph 117. The Settling
Defendants shall install, operate, calibrate, and maintain a monitoring system capable of
continuously measuring, calculating, and recording the Vent Gas Volumetric Flow Rate in each
Covered Flare header or headers that feed the Flare as well as any Supplemental Gas used.
Different flow monitoring methods may be used to measure different gaseous streams that make
up the Vent Gas provided that the flow rates of all gas streams that contribute to the Vent Gas are
determined. If Assist Air or Assist Steam is used, the Settling Defendants shall install, operate,
calibrate, and maintain a monitoring system capable of continuously measuring, calculating, and
recording the volumetric flow rate of Assist Air and/or Assist Steam used with each Covered


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Flare. If Premix Assist Air and Perimeter Assist Air are both used, Settling Defendants shall
install, operate, calibrate, and maintain a monitoring system capable of separately measuring,
calculating, and recording the volumetric flow rate of Premix Assist Air and Perimeter Assist Air
used with the Flare. Continuously monitoring fan speed or power and using fan curves is an
acceptable method for continuously monitoring Assist Air flow rates.

          a. Each Covered Flare’s flow rate monitoring systems must be able to correct for
the temperature and pressure of the system and output parameters in Standard Conditions.

           b. Mass flow monitors may be used for determining volumetric flow rate of the
Vent Gas provided the molecular weight of the Vent Gas is determined using compositional
analysis as specified in Paragraph 118 below so that the mass flow rate can be converted to
volumetric flow at Standard Conditions using Equation 6 in Appendix C - 1.2.

          c. Mass flow monitors may be used for determining volumetric flow rate of Assist
Air or Assist Steam. Use Equation 6 in Appendix C - 1.2 to convert mass flow rates to
volumetric flow rates. Use a molecular weight of 18 pounds per pound-mole for Assist Steam
and use a molecular weight of 29 pounds per pound-mole for Assist Air.

           d. Continuous pressure/temperature monitoring system(s) and appropriate
engineering calculations may be used in lieu of a continuous volumetric flow monitoring system
provided the molecular weight of the gas is known. For Assist Steam, use a molecular weight of
18 pounds per pound-mole. For Assist Air, use a molecular weight of 29 pounds per pound-
mole. For Vent Gas, molecular weight must be determined using compositional analysis as
specified in Paragraph 118 below.

      118. Vent Gas Composition Monitoring. Settling Defendants shall determine the
concentration of individual components in the Vent Gas using either the methods provided in
Paragraphs 118.a or b below, to assess compliance with the operating limits in Paragraph 139
below and, if applicable, Paragraphs 135.d and 145 below. Alternatively, Settling Defendants
may elect to directly monitor the Net Heating Value of the Vent Gas following the methods
provided in Paragraph 118.c below, and, if desired, may directly measure the hydrogen
concentration in the Vent Gas following the methods provided in Paragraph 118.d below.
Settling Defendants may elect to use different monitoring methods for different gaseous streams
that make up the Vent Gas provided the composition or Net Heating Value of all gas streams that
contribute to the Vent Gas are determined.

          a. Net Heating Value by Gas Chromatograph. Except as provided in Paragraphs
118.e and f below, Settling Defendants shall install, operate, calibrate, and maintain a monitoring
system capable of continuously measuring (i.e., at least once every 15-minutes), calculating, and
recording the individual component concentrations present in the Vent Gas.

           b. Grab Sampling System. Except as provided in Paragraphs 118.e and f below,
Settling Defendants shall install, operate, and maintain a grab sampling system capable of
collecting an evacuated canister sample for subsequent compositional analysis at least once every
eight hours. Subsequent compositional analysis of the samples must be performed according to

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Method 18 of 40 C.F.R. Part 60, Appendix A-6, ASTM D6420-99 (Reapproved 2010), ASTM
D1945-03 (Reapproved 2010), ASTM D1945-14 or ASTM UOP539-12 .

           c. Net Heating Value By Calorimeter. Except as provided in Paragraphs 118.e
and f below, Settling Defendants shall install, operate, calibrate, and maintain a calorimeter
capable of continuously measuring, calculating, and recording NHVvg at Standard Conditions.
When installed, the Net Heating Value calorimeter shall meet or exceed the applicable
specifications and Calibration Standards and Quality Assurance requirements set forth in
Appendix C - 1.10.

            d. Hydrogen Concentration Monitoring. If a Settling Defendant uses a continuous
Net Heating Value calorimeter according to Paragraph 118.c above, that Settling Defendant may,
at its discretion, install, operate, calibrate, and maintain a monitoring system capable of
continuously measuring, calculating, and recording the hydrogen concentration in the Vent Gas.

           e. Monitoring Not Required for Pipeline Quality Natural Gas. Direct compositional
monitoring or Vent Gas Net Heating Value calorimeter is not required for purchased (“pipeline
quality”) natural gas streams. The Net Heating Value of purchased natural gas streams may be
determined using annual or more frequent grab sampling at any one representative location.
Alternatively, the Net Heating Value of any purchased natural gas stream can be assumed to be
920 BTU/scf.

           f.    For purposes of this Consent Decree only, Settling Defendants may also assume
a constant molecular weight and composition that have been demonstrated for the Sweep Gas,
Purge Gas, or Supplemental Gas that is representative of the molecular weight and composition
of natural gas, Fuel Gas or other appropriate gas supplied at each Covered Flare.

     119. Video Camera. This instrument shall record, in digital format, whether a flame or
Smoke Emissions are present at each Covered Flare as set forth in Appendix C - 2.1. It is not a
violation of this Consent Decree, however, if Flare video equipment cannot discern the Flare
Combustion Zone and/or any Smoke Emissions at a Covered Flare subject to these provisions
due to weather conditions such as fog or snow, provided that recordings are created and retained
in accordance with this Consent Decree.

      120. Instrumentation and Monitoring Systems: Optional Equipment for any Covered Flare.
At their option, Settling Defendants may elect to install (if not already installed) and
continuously measure the flow, in scfm or pounds per hour (if the instrument automatically
converts flow from scfm to lb/hr), of all Pilot Gas to a Covered Flare. Settling Defendants may
utilize the data generated by this system as part of the calculation of the Net Heating Value of the
Combustion Zone Gas.

      121. Instrumentation and Monitoring Systems: Specifications. For the Covered Flares set
forth in Appendix C - 2.1, the applicable instrumentation and monitoring systems identified in
Paragraphs 114, 117-119, and 122, and 144 of this Consent Decree shall meet or exceed the
equipment and instrumentation technical specifications and quality assurance/quality control
requirements set forth in Appendix C - 1.10.

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      122. The instrumentation and monitoring systems identified in Paragraphs 114, 117-119
and 144 of this Consent Decree shall be able to produce and record data measurements and
calculations for each parameter at the following time intervals as applicable to the equipment
installed:

     Instrumentation and Monitoring System                  Recording and Averaging Times

     Vent Gas Flow;                                         Measure continuously and record
     Vent Gas Average Molecular Weight;                     15-minute Block Averages.
     Total Steam Flow;
     Pilot Gas Flow (if installed)
     Video Camera                                           Record at a rate of no less than 4
                                                            frames per minute.
     Net Heating Value by Gas Chromatograph                 Complete a minimum of one cycle
                                                            of operation (sampling, analyzing
                                                            and data recording) for each
                                                            successive 15-minute Block
                                                            Average Period.
     Net Heating Value by Calorimeter                       Measure continuously and record
                                                            15- minute Block Averages.

Nothing in this Paragraph shall prohibit Settling Defendants from setting up process control logic
that uses different averaging times from those in this table provided that the recording and
averaging times in this table are available and used for determining compliance with this Consent
Decree.

     123. Instrumentation and Monitoring Systems: Operation and Maintenance. Settling
Defendants shall operate each of the instruments and monitoring systems required in Paragraphs
Paragraphs 114, 117-119, and 122, and 144 of this Consent Decree on a continuous basis when
the associated Covered Flare is In Operation and Capable of Receiving Sweep, Supplemental,
and/or Waste Gas, except for the following periods:

         a. Malfunction of a monitoring system, for a monitoring system needed to meet the
requirement(s);

          b. Repairs associated with monitoring system malfunctions, for a monitoring
system needed to meet the requirement(s);

          c. Required monitoring system quality assurance or quality control activities
(including, as applicable, calibration checks and required zero and span adjustments).

          d.   Quality Assurance/Quality Control Activities.

Provided however, that in no event shall the excepted activities in Paragraphs 123.a-123.c above
for any instrument exceed 5% of the time that the Covered Flare is In Operation and Capable of


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Receiving Sweep, Supplemental, and/or Waste Gas in any six month period. The calculation of
instrument downtime shall be made in accordance with 40 C.F.R. § 60.13(h)(2) and Paragraph
VIII of Appendix C - 1.10. If the excepted activities in Paragraphs 123.a-123.c above exceed 5%
of the time that the Covered Flare is In Operation and Capable of Receiving Sweep,
Supplemental, and/or Waste Gas in any six month period, EPA and/or the Applicable State Co-
Plaintiff shall be entitled to seek stipulated penalties under Paragraph 188 of Section XII
(Stipulated Penalties) and Settling Defendants shall be entitled to assert that the period of
instrumentation and monitoring system downtime was justified under the circumstances.
Nothing in this Paragraph is intended to prevent Settling Defendants from claiming a force
majeure defense to any period of instrumentation and/or monitoring system downtime. Nothing
in this Paragraph supersedes or replaces the monitoring requirements, including operation,
maintenance, and quality assurance/quality control requirements, of 40 C.F.R. Part 60, Subpart
Ja. All such requirements shall apply in accordance with the terms set forth in 40 C.F.R. Part 60,
Subpart Ja.

     Determining Whether a Covered Flare that has a Liquid Seal is
     Not Receiving Potentially Recoverable Gas

     124. For a Covered Flare at which all of the following conditions are met, then the Covered
Flare is not receiving Potentially Recoverable Gas flow:

           a. For the liquid seal drum associated with the respective Covered Flare, the
pressure difference between the inlet pressure and the outlet pressure is less than the liquid seal
pressure as set by the static head of liquid between the opening of the dip tube in the drum and
the level-setting weir in the drum; and

           b. For the liquid seal drum associated with the respective Covered Flare, the liquid
level in the drum is at the level of the weir.

     125. As an alternative to Paragraph 124 for a Covered Flare which does not have a weir, the
Covered Flare is not considered to be receiving a Potentially Recoverable Gas flow if the Vent
Gas flow meter indicates a flow rate of less than 0.2 feet/second based on a 15-minute Block
Average.

     126. [Reserved].




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     Vent and Waste Gas Minimization for Covered Flares

      127. Initial Flare Management Plan (“Initial FMP”). By no later than the applicable date in
Appendix C - 2.1 for Covered Flares subject to this requirement as set forth in Appendix C - 2.1,
Settling Defendants shall submit to EPA and the Applicable State Co-Plaintiff an Initial Flare
Management Plan for each Covered Refinery which incorporates its Covered Flares that
discusses and evaluates flaring prevention measures (“Prevention Measures”), as required in
Paragraph 127(j) below, both Refinery-wide and on a Flare-specific basis. The Initial FMP shall
include but not be limited to:

         a. A listing of all refinery Flaring Process Units, ancillary equipment, and Fuel Gas
Systems connected to the Flare for each Covered Flare.

           b. An assessment of whether discharges to Covered Flares from these Flaring
Process Units, ancillary equipment and Fuel Gas Systems can be minimized or prevented during
periods of Startup, Shutdown, or emergency releases. The Flare minimization assessment must
(at a minimum) consider the items in Paragraphs 127.b.i-iii below. The assessment must provide
clear rationale in terms of costs (capital and annual operating), natural gas offset credits (if
applicable), technical feasibility, secondary environmental impacts and safety considerations for
the selected minimization alternative(s) or a statement, with justifications, that flow reduction
could not be achieved. Based upon the assessment, Settling Defendants shall identify the
minimization alternatives that they have implemented by the due date of the Flare Management
Plan and shall include a schedule for the prompt implementation of any selected measures that
cannot reasonably be completed as of that date.

                i.  Modification in Startup and Shutdown procedures to reduce the quantity of
process gas discharge to the Flare.

               ii. Plan and schedule for conducting acoustic monitoring on all hydrocarbon
PRVs directed to a Covered Flare that are not identified in Appendix C - 2.2, as required by
Paragraph 116 above.

               iii. Installation of a FGRS, or, for facilities that are Fuel Gas rich, a FGRS and
a co-generation unit or combined heat and power unit.

          c.   A description of each Covered Flare containing the following information:

                i.    A general description of the Covered Flare, including whether it is a ground
Flare or elevated (including height), the type of assist system ( e.g., air, steam, pressure, non-
assisted), whether the Flare is used on a routine basis or if it is only used during periods of
Startup, Shutdown or emergency release, and whether the Flare is equipped with a FGRS.

                ii. The smokeless capacity of the Covered Flare based on design conditions.
Note: a single value must be provided for the smokeless capacity of the Flare.

               iii.   The maximum Vent Gas flow rate (hydraulic load capacity).


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                iv.   The maximum Supplemental Gas flow rate.

               v. For Covered Flares that receive Assist Steam, the Minimum Total Steam
Rate and the maximum Total Steam rate.

                vi. For Covered Flares that receive Assist Air, an indication of whether the
fan/blower is single speed, multi-fixed speed (e.g., high, medium, and low speeds), or variable
speeds. For fans/blowers with fixed speeds, provide the estimated Assist Air flow rate at each
fixed speed. For variable speeds, provide the design fan curve (e.g., air flow rate as a function of
power input).

                 vii. Simple process flow diagram showing the locations of the Covered Flare
following components of the Flare: Flare tip (date installed, manufacturer, nominal and effective
tip diameter, tip drawing); knockout or surge drum(s) or pot(s) (including dimensions and design
capacities); Flare header(s) and subheader(s); assist system; and ignition system.

            d. Description and simple process flow diagram showing all gas lines (including
Waste Gas, Purge Gas or Sweep Gas (as applicable), Supplemental Gas) that are associated with
the Covered Flare. For Purge, Sweep, and Supplemental Gas, identify the type of gas used.
Designate which lines are exempt from composition or Net Heating Value monitoring and why
(e.g., natural gas, gas streams that have been demonstrated to have consistent composition, Pilot
Gas). Designate which lines are monitored and identify on the process flow diagram the location
and type of each monitor. Designate the pressure relief devices that are vented to the Flare.

          e. For each flow rate, gas composition, Net Heating Value calorimeter or hydrogen
concentration monitor identified in Paragraph 127.d above, provide a detailed description of the
manufacturer's specifications, including, but not limited to, make, model, type, range, precision,
accuracy, calibration, maintenance and quality assurance procedures.

           f.    For each pressure relief valve vented to the Covered Flare identified in
Paragraphs 127.d above, provide a detailed description of each pressure release valve, including
type of relief device (rupture disc, valve type) diameter of the relief valve, set pressure of the
relief valve and listing of the Prevention Measures implemented. This information may be
maintained in an electronic database on-site and does not need to be submitted as part of the
Flare Management Plan unless requested to do so by EPA and the Applicable State Co-Plaintiff.

          g. Procedures to minimize or eliminate discharges to the Flare during the planned
Startup and Shutdown of the refinery Flaring Process Units and ancillary equipment that are
connected to the Covered Flare, together with a schedule for the prompt implementation of any
procedures that cannot reasonably be implemented as of the date of the submission of the Flare
Management Plan.

         h. Waste Gas Characterization and Mapping. Settling Defendants shall assess the
Waste Gas being disposed of at each Covered Flare subject to this requirement as set forth in
Appendix C - 2.1 and determine its characteristics as follows:



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                 i.    Volumetric (in scfd) Flow Rate. Settling Defendants shall identify the
volumetric flow of Waste Gas, in scfm on a 30-day Rolling Average vented to each Covered
Flare subject to this requirement as set forth in Appendix C - 2.1 between December 1, 2015, and
November 30, 2016. To the extent that, for any particular Covered Flare, Settling Defendants
have instrumentation capable of measuring the volumetric flow rate of hydrogen, nitrogen,
oxygen, carbon monoxide, carbon dioxide, and/or steam in the Waste Gas, Settling Defendants
may break down the volumetric flow as between: (i) all Waste Gas flows excluding hydrogen,
nitrogen, oxygen, carbon monoxide, carbon dioxide, and/or water (steam); and (ii) hydrogen,
nitrogen, oxygen, carbon monoxide, carbon dioxide, and/or water (steam) flows in the Waste
Gas. Settling Defendants may use either an engineering evaluation or measurements from
monitoring or a combination to determine flow rate. In determining flow rate, flows during all
periods (including but not limited to normal operations and periods of Startup, Shutdown,
Malfunction, process upsets, relief valve leakages, power losses due to an interruptible power
service agreement, and emergencies arising from events within the boundaries of each of the
Covered Refineries), except those described in the next sentence, shall be included. Flows that
could not be prevented through reasonable planning and are caused by a natural disaster, act of
war or terrorism, or External Power Loss are the only flows that shall be excluded from the
calculation of flow rate. Settling Defendants shall specifically describe the date, time, and nature
of the event that results in the exclusion of any flows from the calculation.

                ii. Baseload Waste Gas Flow Rates. Settling Defendants shall utilize flow rate
data to determine the Baseload Waste Gas Flow Rate, in scfd, to each Covered Flare subject to
this requirement as set forth in Appendix C - 2.1. The Baseload Waste Gas Flow Rate shall not
include flows during periods of Startup, Shutdown, and Malfunction. The Baseload Waste Gas
Flow Rate shall be based on the period between December 1, 2015, and November 30, 2016.

                iii. Identification of Constituent Gases. For each Covered Flare subject to this
requirement as set forth in Appendix C - 2.1, Settling Defendants shall use best efforts to identify
the constituent gases within the Waste Gas and the typical range of constituent concentrations
during baseload conditions. Settling Defendants may use either an engineering evaluation or
measurements from monitoring or a combination to determine Waste Gas constituents.

                iv. Waste Gas Mapping. Using instrumentation, isotopic tracing, and/or
engineering calculations, Settling Defendants shall identify and estimate the flow from each
Flaring Process Unit Flare header to the main Flare header(s) for each Covered Flare subject to
this requirement as set forth in Appendix C - 2.1. Using that information and all other available
information, Settling Defendants shall complete an identification of each Waste Gas tie-in to the
main Flare header(s) and Flaring Process Unit Flare header(s), as applicable, consistent with
Appendix C - 1.11. Temporary connections to a Flare’s header(s) and/or subheader(s) are not
required to be included in the mapping.

         i.    Taking a Covered Flare out of Service. Settling Defendants shall identify any
Covered Flare that it intends to take out of service, including the date for completion of the
decommissioning. Taking a Covered Flare “out of service” means physically removing piping in



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the Flare header or physically isolating the piping with a welded blind so as to eliminate direct
piping to the Covered Flare.

          j.  Prevention Measures. Settling Defendants shall describe and evaluate all
Prevention Measures, including a schedule for the expeditious implementation and
commencement of operation of all Prevention Measures, to address the following:

                i.    Flaring that has occurred or may reasonably be expected to occur during
planned maintenance activities, including Startup and Shutdown. The evaluation shall include a
review of flaring that has occurred during these activities in the past three years and shall
consider the feasibility of performing these activities without flaring.

                ii. Flaring that may reasonably be expected to occur due to issues of gas
quantity and quality. The evaluation shall include an audit of the flare gas recovery capacity of
each Covered Flare subject to this requirement as set forth in Appendix C - 2.1, the capacity
including internal piping systems and the amine treating capacity available for Waste Gases
including any limitations associated with the amine treating of Waste Gases for use as fuel. The
evaluation shall consider the feasibility of reducing flaring through the recovery, treatment, and
use of the Waste Gas.

                 iii. Flaring caused by the recurrent failure of air pollution control equipment,
process equipment, or a process to operate in a normal or usual manner. The evaluation shall
consider the adequacy of existing maintenance schedules and protocols for such equipment. A
failure is “recurrent” if it occurs more than twice during any five year period as a result of the
same root cause.

     128. Updated Flare Management Plans. On the date specified in Appendix C - 2.1 and
annually thereafter, Settling Defendants shall submit to EPA and the Applicable State Co-
Plaintiff an Updated FMP, which shall update for the preceding calendar year, if and as
necessary, the information required in Paragraphs 127.a-127.j and shall also include the
following:

           a. Reductions Based on Root Cause Analysis. Settling Defendants shall review all
of the Root Cause Analysis reports prepared pursuant to 40 C.F.R. Part 60, Subpart Ja or this
Consent Decree to determine if reductions in addition to the reductions achieved through any
corrective action can be realized; and

          b. Revised Schedule. To the extent that Settling Defendants propose to extend any
schedule set forth in the Initial FMP, Settling Defendants shall do so only with good cause.

     129. Implementation and Enforceability of Flare Management Plans.

           a. Implementation. By no later than the dates specified in a FMP, Settling
Defendants shall implement the actions described therein. If (i) no implementation date and/or
(ii) no completion date for actions that do not require ongoing implementation (such as the



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  installation of a piece of an equipment) is (are) set forth in the FMP, the implementation and/or
  completion date shall be deemed the date of the submission of the FMP.

           b. Enforceability. The terms of each FMP (including Initial, First Updated, and
  Subsequent Updated FMPs) submitted under this Section are specifically enforceable.

       Flare Gas Recovery Systems for Covered Flares Limitations on Flaring

       130. Flare Gas Recovery Systems: Capacity and Start-Up Dates. By no later than the
  applicable dates in Appendix C - 2.1 for each Covered Refinery, Settling Defendants shall
  complete installation and commence operation of the following Flare Gas Recovery Systems at
  each Covered Refinery:

Covered Refinery            Minimum No. of          Minimum              Minimum FGRS Operating
                            Compressors             Capacity of each     Design Capacity (kscfh)
                                                    Compressor
                                                    (kscfh)

Anacortes                   2 (both new)            60                   120
Kapolei                     2 (one existing, one    30 and 40            70
                            new)
Kenai                       2 (both new)            40                   80
Mandan                      2 (both new)            30                   60
Martinez Unit 19/           2 (both existing)       166.7                333.4
DCU
Martinez 50U                2 (both existing)       3 and 132.5          135.5
Salt Lake City              2 (both new)            30                   60

       131. Flare Gas Recovery Systems: Operation.

            a. General. Settling Defendants shall operate each FGRS in a manner to minimize
  Waste Gas to the respective Covered Flares subject to this requirement as set forth in Appendix
  C - 2.1 while ensuring safe refinery operations. Settling Defendants also shall operate each
  FGRS consistent with good engineering and maintenance practices and in accordance with its
  design and the manufacturer’s specifications.

             b. Requirements Related to Compressors Being Available for Operation and/or In
  Operation. By no later than the applicable dates listed in Appendix C - 2.1, Settling Defendants
  shall comply with the following requirements when Potentially Recoverable Gas is being
  generated:

                i.    FGRS at the Anacortes Refinery, Martinez Refinery Unit 19/DCU,
  Martinez Refinery 50U, Mandan Refinery, Kenai Refinery, and Salt Lake City Refinery. For
  each FGRS at the Anacortes Refinery, Martinez Refinery Unit 19/DCU, Martinez Refinery 50U,
  Mandan Refinery, Kenai Refinery, and Salt Lake City Refinery, Tesoro shall have one


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Compressor Available for Operation and/or In Operation 98% of the time and two Compressors
Available for Operation and/or In Operation 95% of the time.

             ii. FGRS at the Kapolei Refinery. For the Kapolei Refinery FGRS, Par shall
have one Compressor Available for Operation and/or In Operation 98% of the time and two
Compressors Available for Operation and/or In Operation 95% of the time.

                iii. Period to Be Used for Computing Percentage of Time. For purposes of
calculating compliance with the 95% and the 98% of time that a Compressor or group of
Compressors shall be Available for Operation and/or In Operation, as required by this Paragraph,
the period to be used shall be an 8760-hour Rolling Sum, rolled hourly, using only hours when
Potentially Recoverable Gas was generated during all or part of the hour but excluding hours for
flows that could not have been prevented through reasonable planning and were in anticipation
of or caused by a natural disaster, act of war or terrorism, or External Power Loss. When no
Potentially Recoverable Gas was generated during an entire hour, then that hour shall not be used
in computing the 8760-hour Rolling Sum.

                  iv. Periods of maintenance on and subsequent restart of the equipment within
the FGRS that is shared by all Compressors (for example, the liquid seal, the knock-out drum,
valves), such that the entire FGRS shall be shut down in order to undertake the maintenance may
be included in the amount of time that a Compressor is Available for Operation; provided
however, that these periods shall not exceed 1,344 hours in a five-year Rolling Sum Period,
rolled daily. Settling Defendants shall use best efforts to schedule these maintenance activities
during a Scheduled Turnaround of the Flaring Process Units venting to the Covered Flare. To
the extent it is not practicable to undertake these maintenance activities during a Scheduled
Turnaround, Settling Defendants shall use best efforts to minimize the generation of Waste Gas
during such periods.

     Limitations on Flaring

     132. Limitations on Flaring: Initial Limit.

            a. Settling Defendants shall comply with the following limitations on flaring of
Waste Gas at all of the Covered Flares subject to this requirement as set forth in Appendix
C - 2.1 at each Covered Refinery by the applicable dates in Appendix C - 2.1.

 Covered Refinery     30-day rolling avg.,         365-day rolling avg., rolled daily (scfd)
                      rolled daily (scfd)
 Anacortes            662,670                      441,780
 Kapolei              293,861                      195,787
 Kenai                231,354                      154,236
 Mandan               313,139                      208,759
 Martinez             1,516,353                    1,010,902
 Salt Lake City       271,505                      181,003


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The Rolling Average Period shall include only the prior 30 Days or 365 Days, as applicable,
when any Covered Flare was In Operation. Each exceedance of the 30-day Rolling Average
limit or each exceedance of the 365-day Rolling Average limit shall constitute one Day of
violation. An exceedance of either or both of the limits shall not prohibit ongoing refinery
operations.

           b. The limitations set forth in Paragraph 132.a above were calculated using the
equations set forth in Paragraphs 133.a.i and 133.a.ii below. Appendix C - 2.4 sets forth the
actual calculation. Each Covered Refinery’s crude capacity used in the calculation was taken
from the “Total Operable” atmospheric crude oil distillation capacity, in barrels per Calendar
Day, found in Part 5, Code 401, of the Form EIA-820 that Settling Defendants submitted to the
U.S. Energy Information Administration (“EIA”) for EIA’s report dated June 25, 2014. A copy
of that Form is included in Appendix C - 2.4. The “Refinery Complexity” and “Industry Avg
Complexity” were calculated pursuant to the methodology set forth in Appendix C - 1.14.

      133. Limitations on Flaring: Requesting an Increase in the Limit.

            a. Once per calendar year, Settling Defendant(s) may submit a request to EPA to
increase the limitations on flaring set forth in Paragraph 132.a above. Settling Defendant(s) may
request an increase in the limit(s) and EPA will approve such an increase, only if: (i) the request
is based on changes in crude capacity and/or complexity that were not reflected in the EIA
reports as of the Date of Lodging; (ii) the changes are or will be permitted by the Applicable
Permitting Authority; and (iii) the changes in crude capacity and/or complexity result in new
limit(s) that are at least 20% higher than the limits set forth in Paragraph 132.a above. In any
such request, Settling Defendant(s) shall propose (a) new limit(s) (hereafter referred to as “New
Limit(s) Based on Projections”) based upon the following equations:

                   i.       For each Covered Refinery, the Refinery-wide, 30-day Rolling Average
limit:
Refinery Flaring        ≤      750,000 scfd      X    Refinery Crude Cap.   X   Refinery Complexity
                                                          100,000 bpd           Industry Avg Complexity


                   ii.      For each Covered Refinery, the Refinery-wide, 365-day Rolling Average
limit:
Refinery Flaring        ≤     500,000 scfd       X    Refinery Crude Cap.   X   Refinery Complexity
                                                          100,000 bpd           Industry Avg Complexity



Nothing in this Paragraph or Consent Decree shall be construed to relieve Settling Defendants of
an obligation to evaluate, under applicable PSD and NNSR requirements, an increase in a
Refinery-Wide limit on flaring.




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          b.    For purposes of Paragraphs 133.a.i and 133.a.ii above, the following shall apply:

                i.    The items in italics are variables that will change over time.

                ii.   Each Refinery Crude Capacity shall be determined as follows:

                     (a) If the modification does not affect the crude capacity, the Atmospheric
Crude Oil Distillation Capacity, in barrels per Day, that the Covered Refinery reported under
“Total Operable” capacity on Part 5, Code 401, of the Applicable Form EIA-820; the definition
of “Applicable Form EIA-820” is defined in the “Definitions” section of Appendix C - 1.14 and
included as Attachment 2 to Appendix C - 1.14; to the extent that the “Parts” or “Codes” on form
EIA-820 change in the future, the intent of the Parties is that the “Parts” and “Codes” of future
forms that correspond most closely to those found on the Form EIA-820 for its report dated June
25, 2014 (see Attachment 2 to Appendix C - 2.4) will be used; or

                       (b) If the modification does affect crude capacity, the projected, new
capacity set forth in the air permit application(s) for the post Date of Lodging modification.

                iii. Each Covered Refinery’s Complexity shall be calculated in accordance with
Equation 1 of Appendix C - 1.14. Settling Defendants shall certify the accuracy of the projected
crude capacity and/or Flaring Process Unit capacities used to support the calculations.

               iv. The Industry Average Complexity shall be calculated in accordance with
Equation 2 of Appendix C - 1.14.

          c. EPA Response to Request. EPA shall evaluate any request under
Paragraph 133.a on the basis of consistency with Paragraphs 133.a and 133.b above.

            d. The New Limit(s) Based on Projections shall take effect, if ever, beginning on
the later of the date that EPA approves the request or a dispute is resolved in Settling
Defendant(s) favor or the date(s) specified in the modification permit(s).

           e. In the event that Settling Defendant(s) amend, modify or withdraw the air permit
application(s) that is/are the basis for the New Limit(s) Based on Projections requested pursuant
to Paragraph 133.a in a manner that affects the limit(s) calculation(s), Settling Defendant(s) shall,
within fifteen (15) Days of amending, modifying, or withdrawing its air permit application(s),
revise or withdraw its request under Paragraph 133.a above.

          f.    Consequences of a Mistake in Projected Capacities.

                i.    By no later than ninety (90) Days after the Startup of the permitted
modifications, Settling Defendants shall determine whether the projected “Refinery Crude
Capacity” or the projected capacities for new or modified units that Settling Defendants relied
upon pursuant to Paragraphs 133.b.ii and/or 133.b.iii above, respectively, were or are different
from the actual capacities that Settling Defendants have reported or will report to the EIA or the


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Oil & Gas Journal after the Startup of the permitted modification. If there are differences,
Settling Defendant(s) shall re-calculate the flaring limitation(s) using the actual capacities that
Settling Defendant(s) have reported or will report to the EIA or the Oil & Gas Journal (hereafter
referred to as “New Limit(s) Based on Actuals”).

                ii. If the New Limit(s) Based on Actuals that Settling Defendant(s) calculate
under Paragraph 133.f.i above is/are greater than the New Limit(s) Based on Projections that
Settling Defendants calculated under Paragraph 133.a above, then no further action shall be
required. If Settling Defendant(s) elect to take no action, then the New Limits(s) Based on
Projections shall remain in effect. Settling Defendant(s), however, may elect to submit for EPA
approval, a revised, recalculated New Limit(s) Based on Actuals to EPA. After submission to
EPA, Settling Defendant(s) shall secure EPA’s approval of the New Limit(s) Based on Actuals
before they become effective.

                iii. If the New Limit(s) Based on Actuals that Settling Defendant(s) calculate
under Paragraph 133.f.i above is/are less than the New Limit(s) Based on Projections that
Settling Defendants calculated under Paragraph 133.a above, then by no later than ninety (90)
Days after the Startup of the permitted modifications, Settling Defendant(s) shall: (i) commence
complying with the New Limit(s) Based on Actuals; and (ii) submit the revised, recalculated
New Limit(s) Based on Actuals to EPA. After submission to EPA, Settling Defendant(s) shall
consult with EPA about the New Limit(s) Based on Actuals.

                iv. Stipulated Penalties. If Paragraph 133.f.iii above applies, then by no later
than ninety (90) Days after the Startup of the permitted modifications, the New Limit(s) Based
on Actuals identified in the submission to EPA under Paragraph 133.f.iii.(ii) above shall apply
and form the basis for determining compliance for purposes of the stipulated penalty provisions
of Paragraph 188.c of Section XII (Stipulated Penalties). If EPA disapproves the New Limit(s)
Based on Actuals, the New Limit(s) Based on Actuals shall continue to apply for purposes of
stipulated penalties until such time as other limitation(s) either is/are agreed upon between EPA
and Settling Defendant(s) or a dispute is resolved that sets forth revised limitation(s).

      134. Meaning and Calculation of “Waste Gas” Flow for Purposes of the Limitation on
Flaring. For purposes of the meaning and calculation of “Waste Gas” flow in the limitations on
flaring in Paragraphs 132 and 133 above and any revised limitations on flaring developed
pursuant to Paragraph 133 above, the following shall apply:

          a. To the extent that Settling Defendants have instrumentation capable of measuring
the volumetric flow rate of hydrogen, nitrogen, oxygen, carbon monoxide, carbon dioxide,
and/or water (steam) in the Waste Gas, the contribution of all measured flows of any of these
elements/compounds may be excluded from the Waste Gas flow rate calculation.

          b. Waste Gas flows during all periods (including but not limited to normal
operations and periods of Startup, Shutdown, Malfunction, process upsets, relief valve leakages,
power losses due to an interruptible power service agreement, and emergencies arising from
events within the boundaries of the Covered Refinery) shall be included. Waste Gas flows that


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could not be prevented through reasonable planning and are caused by a natural disaster, act of
war or terrorism, or External Power Loss may be excluded from the calculation of flow rate.

Except for hydrogen, nitrogen, oxygen, carbon monoxide, carbon dioxide, and/or water (steam)
contributions to the flow rate that are excluded by virtue of instrumentation measuring these
flows, Settling Defendants shall submit a description in the semi-annual report to EPA pursuant
to Section X (Reporting and Recordkeeping) that specifically identifies the event that resulted in
the exclusion. Settling Defendants shall describe the following: the date(s) and duration(s) of
the flows caused by the event; the estimated VOC and SO2 emissions during the event; whether
flows from the event are anticipated to persist after the notice, and if so, for how long; and the
measures taken or to be taken to prevent or minimize the flows, including, for future anticipated
flow, the schedule by which those measures will be implemented.

     Flare Combustion Efficiency Requirements for Covered Flares

      135. Emission Standards and Work Practices Applicable to Each Covered Flare. By no
later than the applicable dates in Appendix C - 2.1, Settling Defendants shall comply with the
following combustion efficiency requirements at each Covered Flare subject to this requirement
as set forth in Appendix C - 2.1:

         a. Operation During Waste Gas Venting. Settling Defendants shall operate each
Covered Flare subject to this requirement as set forth in Appendix C - 2.1 at all times when
Waste Gas may be vented to it.

          b.    No Visible Emissions.

                i.   Settling Defendant shall specify the smokeless design capacity of each
Covered Flare and operate with no Visible Emissions, except for periods not to exceed a total of
5 minutes during any 2 consecutive hours, when the Vent Gas flow rate is less than the
smokeless design capacity of the Flare. Settling Defendants shall monitor for Visible Emissions
from the Flare as specified in Paragraph 135.b.ii below.

                ii. Settling Defendants shall monitor Visible Emissions when the Flare is In
Operation. An initial Visible Emissions demonstration must be conducted using an observation
period of 2 hours using Method 22 at 40 C.F.R. Part 60, Appendix A-7. Subsequent Visible
Emissions observations must be conducted using either the methods in Paragraph 135.b.ii(a)
below, alternatively, the methods in Paragraph 135.b.ii(b) below. Settling Defendants must
record and report any instances where Visible Emissions are observed for more than 5 minutes
during any 2 consecutive hours, including the date and time of the 2 hour period and an estimate
of the cumulative number of minutes in the 2 hour period for which emissions were visible.

                    (a) At least once per Day, Settling Defendants shall conduct Visible
Emissions observations using an observation period of 5 minutes using Method 22 at 40 C.F.R.
Part 60, Appendix A-7. If at any time a Settling Defendant sees Visible Emissions, even if the
minimum required daily Visible Emissions monitoring has already been performed, the Settling
Defendant shall immediately begin an observation period of 5 minutes using Method 22 at


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40 C.F.R. Part 60, Appendix A-7. If Visible Emissions are observed for more than one
continuous minute during any 5-minute observation period, the observation period using Method
22 at 40 C.F.R. Part 60, Appendix A-7 must be extended to 2 hours or until 5-minutes of no
Visible Emissions are observed.

                     (b) Use a video surveillance camera to continuously record (at least one
frame every 15 seconds with time and date stamps) images of the Flare flame and a reasonable
distance above the Flare flame at an angle suitable for Visual Emissions observations. Settling
Defendants must provide real-time video surveillance camera output to the control room or other
continuously manned location where the camera images may be viewed at any time.

          c.    Flame Presence.

                  i.   Pilot Flame Presence. Settling Defendants shall operate each Covered Flare
with a pilot flame present when the Flare is In Operation. Each 15-minute block during which
there is at least one minute where no pilot flame is present when Vent Gas is routed to the Flare
is a deviation of the standard. Deviations in different 15-minute blocks from the same event are
considered separate deviations. Settling Defendants shall monitor for the presence of a pilot
flame as specified in Paragraph 135.c.ii below.

                ii. Pilot Flame Monitoring. Settling Defendants shall continuously monitor the
presence of the pilot flame(s) using a device (including, but not limited to, a thermocouple,
ultraviolet beam sensor, or infrared sensor) capable of detecting that the pilot flame(s) is present.

          d.    Flare Tip Velocity.

              i.     For each Covered Flare, Settling Defendants shall comply with either
Paragraph 135.d.i.(a) or 135.d.i.(b) below, provided the appropriate monitoring systems are in
place, whenever the Vent Gas flow rate is less than the smokeless design capacity of the Flare.

                     (a) Except as provided in Paragraph 135.d.i.(b) below, the actual Flare Tip
Velocity (Vtip) must be less than 60 feet per second. Settling Defendants shall monitor Vtip using
the procedures specified in Paragraph 135.d.ii below.

                     (b) Vtip must be less than 400 feet per second and also less than the
maximum allowed Flare Tip Velocity (Vmax) as calculated according to Equation 5 in Appendix
C - 1.2. Settling Defendants shall monitor Vtip using the procedures specified in Paragraphs
135.d.ii below and monitor gas composition and determine NHVvg using the procedures
specified in Paragraph 118 above and Equation 1 and 2 in Appendix C - 1.3.

              ii. Calculation Methods for Cumulative Flow Rates and Determining
Compliance with Vtip Operating Limits. Settling Defendants shall determine Vtip on a 15-minute
Block Average basis according to the following requirements:

                    (a) Settling Defendants shall use design and engineering principles and
the guidance in Appendix C - 1.6 to determine the Unobstructed Cross Sectional Area of the


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Flare Tip. The Unobstructed Cross Sectional Area of the Flare Tip is the total tip area that Vent
Gas can pass through. This area does not include any stability tabs, stability rings, and Upper
Steam or air tubes because Vent Gas does not exit through them.

                    (b) Settling Defendants shall determine the cumulative volumetric flow of
Vent Gas for each 15-minute Block Average Period using the data from the continuous flow
monitoring system required in Paragraph 117 according to the following requirements as
applicable.

                           (1) Use set 15-minute time periods starting at 12 midnight to 12:15
a.m., 12:15 a.m. to 12:30 a.m. and so on concluding at 11:45 p.m. to midnight when calculating
15-minute Block Average flow volumes.

                            (2) If continuous pressure/temperature monitoring system(s) and
engineering calculations are used as allowed under Paragraph 117.d above, the Settling
Defendants shall, at a minimum, determine the 15-minute Block Average temperature and
pressure from the monitoring system and use those values to perform the engineering
calculations to determine the cumulative flow over the 15-minute Block Average Period.
Alternatively, the Settling Defendants may divide the 15-minute Block Average Period into
equal duration subperiods (e.g., three 5-minute periods) and determine the average temperature
and pressure for each subperiod, perform engineering calculations to determine the flow for each
subperiod, then add the volumetric flows for the subperiods to determine the cumulative
volumetric flow of Vent Gas for the 15-minute Block Average Period.

                   (c) The 15-minute Block Average Vtip shall be calculated using
Equation 7 in Appendix C - 1.2.

                     (d) If Settling Defendants choose to comply with Paragraph 135.d.ii.(b)
above, Settling Defendants shall also determine the NHVvg using Equations 1 and 2 in
Appendix C - 1.3 and calculate Vmax using Equation 5 in Appendix C - 1.2 in order to compare
Vtip to Vmax on a 15-minute Block Average basis.

         e. Monitoring According to Applicable Provisions. Settling Defendants shall
comply with all applicable Subparts of 40 C.F.R. Parts 60, 61, or 63, that state how a particular
Covered Flare shall be monitored.

            f.   Good Air Pollution Control Practices. At all times, including during periods of
Startup, Shutdown, and/or Malfunction, Settling Defendants shall implement good air pollution
control practices to minimize emissions from each Covered Flare subject to this requirement as
set forth in Appendix C - 2.1; provided however, that Settling Defendants shall not be in
violation of this requirement for any practice that this Consent Decree requires Settling
Defendants to implement after the Date of Entry for the period between the Date of Lodging and
the implementation date or compliance date (whichever is applicable) for the particular practice.

     136. Revisions to 40 C.F.R. §§ 60.18(b)-(f) and/or 63.11(b). To the extent that, from the
Date of Lodging of this Consent Decree until its Termination pursuant to Section XXI, revisions


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to 40 C.F.R. §§ 60.18(b)-(f) and/or 63.11(b) are final and effective (whether they are codified in
Part 60 Subpart A, Part 63 or elsewhere) and are inconsistent with any of the requirements of
Paragraphs 135 above, the Settling Defendants shall comply only with the final, effective
requirements. As used in this Paragraph, “inconsistent” means that compliance with both
provisions is not possible.

      137. Work Practice Standards for each Covered Flare. By no later than the applicable date
in Appendix C - 2.1, for all Covered Flares utilizing the instrumentation and controls required to
be installed pursuant to Paragraphs 114, 117-119, and 122, above and Paragraph 144 below, as
provided in Appendix C - 2.1, Settling Defendants shall install and operate on each such Covered
Flare an Automatic Control System that shall automate the control of the Supplemental Gas flow
rate to the respective Covered Flare as set forth in Appendix C - 2.1.

     138. Operation According to Design. By no later than the applicable date(s) set forth in
Appendix C - 2.1, for all Covered Flares, Settling Defendants shall operate and maintain each
Covered Flare in accordance with its design, except if, and only to the extent that, operation and
maintenance of the Covered Flare in conformance with its design conflicts with compliance with
one or more of the requirements of this Section. The requirements of this Paragraph shall not
apply to the extent necessary to achieve personnel and process safety or prevent equipment
damage.

     139. Net Heating Value Standards for each Covered Flare.

          a. By no later than the applicable date in Appendix C - 2.1, for all Covered Flares,
Settling Defendants shall operate each Covered Flare subject to this requirement to maintain the
Net Heating Value of Combustion Zone Gas (NHVcz) at or above 270 British thermal units per
standard cubic feet (BTU/scf) determined on a 15-minute Block Average Period basis. Settling
Defendants shall monitor and calculate NHVcz as specified in Paragraphs 139 b.i and b.ii below.

           b. Calculation Methods for Determining Combustion Zone Net Heating Value.
Settling Defendants shall determine the Net Heating Value of the Combustion Zone Gas (NHVcz)
as specified in Paragraphs 139.b.i and 139.b.ii below, as applicable.

                i. Except as specified in Paragraph 139.b.ii, determine the 15-minute Block
Average NHVcz based on the 15-minute Block Average Vent Gas and assist gas flow rates using
Equation 3 in Appendix C - 1.3. For periods when there is neither Assist Steam flow nor Premix
Assist Air flow, NHVcz = NHVvg.

                ii. Settling Defendants that use the feed-forward calculation methodology in
Appendix C - 1.3 and that monitor gas composition or Net Heating Value in a location
representative of the cumulative Vent Gas stream and that directly monitor Supplemental Gas
flow to the Flare must determine the 15-minute Block Average NHVcz utilizing Equation 4 in
Appendix C - 1.3.

     140. 96.5% Combustion Efficiency. By no later than the applicable date in Appendix
C - 2.1, Settling Defendants shall operate all Covered Flares subject to this requirement as set


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forth in Appendix C - 2.1, with a minimum of a 96.5% Combustion Efficiency at all times when
Waste Gases are vented to each Covered Flare. To demonstrate continuous compliance with the
applicable Combustion Efficiency requirement, Settling Defendants shall operate each Covered
Flare subject to this Paragraph as set forth in Appendix C - 2.1 within the range of relevant
operating parameters set forth in Paragraphs 139 above and 145 below.

     141. Inapplicability of Paragraphs 139, 140 and 145.

           a. The requirements of Paragraphs 139, 140 and 145 are not applicable to any
Covered Flare when the only gases being vented to the Covered Flare is/are Pilot Gas and/or
Purge Gas. Pilot Gas and Purge Gas will be considered to be the only gases being vented to
those Flares if the following conditions are satisfied for the liquid seal drum that is part of the
FGRS associated with the respective Covered Flare:

                 i.   For the liquid seal drum associated with respective Covered Flare, the
pressure difference between the inlet pressure and outlet pressure is less than the liquid seal
pressure as set by the static head of liquid between the opening of the dip tube in the drum and
the level-setting weir in the drum;

                 ii. For the liquid seal drum associated with the respective Covered Flare, the
liquid level in the drum is at the level of the weir; and

                iii. Downstream of the seal drum associated with the respective Covered Flare
there is no flow of Supplemental Gas directed to the Covered Flare.

           b. As an alternative to Paragraph 141.a above, for a Covered Flare which does not
have a weir, Pilot Gas and Purge Gas will be considered to be the only gases being vented to
those Flares if the Vent Gas flow meter indicates a flow rate of less than 0.2 feet/second based on
a 15-minute Block Average.

     142. Recordkeeping: Timing and Substance. Settling Defendants shall comply with the
following recordkeeping requirements:

           a. By no later than the applicable date in Appendix C - 2.1 for all Covered Flares
subject to this requirement as set forth in Appendix C - 2.1, Settling Defendants shall calculate
and record, in accordance with the recording and averaging times required in Paragraph 122
above, each of the following parameters:

                i.     NHVcz (in BTU/scf);

               ii. S/VG (in lbs steam/lbs Vent Gas), Total Steam Mass Flow Rate (in lb/hr),
Vent Gas Mass Rates (in scfm and lb/hour) for periods when the Covered Flare is subject to the
requirements of Paragraph 113; and

                iii.   NHVvg (in BTU/scf).



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Covered Flares are only required to calculate and record the parameters specified in Paragraph
142.a.i-iii above if applicable as specified in Appendix C - 2.1.

           b. By no later than the applicable dates in Appendix C - 2.1, all Covered Flares
subject to this requirement as set forth in Appendix C - 2.1, commencing if and when the
downtime of any instrumentation and monitoring system subject to Paragraph 123 above exceeds
5% of the time that the Covered Flare is In Operation and Capable of Receiving Sweep,
Supplemental, and/or Waste Gas in any six month period for the Covered Flare that is being
monitored by the respective instrument, Settling Defendants shall record the duration of the
deviation, an explanation of the cause(s) of the deviation, and a description of the corrective
action(s) that Settling Defendants took.

           c. At any time that Settling Defendants deviate from the standards in Paragraphs
135, 139-140 above and 145 below, after the effective date of those standards, Settling
Defendants shall record the duration of the deviation, an explanation of the cause(s) of the
deviation, and a description of the corrective action(s) that Settling Defendants performed.

           d. Output of the monitoring device used to detect the presence of a Pilot Flame as
required in Paragraph 135.c.

           e. Records of daily Visible Emissions observations or video surveillance images
required in Paragraph 135.b.i.

                 i.   If Visible Emissions observations are performed using Method 22 at
40 C.F.R. Part 60, Appendix A-7, the record must identify whether the Visible Emissions
observation was performed, the results of each observation, total duration of observed Visible
Emissions, and whether it was a 5-minute or 2-hour observation. If the Settling Defendants
perform Visible Emissions observations more than one time during a Day, the record must also
identify the date and time of day each Visible Emissions observation was performed.

               ii. If video surveillance camera is used, the record must include all video
surveillance images recorded, with time and date stamp.

                iii. For each 2 hour period for which Visible Emissions are observed for more
than 5 minutes in 2 consecutive hours, the record must include the date and time of the 2 hour
period and an estimate of the cumulative number of minutes in the 2 hour period for which
emissions were visible.

          f.   The 15-minute Block Average cumulative flows for Vent Gas and, if applicable,
Total Steam, Perimeter Assist Air, and Premix Assist Air specified to be monitored under
Paragraph 117, along with the date and time interval for the 15-minute Block Average Period.

           g.   The Vent Gas compositions specified to be monitored under Paragraph 118
above.




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         h. Each 15-minute Block Average operating parameter calculated following the
methods specified in Paragraph 135.d.ii and Appendix C - 1.3, as applicable.

           i.    All periods during which operating values are outside of the applicable operating
limits specified in Paragraphs 135.d and 139.a above and Paragraph 145 below.

         j.    All periods during which the Settling Defendants do not perform Flare
monitoring according to the procedures in Paragraphs 117, 118-119, 122, and 135.b and c above.

           k. Records of when the flow of Vent Gas exceeds the smokeless capacity of the
Flare, including start and stop time and dates of the flaring event.

           l.   Recordkeeping: Document Retention. For purposes of this Consent Decree, and
except with respect to the data produced by video cameras required pursuant to Paragraph 119
above, Settling Defendants shall retain all records created pursuant to this Consent Decree,
including the raw data values, in accordance with Section X (Reporting and Recordkeeping) and
shall make any such documents available to EPA and the Applicable State Co-Plaintiff upon
request. Settling Defendants shall retain the data recorded by the Video Cameras required
pursuant to Paragraph 119 above for six months.

     143. Portable Flares.

          a.   Applicability. The provisions of this Paragraph shall apply to Portable Flares.

          b. Distinction Between Planned and Unplanned Outages of Covered Flares. For
purposes of this Paragraph, a “planned” outage shall mean an outage of a Covered Flare that is
scheduled 30 Days or more in advance of the outage. An “unplanned” outage is an outage of a
Covered Flare that either is scheduled less than 30 Days in advance or is unscheduled.

            c. 504 Hours or Less. For any planned or unplanned outage of a Covered Flare that
Settling Defendants know or reasonably anticipate will result in 504 hours or less of downtime
on a 1095-day Rolling Sum Period, rolled daily, Settling Defendants shall make good faith
efforts to ensure that the Portable Flare that replaces the Covered Flare complies with all of the
requirements of this Consent Decree that are applicable to the Covered Flare that the Portable
Flare replaces.

          d.   More than 504 Hours.

                 i.   Planned. For any planned outage of a Covered Flare that Settling
Defendants know or reasonably can anticipate will last 504 hours or more on a 1095-day Rolling
Sum Period, rolled daily, Settling Defendants shall ensure that the Portable Flare complies with
all of the requirements of this Consent Decree related to the Covered Flare that it replaces as of
the date that the Portable Flare is In Operation and Capable of Receiving Waste, Supplemental,
and/or Sweep Gas.




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                 ii. Unplanned. For any unplanned outage of a Covered Flare that, in advance
of the outage, Settling Defendants cannot reasonably anticipate will last longer than 504 hours,
Settling Defendants shall ensure that the Portable Flare complies with all of the requirements of
this Consent Decree related to the Covered Flare that it replaces by no later than 30 Days after
the date that Settling Defendants know or reasonably should have known that the outage will last
504 hours or more.

         e. Recordkeeping. Settling Defendants shall keep records sufficient to document
compliance with the requirements of this Paragraph any time it uses a Portable Flare.

     Requirements for Air-Assisted Flares

     144. Additional Air-Assisted Flare Requirements: Instrumentation and Monitoring
Systems. Tesoro shall undertake the following measures for Air-Assisted Flares.

           a. By no later than the applicable dates in Appendix C - 2.1, install a flow meter in
order to determine the Vent Gas Volumetric Flow Rate to Air-Assisted Flares. The air flow rate
shall be determined from the fan speeds or measured on the Assist Air blowers;

          b. By no later than the applicable dates in Appendix C - 2.1, continue to operate a
Variable Speed Motor on the Air-Assisted Flares’ Assist Air blowers; and

          c. By no later than the applicable dates in Appendix C - 2.1, install a control system
at the Kenai Refinery that will automate the control of the Variable Speed Motor on the Air-
Assisted Flares’ Assist Air blowers to enable Tesoro to comply with the standard set forth in
Paragraph 145 below.

     145. Dilution Operating Limits for Flares with Perimeter Assist Air. By no later than the
applicable dates in Appendix C - 2.1, for each Covered Flare actively receiving Perimeter Assist
Air, Settling Defendants shall operate the Covered Flare to maintain the Net Heating Value
Dilution Parameter (NHVdil) at or above 22 British Thermal Units per square foot (BTU/ft2)
determined on a 15-minute Block Average basis. The Settling Defendants shall monitor and
calculate the NHVdil as specified in Appendix C - 1.3.

     146. Kenai Passive FTIR Testing. By no later than September 30, 2015, Tesoro shall
commence Passive FTIR testing on the Kenai Refinery Air-Assisted Flare. By no later than sixty
(60) Days prior to the testing, Tesoro shall submit an Emissions and Flare Combustion
Efficiency Test Protocol in accordance with the general requirements in Appendix C - 2.3.
Tesoro shall complete the testing on the Kenai Refinery Air-Assisted Flare within sixty (60)
Days of commencing testing.

      147. Kenai Passive FTIR Report. By no later than four (4) months after completing the
testing required in Paragraph 146 above, Tesoro shall submit a report to EPA for approval that
sets forth the following:




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          a. The detailed results of the testing that include minute by minute electronic data in
Excel format for all measurements and process data and is consistent with the requirements of
Appendix C - 2.5 that are relevant to the Kenai Refinery Air-Assisted Flare;

         b. A detailed description of the extent to which the ṁair-asst/ṁair-stoich-vg affects
Combustion Efficiency; and

          c. A detailed description of the range of the ṁair-asst/ṁair-stoich-vg, indicative of
96.5% Combustion Efficiency or as high an efficiency as reliably obtainable, for the Kenai
Refinery Air Assist Flare, taking into consideration variability in Vent Gas Mass Flow Rate and
composition.

     Alternative Means of Emission Limitation

      148. Settling Defendants may follow the procedures in 40 CFR §63.670(r) to apply for
alternative means of emission limitation or compliance demonstration. Any alternative means of
emission limitation or compliance demonstration shall only affect the requirements of
Paragraphs 117, 118, 135, 139, 140, and 145 above.

     Resolution of Inconsistencies between Consent Decree and MACT Requirements

     149. To the extent that, from the Date of Lodging of this Consent Decree until its
Termination pursuant to Section XXI, revisions to Refinery MACT standards in 40 C.F.R.
Part 63, Subparts UUU and CC are final and effective and are inconsistent with any of the
requirements for this Section VI.B (Requirements for Control of Flaring Events), Tesoro shall
comply only with the final, effective regulatory requirements. As used in this Paragraph,
“inconsistent” means that compliance with both provisions is not possible.

     Exception for Monitoring System Downtime

     150. A failure to comply with the work practices or standards in Paragraphs 135, 137, 139
and 145 above shall not constitute a violation of such work practice or standard if the non-
compliance results from downtime of monitoring systems due to the following:

         a. Malfunction of a monitoring system, for a monitoring system needed to meet the
requirement(s);

          b. Repairs associated with monitoring system malfunctions, for a monitoring
system needed to meet the requirement(s);

          c. Required monitoring system quality assurance or quality control activities
(including, as applicable, calibration checks and required zero and span adjustments); or

          d. Quality Assurance/Quality Control activities on a monitoring system needed to
meet the requirement.



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Provided, however, that this exception shall no longer be applicable if the activities in
Paragraphs 150.a-150.d above exceed 5% of time that the Covered Flare is In Operation and
Capable of Receiving Sweep, Supplemental, and/or Waste Gas in any six month period for any
instrument. The calculation of monitoring system downtime shall be made in accordance with
40 C.F.R. § 60.13(h)(2) and Paragraph VIII of Appendix C - 1.10.

     NSPS Subparts A and Ja Applicability for Flares

     151. NSPS Subparts A and Ja. As further set forth in Appendix C - 2.1, each Covered
Flare shall be an “affected facility” within the meaning of Subparts A and Ja of 40 C.F.R.
Part 60, and shall comply with all of the requirements of Subparts A and Ja on and after
November 11, 2015. After November 11, 2015, Subpart J shall not apply to Covered Flares.

     Reporting Requirements

      152. Monitoring System Downtime and Emissions Exceedances. On and after the date of
applicability of any work practice or standard, Settling Defendants shall provide a summary of
the following, for each Covered Flare subject to this requirement as set forth in Appendix C - 2.1
(hours shall be rounded to the nearest tenth) in their semi-annual reports submitted pursuant to
Section X (Reporting and Recordkeeping):

           a. The total number of hours of downtime of each monitoring instrument/equipment
required pursuant to Paragraphs 117-119, 121-122 below (and, if applicable, Paragraph 144
above), expressed as both an absolute number and a percentage of time each Covered Flare that
the instrument/equipment monitors is available for operation;

            b. If the total number of hours of downtime of any monitoring
instrument/equipment required pursuant to Paragraphs 117-119, 121-122 below (and, if
applicable, Paragraph 144 above), exceeds 5% of the time that the Covered Flare is In Operation
and Capable of Receiving Sweep, Supplemental, and/or Waste Gas in any six month period an
identification of the periods of downtime by date, time, cause (including Malfunction or
maintenance), and, if the cause is asserted to be a Malfunction, the corrective action taken;

          c. Inapplicability of Emissions Standards. The total number of hours expressed as
both an absolute number of hours and a percentage of time each Covered Flare was In Operation
in which the requirements of Paragraphs 139-140 above were not applicable because the only gas
or gases being vented was/were Pilot Gas and/or Purge Gas; for purposes of Paragraphs 152.d
and 152.e below, all remaining hours shall be termed “Hours of Applicability”;

          d. Exceedances of Standards. During the Hours of Applicability, the total number
of hours of exceedances of each of the standards in Paragraphs 139 (and, if applicable,
Paragraphs 145) above, expressed as both an absolute number of hours and a percentage of time
each Covered Flare was In Operation; provided however, that if the exceedance of these
standards was less than 5% of the time that the Covered Flare is In Operation and Capable of
Receiving Sweep, Supplemental, and/or Waste Gas in any six month period, the report shall so
note;


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                i.    Records of the output of the monitoring device used to detect the presence
of a Pilot Flame as required in Paragraph 135.c for each 15-minute block.

                 ii. Visible Emission records of the date and time of the 2 hour period and an
estimate of the cumulative number of minutes in the 2 hour period for which emissions were
visible for each period of 2 consecutive hours during which Visible Emissions exceed a total of
5 minutes.

                 iii. The 15-minute Block Average Periods for which the applicable operating
limits specified in Paragraphs 135.d, 139 (and, if applicable, Paragraphs 144-145) are not met.
Indicate the date and time for the period, the Net Heating Value and/or Flare Tip Velocity
operating parameter(s) determined following the methods in Appendix C - 1.2 and Appendix
C - 1.3 as applicable.

          e.     Flaring Flow Rate Limitations Exceedances.

               i.    For any Waste Gas flows that are excluded from the calculation of flow rate
because they are asserted to be based on one or more of the excludible events identified in
Paragraph 134 above, the information required in Paragraph 134 above;

               ii. An identification of each Day in which the limitations on flaring set forth in
Paragraph 132 (or 133, if applicable) above were exceeded;

                 iii.   The cause of the exceedance;

               iv. If the cause is asserted to be a Malfunction, description of the Malfunction
and any corrective actions taken;

                v. A quantification of the total flow and a calculation of the percent over the
standard in Paragraph 132 (or 133, if applicable) above.

     153. Emissions Data. In the semi-annual report that is required to be submitted by
Paragraph 170 of Section X of this Consent Decree by September 1 of each year, Settling
Defendants shall provide, for each Covered Flare subject to this requirement as set forth in
Appendix C - 2.1, for the prior calendar year, the amount of emissions of the following
compounds (in tons per year): VOCs, SO2, H2S, CO2, methane, and ethane.

               VII.     SURVIVAL OF CONSENT DECREE REQUIREMENTS

      154. Obtaining Permits for Consent Decree Requirements That Are Effective Upon Date of
Entry. Except as set forth below, by no later than 180 Days after the Date of Entry, Settling
Defendants shall submit applications to the Applicable Permitting Authority for each Covered
Refinery to incorporate the requirements listed in Paragraph 158.a and b below that are required
by this Consent Decree and that are effective on or before the Date of Entry into federally
enforceable minor or major New Source Review (“NSR”) permits or other permits (other than
Title V Permits) that are federally enforceable. Settling Defendants shall file any applications


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necessary to incorporate the requirements of those permits into the Title V Permit for the
relevant Covered Refinery prior to the next Title V Permit modification or renewal occurring
after the issuance of those permits.

      155. Obtaining Permits For Consent Decree Requirements That Become Effective After
Date of Entry. Except as set forth below, as soon as practicable, but in no event later than 180
Days after the effective date or establishment of any requirement listed in Paragraph 158 below
that is required by this Consent Decree other than those effective as of the Date of Entry, Settling
Defendants shall submit applications to the Applicable Permitting Authority to incorporate those
requirements into federally enforceable minor or major NSR permits, or other permits (other than
Title V Permits) which are federally enforceable. Settling Defendants shall file any applications
necessary to incorporate the requirements of those permits into the Title V Permit for the
relevant Covered Refinery prior to the next Title V Permit modification or renewal occurring
after the issuance of those permits.

     156. Mechanism for Title V Incorporation. The Parties agree that the incorporation of any
emission limits or other standards into the Title V Permit for each Covered Refinery as required
by Paragraph155 above shall be in accordance with the applicable state or local Title V rules.

      157. Construction Permits. Settling Defendants agree to obtain all required, federally
enforceable permits for the construction of the pollution control technology and/or the
installation of equipment necessary to implement the requirements of this Consent Decree.

    158. Obligations that Shall Survive Consent Decree Termination. The requirements
imposed by the following provisions of this Consent Decree shall survive Termination of this
Consent Decree under Section XXI:

           a. Emission Limits and Standards. The following Consent Decree requirements
shall constitute emission limits and standards that shall survive Termination of this Consent
Decree:

Covered Refinery        Emission Limit or Standard                           Consent Decree
                                                                             Paragraph Numbers
Anacortes
                        Heater F201 NSPS Subpart J requirements for          ¶ 12
                        H2S, if applicable.

Kapolei
                        Heater and Boiler Limits                             ¶ 15
                        SRP Limit                                            ¶ 19

Mandan                  Operation of Scrubber and Wet Electostatic           ¶ 40
                        Precipitator




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Covered Refinery       Emission Limit or Standard                        Consent Decree
                                                                         Paragraph Numbers
Martinez
                       FCCU/CO Boiler: Final CO Limit                    ¶ 45
                       FCCU/CO Boiler: Final NOx Limits                  ¶ 43.b, c, d, e
                       SAP Limits                                        ¶ 52
                       Sulfur Pit Requirements                           ¶ 47
                       Final Limits that Carried Over from 2005          Appendix A-2
                       Martinez Consent Decree in Appendix A-2.

SLC
                       FCCU Limits                                       ¶¶ 60-62
                       SLC NOx Limit for F-1 UltraFormer                 Appendix D
                       Environmental Mitigation Project

           b.   Certain Other Requirements.

               i.    Flares and Control of Flaring Events at Covered Refineries. The following
Consent Decree requirements shall constitute emission limits and standards that shall survive
Termination of this Consent Decree to the extent such requirements are applicable to a Covered
Flare under Appendix C - 2.1:

Requirement                                                               Paragraph
                                                                          Numbers
Instrumentation and Monitoring Systems for Covered Flares Except          ¶114, 117-119,
Optional Equipment                                                        121-123
Flare Gas Recovery Systems                                                ¶¶ 130-131
Flaring Limits                                                            ¶¶ 132-134
Flare Emission Standards and Work Practices                               ¶ 135
Work Practice Standards                                                   ¶ 137
Operation According to Design                                             ¶ 138
Net Heating Value Standards                                               ¶ 139
96.5% Combustion Efficiency                                               ¶ 140
Inapplicability                                                           ¶ 141
Recordkeeping                                                             ¶ 142
Portable Flares                                                           ¶ 143
Air Assist Flare Requirements                                             ¶¶ 144-145
Exceptions for Instrument Downtimes                                       ¶ 150
Applicability Determinations for Flares                                   ¶ 151




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               ii.   All Monitoring Requirements at Covered Refineries.

Refinery                              Monitoring Requirements
Kapolei                               ¶¶ 16-17, 20, 22
Kenai                                 ¶ 33
Martinez                              ¶¶ 44, 46, 53 (including SAP Monitoring Plan attached as
                                      Appendix A-1)
SLC                                   ¶¶ 60.d, 61.c, 62.c

               iii. ELDAR NSPS GGGa Applicability at Covered Refineries Pursuant to
Paragraph 65 (upon completion of NSPS GGGa applicability phase-in under Paragraph 65) of
this Consent Decree.

               iv.   All of Section VIII (Emission Credit Generation).

               v.    Other Specific-Facility Consent Decree Requirements.

Covered Refinery         Requirement                                           Consent Decree
                                                                               Paragraph
                                                                               Numbers

Anacortes
                         Heater NSPS Applicability                             ¶ 12
Kapolei
                         All Applicability Determinations                      ¶¶ 18, 21
                         Fuel Oil Burning Restrictions                         ¶ 17
                         Heater and Boiler Control Technologies                ¶ 15
Martinez
                         Delayed Coker Requirements                            ¶¶ 49-51
                         SAP Applicability Determinations (NSPS A & H)         ¶ 54
                         Any Carry Over Applicability Determinations from      Appendix A-2
                         Prior CD (except Monitoring Plans).
SLC
                         Ja Applicability for FCCU                             ¶ 63

           c. Agreement Required for Changes to Surviving Requirements. In the event a
Settling Defendant should ever seek to delete or modify a requirement surviving Termination by
virtue of Paragraph 158.a and b above, such requirements shall not be deleted or modified unless
EPA and the Applicable State Co-Plaintiff shall have first agreed in writing to the deletion or
modification.


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                       VIII.   EMISSION CREDIT GENERATION

      159. Prohibition. Settling Defendants shall neither generate nor use any CD Emissions
Reductions: as netting reductions; as emissions offsets; to apply for, obtain, trade, or sell any
emission reduction credits; or in determining whether a project would result in a significant net
emissions increase in any PSD, major non-attainment, and/or minor NSR permit or permit
proceeding. Baseline actual emissions during any 24-month period selected by Settling
Defendants shall be adjusted downward to exclude any portion of the baseline emissions that
would have been eliminated as CD Emissions Reductions had Settling Defendants been
complying with this Consent Decree during that 24-month period. Any plant-wide applicability
limits (“PALs”) as that term is defined in 40 C.F.R. § 52.21(b) that apply to emissions units
covered by this Consent Decree shall be adjusted downward to exclude any portion of the
baseline emissions used in establishing such limit(s) that would have been eliminated as CD
Emissions Reductions had Settling Defendants been complying with this Consent Decree during
such baseline period.

      160. Additional Prohibition. Even if the Waste Gas minimization requirements of
Paragraphs 127-129 of Section VI.B (Control of Flaring Events) result in emissions lower than
the allowable level under the flaring limitations in Paragraphs 132-133 of Section VI.B such
reductions shall be considered CD Emissions Reductions and shall be subject to the general
prohibition set forth in Paragraph 159 above.

    161. Outside the Scope of Prohibition. Nothing in this Section VIII (Emission Credit
Generation) is intended to prohibit Settling Defendants from seeking to:

           a. Use or generate emission reductions from emissions units that are covered by this
Consent Decree to the extent that the proposed emission reductions represent the difference
between CD Emissions Reductions and more stringent limits that Settling Defendants may elect
to accept for those emissions units in a permitting process, except as provided in Paragraphs 160-
161 above;

          b. Use or generate emission reductions from emissions units that are not subject to
an emission limitation or control requirement pursuant to this Consent Decree; and

          c. Use CD Emissions Reductions for compliance with any rules or regulations
designed to address regional haze or the non-attainment status of any area (excluding PSD and
non-attainment NSR rules, but including, for example, RACT rules) that apply to the facility;
provided, however, that Settling Defendants shall not be allowed to trade or sell any CD
Emissions Reductions.

                 IX.    ENVIRONMENTAL MITIGATION PROJECTS

     162. Tesoro shall implement the Environmental Mitigation Projects (“Projects”) as set forth
in Paragraphs 163 through 169 below and in Appendix D of this Consent Decree in compliance
with the schedules for such Projects and the other terms of this Consent Decree.



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     163. The Projects to be performed by Tesoro shall be for the purpose of beneficially
restoring and/or mitigating the environments allegedly damaged by the operation of Tesoro’s
refineries.

     164. Tesoro shall maintain, and present to EPA and the Applicable State Co-Plaintiff upon
request, all documents to substantiate the Project Dollars expended and work completed to
implement the Projects described in Appendix D, and shall provide these documents to EPA
within thirty (30) Days of a request for the documents.

      165. All plans and reports prepared by Tesoro pursuant to the requirements of this Section
of this Consent Decree and required to be submitted to EPA shall be publicly available from
Tesoro without charge.

     166. Tesoro certifies the truth and accuracy of the following:

          a. that Tesoro is not otherwise required by law to perform the Projects on the
schedule set forth in this Consent Decree;

           b. that Tesoro is unaware of any other person who is required by law to perform the
Projects, and that Tesoro shall not use any Project, or portion thereof, to satisfy any obligations
that it may have under other applicable requirements of law; and

          c. that for each Project, Tesoro had not otherwise planned to perform the Project
generally described in Appendix D, and that Tesoro is unaware of any other person who is
planned to perform the same Project.

      167. If Tesoro elects (where such an election is allowed) to undertake a Project by
contributing funds to another person or instrumentality that will carry out the Project in lieu of
Tesoro, but not including Tesoro’s agents or contractors, that person or instrumentality shall, in
writing: (a) identify its legal authority for accepting such funding; and (b) identify its legal
authority to conduct the Project for which Tesoro contributes the funds. Regardless of whether
Tesoro elects (where such election is allowed) to undertake a Project by itself or to do so by
contributing funds to another person or instrumentality that will carry out the Project, Tesoro
acknowledges that it will receive credit for the expenditure of such funds as Project Dollars only
if Tesoro demonstrates that the funds have been actually spent by either Tesoro or by the person
or instrumentality receiving them, and that such expenditures met all requirements of this
Consent Decree.

    168. Tesoro shall comply with the reporting requirements described in Section X
(Reporting and Recordkeeping) of this Consent Decree and in Appendix D.

      169. The purpose of the Projects is to remediate prior emissions that United States and/or
the State Co-Plaintiffs contend were in violation of the Clean Air Act. The Projects are not in
lieu of penalties.




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                      X.     REPORTING AND RECORDKEEPING

      170. Settling Defendants shall submit to EPA and the Applicable State Co-Plaintiff a semi-
annual report for each Covered Refinery at which that Settling Defendant is responsible for
compliance with this Consent Decree pursuant to Paragraph 6 above on each March 1 and
September 1 until Termination. The initial semi-annual report shall be due by September 1,
2016 and shall cover the time period between October 1, 2015, and June 30, 2016. Subsequent
semi-annual reports shall cover the time period from January 1 through June 30 of each year
(submitted by September 1 of each of the following years) and the period of July 1 through
December 31 of each year (submitted by March 1 of each of the following years). Each report
shall contain for the period covered by the report:

          a. A summary of the emissions data for each Covered Refinery that is specifically
required by the reporting requirements of this Consent Decree;

         b. A description of any problems anticipated with respect to meeting the
requirements of this Consent Decree at each Covered Refinery;

           c. A description of the implementation activity for the Environmental Mitigation
Projects set forth in Section IX (Environmental Mitigation Projects);

           d. A summary of Tesoro’s actions implemented and expenditures (cumulative and
in the current reporting period) made to implement the Environmental Mitigation Projects
required pursuant to Section IX (Environmental Mitigation Projects);

           e. Any additional matters that the Settling Defendants believe should be brought to
the attention of EPA and State Co-Plaintiffs; and

          f.   Any additional items required by any other Paragraph of this Consent Decree to
be submitted with a semi-annual report.

      171. Within sixty (60) Days following the completion of each Environmental Mitigation
Project required under Section IX (Environmental Mitigation Projects) of this Consent Decree
(including any applicable periods of demonstration or testing), Tesoro shall submit to the United
States and the Applicable State Co-Plaintiff a report that documents:

          a.   The date that the Mitigation Project was completed;

          b. The results achieved by implementing the Mitigation Project, including the
emission reductions or other environmental benefits expected to be realized;

           c. The methodology and any calculations used in the derivation of such expected
benefits, reductions, or mitigation;

          d.   The Project Dollars expended by Tesoro in implementing the Mitigation Project;
and


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         e. Certification by an authorized representative that the Mitigation Project has been
completed in full satisfaction of the requirements of the Consent Decree and Appendix D.

     172. Emissions Data. In the semi-annual report required by Paragraph 170 above to be
submitted by September 1 of each year, each Settling Defendant shall provide the following
emissions data for each Covered Refinery for which that Settling Defendant is responsible for
compliance with this Consent Decree pursuant to Paragraph 6 above, for the prior calendar year:

           a.   NOx emissions in tons per year from the Kapolei Refinery Covered Heaters and
Boilers;

           b.   SO2 emissions in tons per year from the Kapolei SRP;

           c.   SO2 emissions in tons per year from Acid Gas Flaring from the Kenai SRU Flare;

           d.   NOx, SO2, CO, and PM emissions in tons per year from the Martinez Refinery
FCCU;

         e. VOCs, H2S, PM, and methane in tons per year from the Martinez Refinery
Delayed Coker;

           f.   SO2 and Acid Mist emissions in tons per year from the Martinez SAP;

           g.   NOx, SO2, CO, and PM emissions in tons per year from the SLC Refinery FCCU;

         h. VOCs, SO2, H2S, CO2, methane, and ethane emissions in tons per year from each
Covered Flare as set forth in Appendix C - 2.1; and

            i.  For each of the estimates or calculations in Paragraphs 172.a through 172.h
above, the basis for the emissions estimate or calculation (i.e., stack tests, CEMS, emission
factor, etc.).

To the extent that the required emissions summary data are available in other reports generated
by Settling Defendants, such other reports can be attached or the appropriate information can be
extracted from such other reports and attached to the report to satisfy the requirement.

     173. Certification. Each semi-annual report shall be certified by either the person
responsible for environmental management and compliance at the applicable Covered Refinery,
or by a person responsible for overseeing implementation of this Consent Decree at the
applicable Covered Refinery. The certification shall state:

                I certify under penalty of law that this information was prepared under my
        direction or supervision in accordance with a system designed to assure that
        qualified personnel properly gather and evaluate the information submitted.
        Based on my directions and my inquiry of the person(s) who manage the system,
        or the person(s) directly responsible for gathering the information, the information


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       submitted is, to the best of my knowledge and belief, true, accurate, and complete.
       I am aware that there are significant penalties for submitting false information,
       including the possibility of fine and imprisonment.

      174. Except where other time periods are specifically noted, Settling Defendants shall
retain all records required to be maintained in accordance with this Consent Decree for a period
of no less than five (5) years or until Termination, whichever is longer, unless applicable
regulations require the record to be maintained longer, in which case Settling Defendants shall
comply with those regulations. Settling Defendants shall provide such records to EPA or the
Applicable State Co-Plaintiff upon request.

                                  XI.    CIVIL PENALTIES

      175. In satisfaction of the civil claims asserted by the United States and State Co-Plaintiffs
in the Complaint filed in this matter, within thirty (30) Days of the Date of Entry of this Consent
Decree, Tesoro shall pay civil penalties totaling $10,450,000.00 as follows: (i) $8,050,000 plus
Interest accruing from September 30, 2015, to the United States; (ii) $1,300,000 plus Interest
accruing from September 30, 2015, to the State of Alaska; (iii) $850,000 plus Interest accruing
from September 30, 2015, to the State of Hawaii; and (iv) $250,000 plus Interest accruing from
September 30, 2015, to the Northwest Clean Air Agency.

      176. Payment of the civil penalty to the United States shall be made by Electronic Funds
Transfer (“EFT”) to the United States Department of Justice, in accordance with current EFT
procedures, referencing DOJ Case Number 90-5-2-1-09512/1 and the civil action case name and
case number of this action in the Western District of Texas. The costs of such EFT shall be the
responsibility of Tesoro. Payment shall be made in accordance with instructions provided to
Tesoro by the Financial Litigation Unit of the U.S. Attorney's Office for the Western District of
Texas. Any funds received after 5:00 p.m. (EST) shall be credited on the next Working Day.
Tesoro shall provide notice of payment, referencing DOJ Case Number 90-5-2-1-09512/1 and
the civil action case name and case number to the Department of Justice and to EPA.

     177. State Payment Instructions.

          a. State of Alaska. Tesoro shall pay the civil penalty owed pursuant to
Paragraph 175 above to the State of Alaska by delivering a cashier’s check payable to “State of
Alaska” to:

               Accounting Staff
               The ADEC Division of Air Quality
               Administrative Support Section
               555 Cordova Street
               Anchorage, AK 99501

The payment shall be accompanied by a cover letter that includes the following information:
State of Alaska Operating Permit and Enforcement Tracking Number: AQ0035TVP02, CATS
ID 2007-0049.

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           b. State of Hawaii. Tesoro shall pay the civil penalty owed pursuant to
Paragraph 175 above to the State of Hawaii by delivering a certified check made payable to
“State of Hawaii” to:

               Clean Air Branch
               Environmental Management Division
               Hawaii Department of Health
               P.O. Box 3378
               Honolulu, HI 96801-3378

The payment shall be accompanied by a cover letter that includes the following information: the
case caption and civil action number and that the case concerns the Kapolei Refinery.

          c. Northwest Clean Air Agency. Tesoro shall pay the civil penalty owed pursuant
to Paragraph 175 above to the Northwest Clean Air Agency by delivering a check made payable
to “ Northwest Clean Air Agency” to:

               Director
               Northwest Clean Air Agency
               1600 South Second Street
               Mount Vernon, WA 98273

The payment shall be accompanied by a cover letter that includes the following information: the
case caption and civil action number and that the case concerns the Anacortes Refinery.

     178. The civil penalty set forth in this Section XI is a penalty within the meaning of Section
162(f) of the Internal Revenue Code, 26 U.S.C. § 162(f). Tesoro shall not treat these penalty
payments as tax deductible for purposes of federal, state, or local law.

     179. Upon the Date of Entry of this Consent Decree, this Consent Decree shall constitute an
enforceable judgment for purposes of post-judgment collection in accordance with Federal Rule
of Civil Procedure 69, the Federal Debt Collection Procedure Act, 28 U.S.C. §§ 3001-3308, and
other applicable federal authority. The United States and the State Co-Plaintiffs shall be deemed
judgment creditors for purposes of collecting any unpaid amounts of the civil and stipulated
penalties and Interest.

                             XII.   STIPULATED PENALTIES

     180. Stipulated penalties shall be paid to the United States and to the Applicable State Co-
Plaintiffs for each failure by Settling Defendants to comply with the terms of this Consent
Decree as provided herein at any Covered Refinery where the Settling Defendant is responsible
for compliance under Paragraph 6 above. Where more than one Settling Defendant is
responsible for compliance with respect to a Covered Refinery, asset, and/or equipment that it
owns or operates at a Covered Refinery, there shall be only one stipulated penalty assessed per
violation against the Settling Defendants responsible for compliance for which they shall be



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jointly and severally liable. Stipulated penalties shall be calculated in the amounts specified in
this Section XII.

     181. For those provisions where a stipulated penalty of either a fixed amount or 1.2 times
the economic benefit of delayed compliance is available, the decision of which alternative to
seek shall rest exclusively within the discretion of the United States, after consultation with the
Applicable State Co-Plaintiff. In no event shall any assessed stipulated penalty exceed $37,500
per Day for any individual violation of this Consent Decree.

      182. Demand for Stipulated Penalties. Subject to Section XV (Dispute Resolution) or any
order of the Court, the applicable Settling Defendants shall pay stipulated penalties upon written
demand by the United States and/or Applicable State Co-Plaintiff by no later than sixty
(60) Days after a Settling Defendant receives such demand. Demand from one Plaintiff shall be
deemed to be a demand from all applicable Plaintiffs, but the Plaintiffs will consult with each
other prior to making a demand. A demand for the payment of stipulated penalties shall identify
the particular violation(s) to which the stipulated penalty relates, the stipulated penalty amount
that the United States or the Applicable State Co-Plaintiff is demanding for each violation (as
can be best estimated), the calculation method underlying the demand, and the grounds upon
which the demand is based.

     183. Payment of Stipulated Penalties. Any stipulated penalty demand shall identify to
which Plaintiff(s) payment shall be made. In the event both the United States and an Applicable
State Co-Plaintiff make a written demand for stipulated penalties for the same violation of this
Consent Decree, then the stipulated penalties shall be apportioned between the United States and
the Applicable State Co-Plaintiff, 50% to each. Stipulated penalties owing to the United States
of under $10,000 shall be paid by check and made payable to “U.S. Department of Justice,”
referencing DOJ Number 90-5-2-1-09512/1, and delivered to the U.S. Attorney’s Office in the
Western District of Texas. Stipulated penalties owing to the United States of $10,000 or more
and stipulated penalties owing to any State Co-Plaintiff shall be paid in the manner set forth in
Section XI (Civil Penalties).

     184. Disputes over Stipulated Penalties.

          a. By no later than sixty (60) Days after receiving a demand for stipulated penalties,
Settling Defendant(s) may dispute liability for any or all stipulated penalties demanded by
invoking the dispute resolution procedures of Section XV of this Decree (Dispute Resolution).

          b. In the event of a dispute over stipulated penalties, stipulated penalties shall cease
accruing on the later of either:

               i.   the date that, during dispute resolution under Section XV, the United States
and Settling Defendant(s) agree upon; or

              ii. the date that Settling Defendant(s) files a motion with the Court under
Paragraph 202 below;



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           c. Provided however, that in order for stipulated penalties to cease accruing
pursuant to either this Paragraph 184.b.i or ii above, Settling Defendant(s) shall place the
disputed amount in an interest-bearing commercial escrow account. If the dispute thereafter is
resolved in Settling Defendant(s)’s favor, the escrowed amount plus accrued Interest shall be
returned to Settling Defendant(s); otherwise, the United States shall be entitled to the amount
determined by the Court to be due, plus Interest that has accrued on such amount in the escrow
account.

     185. Accrual of Stipulated Penalties.

            a. Subject to the provisions of Paragraphs 184 above and 185.b below, stipulated
penalties will begin to accrue on the Day after performance is due or the Day a violation occurs,
whichever is applicable, and will continue to accrue until performance is satisfactorily completed
or until the violation ceases. Stipulated penalties shall accrue simultaneously for separate
violations of this Consent Decree. Except where stipulated penalties are placed in in interest-
bearing account pursuant to Paragraph 184.c above, Interest on stipulated penalties shall begin to
accrue on the 61st Day after a Settling Defendant’s receipt of a demand for stipulated penalties by
a Plaintiff.

           b. Accrual of Stipulated Penalties During Dispute Resolution. Stipulated penalties
shall continue to accrue as provided in Paragraph 185.a above during any dispute resolution, but
need not be paid until the following:

                i.   If the dispute is resolved by agreement or by a decision of EPA that is not
appealed to the Court, Settling Defendant(s) shall pay accrued penalties determined to be owing,
together with Interest, to the United States and the Applicable State Co-Plaintiff within thirty
(30) Days of the effective date of the agreement or the receipt of EPA’s decision or order.

                ii. If the dispute is appealed to the Court and the United States prevails in
whole or in part, Settling Defendant(s) shall pay all accrued penalties determined by the Court to
be owing, together with Interest, within sixty (60) Days of receiving the Court’s final decision or
order, except as provided in Paragraph 185.c below.

                 iii. If any Party appeals the District Court’s decision, Settling Defendant(s)
shall pay all accrued penalties determined to be owing, together with Interest, within fifteen
(15) Days of receiving the final judgment.

           c. Stipulated penalties shall not accrue with respect to any submission under
Section XVI (Review, Approval, and Comment on Deliverables) that EPA contends is deficient
during the period, if any, beginning on the 91st Day after EPA receipt of such submission until
the date that the EPA notifies the Settling Defendant(s) responsible for compliance at a Covered
Refinery pursuant to Paragraph 6 above of any deficiency.

    186. Waiver of Payment. The United States may, in its unreviewable discretion, reduce or
waive payment of stipulated penalties otherwise due to it under this Consent Decree.



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      187. Failure to Pay Civil Penalty. If Settling Defendant(s) fails to pay any portion of the
Civil Penalties required to be paid under Section XI of this Consent Decree (Civil Penalties)
when due, Settling Defendant(s) shall pay a stipulated penalty of $15,000 per Day for each Day
that the payment is late. Late payment of the civil penalty and any accrued stipulated penalties
shall be made in accordance with Paragraphs 176-177 above.

      188. Failure to Meet all Other Consent Decree Obligations. Settling Defendants shall be
liable for stipulated penalties to the United States and/or the Applicable State Co-Plaintiff for
violations of this Consent Decree at any Covered Refinery where the Settling Defendant is
responsible for compliance under Paragraph 6 above unless excused under Section XIV of this
Consent Decree (Force Majeure).

       a. Violations of Refinery-Specific Requirements Except Those Pertaining to
ELDAR or Covered Flares.

                i.   Anacortes Refinery. Tesoro Refining & Marketing Company LLC and/or,
if applicable under Paragraph 6 of this Consent Decree, Tesoro Logistics L.P. shall be liable for
the following stipulated penalties for violations of the requirements of Section V.A of this
Consent Decree:

Consent Decree Violation                    Period of Delay or Non-       Penalty Per Violation Per
                                            Compliance or Other           Day or Other Time Period
                                            Measure as Indicated          or Measure as Indicated
(a) Violation of Paragraph 12.              Days 1-30:                    $500
Failure to comply with the requirements
of Part 60 Subparts A and J at Heater F-    Days 31-60:                   $1000
201 as required by Paragraph 12.
                                            Days 61 and beyond:           $2000 or an amount equal to
                                                                          1.2 times the economic
                                                                          benefit of delayed
                                                                          compliance, whichever is
                                                                          greater.
(b) Violation of Paragraph 13.         Per Month                          $5000
Requirements for Benzene Waste
NESHAP. Failure to complete the
Phase One Review and Verification
process pursuant to Paragraph 13.b and
c, and if necessary the Phase Two
sampling and Amended TAB as required
by Paragraph 13.d and e.




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Consent Decree Violation                    Period of Delay or Non-      Penalty Per Violation Per
                                            Compliance or Other          Day or Other Time Period
                                            Measure as Indicated         or Measure as Indicated
(c) Violation of Paragraph 13.f and g.      Days 1-30:                   $1250
Failure to perform any corrective action
as required by Paragraphs 13.f and g.       Days 31-60:                  $3000

                                            Days 61 and beyond:          $5000 or an amount equal to
                                                                         1.2 times the economic
                                                                         benefit of delayed
                                                                         compliance, whichever is
                                                                         greater.

                 ii. Kapolei Refinery. Par shall be liable for the following stipulated penalties
for violations of the requirements of Section V.B of this Consent Decree:

Consent Decree Violation                Period of Delay or Non-        Penalty Per Violation Per Day
                                        Compliance or Other            or Other Time Period or
                                        Measure as Indicated           Measure as Indicated
(a) Violation of Paragraph 15.          Days 1–30:                     $1500
Failure to install required NOx         Days 31–60:                    $2000
emissions reductions control
                                        Days 61 and beyond:            $3000.
technologies for any Kapolei
Covered Heater or Boiler as required
by Paragraph 15.
(b) Violation of Paragraph 15.          Days 1-30:                     $500 per Covered Heater or
Failure to maintain and operate                                        Boiler per Day
required NOx emissions reductions       Days 31-60:                    $1000 per Covered Heater or
control technologies for any Kapolei                                   Boiler per Day
Covered Heater or Boiler as required
by Paragraph 15.                        Days 61 and beyond:            $2000 per Covered Heater or
                                                                       Boiler per Day, or an amount
                                                                       equal to 1.2 times the economic
                                                                       benefit of delayed compliance,
                                                                       whichever is greater.




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Consent Decree Violation                  Period of Delay or Non-   Penalty Per Violation Per Day
                                          Compliance or Other       or Other Time Period or
                                          Measure as Indicated      Measure as Indicated
(c) Violation of Paragraph 15.            Days 1-30:                $500 per Covered Heater or
Failure to comply with any Short-                                   Boiler per Day
Term or Long-Term NOX Emission            Days 31-60:               $1000 per Covered Heater or
Limit established in Paragraph 15.                                  Boiler per Day
                                          Days 61 and beyond:       $2000 per Covered Heater or
                                                                    Boiler per Day, or an amount
                                                                    equal to 1.2 times the economic
                                                                    benefit of delayed compliance,
                                                                    whichever is greater.
(d) Violation of Paragraph 15.d.iii.      Days 1-30:                $1000
Failure to perform the FGR
Optimization Study Report as              Days 31-60:               $1500
required by Paragraph 15.d.iii.
                                          Days 61 and beyond:       $2000 or an amount equal to 1.2
                                                                    times the economic benefit of
                                                                    delayed compliance, whichever
                                                                    is greater.
(e) Violation of Paragraph 15.d.iv.       Days 1-30:                 $1000
Failure to perform the FGR                Days 31-60:               $1500
demonstration as required by
Paragraph 15.d.iv.                        Days 61 and beyond:       $2000 or an amount equal to 1.2
                                                                    times the economic benefit of
                                                                    delayed compliance, whichever
                                                                    is greater.
(f) Violation of Paragraph 15.d.iii-v. Days 1-30:                    $1000
Failure to submit the monthly data,
FGR Optimization Study, or             Days 31-60:                  $1500
Demonstration Report as required by
                                       Days 61 and beyond:          $2000 or an amount equal to 1.2
Paragraph 15.d.iii-v.
                                                                    times the economic benefit of
                                                                    delayed compliance, whichever
                                                                    is greater.
(g) Violation of Paragraph 16.a.          Days 1-30:                $500 per unit per Day
Failure to install, certify, calibrate,   Days 31-60:               $1000 per unit per Day
maintain, and/or operate a NOx
                                          Days 61 and beyond:       $2000 per unit per Day or an
and/or O2 CEMS on a Kapolei
                                                                    amount equal to 1.2 times the
Covered Heater or Boiler as required
                                                                    economic benefit of delayed
by Paragraph 16.a.
                                                                    compliance, whichever is
                                                                    greater.




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Consent Decree Violation                Period of Delay or Non-   Penalty Per Violation Per Day
                                        Compliance or Other       or Other Time Period or
                                        Measure as Indicated      Measure as Indicated
(h) Violation of Paragraph 16.b.        Days 1-30:                $200 per Day per test per
Failure to comply with the                                        Covered Heater or Boiler
performance testing or reporting at a   Days 31-60:               $500 per Day per test per
Kapolei Covered Heater or Boiler as                               Covered Heater or Boiler
required by Paragraph 16.b.             Days 61 and beyond:       $1000 per Day per test per
                                                                  Covered Heater or Boiler, or an
                                                                  amount equal to 1.2 times the
                                                                  economic benefit of delayed
                                                                  compliance, whichever is
                                                                  greater.
(i) Violation of Paragraph 17.          Days 1-30:                $1250 per Combustion Unit per
Failure to comply with any                                        Day
limitation on Fuel Oil as required by   Days 31 and beyond:       $4000 per Combustion Unit per
Paragraph 17.                                                     Day, or an amount equal to 1.2
                                                                  times the economic benefit of
                                                                  delayed compliance, whichever
                                                                  is greater.

(j) Violation of Paragraph 17.          Days 1-30:                $500
Failure to comply with the
monitoring, reporting, or               Days 31-60:               $1000
recordkeeping requirements of
Paragraph 17.                           Days 61 and beyond:       $2000 or an amount equal to 1.2
                                                                  times the economic benefit of
                                                                  delayed compliance, whichever
                                                                  is greater.
(k) Violation of Paragraph 17.b.     Days 1-30:                   $1000
Failure to conduct a study on the
minimization or elimination of Fuel Days 31-60:                   $1500
Oil burning as required by Paragraph Days 61 and beyond:          $2000 or an amount equal to 1.2
17.b.                                                             times the economic benefit of
                                                                  delayed compliance, whichever
                                                                  is greater.




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Consent Decree Violation                  Period of Delay or Non-   Penalty Per Violation Per Day
                                          Compliance or Other       or Other Time Period or
                                          Measure as Indicated      Measure as Indicated
(l) Violation of Paragraph 18.a.          Days 1-30:                $500 per FGCD per Day
Failure to comply with any
applicable requirement (including         Days 31-60:               $1000 per FGCD per Day
any monitoring requirement) of 40
C.F.R. Part 60, Subparts A or J (or,
if applicable, Subparts A or Ja) at a     Days 61 and beyond:       $2000 per FGCD per Day or an
FGCD as required by Paragraph                                       amount equal to 1.2 times the
18.a.                                                               economic benefit of delayed
                                                                    compliance, whichever is
                                                                    greater.
(m) Violation of Paragraph 18.b.          Days 1-30:                $500
Failure to provide the non-flare
                                          Days 31-60:               $1500
FGCD report required by Paragraph
18.b.                                     Days 61 and beyond:       $2000.
(n) Violation of Paragraph 19.            Days 1-30:                $500
Failure to comply with the Long-
Term Kapolei SRP SO2 Emission             Days 31-60:               $1000
Limit established in Paragraph 19.
                                          Days 61and beyond:        $2000 or an amount equal to 1.2
                                                                    times the economic benefit of
                                                                    delayed compliance, whichever
                                                                    is greater.
(o) Violation of Paragraph 20.            Days 1-30:                $500 per emission release point
Failure to install, certify, calibrate,                             per Day
maintain, and /or operate a Kapolei       Days 31-60:               $1000 per emission release
SRP SO2, O2, and/or flow CEMS as                                    point per Day
required by Paragraph 20.                 Days 61 and beyond:       $2000 per emission release
                                                                    point per Day or an amount
                                                                    equal to 1.2 times the economic
                                                                    benefit of delayed compliance,
                                                                    whichever is greater.




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Consent Decree Violation               Period of Delay or Non-   Penalty Per Violation Per Day
                                       Compliance or Other       or Other Time Period or
                                       Measure as Indicated      Measure as Indicated
(p) Violation of Paragraph 21.         Days 1-30:                $1000 per emission release
Failure to comply with any                                       point (or per SRP if applying a
requirement of 40 C.F.R. Part 60,                                flow rate weighted average) per
Subparts A and Ja for the Kapolei                                Day
SRP as required by Paragraph 21.       Days 31-60:               $2000 per emission release
                                                                 point (or per SRP if applying a
                                                                 flow rate weighted average) per
                                                                 Day
                                       Days 61 and beyond:       $3000 per emission release
                                                                 point (or per SRP if applying a
                                                                 flow rate weighted average) per
                                                                 Day or an amount equal to 1.2
                                                                 times the economic benefit of
                                                                 delayed compliance, whichever
                                                                 is greater.
(q) Violation of Paragraph 22.         Days 1-30:                $500
Failure to provide the Kapolei SRP
                                       Days 31-60:               $1500
CEMS/non-flare FGCD CMS report
as required by Paragraph 22.
                                       Days 61 and beyond:       $2000.
(r) Violation of Paragraph 23.         Days 1-30:                $200
Failure to develop, submit, or         Days 31-60:               $500
implement CEMS/CMS O&M Plan
as required by Paragraph 23.           Days 61 and beyond:       $1000.
(s) Violation of Paragraph 24.         Days 1-30:                $300
Failure to develop or implement the
                                       Days 31-60:               $400
CEMS/CMS O&M training
programs required by Paragraph 24.     Days 61 and beyond:       $500.
(t) Violation of Paragraph 25.           Days 1-30:                 $200
Failure to certify, calibrate, maintain, Days 31-60:             $500
and/or operate any CEMS/CMS as
required by Paragraph 25 or the          Days 61 and beyond:     $1000.
CEMS/CMS O&M Plan developed
and implemented pursuant to
Paragraph 23.




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Consent Decree Violation                Period of Delay or Non-          Penalty Per Violation Per Day
                                        Compliance or Other              or Other Time Period or
                                        Measure as Indicated             Measure as Indicated
(u) Violation of Paragraph 26.          Days 1-30:                       $500
Failure to develop or implement a
                                        Days 31-60:                      $1500
Preventive Maintenance, Repair, or
QA/QC program as required by            Days 61 and beyond:              $2000.
Paragraph 26.
(v) Violation of Paragraph 28.          $5000 per month, per analysis.
Failure to conduct a CEMS/CMS
Root Cause Failure Analysis as
required by Paragraph 28.
(w) Violation of Paragraph 30.          Days 1-15:                       $500
Failure to implement any corrective     Days 16 -30:                     $750
action as required by Paragraph 30.
                                        Days 31 and beyond:              $1000, not to exceed $200,000
                                                                         per occurrence.
(x) Violation of Paragraph 31.          Days 1-30:                       $500
Failure to provide the tank report as
                                        Days 31-60:                      $1500
required by Paragraph 31.
                                        Days 61 and beyond:              $2000.

                iii. Kenai Refinery. Tesoro Alaska Company LLC and/or, if applicable under
Paragraph 6 of this Consent Decree, Tesoro Logistics L.P., shall be liable for the following
stipulated penalties for violations of the requirements of Section V.C of this Consent Decree:

Consent Decree Violation                             Period of Delay or         Penalty Per Violation
                                                     Non-Compliance or          Per Day or Other Time
                                                     Other Measure as           Period or Measure as
                                                     Indicated                  Indicated
(a) Violation of Paragraph 33. Failure to comply     $3500 per Day.
with any of the Upgraded CMS requirements in
Paragraph 33.
(b) Violation of Paragraph 37.                       $3500 per Day.
Failure to install, operate and maintain an
ambient SO2 monitoring system as required by
Paragraph 37. Violations of Paragraphs 37.a and
37.i are addressed in (c) and (d) below.
(c) Violation of Paragraph 37.a.                     Days 1–30:                  $500
Failure to submit Acid Gas Flaring Event reports
                                                     Days 31-60:                $1000
as required by Paragraph 37.a.
                                                     Days 61 and beyond:        $2000.




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Consent Decree Violation                             Period of Delay or      Penalty Per Violation
                                                     Non-Compliance or       Per Day or Other Time
                                                     Other Measure as        Period or Measure as
                                                     Indicated               Indicated
(d) Violation of Paragraph 37.i.                     Days 1-30:               $500
Failure to submit SO2 monitoring data as
                                                     Days 31-60:             $1000
required by Paragraph 37.i.
                                                     Day 61 and beyond:      $2000.
(e) Violation of Paragraph 38.b. Failure to          $2500 per Day.
implement a third-party compliance auditing
program as required by Paragraph 38.b.
Violations of Paragraphs 38.b.vii and 38.b.viii
are addressed in (f) below.
(f) Violation of Paragraphs 38.b.vii or 38.b.viii.   Days 1-30:              $500
Failure to timely submit an AOP Compliance
                                                     Days 31-60:             $1000
Audit Report as required by Paragraph 38.b.vii
or 38.b.viii.                                        Days 61 and beyond:     $2000.

                iv. Mandan Refinery. Tesoro Refining & Marketing Company LLC and/or, if
applicable under Paragraph 6 of this Consent Decree, Tesoro Logistics L.P., shall be liable for
the following stipulated penalties for violations of the requirements of Section V.D of this
Consent Decree.

Consent Decree Violation                       Period of Delay or Non-     Penalty Per Violation Per
                                               Compliance or Other         Day or Other Time Period
                                               Measure as Indicated        or Measure as Indicated
(a) Violation of Paragraph 39. Failure to      Days 1-30:                  $500
conduct stack test at the Mandan FCCU as
                                               Days 31-60:                 $1000
required by Paragraph 39.
                                               Days 61 and beyond:         $2000.
(b) Violation of Paragraph 40. Failure to      Days 1-30:                  $500
operate scrubber and wet electrostatic
                                               Days 31-60:                 $1000
precipitator as required by Paragraph 40.
                                               Days 61 and beyond:         $2000.
(c) Violation of Paragraph 41.a. Failure to Days 1-30:                     $200
develop, submit, or implement the CMS
                                            Days 31-60:                    $500
O&M Plan required by Paragraph 41.a.
                                               Days 61 and beyond:         $1000.




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Consent Decree Violation                     Period of Delay or Non-     Penalty Per Violation Per
                                             Compliance or Other         Day or Other Time Period
                                             Measure as Indicated        or Measure as Indicated
(d) Violation of Paragraph 41.a.i. Failure   Days 1-30:                  $300
to develop or implement CMS training
                                             Days 31-60:                 $400
programs required by Paragraph 41.a.i.
                                             Days 61 and beyond:         $500.
(e) Violation of Paragraph 41.a.ii or the    Days 1-30:                  $200
CMS O&M Plan. Failure to certify,
                                             Days 31-60:                 $500
calibrate, maintain, and/or operate any
CMS as required by Paragraph 41.a.ii or
the CMS O&M Plan.
                                             Days 61 and beyond:         $1000.

(f) Violation of Paragraph 41.a.iii-iv and   Days 1-30:                  $500
Paragraph 41.c.
Failure to develop or implement a            Days 31-60:                 $1500
Preventive Maintenance, Repair, or
QA/QC program as required by Paragraph       Days 61 and beyond:         $2000.
41.a.iii-iv and Paragraph 41.c.
(g) Violation of Paragraph 41.d.             $5000 per month, per analysis.
Failure to conduct a CMS Root Cause
Failure Analysis required by Paragraph
41.d.
(h) Violation of Paragraph 41.e.             Days 1 – 15:                $500
Failure to implement any corrective action
as required by Paragraph 41.e.               Days 16 -30:                $750

                                             Days 31 and beyond:         $1000, not to exceed
                                                                         $200,000 per occurrence.




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                v. Martinez Refinery. Tesoro Refining & Marketing Company LLC and/or, if
applicable under Paragraph 6 of this Consent Decree, Tesoro Logistics L.P., shall be liable for
the following stipulated penalties for violations of the requirements of Section V.E of this
Consent Decree.

Consent Decree Violation                        Period of Delay or Non-      Penalty Per Violation Per
                                                Compliance or Other          Day or Other Time
                                                Measure as Indicated         Period or Measure as
                                                                             Indicated
(a) Violation of Paragraph 43.                  $2500 per FCCU per Day on which the specified 7-day
Failure to comply with the Interim or Final     or 365-day rolling average exceeds the applicable limit.
Martinez Short-Term or Long-Term FCCU
NOX Emission Limit established in
Paragraph 43.
(b) Violation of Paragraph 44.                  Days 1–30:                  $500 per unit per Day
Failure to install, certify, calibrate,
maintain, and/or operate an FCCU NOX
and/or O2 CEMS as required by Paragraph         Days 31–60:                 $1000 per unit per Day
44.
                                                Days 61 and beyond:          $2000 per unit per Day or
                                                                             an amount equal to 1.2
                                                                             times the economic benefit
                                                                             of delayed compliance,
                                                                             whichever is greater.
(c) Violation of Paragraph 45. Failure to       $2,500 per FCCU per Day on which the specified 365-
comply with the Long-Term Martinez              day rolling average exceeds the applicable limit.
FCCU CO Emission Limit established in
Paragraph 45.
(d) Violation of Paragraph 46. Failure to       Days 1-30:                  $500 per unit per Day
install, certify, calibrate, maintain, and/or   Days 31-60:                 $1000 per unit per Day
operate a CO CEMS at the Martinez FCCU
as required by Paragraph 46.
                                                Days 61 and beyond:         $2000 per unit per Day, or
                                                                            an amount equal to 1.2
                                                                            times the economic benefit
                                                                            of delayed compliance,
                                                                            whichever is greater.
                                                Days 1-30:                  $2000
                                                Days 31-60:                 $3500
(e) Violation of Paragraph 47. Failure to
                                                Days 61 and beyond:         $5000 or an amount equal
comply with any Sulfur Pit emissions
                                                                            to 1.2 times the economic
requirement in Paragraph 47.
                                                                            benefit of delayed
                                                                            compliance, whichever is
                                                                            greater.


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Consent Decree Violation                      Period of Delay or Non-      Penalty Per Violation Per
                                              Compliance or Other          Day or Other Time
                                              Measure as Indicated         Period or Measure as
                                                                           Indicated
(f) Violation of Paragraph 48.                Days 1-30:                   $500
Failure to comply with the Preventive         Days 31-60:                  $1500
Maintenance and Operation Plan as             Days 61 and beyond:          $2000 or an amount equal
required by Paragraph 48.                                                  to 1.2 times the economic
                                                                           benefit of delayed
                                                                           compliance, whichever is
                                                                           greater.
(g) Violation of Paragraph 49.a. Failure to   Days 1-30:                   $1000
comply with Delayed Coker pressure
                                              Days 31-60:                  $2000
requirement in Paragraph 49.a.
                                              Days 61 and beyond:          $3000 or an amount equal
                                                                           to 1.2 times the economic
                                                                           benefit of delayed
                                                                           compliance, whichever is
                                                                           greater.
(h) Violation of Paragraph 49.b. Failure to   Days 1-30:                   $350
comply with Delayed Coker pressure
                                              Days 31-60:                  $1500
requirement in Paragraph 49.b.
                                              Days 61 and beyond:          $3000 or an amount equal
                                                                           to 1.2 times the economic
                                                                           benefit of delayed
                                                                           compliance, whichever is
                                                                           greater.
(i) Violation of Paragraphs 50-51. Failure    Days 1-30:                   $1000
to comply with any Delayed Coker              Days 31-60:                  $2000
requirement in Paragraphs 50-51.              Days 61 and beyond:          $3000 or an amount equal
                                                                           to 1.2 times the economic
                                                                           benefit of delayed
                                                                           compliance, whichever is
                                                                           greater.
(j) Violation of Paragraph 52.a. Failure to   Percentage Over the Limit    Penalty per Violation
comply with the Short-Term SAP SO2
Emission Limit established in Paragraph       1-50%                        $250
52.a.
                                              51-100%                      $500
                                              Over 100%                    $750
                                              No separate stipulated penalty will apply with respect to
                                              the limit on SO2 emissions under 40 C.F.R. Part 60,
                                              Subpart H.


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Consent Decree Violation                          Period of Delay or Non-      Penalty Per Violation Per
                                                  Compliance or Other          Day or Other Time
                                                  Measure as Indicated         Period or Measure as
                                                                               Indicated
(k) Violation of Paragraph 52.a. Failure to       Days 1-14:                   $1000
comply with the Long-Term SAP SO2
Emission Limit established in Paragraph           Days 15-30:                  $1500
52.a.
                                                  Day 31 and beyond:           $2000
                                                  No separate stipulated penalty will apply with respect to
                                                  the limit on SO2 emissions under 40 C.F.R. Part 60,
                                                  Subpart H.
(l) Violation of Paragraph 53 or Appendix         Days 1-30:                   $500 per unit per Day
A-1. Failure to install, certify, calibrate,      Days 31-60:                  $1000 per unit per Day
maintain, and/or operate all CEMS as
required by Paragraph 53 or the SAP
Monitoring Plan, attached as Appendix A-          Days 61 and beyond:          $2000 per unit per Day or
1.                                                                             an amount equal to 1.2
                                                                               times the economic benefit
                                                                               of delayed compliance,
                                                                               whichever is greater.
(m) Violation of Paragraph 53 or Appendix         Days 1-14:                   $1500
A-1. Failure to comply with any other
provision in the SAP Monitoring Plan as           Days 15-30:                  $2000
required by Paragraph 53 or Appendix A-1
(except failure to install, certify, calibrate,   Days 31 and beyond:          $2500.
maintain, and/or operate all CEMS will be
addressed under Paragraph 188.a.v.(l)
above).
(n) Violation of Paragraph 54.b. If Tesoro        Days 1-30:                   $500 per unit per Day
uses a COMS to comply with the Opacity
limit, failure to certify, calibrate, maintain,   Days 31-60:                  $1000 per unit per Day
and/or operate the COMS as required by 40
C.F.R. Part 60, Subpart A.                        Days 61 and beyond:          $2000 per unit per Day or
                                                                               an amount equal to 1.2
                                                                               times the economic benefit
                                                                               of delayed compliance,
                                                                               whichever is greater.
(o) Violation of Paragraph 54.b. Failure to       $40 per six (6) minute average reading in excess of the
comply with the Opacity emission limit as         limit, up to a maximum of $2000 per Day.
required by Paragraph 54.b and 40 C.F.R.
Part 60, Subpart H.




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Consent Decree Violation                      Period of Delay or Non-     Penalty Per Violation Per
                                              Compliance or Other         Day or Other Time
                                              Measure as Indicated        Period or Measure as
                                                                          Indicated
(p) Violation of Paragraph 54.b. Failure to   Percentage Over the         Penalty per Violation
comply with the Acid Mist emission limit,     Limit
and/or, if using COMs, failure to comply      1-50%                       $250
with Opacity emissions limit as required by   51-100%                     $500
Paragraph 54.b and 40 C.F.R. Part 60,         Over 100%                   $750.
Subpart H.
(q) Violation of Paragraph 55. Failure to     Days 1-14:                  $1000
comply with the performance testing,          Days 15-30:                 $1500
notification, or reporting as required by
Paragraph 55.                                 Days 31 and beyond:         $2000.

(r) Violation of Paragraphs 56.a and 56.b.    Days 1-14:                  $150
Failure to prepare and submit to EPA an       Days 15-30:                 $250
O&M Plan as required by Paragraphs 56.a
and 56.b.                                     Days 31 and beyond:         $500.
(s) Violation of Paragraph 56.c.              Days 1-14:                  $150
Failure to comply with the O&M Plan as        Days 15-30:                 $250
required by Paragraph 56.c.                   Days 31 and beyond:         $500.


Violations of Appendix A-2 of this            Period of Delay or Non-      Penalty Per Violation Per
Consent Decree                                Compliance                   Day or Other Time
                                                                           Period or Measure as
                                                                           Indicated
(t) Violation of Appendix A-2, Paragraph      $750 for each Day in a Calendar Quarter on which the
B.1. Failure to comply with the SO2           specified 7-day rolling average exceeds the applicable
emission limits for the Martinez FCCU         limit;
exhaust gas as required by Appendix A-2,
Paragraph B.1.                                $2500 for each Day in a Calendar Quarter on which the
                                              specified 365-day rolling average exceeds the applicable
                                              limit.
(u) Violation of Appendix A-2, Paragraph      Days 1-30:                   $250
B.1. Failure to comply with the HTO Plan      Days 31-60:                 $1000
required by Appendix A-2, Paragraph B.1
for operating the Martinez FCCU in the
event of a hydrotreater outage.               Days 61 and beyond:         $2000 or an amount equal
                                                                          to 1.2 times the economic
                                                                          benefit of delayed
                                                                          compliance, whichever is
                                                                          greater.


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Violations of Appendix A-2 of this            Period of Delay or Non-     Penalty Per Violation Per
Consent Decree                                Compliance                  Day or Other Time
                                                                          Period or Measure as
                                                                          Indicated
(v) Violation of Appendix A-2, Paragraph     Days 1-30:                   $2500 per emission point
B.2. Failure to comply with 40 C.F.R. Part                                per Day
60, Subpart J emission limits as required by
Appendix A-2, Paragraph B.2.                 Days 31 and beyond:          $5000 per emission point
                                                                          per Day or an amount
                                                                          equal to 1.2 times the
                                                                          economic benefit of
                                                                          delayed compliance,
                                                                          whichever is greater.
(w) Violation of Appendix A-2, Paragraph      $3000 for each Day in a Calendar Quarter on which the
C.4 or C.5. Failure to comply with the PM     Martinez FCCU exceeds the specified limit
emission limit for the Martinez FCCU as
required by Appendix A-2, Paragraph C.4
or C.5.
(x) Violation of Appendix A-2, Paragraph      $750 for each Day in a Calendar Quarter on which the
D.7 or D.8. Failure to comply with the CO     specified one-hour average exceeds the applicable limit.
emission limit for the Martinez FCCU as
required by Appendix A-2, Paragraph D.7
or D.8.
(y) Violation of Appendix A-2, Section E.     $200,000 per quarter.
Failure to achieve the final emission
reduction goals in accordance with
Appendix A-2, Section E.
(z) Violation of Appendix A-2, Paragraph      Days 1-30:                  $1750 per unit per Day
13. Burning Fuel Oil in a manner
inconsistent with the requirements of
Appendix A-2, Paragraph 13.                   Days 31 and beyond:         $5000 per unit per Day or
                                                                          an amount equal to 1.2
                                                                          times the economic benefit
                                                                          of delayed compliance,
                                                                          whichever is greater.
(aa) Violation of Appendix A-2, Paragraph     Days 1-30:                  $1000 per unit per Day in a
16. Failure to comply with the 40 C.F.R.                                  Calendar Quarter
Part 60, Subpart J emission limits required   Days 31-60:                  $2000 per unit per Day in
by Appendix A-2, Paragraph 16.                                            a Calendar Quarter
                                              Days 61 and beyond:         $3000 per unit per Day in a
                                                                          Calendar Quarter or an
                                                                          amount equal to 1.2 times
                                                                          the economic benefit of
                                                                          delayed compliance,
                                                                          whichever is greater.


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Violations of Appendix A-2 of this             Period of Delay or Non-     Penalty Per Violation Per
Consent Decree                                 Compliance                  Day or Other Time
                                                                           Period or Measure as
                                                                           Indicated
(bb) Violation of Appendix A-2, Section G.     Number of rolling 12-       Penalty per rolling 12-
Each rolling 12-hour average of SO2            hour average                hour average
emissions from the Martinez SRP in excess      exceedance                  exceedances within a Day
of the limitations of 40 C.F.R. §              1-12                        $350
60.104(a)(2)(i) that is not attributable to
Startup, Shutdown, or Malfunction of the       13 and beyond               $750.
SRP, or that is not attributable to
Malfunction of the associated Tail Gas
treatment unit.
(cc) Violation of Appendix A-2, Paragraph      $25,000 per SRP per Day.
18. Operation of the Martinez SRP during
scheduled maintenance of its associated
Tail Gas treatment unit (except that this
stipulated penalty shall not apply during
periods in which Tesoro is engaged in the
Shutdown of the Martinez SRP for, or
Startup of the Martinez SRP following,
scheduled maintenance of the SRP).
(dd) Violation of Appendix A-2, Paragraph      Days 1-30:                  $500
B.3, C.6, D.9, F.15, or G.17; or Section E.
Failure to conduct any performance test; or    Days 31-60:                 $1,000
to install, calibrate, and operate a CEMS or
COMS.                                          Days 61 and beyond:         $2000 or an amount equal
                                                                           to 1.2 times the economic
                                                                           benefit of delayed
                                                                           compliance, whichever is
                                                                           greater.

                vi. SLC Refinery. Tesoro Refining & Marketing Company LLC, and/or, if
applicable under Paragraph 6 of this Consent Decree, Tesoro Logistics L.P., shall be liable for
the following stipulated penalties for violations of the requirements of Section V.F of this
Consent Decree.

Consent Decree Violation                    Period of Delay or Non-       Penalty Per Violation Per
                                            Compliance or Other           Day or Other Time Period
                                            Measure as Indicated          or Measure as Indicated
(a) Violation of Paragraph 60.a. Failure to $10,000 per Day.
install a non regenerative wet gas scrubber
and LoTOx System or equivalent on the
FCCU as required by Paragraph 60.a.


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Consent Decree Violation                    Period of Delay or Non-      Penalty Per Violation Per
                                            Compliance or Other          Day or Other Time
                                            Measure as Indicated         Period or Measure as
                                                                         Indicated
(b) Violation of Paragraph 60.b.            $2500 per unit per Day on which the specified
Failure to comply with the Short-Term or    7-day or 365-day rolling average exceeds the applicable
Long-Term SLC FCCU NOX Emissions            limit.
Limit established in Paragraph 60.b.
(c) Violation of Paragraph 60.d.            Days 1-30:                 $500
Failure to install, certify, calibrate,
maintain, and/or operate an FCCU NOx        Days 31-60                 $1000
and/or O2 CEMS as required by Paragraph
60.d.                                       Days 61 and beyond:         $2000 or an amount equal to
                                                                        1.2 times the economic
                                                                        benefit of delayed
                                                                        compliance, whichever is
                                                                        greater.
(d) Violation of Paragraph 61.a. Failure to $3000 per unit per Day on which the specified 7-day or
comply with the Short-Term or Long-           365-day average exceeds the applicable limit.
Term SLC FCCU SO2 Emission Limit
established in Paragraph 61.a.
(e) Violation of Paragraph 61.c. Failure to Days 1-30:                  $500
install, certify, calibrate, maintain, and/or
operate an FCCU SO2 and/or O2 CEMS as Days 31-60:                       $1000
required by Paragraph 61.c.
                                            Days 61 and beyond:        $2000, or an amount equal to
                                                                       1.2 times the economic
                                                                       benefit of delayed
                                                                       compliance, whichever is
                                                                       greater.
(f) Violation of Paragraph 62.a. Failure to $2,500 per unit per Day on which the specified one-hour
comply with the Short-Term or Long-         block average or 365-day rolling average exceeds the
Term SLC FCCU CO Emission Limit             applicable limit.
established in Paragraph 62.a.
(g) Violation of Paragraph 62.c. Failure to Days 1-30:                 $500
install, certify, calibrate, maintain, and/or
operate an FCCU CO CEMS as required           Days 31-60:              $1000
by Paragraph 62.c.                            Days 61 and beyond:      $2000, or an amount equal to
                                                                       1.2 times the economic
                                                                       benefit of delayed
                                                                       compliance, whichever is
                                                                       greater.




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           b. Violations of ELDAR Program Requirements at Covered Process Units. The
Settling Defendant(s) responsible for compliance at each Covered Refinery as specified in
Paragraph 6 of this Consent Decree shall be liable for the following stipulated penalties for
violations of the requirements of Section VI.A (ELDAR Program Requirements):

Consent Decree Violation                               Period of Delay or    Penalty Per Violation
                                                       Non-Compliance        Per Day or Other Time
                                                       or Other Measure      Period or Measure as
                                                       as Indicated          Indicated
i. Violation of Paragraph 74. Failure to timely        Days 1-30:            $300 per Day per Refinery
develop and complete a written facility-wide
LDAR Program Plan, or to timely update the        Days 31-60:            $400 per Day per Refinery
LDAR Program Plan as required by Paragraph 74.
                                                  Days 61 and beyond: $500 per Day per
                                                                         Refinery.
ii. Violation of Paragraph 75. Failure to perform $1000 per person, per month of non-compliance
initial, refresher, or new personnel training as
required by Paragraph 75.
iii. Violation of Paragraphs 76-79. Failure to    Days 1-15:             $300
conduct an LDAR audit in accordance with
schedule in Paragraphs 76-79.                     Days 16-30:            $400

                                                       Days 31 and beyond: $500, not to exceed
                                                                           $100,000 per audit.
iv. Violation of Paragraph 77. Failure to use a        $25,000 per audit.
third-party auditor, or to use a third-party auditor
that is not experienced in LDAR audits as
required by Paragraph 77.
v. Violation of Paragraph 79.                          $50,000 per audit.
Failure to complete audit as required by
Paragraph 79 or failure to substantially comply
with the comparative monitoring requirements of
Paragraph 79.
vi. Violation of Paragraphs 79. Failure to comply      $10,000 per missed requirement, not to exceed
with the requirements for LDAR Audits in               $100,000 per audit.
Paragraphs 79.a-d, except for comparative
monitoring.
vii. Violation of Paragraph 81 or Paragraph 82.        Days 1-15:            $100
Failure to timely develop and/or submit a
Corrective Action Plan as required by Paragraph        Days 16-30:           $250
81 or failure to timely submit a Certification of
Compliance, as required by Paragraph 82.               Days 31 and beyond: $500, not to exceed
                                                                           $100,000 per audit.




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Consent Decree Violation                               Period of Delay or     Penalty Per Violation
                                                       Non-Compliance         Per Day or Other Time
                                                       or Other Measure       Period or Measure as
                                                       as Indicated           Indicated
viii. Violation of Paragraph 81. Failure to            Days 1 -15:            $500
implement corrective action within 90 Days after
the LDAR Audit Completion Date, or pursuant to         Days 16 -30:           $750
the approved schedule, as required by Paragraph
81.                                                    Days 31 and beyond: $1000, not to exceed
                                                                            $200,000 per audit.
ix. Violation of Paragraphs 83-84. Failure to          $100 per component but not greater than $10,000
comply with monitoring frequency requirements          per month, per unit
set forth in Paragraphs 83-84
x. Violation of Paragraph 85. Failure to properly      Leak Percentage        Penalty per Covered
perform Method 21 (or the AWP, as applicable)          Ratio                  Process Unit
as set forth in Paragraph 85, performing LDAR
                                                       3.0 or greater but     $15,000
monitoring, as indicated by the leak percentage
                                                       less than 4.0
ratio calculated under Paragraph 79 of the
ELDAR Program, but only if the auditor
                                                       4.0 or greater but     $30,000
identifies a leak rate of at least 0.5% per
                                                       less than 5.0
component type in the process unit.
                                                       5.0 or greater but     $45,000
                                                       less than 6.0
                                                       6.0 or greater         $60,000

xi. Violation of Paragraph 85. Failure to use a        $100 per failure per piece of Covered Equipment,
monitoring device that is attached to a data           but not greater than $5,000 per unit per month.
logger; failure, during each monitoring event, to
directly electronically record the Screening Value,
date, time, identification number of the
monitoring equipment, or the identification of the
technician, as required by Paragraph 85.
xii. Violation of Paragraph 85. Failure to transfer    $150 per Day for each Day that the transfer is
monitoring data to an electronic database on at        late.
least a weekly basis, as required by Paragraph 85.
xiii. Violation of Paragraphs 90- 91. Failure to       $150 per Day for each Day after deadline, not to
timely perform a first attempt at repair as required   exceed $1500 per leak.
by Paragraphs 90- 91. For purposes of this
Paragraph 188.b.xiii the term “repair” includes
the required Repair Verification Monitoring in
Paragraph 92 after the first repair attempt (in
which case the stipulated penalties of Paragraph
185.c.xv do not apply).


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Consent Decree Violation                              Period of Delay or   Penalty Per Violation
                                                      Non-Compliance       Per Day or Other Time
                                                      or Other Measure     Period or Measure as
                                                      as Indicated         Indicated
xiv. Violation of Paragraph 91. Failure to timely     Valves               $300 per Day per
perform a final attempt at repair as required by                           component not to exceed
Paragraph 91. For purposes of this                                         $37,500.
Paragraph188.b.xiv, the term “repair” includes the Pumps                   $1200 per Day per
required Repair Verification Monitoring in                                 component not to exceed
Paragraph 92 after the first repair attempt (in                            $150,000.
which case the stipulated penalties of
Paragraph185188.b.xv do not apply).
xv. Violation of Paragraph 92.                     Valves                  $150 per Day per
Failure to timely perform Repair Verification                              component, not to exceed
Monitoring where the first attempt to repair was                           $18,750.
made within 5 Days and the final attempt to repair Pumps                   $600 per Day per
was made within 15 Days as required by                                     component, not to exceed
Paragraph 92.                                                              $75,000.
xvi. Violation of Paragraph 93. Failure to            Days 1-15:           $200 per Covered Process
undertake drill-and-tap repairs as required by                             Unit
Paragraph 93.                                         Days 16-30:          $350 per Covered Process
                                                                           Unit
                                                      Days 31 and beyond: $500 per Covered Process
                                                                           Unit, not to exceed
                                                                           $37,500.
xvii. Violation of Paragraph 95. Failure to record    $100 per component, per item of missed
the information required by Paragraph 95.             information.

xviii. Violation of Paragraph 97. Improperly          Valves                $300 per Day per
placing a piece of Covered Equipment on the                                 component, not to exceed
DOR list.                                                                   $75,000.
                                                      Pumps                 $1200 per Day per
                                                                            component, not to exceed
                                                                            $300,000.
xix. Violation of Paragraph 97.a. Failure of the      $250 per piece of Covered Equipment.
relevant manager or official to sign-off on placing
a piece of Covered Equipment on the DOR list as
required by Paragraph 97.a.
xx. Violation of Paragraph 97.c. Failure to           $5,000 per valve.
comply with the 0.10% limit on valves that may
be placed on the DOR list as required by
Paragraph 97.c.



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Consent Decree Violation                             Period of Delay or       Penalty Per Violation
                                                     Non-Compliance or        Per Day or Other
                                                     Other Measure as         Time Period or
                                                     Indicated                Measure as Indicated
xxi. Violation of Paragraph 99. Failure to install   $1000 per valve required by Paragraph 99.a-d and
a Certified Low-Leaking Valve or to fit a valve      $5000 per valve required by Paragraph 99.e.
with Certified Low-Leaking Valve Packing as
required by Paragraph 99.
xxii. Violation of Paragraph 103. Failure to add a   $300 per piece of Covered Equipment (plus an
piece of Covered Equipment to the LDAR               amount, if any, due under Paragraph 188.c.x-xi
program as required by Paragraph 103.                for any missed monitoring for a component that
                                                     should have been added to the LDAR program).
xxiii. Violation of Paragraph 103. Failure to        $150 per piece of Covered Equipment.
remove a piece of Covered Equipment from the
LDAR program as required by Paragraph 103.
xxiv. Violation of Paragraph 104. Failure of a       $100 per failure, per technician.
monitoring technician to complete the
certification as required by Paragraph 104.
xxv. Violation of Paragraph 105. Failure to          $1000 per missed requirement, per year.
comply with QA/QC requirements in Paragraph
105.

          c. Violations of Flaring Requirements at Covered Flares. The Settling Defendant(s)
responsible for compliance at each Covered Refinery as specified in Paragraph 6 of this Consent
Decree shall be liable for the following stipulated penalties for violations of the requirements of
Section VI.B (Requirements for Control of Flaring Events).

Consent Decree Violation                         Period of Delay or Non-       Penalty Per Violation
                                                 Compliance or other           Per Day or Other Time
                                                 Measure as Indicated          Period or Measure as
                                                                               Indicated
i. Violation of Paragraph 113. Failure to        Days 1-30:                    $500 per Flare per Day
implement Interim Combustion Efficiency
Measures as required by Paragraph 113.           Days 31-60:                   $1500 per Flare per Day
                                                 Days 61 and beyond:           $2500 per Flare per Day.

ii. Violation of Paragraphs 114-115. Failure     Days 1-30:                    $250 per Meter per Day
to timely upgrade or replace, if necessary to
ensure an acceptable level of control over       Days 31-60:                   $500 per Meter per Day
flow, Sweep and Purge Gas flow meters that
conform to the requirements of Paragraph 114     Days 61 and beyond:           $1250 per Meter per
or failure to timely implement the measures                                    Day.
necessary to minimize Sweep and Purge Gas
flow as required by Paragraph 115.

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Consent Decree Violation                        Period of Delay or Non-      Penalty Per Violation
                                                Compliance or other          Per Day or Other Time
                                                Measure as Indicated         Period or Measure as
                                                                             Indicated
iii. Violation of Paragraph 116. Failure to     Days 1-30:                   $250
timely complete the Initial PRV Leak Survey
as required by Paragraph 116.                   Days 31-60:                  $500
                                                Days 61 and beyond:          $1250.
iv. Violation of Paragraph 116. Failure to      Days 1-30:                   $500
timely repair each leaking PRV as required by   Days 31-60:                  $700
Paragraph 116.                                  Days 61 and beyond:          $1000.
v. Violation of Paragraphs 117-119, 121-122     Days 1-30:                   $750 per monitoring
and 144. Failure to timely install the                                       system per Day
equipment and monitoring systems as
required by Paragraphs 117-119, 121-122 and     Days 31-60:                  $1250 per monitoring
144.                                                                         system per Day
                                                Days 61 and beyond:          $2000 per monitoring
                                                                             system per Day or an
                                                                             amount equal to 1.2
                                                                             times the economic
                                                                             benefit of delayed
                                                                             compliance.
vi. Violation of Paragraphs 117-119, 122 and    Per monitoring               Penalty per Hour per
144. Failure to operate the monitoring          instrument, number of        monitoring
instrument as required by Paragraphs 117-       Hours per Calendar           instrument:
119, 122 and 144.                               Quarter of Downtime
                                                over 5% of the time that
                                                the Covered Flare is In
                                                Operation and Capable
                                                of Receiving Sweep,
                                                Supplemental, and/or
                                                Waste Gas in a six
                                                month period
                                                0.25-100.0                   $250
                                                100.25-200.0                 $500
                                                Over 200.0                    $1000
                                                For any monitoring system that serves as a dual
                                                purpose, this stipulated penalty applies per instrument
                                                only.




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Consent Decree Violation                         Period of Delay or Non-     Penalty Per Violation
                                                 Compliance or other         Per Day or Other Time
                                                 Measure as Indicated        Period or Measure as
                                                                             Indicated
vii. Violation of Paragraph 121. Failure to      Type of Requirement         Penalty per Violation
comply with the equipment and                                                per day
instrumentation technical specifications and     Daily requirement           $100
quality assurance/quality control
specifications and requirements in Appendix      Quarterly requirement       $200
C - 1.10.
                                                 Annual requirement          $300.
viii. Violation of Paragraphs 127-128. Failure   Days 1-30:                  $500
to submit an Initial Flare Management Plan as
required by Paragraph 127 and subsequent         Days 31-60:                 $750
plans required by Paragraphs 127-128.
                                                 Days 61 and beyond:         $1000.

ix. Violation of Paragraph 130. Failure to       Days 1-30:                  $1250 per FGRS
timely install, in accordance with Paragraph
130 and Appendix 2.1, a Flare Gas Recovery       Days 31-60:                 $3000 per FGRS
System that conforms to the requirements of
Paragraph 130.                                   Days 61 and beyond:          $5000 per FGRS or an
                                                                              amount equal to 1.2
                                                                              times the economic
                                                                              benefit of delayed
                                                                              compliance, whichever
                                                                              is greater.
x. Violation of Paragraphs 130-131. Failure      $750 Per FGRS, per hour or fraction thereof – in a
to have the required number of Compressors       rolling 8760-hour period that a Compressor required
at each FGRS Available for Operation and/or      to be Available for Operation is not Available for
In Operation 98% of the time or failure to       Operation.
have the required number of Compressors at
each FGRS Available for Operation and/or In
Operation 95% of the time as required by
Paragraphs 130-131.
xi. Violation of Paragraph 132. Failure to       Magnitude of                Penalty per Refinery
comply with the refinery-wide, 30-day            Exceedance                  per Day
Rolling Average limit on Waste Gas flaring as    ≤ 10%                       $6250
required by Paragraph 132.                       >10% to ≤ 20%               $12,500
                                                 >20%                        $18,750.




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Consent Decree Violation                         Period of Delay or Non-       Penalty Per Violation
                                                 Compliance or other           Per Day or Other Time
                                                 Measure as Indicated          Period or Measure as
                                                                               Indicated
xii. Violation of Paragraph 132. Failure to        Magnitude of                Penalty per Refinery
comply with the refinery-wide 365-day              Exceedance                  per Day
Rolling Average limit on Waste Gas flaring as
                                                   ≤ 10%                            $12,500
required by Paragraph 132.
                                                   >10% to ≤ 20%                    $18,750
                                                   >20%                             $37,500.
xiii. For any given Day, where a failure to comply with the 30-day and/or the 365-day Rolling
Average limit on Waste Gas flaring required by Paragraph 132 (and potentially subject to the
stipulated penalty provisions of Paragraph 188.c.xi-xii) is the result of a failure to have the requisite
number of Compressors Available for Operation as required by Paragraphs 130-131 (and potentially
subject to the stipulated penalty provision of Paragraph 188.c.x) only the stipulated penalty provision
that results in the higher penalty shall be applicable for that Day (i.e., the stipulated penalties under
Paragraphs 188.c.x, 188.c.xi and 188.c.xii shall not be assessed). Nothing in the previous sentence
shall be construed to result in only one penalty being applicable on any given Day for violation of both
the 30-day and the 365-day Rolling Average limits on Waste Gas flaring (i.e., for any given Day in
which both the 30-day Rolling Average limits are violated, stipulated penalties under both Paragraphs
(188.c.xi and 188.c.xii) may be assessed).
xiv. Violation of Paragraph 137.                   $500 per Flare per Day.
Failure to comply with the Automatic Control
System required by Paragraph 137.
xv. Violation of Paragraph 139. Failure to         On a per Covered               Penalty per Covered
comply with the Net Heating Value Standards Flare Basis, Hours of                 Flare per Hour or
in Paragraph 139.                                  Non-compliance:                Fraction thereof:

                                                 No. of hours: 0.25-100.0 $150 per hour

                                                 No. of hours: 100.25-       $350 per hour
                                                 200.0
                                                 No. of hours: over 200      $500 per hour.

                                                 For purposes of calculating the number of hours of
                                                 non-compliance with the NHVcz standard, all 15-
                                                 minute periods of violation shall be added together to
                                                 determine the total.
                                                 The period for calculating a stipulated penalty under
                                                 this Subparagraph is different than the averaging
                                                 period of the underlying requirement. For example,
                                                 if Tesoro has six exceedances of a standard expressed
                                                 as a 15-minute Block Average, then the stipulated
                                                 penalty would be assessed on 1.5 hours of violation.


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Consent Decree Violation                         Period of Delay or Non-    Penalty Per Violation
                                                 Compliance or other        Per Day or Other Time
                                                 Measure as Indicated       Period or Measure as
                                                                            Indicated
xvi. Violation of Paragraphs 142, 143.e and      $100 per Day.
152-153. Failure to record and retain any
information as required by Paragraphs 142,
143.e and 152-153.
xvii. Violation of Paragraphs 143.d.i and ii.    Days 1-7:                  $1000
Failure to ensure that a Portable Flare that
falls under the conditions of Paragraphs         Days 8-15:                 $2000
143.d.i and ii complies with the requirements
of those Paragraphs.                             Days 16 and beyond:        $5000.

xviii. Violation of Paragraph 145. For Air       On a per Covered            Penalty per Covered
Assisted Flares failure to comply with the       Flare Basis, Hours of       Flare per Hour or
NHVdil Standard in Paragraph 145.                Non-compliance:             Fraction thereof:
                                                 No of hours: 0.166-         $100 per hour
                                                 100.0
                                                 No. of hours: 100.166-      $200 per hour
                                                 200.0
                                                 No. of hours: over 200      $300 per hour.
                                                 The period for calculating a stipulated penalty under
                                                 this Subparagraph is different than the averaging
                                                 period of the underlying requirement. For example,
                                                 if Tesoro has six exceedances of a standard expressed
                                                 as a 15-minute Block Average Period, then the
                                                 stipulated penalty would be assessed on 1.5 hours of
                                                 violation.
xix. Violation of Paragraph 146. Failure to      Days 1-30:                    $250 per Flare test
timely conduct the testing set forth in
Paragraph 146 in accordance with the             Days 31-60:                 $500 per Flare test
protocol.
                                                 Days 61 and beyond:         $1000 per Flare test.
xx. Violation of Paragraphs 146-147. Failure     Days 1-30:                  $200
to timely submit a test protocol that conforms
to the requirements of this Consent Decree as
required by Paragraph 146 or failure to timely   Days 31-60:                 $300
submit a test report that conforms to the
requirements of this Consent Decree as           Days 61 and beyond:         $400.
required by Paragraph 147.




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Consent Decree Violation                             Period of Delay or          Penalty Per Violation
                                                     Non-Compliance or           Per Day or Other Time
                                                     other Measure as            Period or Measure as
                                                     Indicated                   Indicated
xxi. Violation of Paragraph 151. Failure to          On a per Covered            Penalty per Covered
comply with the NSPS Subpart A or Ja H2S             Flare Basis, Hours of       Flare per Hour:
emission limit at an affected facility under         Non-compliance:
Paragraph 151.                                       No of hours: 1-50           $50 per hour

                                                     No of hours: 51-100         $100 per hour

                                                     No of hours: over 100       $200 per hour

                                                     For purposes of calculating the number of hours of
                                                     non-compliance with the H2S limit, all hours of
                                                     violation shall be added together to determine the
                                                     total. The averaging period for this standard is a 3-
                                                     hour Rolling Average.

                                                     The period for calculating a stipulated penalty under
                                                     this Subparagraph is different than the averaging
                                                     period of the underlying requirement. For example,
                                                     if Tesoro has an exceedance of a standard expressed
                                                     as a 3-hour Rolling Average in 6 15-minute Block
                                                     Periods, then the stipulated penalty would be
                                                     assessed on 1.5 hours of violation.

     189. Violation of Other Consent Decree Requirements. The Settling Defendant(s)
responsible for compliance pursuant to Paragraph 6 of this Consent Decree shall be liable for the
following stipulated penalties for the following other violations of this Consent Decree at the
Covered Refineries:

Consent Decree Violation                              Penalty Per Violation Per Day or Other Time
                                                      Period or Measure as Indicated
Failure to submit a written report or deliverable     Period of Delay or Non-Compliance Penalty per Day
(unless a more specific stipulated penalty            Days 1-30:           $300
applies in Paragraphs 187-188.a-c above).             Days 31-60:          $1000
                                                      Days 61 and beyond: $2000.

Violation of Paragraphs 154-157.                      Period of Delay or Non-Compliance Penalty per Day
Failure to submit an application to incorporate       Days 1-30:           $500
Consent Decree requirements into relevant             Days 31-60:          $1500
local, state and/or federal permits as required by    Days 61 and beyond: $3000.
Paragraphs 154-157.


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Consent Decree Violation                            Penalty Per Violation Per Day or Other Time
                                                    Period or Measure as Indicated
Violation of Paragraphs 162-168. Failure to         Period of Delay or Non-Compliance Penalty per Day
implement Mitigation Projects as required by        Days 1-30:           $500
Paragraphs 162-168 and Appendices D 1-3.            Days 31-60:          $1500
                                                    Days 61 and beyond: $3000.

Failure to comply with any other Consent            $200 per violation per Day.
Decree term, condition, or requirement that
does not have a specific stipulated penalty set
forth in this Paragraph or Paragraphs 187-188
above.

     190. No amount of the stipulated penalties paid by Settling Defendants shall be used to
reduce its federal tax obligations.

      191. The United States and the State Co-Plaintiffs reserve the right to pursue any other
nonmonetary remedies to which they are legally entitled, including but not limited to, injunctive
relief and mitigation, for Settling Defendants’ violations of this Consent Decree. Where a
violation of this Consent Decree is also a violation of the Clean Air Act, its regulations, or a
federally-enforceable state law, regulation, or permit, subject to the provisions of Section XVII
of this Consent Decree (Effect of Settlement/Reservation of Rights), the stipulated penalties
provided for in this Consent Decree shall be in addition to any other rights, remedies, or
sanctions available to the United States for Settling Defendants’ violations of this Consent
Decree or applicable law except that where a violation of this Consent Decree is also a violation
of federal or state law, Settling Defendants shall be allowed a credit for any stipulated penalties
paid against any statutory penalties imposed for such violation.

                                 XIII.   RIGHT OF ENTRY

      192. Any authorized representative of EPA or the Applicable State Co-Plaintiff, upon
presentation of credentials, shall have a right of entry upon the premises of the Covered
Refineries at any reasonable time (and subject to any applicable health and safety or legal
requirements) for the purpose of monitoring compliance with the provisions of this Consent
Decree, including inspecting plant equipment and systems, and inspecting all records maintained
by Settling Defendants required by this Consent Decree or that EPA or the Applicable State Co-
Plaintiff have notified Settling Defendants are reasonably necessary to verify compliance with
this Consent Decree. Except where other time periods specifically are noted, Settling
Defendants shall retain such records for the period of this Consent Decree. Nothing in this
Consent Decree shall limit the authority of EPA or the Applicable State Co-Plaintiff to conduct
tests, inspections, or other activities under any statutory or regulatory provision.




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                                 XIV.     FORCE MAJEURE

      193. “Force majeure” for purpose of this Consent Decree, is defined as any event arising
from causes beyond the control of a Settling Defendant, of any entity controlled by a Settling
Defendant, or of a Settling Defendant’s contractors, that delays or prevents the performance of
any obligation under this Consent Decree despite Settling Defendant’s best efforts to fulfill the
obligation. The requirement that a Settling Defendant exercise “best efforts to fulfill the
obligation” includes using best efforts to anticipate any potential force majeure event and best
efforts to address the effects of any such event (a) as it is occurring and (b) after it has occurred
to prevent or minimize any resulting delay to the greatest extent possible. “Force Majeure”
does not include a Settling Defendant’s financial inability to perform any obligation under this
Consent Decree. The failure of a Permitting Authority to issue a necessary construction or
operating permit in a timely fashion is a force majeure event where the Settling Defendant
submitted a timely and complete permit application and the failure of the Permitting Authority to
issue the relevant permit is beyond the control of the Settling Defendant.

      194. If any event occurs or has occurred that may delay the performance of any obligation
under this Consent Decree, whether or not caused by a force majeure event, each Settling
Defendant responsible for compliance with that requirement pursuant to Paragraph 6 above shall
provide notice orally or by electronic or facsimile transmission to EPA and the Applicable State
Co-Plaintiff(s) within three (3) Working Days of when the Settling Defendant first knew that the
event might cause a delay. Within ten (10) Working Days thereafter, the Settling Defendant
shall provide in writing to EPA and the Applicable State Co-Plaintiff an explanation and
description of the reasons for the delay; the anticipated duration of the delay; all actions taken or
to be taken to prevent or minimize the delay; a schedule for implementation of any measures to
be taken to prevent or mitigate the delay or the effect of the delay; the Settling Defendant’s
rationale for attributing such delay to a force majeure event if it intends to assert such a claim;
and a statement as to whether, in the opinion of the Settling Defendant, such event may cause or
contribute to an endangerment to public health, welfare, or the environment. The Settling
Defendant shall include with any notice all appropriate documentation supporting the claim that
the delay was attributable to a force majeure. Failure to comply with the above requirements
shall preclude the Settling Defendant from asserting any claim of force majeure for that event for
the period of time of such failure to comply, and for any additional delay caused by such failure.
The Settling Defendant shall be deemed to know of any circumstance of which the Settling
Defendant, any entity controlled by the Settling Defendant, or the Settling Defendant’s
contractors had actual or constructive notice.

      195. If EPA, after a reasonable opportunity for review and comment by the Applicable
State Co-Plaintiff, agrees that the delay or anticipated delay is attributable to a force majeure
event, the time for performance of the obligations under this Consent Decree that are affected by
the force majeure event shall be extended by EPA, after a reasonable opportunity for review and
comment by the Applicable State Co-Plaintiff, for such time as is necessary to complete those
obligations. An extension of the time for performance of the obligations affected by the force
majeure event shall not, of itself, extend the time for performance of any other obligation. As



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soon as practicable, EPA shall notify the Settling Defendant in writing of the length of the
extension, if any, for performance of the obligations affected by the force majeure event.

      196. If EPA, after a reasonable opportunity for review and comment by the Applicable
State Co-Plaintiff, does not agree that the delay or anticipated delay has been or will be caused
by a force majeure event, EPA shall notify the Settling Defendant in writing of its decision as
soon as practicable.

      197. If the Settling Defendant elects to invoke the dispute resolution procedures set forth in
Section XV (Dispute Resolution) with respect to EPA’s decision regarding a force majeure
claim, it shall do so no later than fifteen (15) Working Days after receipt of EPA's notice
pursuant to Paragraphs 195 or 196 above. In any such proceeding, the Settling Defendant shall
have the burden of demonstrating by a preponderance of the evidence that the delay or
anticipated delay has been or will be caused by a force majeure event, that the duration of the
delay or the extension sought was or will be warranted under the circumstances, that best efforts
were exercised to avoid and mitigate the effects of the delay, and that the Settling Defendant
complied with the requirements of Paragraphs 194 above. If the Settling Defendant carries this
burden, the delay at issue shall be deemed not to be a violation by the Settling Defendant of the
affected obligation of this Consent Decree identified to EPA and the Court.

                              XV.     DISPUTE RESOLUTION

     198. Unless otherwise expressly provided for in this Consent Decree, the dispute resolution
procedures of this Section shall be the exclusive mechanism to resolve disputes arising under or
with respect to this Consent Decree.

      199. Informal Dispute Resolution. Any dispute subject to dispute resolution under this
Consent Decree shall first be the subject of informal negotiations. The dispute shall be
considered to have arisen when the Settling Defendant responsible for compliance with a
particular Consent Decree provision pursuant to Paragraph 6 above disputes a decision of the
United States pertaining to that provision and sends the United States a written Notice of Dispute
with a copy to the Applicable State Co-Plaintiff. Such Notice of Dispute shall state clearly the
matter in dispute. The period of informal negotiations shall not exceed twenty (20) Working
Days from the date the dispute arises, unless that period is modified by written agreement. If the
Parties cannot resolve a dispute by informal negotiations, then the position advanced by the
United States shall be considered binding unless, within forty-five (45) Working Days after the
conclusion of the informal negotiation period, the Settling Defendant invokes formal dispute
resolution procedures as set forth below.

      200. Formal Dispute Resolution. A Settling Defendant shall invoke formal dispute resolu-
tion procedures, within the time period provided in the preceding Paragraph, by serving on the
United States, with a copy to the Applicable State Co-Plaintiff, a written Statement of Position
regarding the matter in dispute. The Statement of Position shall include, but need not be limited
to, any factual data, analysis, or opinion supporting the Settling Defendant’s position and any
supporting documentation relied upon by a Settling Defendant.


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     201. The United States shall serve its Statement of Position within forty-five (45)
Working Days of receipt of the Settling Defendant’s Statement of Position. The United States’
Statement of Position shall include, but need not be limited to, any factual data, analysis, or
opinion supporting that position and any supporting documentation relied upon by the United
States. The United States’ Statement of Position shall be binding on the Settling Defendant
unless it files a motion for judicial review of the dispute in accordance with the following
Paragraph.

     202. The Settling Defendant may seek judicial review of the dispute by filing with the
Court and serving on the United States a motion requesting judicial resolution of the dispute.
The motion shall be filed within twenty-one (21) Working Days of receipt of the United States’
Statement of Position pursuant to the preceding Paragraph. The motion shall contain a written
statement of Settling Defendant’s position on the matter in dispute, including any supporting
factual data, analysis, opinion, or documentation, and shall set forth the relief requested and any
schedule within which the dispute shall be resolved for orderly implementation of this Consent
Decree.

     203. The United States shall respond to Settling Defendant’s motion within the time period
allowed by the Local Rules of this Court for responding to a dispositive motion. The Settling
Defendant may file a reply memorandum, to the extent and within the time period permitted by
the Local Rules for a dispositive motion.

     204. Standard of Review.

           a. Disputes Concerning Matters Accorded Record Review. Except as otherwise
provided in this Consent Decree, in any dispute brought under Paragraph 202 above pertaining to
a matter that involves EPA’s exercise of discretion under this Consent Decree, the Settling
Defendant shall have the burden of proof based on the administrative record (including the
Parties’ Statements of Position) and the applicable standard of review as set forth in the
Administrative Procedure Act, 5 U.S.C. § 500 et seq.

          b. Other Disputes. Except as otherwise provided in this Consent Decree, in any
other dispute brought under Paragraph 202 above, the Settling Defendant shall bear the burden of
demonstrating that its position complies with this Consent Decree.

     205. The invocation of dispute resolution procedures under this Section shall not, by itself,
extend, postpone, or affect in any way any obligation of the Settling Defendant under this
Consent Decree, unless and until final resolution of the dispute so provides. Stipulated penalties
with respect to the disputed matter shall continue to accrue from the first Day of non-compliance,
but payment shall be stayed pending resolution of the dispute as provided in Paragraph 185.b
above. If the Settling Defendant does not prevail on the disputed issue, subject to the Court’s
order, stipulated penalties shall be assessed and paid as provided in Section XII (Stipulated
Penalties).




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       XVI.     REVIEW, APPROVAL, AND COMMENT ON DELIVERABLES

      206. Where any provision of this Consent Decree specifically requires the submission of a
plan, notification, report, procedure, protocol, or other deliverable (hereinafter referred to as a
“submission”) by a Settling Defendant to be subject to EPA approval or subject to EPA
comment, or where any provision of this Consent Decree specifically references this
Section XVI, the submission shall be subject to the provisions of this Section.

     207. For each submission, the Settling Defendant shall submit one copy of the submission
to each EPA addressee listed in Section XIX (Notices) along with all accompanying data in hard-
copy paper and one copy of the submission to EPA along with all accompanying data in a
widely-recognized electronic format (such as .pdf or Microsoft® Excel).

     208. Submissions Subject to EPA Approval.

          a. Unless otherwise provided herein, for submissions subject to EPA approval, EPA
may approve the submission or decline to approve it, in whole or in part, and may provide
written comments.

             b. Unless otherwise provided herein, if EPA disapproves a submission, in whole or
in part, it shall state in writing the basis for such disapproval.

            c. Unless otherwise provided herein, upon receiving EPA’s written comments or
written notice that EPA disapproves a submission, in whole or in part, the Settling Defendant
shall have: (i) forty-five (45) Days to alter the submission consistent with EPA’s written
comments or notice of disapproval and provide the submission to EPA for final approval; or
(ii) to invoke dispute resolution under Section XV of this Consent Decree.

          d. If EPA fails to approve or disapprove a submission writing within ninety
(90) Days of the submission, Settling Defendant may invoke dispute resolution under Section
XV of this Consent Decree for EPA’s failure to act on the submission.

     209. Submissions Subject to EPA Comment.

          a. Unless otherwise provided herein, for submissions under any provision of this
Consent Decree that are subject to EPA comment, EPA may provide written comments on the
submission, in whole or in part, or may decline to comment. If EPA provides written comments
within ninety (90) Days of receiving a submission, the Settling Defendant shall within forty-five
(45) Days of receiving such comments either: (i) alter and implement the submission consistent
with EPA’s written comments; or (ii) submit the matter for dispute resolution under Section XV
(Dispute Resolution) of this Consent Decree.

         b. Unless otherwise provided herein, after ninety (90) Days from the date of such
submission, EPA may nonetheless thereafter provide written comments requiring changes to the
submission which the Settling Defendant shall implement unless implementation of the written
comments would be unduly burdensome given the degree to which the Settling Defendant has


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proceeded with implementing the deliverable or otherwise unreasonable. If the Settling
Defendant determines that implementation of the written comments is unduly burdensome or
otherwise unreasonable, it shall invoke dispute resolution within sixty (60) Days of receiving
EPA comments.

      210. Implementation of Plans, Limits, or Other Measures Pursuant to Submissions Subject
to EPA Comment or Approval. Unless otherwise provided for herein, upon receipt of EPA’s
final approval of a submission, or upon the expiration of ninety (90) Days from the date of a
submission subject to comment or approval or upon completion of any dispute resolution process
under Section XV of this Consent Decree regarding a submission, the Settling Defendant shall
implement the submission in accordance with the requirements and schedule within the
submission.

          XVII. EFFECT OF SETTLEMENT/RESERVATION OF RIGHTS

     211. Definitions. For purposes of this Section XVII (Effect of Settlement/Reservation of
Rights), the following definitions apply:

           a. “Benzene Waste NESHAP Requirements” shall mean the requirements imposed
by the National Emission Standard for Benzene Waste Operations, 40 C.F.R. Part 61,
Subpart FF, any applicable state, regional, or local regulations that implement, adopt, or
incorporate the Benzene Waste NESHAP and any Title V Permit requirement that implements,
adopts, or incorporates the provisions cited in this Paragraph.

          b. “Hazardous Air Pollutants” or “HAPs” shall have the meaning set forth in
42 U.S.C. § 7412(b)(1).

           c. “LDAR Requirements” shall mean 40 C.F.R. Part 60, Subparts GGG and GGGa,
40 C.F.R. Part 61, Subparts J and V; and 40 C.F.R. Part 63, Subpart CC; any applicable state or
local regulation that implements, adopts, or incorporates the federal provisions cited in this
Paragraph; and any Title V Permit requirement that implements, adopts, or incorporates the
provisions cited in this Paragraph.

            d. “NNSR Requirements” shall mean the Non-Attainment New Source Review
requirements found in the following: 42 U.S.C. §§ 7502(c)(5), 7503(a)-(c); 40 C.F.R. Part 51,
Appendix S, Part IV, Conditions 1-4; any applicable, federally approved and federally
enforceable state or local regulation that implements, adopts, or incorporates the federal
provisions cited in this Paragraph; any Title V Permit requirement that implements, adopts, or
incorporates the federal, or federally approved state, provisions cited in this Paragraph; and any
applicable state or local regulation that implements, adopts, or incorporates the federal provisions
cited in this Paragraph. This definition of NNSR Requirements includes all minor NSR
requirements incorporated in a SIP or federal implementation plan.

           e. “PSD Requirements” shall mean the Prevention of Significant Deterioration
requirements found in the following: 42 U.S.C. § 7475; 40 C.F.R. §§ 52.21(a)(2)(iii) and
52.21(j) - 52.21(r)(5); any applicable, federally approved and federally enforceable state or local


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regulation that implements, adopts, or incorporates the federal provisions cited in this Paragraph;
any Title V Permit requirement that implements, adopts, or incorporates the federal, or federally
approved state, provisions cited in this Paragraph; and any applicable state or local regulation
that implements, adopts, or incorporates the federal provisions cited in this Paragraph. This
definition of PSD Requirements includes all minor NSR requirements incorporated in a SIP or
federal implementation plan.

      212. Entry of this Consent Decree shall resolve the civil claims of the United States and the
State Co-Plaintiffs for the violations alleged in the Complaint and the specific provisions set
forth in Paragraphs 213-221 below.

     213. Resolution of Claims for Violations of Requirements at Covered Flares.

           a. Violations of PSD and NNSR Requirements at Covered Flares. With respect to
emissions of SO2, VOCs, CO and H2S from Covered Flares, entry of this Consent Decree shall
resolve the civil claims of the United States and the State Co-Plaintiffs against Settling
Defendants for violations of the PSD and NNSR Requirements at Covered Flares resulting from
any construction or modification occurring prior to the Date of Lodging for the time periods set
forth in the following table:

  Covered Refinery         Dates of Release

  Anacortes                Date of construction or modification through October 1, 2017.

  Kapolei                  Date of construction or modification through October 1, 2017.

  Kenai                    Date of construction or modification through October 1, 2017.

  Mandan                   Date of construction or modification through October 1, 2017.

  Martinez                 Date of construction or modification through October 1, 2017.

  Salt Lake City           Date of construction or modification through October 1, 2017.


           b. Resolution of Claims for Violations of Listed Regulations at the Covered Flares.
With respect to emissions of the following pollutants at Covered Flares, entry of this Consent
Decree shall resolve the civil claims of the United States and the State Co-Plaintiffs against
Settling Defendants for violations of regulations listed below that commenced prior to the Date
of Lodging, and any applicable state regulations that implement, adopt, or incorporate any of the
listed regulations, from the date the claim accrued through the date indicated on the following
table:




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Pollutant              Regulation(s)                                      End Date of
                                                                          Release
SO2 and H2S     40 C.F.R. Part 60, Subparts A and J.                      November 11,
                                                                          2015.
SO2 and H2S     40 C.F.R. Part 60, Subpart Ja.                            November 11,
                                                                          2015.



VOCs and        BTU/scf Flared Gas Requirements:                            Date of Lodging.
HAPs            40 C.F.R. § 60.18(c)(3)(ii);
                40 C.F.R. § 63.11(b)(6(ii);
                40 C.F.R. §§ 60.482-10(d), 60.482-10a(d), but only to
                the extent that these provisions require compliance with
                40 C.F.R. §§ 60.18(c)(3)(ii);
                40 C.F.R. §§ 60.592(a), 60.592a(a), but only to the
                extent that these provisions: (a) relate to Flares, and (b)
                require compliance with 40 C.F.R. § 60.18(c)(3)(ii);
                40 C.F.R. § 63.643(a)(1), but only to the extent that this
                provision requires compliance with 40 C.F.R. §
                63.11(b)(6)(ii);
                40 C.F.R. § 63.648(a), but only to the extent that this
                provision: (1) relates to Flares; and (2) requires
                compliance with 40 C.F.R. § 60.18(c)(3)(ii);
                40 C.F.R. § 61.349(a)(2)(iii), but only to the extent that
                this provision requires compliance with 40 C.F.R. §
                60.18(c)(3(iii);
                40 C.F.R. § 63.1566(a)(1)(i) and Table 15, but only to
                the extent that these provisions: (1) relate to Flares; and
                (2) require compliance with 40 C.F.R. § 63.11(b)(6)(ii);
                and
                40 C.F.R. § 63.113(a)(1)(i), but only to the extent that
                this provision requires compliance with 40 C.F.R. §
                63.11(b)(6)(ii).




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Pollutant              Regulation(s)                                          End Date of
                                                                              Release
VOCs and        General Flare Requirements:                                   Date of Lodging
HAPs            40 C.F.R. § 60.18(c)(1) and 40 C.F.R. § 63.11(b)(4)
(continued)     (both relate to a prohibition on Visible Emissions);
                40 C.F.R. § 60.18(c)(2) and 40 C.F.R. § 63.11(b)(5)
                (both relate to flame presence);
                40 C.F.R. §§ 60.18(c)(4) and
                40 C.F.R. 63.11(b)(7) (both relate to exit velocity
                requirements for Steam Assisted Flares); and
                40 C.F.R. § 60.18(e) and 40 C.F.R. § 63.11(b)(3) (both
                relate to operation during emissions venting).

                Good Air Pollution Control Practice Requirements:
                40 C.F.R. § 60.11(d);
                40 C.F.R. § 61.12(c);
                40 C.F.R. § 63.6(e)(1)(i);
                40 C.F.R. Part 63, Subpart CC, Table 6, but only to the
                extent that Table 6 requires compliance with 40 C.F.R.
                § 63.6(e)(1)(i); and
                40 C.F.R. Part 63, Subpart UUU, Table 44, but only to
                the extent that Table 44 requires compliance with 40
                C.F.R. § 63.6(e)(1).

                Requirements Related to Monitoring, Operation, and
                Maintenance According to Flare Design:
                40 C.F.R. § 60.18(d);
                40 C.F.R. § 63.11(b)(1);
                40 C.F.R. §§ 60.482-10(d), 60.482-10a(d), but only to
                the extent that these provisions require compliance with
                40 C.F.R. § 60.18(d);
                40 C.F.R. §§ 60.482-10(e), 60.482-10a(e), but only to
                the extent that these provisions relate to Flares;
                40 C.F.R. §§ 60.592(a), 60.591a(a), but only to the
                extent that these provisions: (1) relate to Flares; and (2)
                require compliance with 40 C.F.R. § 60.18(d);
                40 C.F.R. § 63.643(a)(1), but only to the extent that this
                provision requires compliance with 40 C.F.R. §
                63.11(b)(1);
                40 C.F.R. § 63.648(a), but only to the extent that this
                provision: (1) relates to Flares; and (2) requires
                compliance with 40 C.F.R. § 60.18(d); and
                40 C.F.R. § 63.1566(a)(1)(i) and Table 15, but only to
                the extent that this provision: (1) relates to Flares; and
                (2) requires compliance with 40 C.F.R. § 63.11(b)(1).

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           c. Resolution of Post-Lodging Claims Under Listed Regulations at Covered Flares.
With respect to emissions of VOCs and HAPs at Covered Flares, entry of this Consent Decree
shall resolve the civil claims of the United States and State Co-Plaintiffs against Settling
Defendants for violations of the regulations listed in Paragraph 213.c.i below through the dates
indicated in Paragraph 213.c.ii below but only to the extent that these claims are based on
Settling Defendants’ use of too much steam in relation to Vent Gas flow:

               i.    Listed Regulations.

 40 C.F.R. § 60.18(d);
 40 C.F.R. § 63.11(b)(1);
 40 C.F.R. §§ 60.482-10(d), 60.482-10a(d), but only to the extent that these provisions
 require compliance with 40 C.F.R. § 60.18(d);
 40 C.F.R. §§ 60.482-10(e), 60.482-10a(e), but only to the extent that these provisions relate
 to Flares;
 40 C.F.R. §§ 60.592(a), 60.591a(a), but only to the extent that these provisions: (1) relate to
 Flares; and (2) require compliance with 40 C.F.R. § 60.18(d);
 40 C.F.R. § 63.643(a)(1), but only to the extent that this provision requires compliance with
 40 C.F.R. § 63.11(b)(1);
 40 C.F.R. § 63.648(a), but only to the extent that this provision: (1) relates to Flares; and (2)
 requires compliance with 40 C.F.R. § 60.18(d); and
 40 C.F.R. § 63.1566(a)(1)(i) and Table 15, but only to the extent that this provision: (1)
 relates to Flares; and (2) requires compliance with 40 C.F.R. § 63.11(b)(1).

               ii.   Dates of Release.

  Covered Refinery         End Date of Release

  Anacortes                October 1, 2017.

  Kapolei                  October 1, 2017.

  Kenai                    October 1, 2017.

  Mandan                   October 1, 2017.

  Martinez                 October 1, 2017.

  Salt Lake City           October 1, 2017.


    214. Resolution of Claims for Violation of LDAR Requirements. Entry of this Consent
Decree shall resolve the civil claims of the United States and the State Co-Plaintiffs against




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Settling Defendants for violations of LDAR Requirements that occurred during the time period
set forth in the table below for each Covered Process Unit at each Covered Refinery.

 Refinery                                         Dates of Release

 Anacortes                                       January 1, 2006 through the LDAR Audit
                                                 Completion Date and related corrective
                                                 actions as set forth in Paragraph 82 of this
                                                 Consent Decree, provided that Settling
                                                 Defendant identifies any such violation of
                                                 LDAR Requirements in its summary of
                                                 LDAR audit results in a Compliance Status
                                                 Report required under Paragraph 108.g and
                                                 corrects such violation as required by
                                                 Paragraphs 81-82.
 Kapolei                                         January 1, 2006 through the LDAR Audit
                                                 Completion Date and related corrective
                                                 actions as set forth in Paragraph 82 of this
                                                 Consent Decree, provided that Settling
                                                 Defendant identifies any such violation of
                                                 LDAR Requirements in its summary of
                                                 LDAR audit results in a Compliance Status
                                                 Report required under Paragraph 108.g and
                                                 corrects such violation as required by
                                                 Paragraphs 81-82.
 Kenai                                           January 1, 2006 through the LDAR Audit
                                                 Completion Date and related corrective
                                                 actions as set forth in Paragraph 82 of this
                                                 Consent Decree, provided that Settling
                                                 Defendant identifies any such violation of
                                                 LDAR Requirements in its summary of
                                                 LDAR audit results in a Compliance Status
                                                 Report required under Paragraph 108.g and
                                                 corrects such violation as required by
                                                 Paragraphs 81-82.
 Mandan                                          January 1, 2006 through the Date of
                                                 Lodging.
 Martinez                                        January 1, 2006 through the Date of
                                                 Lodging.
 Salt Lake City                                  January 1, 2006 through the Date of
                                                 Lodging.




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     215. Resolution of Claims for Other Violations at the Anacortes Refinery.

            a. With respect to emissions of the following pollutants from those process units at
the Anacortes Refinery listed in the table below, entry of this Consent Decree shall resolve the
civil claims of the United States and the Northwest Clean Air Agency against Tesoro Refining &
Marketing Company LLC and Tesoro Logistics L.P. for violations of those regulations listed in
the table below, and any applicable state regulations that implement, adopt, or incorporate any of
the listed regulations, that occurred during the time period listed in the table below.

Process Unit    Pollutant(s)    Regulations                         Dates of Release
Heater F-201    SO2 (H2S)       Combusting Fuel Gas                 January 1, 1981 through
                                containing H2S in excess of 230     January 1, 2016.
                                milligrams per dry standard
                                cubic meter in violation of
                                40 C.F.R. § 60.104(a)(1).

Heater F-201    N/A             Failure to calibrate, maintain,     January 1, 1981 through
                                operate CMS, NSPS A & J,            January 1, 2016.
                                40 C.F.R. §§ 60.13(e) and
                                60.105(a).

Heater F-201    N/A             Failure to submit an initial        January 1, 1981 through
                                notification and periodic reports   January 1, 2016.
                                as required by 40 C.F.R.
                                §§ 60.7 and 60.107.


           b. Entry of this Consent Decree shall resolve all civil liability of Tesoro Refining &
Marketing Company LLC and Tesoro Logistics L.P. to the United States and Northwest Clean
Air Agency for alleged violations of Benzene Waste NESHAP Requirements at the Anacortes
Refinery that: (i) commenced and ceased prior to the Date of Entry; or (ii) are based on events
identified in the BWON Compliance Review and Verification Report required under Paragraph
13.d above and are corrected pursuant to the requirements of Paragraph 13.f above.

     216. Resolution of Claims for Other Violations at the Kapolei Refinery.

           a. With respect to emissions of the following pollutants from those process units at
the Kapolei Refinery listed in the table below, entry of this Consent Decree shall resolve the civil
claims of the United States and the State of Hawaii against Par and Tesoro Logistics L.P. for
violations of those regulations listed in the table below, and any applicable state regulations that
implement, adopt, or incorporate any of the listed regulations, that occurred during the time
period listed in the table below.




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Process Unit   Pollutant(s)   Regulation                                Dates of Release
Kapolei SRP    SO2            Emissions containing SO2 in excess        November 1, 2007
                              of 250 ppmvd, NSPS Subpart J, 40          through the Date of
                              C.F.R. § 60.104(a)(2)(i).                 Lodging for Stack H1391;
                                                                        November 1, 2007
                                                                        through October 1, 2016
                                                                        for Stack H1353.
Kapolei SRP    N/A            Failure to calibrate, maintain, operate   July 1, 2006 through the
                              SO2 CEMS, NSPS Subparts A & J,            Date of Lodging.
                              40 C.F.R. §§ 60.13(e) and
                              60.105(a)(5).
FGCDs          N/A            Failure to calibrate, maintain, operate   March 1, 2006 through the
except                        H2S CMS, NSPS A & J, 40 C.F.R.            Date of Lodging.
Covered                       §§ 60.13(e) and 60.105(a)(3)-(4).
Flares
Tank 106       N/A            Failure to operate floating roof on       January 1, 2007 through
                              liquid surface, NESHAP Subpart CC,        December 31, 2007.
                              40 C.F.R. § 63.646(a).
Tank 107       N/A            Failure to operate floating roof on       January 1, 2008 through
                              liquid surface, NSPS Subpart Kb,          June 30, 2008.
                              40 C.F.R. § 60.112b(a)(2)(iii), and
                              NESHAP Subpart CC, 40 C.F.R.
                              § 63.640(n).
Tank 106       N/A            Failure to maintain automatic bleeder     September 1, 2008
                              vents closed at all times when roof is    through May 31, 2009.
                              floating, NESHAP Subpart CC,
                              40 C.F.R. § 63.646(f)(3).
Tank 611       N/A            Failure to maintain automatic bleeder     June 1, 2007 through
                              vents closed at all times when roof is    August 31, 2007.
                              floating, NSPS Subpart Kb, 40
                              C.F.R. § 60.112b(a)(1)(v), and
                              NESHAP Subpart CC, 40 C.F.R.
                              §63.640(n).
Tank 3526      N/A            Failure to maintain automatic bleeder     October 1, 2006 through
                              vents closed at all times when roof is    February 28, 2007.
                              floating, NSPS Subpart Kb, 40
                              C.F.R. § 60.112b(a)(2)(ii), and
                              NESHAP Subpart CC, 40 C.F.R. §
                              63.647(a).
Tanks 202,     N/A            Failure to maintain automatic bleeder     January 1, 2010 through
204, and 405                  vents closed at all times when roof is    December 31, 2010.
                              floating, NESHAP Subpart CC,
                              40 C.F.R. § 63.646(f)(3).



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Process Unit    Pollutant(s)     Regulation                               Dates of Release
Tanks 107       N/A              Failure to maintain cover/lid on         January 1, 2007 through
and 110                          opening in floating roof in closed       December 31, 2008.
                                 position, NSPS Subpart Kb, 40
                                 C.F.R. § 60.112b(a)(2)(ii), NESHAP
                                 Subpart CC, 40 C.F.R. § 63.640(n),
                                 and, for Tank 110 only, § 63.647(a).
Tank 510        N/A              Failure to maintain cover/lid on         August 1, 2006 through
                                 opening in floating roof in closed       July 31, 2007.
                                 position, NESHAP Subpart CC,
                                 40 C.F.R. § 63.646(f)(1).

           b. With respect to emissions of SO2 and NOx at the Kapolei Refinery, entry of this
Consent Decree shall resolve the civil claims of the United States and the State of Hawaii against
Par and Tesoro Logistics L.P. for violations of the PSD Requirements occurring from January 1,
1986 through January 1, 2018, resulting from any construction or modification that both:
(i) occurred between January 1, 1986, and December 31, 1991; and (ii) has as a documented
purpose an increase of production capacity at the Kapolei Refinery.

      217. Resolution of Claims for Other Violations at the Kenai Refinery. With respect to
emissions of the following pollutants from those process units at the Kenai Refinery listed in the
table below, entry of this Consent Decree shall resolve the civil claims of the United States and
the State of Alaska against Tesoro Alaska Company LLC, and Tesoro Logistics L.P. for
violations of those regulations listed in the table below, any applicable state regulations or permit
conditions listed in the table below (or succeeding Kenai Refinery AOP condition(s) if
applicable), that implement, adopt, or incorporate any of the listed regulations, that occurred
during the time period listed in the table below.

Process Unit   Pollutant Regulation                                  Dates of Release
SRU, DDU,      N/A       Failure to comply with 40 C.F.R. § 60.7(a). December 1, 2005
and Heaters                                                          through March 31,
                                                                     2007.
FGCDs except N/A         Combustion of Fuel Gas containing H2S in October 1, 2004
Covered                  excess of 230 milligrams per dry standard   through Date of
Flares                   cubic meter (mg/dscm) at 27 FGCDs in        Lodging.
                         violation of NSPS Subpart J, 40 C.F.R. §
                         60.104(a)(1).
FGCDs except N/A         Failure to calibrate, maintain, operate     February 1, 2005
Covered                  CMS, NSPS A & J, 40 C.F.R. §§ 60.13(e) through July 31, 2009.
Flares                   and 60.105(a).
Stationary Gas N/A       Failure to use approved ASTM test method July 1, 2003 through
Turbines                 for fuel analysis in violation of NSPS      February 29, 2008.
                         Subpart GG, 40 C.F.R. § 60.335.




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Process Unit    Pollutant Regulation                                    Dates of Release
Carbon          N/A       Failure to measure emissions from carbon      February 1, 2006
Canisters and             canister controls using specified methods     through June 30, 2010.
Closed Vent               as required by NSPS Subpart QQQ, 40
Systems                   C.F.R. §§ 60.696(b)(2) and 60.697(a).
Carbon          N/A       Failure to keep records as required by        April 1, 2006 through
Canisters and             NSPS Subpart QQQ, 40 C.F.R.                   October 31, 2006.
Closed Vent               §§ 60.697(a) and (f).2 and AOP Condition
Systems                   42.
Wastewater      N/A       Failure to install secondary tank seals as    April 1, 2002 through
Tank 96                   required by NSPS Subpart QQQ, 40 C.F.R.       September 30, 2007.
                          § 60.693-2(a)(1).
Wastewater      N/A       Failure to inspect tanks semi-annually as     July 1, 2003 through
Tanks 04A,                required by NSPS Subpart QQQ, 40 C.F.R.       March 31, 2008.
04B, 96                   § 60.693-2(a)(1)(iv)(5)(i).
API Canals      N/A       Failure to maintain roof openings closed at   June 1, 2009 through
                          all times when not in use as required by      December 31, 2013.
                          NSPS Subpart QQQ, 40 C.F.R. § 60.693-
                          2(a)(2).
API Canals      N/A       Failure to equip all tank access hatches      January 1, 2006
                          with gaskets and latches as required by       through December 31,
                          NSPS Subpart QQQ, 40 C.F.R. § 60.692-         2013.
                          3(a)(3).
VU Drain        N/A       Failure to use control device at all times    October 5, 2010
System                    when emissions from the VU drain system       through October 11,
                          were vented to it, as required by 40 C.F.R.   2010.
                          § 60.692-5(d).
SRU             SO2       SRU emissions in excess of 250 ppmvd          January 1, 2005
                          SO2 at 0% excess air in violation of          through November 30,
                          NESHAP Subpart UUU, 40 C.F.R.                 2010.
                          § 63.1568(a)(1) and Table 29.
SRU             N/A       Failure to install, calibrate, operate, and   April 1, 2005 through
                          maintain a CEMS as required by NESHAP         December 31, 2005.
                          Subpart UUU, 40 C.F.R. § 63.1572 and
                          Table 31.
SRU             N/A       Failure to submit Relative Accuracy Test      June 1, 2007 through
                          Audit as required by NESHAP Subpart           June 30, 2007.
                          UUU Table 40, Item 4 and 40 C.F.R. Part
                          60 Performance Specification 2.
Heaters and     SO2       SO2 sources burning gas in excess of the      June 1, 2005 through
Boilers and               concentration of uncontrolled emissions       Date of Lodging.
SRU Flare                 that would result from burning gas
                          containing 230 mg/dscm H2S in violation
                          of Title V Permit Condition 5.


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Process Unit   Pollutant Regulation                                      Dates of Release
SRU            N/A       Failure to include in semiannual Facility       August 1, 2005 through
                         Operating Report a weekly mean sulfur           June 30, 2006.
                         dioxide concentration to nearest 5 ppm and
                         the mean mass emission rate in lb/hr, and
                         the semiannual standard deviation of the
                         concentration as required by Title V Permit
                         Condition 8.4(c).
6 heaters      N/A       Exceedance of limit of percent of oxygen        April 1, 2006 through
(Source ID               content in the exhaust gas from certain         November 30, 2010.
numbers 6-11)            heaters and boilers in violation of Title V
                         Permit Condition 9, Table 2 and Condition
                         10.1.
Surface        BTX       Failure to comply with BTX emissions            July 1, 2005 through
Impoundment (benzene, limit from the Surface Impoundment Air             March 31, 2007.
Air Stripper   toluene,  Stripper of 0.24 mg/sec and
and Phillips / xylene)   Phillips/Marathon Air Stripper of 0.94
Marathon Air             mg/sec as required by Title V Permit
Stripper                 Condition 11.
Thermal        N/A       Failure to maintain minimum temperature         August 1, 2006 through
Oxidation                of 1500 F in combustion chamber of              March 31, 2007.
Unit and                 Thermal Oxidation Unit or to shut down
Phillips/Marat           Phillips/Marathon Air Stripper or route
hon Air                  exhaust gas elsewhere, as required by Title
Stripper                 V Permit Condition 11.2.
Thermal        N/A       Failure to continuously monitor                 August 1, 2006 through
Oxidation                temperature in the combustion chamber of        March 31, 2007.
Unit and                 the Thermal Oxidation Unit on the
Phillips/Marat           Phillips/Marathon Air Stripper to ensure
hon Air                  compliance with Title V Permit Condition
Stripper                 11.2a, as required by Condition 11.3.




Thermal          N/A       Failure to conduct monthly monitoring of      May 1, 2009 through
Oxidation                  BTX concentrations at the inlet for the       May 31, 2009.
Unit and                   Thermal Oxidation Unit on the
Phillips/Marat             Phillips/Marathon Air Stripper, as required
hon Air                    by Title V Permit Condition 11.4.
Stripper




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Process Unit     Pollutant Regulation                                       Dates of Release
Thermal          N/A       Failure to report non-compliance with Title      August 1, 2006 through
Oxidation                  V Permit Conditions, as required by              August 31, 2006.
Unit and                   Condition 11.7.
Phillips/Marat
hon Air
Stripper
Air Strippers    N/A        Failure to maintain records of BTX              January 1, 2007
                            emission monitoring from air strippers as       through February 28,
                            required by the approved Quality                2007.
                            Assurance Plan developed for the process
                            monitoring requirements described in Title
                            V Permit Conditions 7.2, 8, 10, 11, 34.2,
                            and 36 in violation of Title V Permit
                            Condition 12.
North and        N/A        Failure to record start and stop times and      July 1, 2006 through
South                       dates for North Cummins NHS6-1F (P-             January 31, 2008.
Cummins                     708A) and South Cummins NHS6-1F (P-
Engines                     708B) engines as required by Title V
                            Permit Condition 15.1.
Stationary Gas N/A          Failure to operate the GT-1400 and GT-          July 1, 2005 through
Turbines                    1410 stationary gas turbines with a water       December 31, 2006.
                            injection rate of not less than 0.8 pounds of
                            water per pound of fuel (whether natural
                            gas, LPG or diesel) when sources operate
                            at loads greater than 2.5 megawatts as
                            required by Title V Permit Condition 34.2.
                 N/A        Failure to certify all reports, compliance      January 1, 2006
                            certifications, or other documents              through March 31,
                            submitted to ADEC, as required by Title V       2009.
                            Permit Condition 78.
                 N/A        Failure to report unavoidable emergency,        January 1, 2005
                            Malfunction, or non-routine repair that         through April 30, 2010.
                            causes emissions in excess of a
                            technology-based emission standard within
                            two Working Days of the event; and all
                            other excess emissions and permit
                            deviations within 30 Days of the end of the
                            month in which the emissions or deviation
                            occurs as required by Title V Permit
                            Condition 82.1.




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      218. Resolution of Claims for Other Violations at the Mandan Refinery. With respect to
emissions of the following pollutants from those process units at the Mandan Refinery listed in
the table below, entry of this Consent Decree shall resolve the civil claims of the United States
against Tesoro Refining & Marketing Company LLC and Tesoro Logistics L.P. for violations of
those regulations listed in the table below, and any applicable state regulations that implement,
adopt, or incorporate any of the listed regulations, that occurred during the time period listed in
the table below.

Process Unit    Pollutant      Regulation                           Dates of Release
Mandan          PM             Exceedance of metal HAP              January 1, 2007 through Date of
FCCU                           emissions limit in 40 C.F.R.         Lodging.
                               63.1564(a)(1).
FGCDs           N/A            Failure to calibrate, maintain,      July 1, 2009 through Date of
except Flares                  operate H2S CMS, NSPS A & J,         Lodging.
                               40 C.F.R. §§ 60.13(e) and
                               60.105(a).

     219. Resolution of Claims for Other Violations at the Martinez Refinery.

           a. With respect to emissions of the following pollutants from those process units at
the Martinez Refinery listed in the table below, entry of this Consent Decree shall resolve the
civil claims of the United States against Tesoro Refining & Marketing Company LLC and
Tesoro Logistics L.P. for violations of those regulations listed in the table below, and any
applicable state regulations that implement, adopt, or incorporate any of the listed regulations,
that occurred during the time period listed in the table below.

Process         Pollutant(s)   Regulation(s)                         Dates of Release
Unit
Martinez        CO             Exceedance of 121.9 tons per year     January 1, 2006 through
FCCU                           CO emissions limit in the Martinez    October 1, 2015.
                               Refinery Title V Permit
                               (Condition 11433).
Martinez        Acid Mist,     40 C.F.R. Part 60, Subparts A and     Date of pre-lodging
SAP             Opacity,       H.                                    construction, reconstruction, or
                SO2                                                  modification through January
                                                                     1, 2016.

            b. Resolution of Claims for Violations of PSD and NNSR Requirements at the
Martinez Refinery. With respect to emissions of the following pollutants from those process
units at the Martinez Refinery listed in the table below, entry of this Consent Decree shall
resolve the civil claims of the United States against Tesoro Refining & Marketing Company LLC
and Tesoro Logistics L.P. for violations of the PSD and NNSR Requirements resulting from the
constructions or modifications specified in the table below resulting in violations occurring
during the time period set forth in the table below.



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Process        Pollutant    Construction or Modification              Dates of Release
Unit
Delayed        H2S          Construction of new delayed coker in      January 1, 2006 through
Coker                       2006 in violation of PSD                  October 1, 2015.
                            Requirements.
               POC          Construction of new delayed coker in
                            2006 in violation of NNSR
                            Requirements.
Martinez       SO2          Physical and/or operational changes       Date of pre-lodging
SAP                         that occurred at the Martinez SAP         construction or modification
                            prior to the Date of Lodging in           through January 1, 2016.
                            violation of PSD Requirements.

           c. Resolution of Claims for Consent Decree Violations at the Martinez Refinery.
Entry of this Consent Decree shall resolve the civil claims of the United States against Tesoro
Refining & Marketing Company LLC and Tesoro Logistics L.P. for the following violations
regarding the following pollutants and process units at the Martinez Refinery of the Consent
Decree entered on November 23, 2005, in United States, et al. v. Valero Refining Co., et al.,
Civil Action No. SA05CA0569 (W.D. Texas) through the dates indicated on the following table.

Process        Pollutant    Alleged CD Violation                                Dates of Release
Unit
Martinez       SO2          Failure to re-route Martinez SRP Sulfur Pit         December 31, 2006
SRP                         emissions to eliminate emissions or route to SRP    through January 1,
                            and subject to NSPS Subpart J Limit as required     2016.
                            by Paragraph 226 of the 2005 Martinez Consent
                            Decree.
Martinez       NOx          Failure to comply with 365-day limit in             November 30, 2007
FCCU                        Paragraph 35 of the 2005 Martinez Consent           through October 1,
                            Decree.                                             2015.
Martinez       NOx          Failure to comply with 7-day limit in Paragraph     October 6, 2006
FCCU                        35 of the 2005 Martinez Consent Decree.             through October 1,
                                                                                2015.

     220. Resolution of Other Claims for Violations at the Salt Lake City Refinery.

            a. With respect to emissions of the following pollutants from those process units at
the Salt Lake City Refinery listed in the table below, entry of this Consent Decree shall resolve
the civil claims of the United States against Tesoro Refining & Marketing Company LLC and
Tesoro Logistics L.P. for violations of those regulations listed in the table below, and any
applicable state regulations that implement, adopt, or incorporate any of the listed regulations,
that occurred during the time period listed in the table below.




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Process Unit       Pollutant(s)       Regulation(s)                       Dates of Release
SLC FCCU           CO and PM          40 C.F.R. Part 60, Subparts A, J    January 1, 2007 through the Date
                                      and Ja arising from any physical    Compliance is required under
                                      and/or operational changes that     Paragraphs 62-63 of this Consent
                                      occurred prior to the Date of       Decree.
                                      Lodging.
SLC FCCU           NOx and SO2        40 C.F.R. Part 60 Subparts A, J     January 1, 2007 through January
                                      and Ja arising from any physical    1, 2018.
                                      and/or operational changes that
                                      occurred prior to the Date of
                                      Lodging.

            b. With respect to emissions of the following pollutants from those process units at
the Salt Lake City Refinery listed in the table below, entry of this Consent Decree shall resolve
the civil claims of the United States against Tesoro Refining & Marketing Company LLC and
Tesoro Logistics L.P. for violations occurring during the time period set forth in the table below
of the PSD Requirements and NNSR Requirements resulting from the constructions or
modifications specified in the table below.

Process        Pollutant     Construction or Modification                Dates of Release
Unit
SLC FCCU       NOx and       2007 FCCU reliability project and           January 1, 2007 through
               SO2           turnaround.                                 January 1, 2018.
SLC FCCU       CO            Spring 2013 maintenance and repair on       January 1, 2013 through the
                             CO boiler project.                          Date Compliance is required
                                                                         under Paragraphs 62-63.

      221. Resolution of Title V Claims. Entry of this Consent Decree shall resolve the civil
claims of the United States and the State Co-Plaintiffs against Settling Defendants for the
violations at the Covered Refineries of Sections 502(a), 503(c), and 504(a) of the CAA,
42 U.S.C. §§ 7661a(a), 7661b(c), 7661c(a), and of 40 C.F.R. §§ 70.1(b), 70.5(a) and (b), 70.6(a)
and (c), and 70.7(b), that are based upon the violations resolved by Paragraphs 212-220 above
for the same pollutants, projects, process units, and time frames set forth in those Paragraphs.

     222. Reservation of Rights: Certain Resolution of Liability for Post Date of Lodging
Violations in Paragraphs 212 to 221 Above Can be Rendered Void. Notwithstanding the
resolutions of liability for violations after the Date of Lodging contained in Paragraphs 212-221
above, those resolutions of liability shall be rendered void if a Settling Defendant materially fails
to comply with any of the obligations and requirements of:

          Section V.A (Anacortes Refinery Requirements)

          Section V.B (Kapolei Refinery Requirements)

          Section V.E (Martinez Refinery Requirements)


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           Section V.F (SLC Refinery Requirements)

           Section VI.A (Leak Detection and Repair (LDAR) Program Enhancements)

           Section VI.B (Requirements for Control of Flaring Events)

           Section VII (Survival of Consent Decree Requirements)

           Section VIII (Emission Credit Generation)

          a. To the extent that a material failure to comply with any of the obligations and
requirements involves a particular Covered Refinery, the resolution of liability shall be rendered
void only with respect to the related claims at that particular Covered Refinery.

          b. The resolutions of liability for violations after the Date of Lodging in Paragraphs
212-221 above shall not be rendered void if Settling Defendants remedy such material failure as
expeditiously as practicable and pay all stipulated penalties due as a result of such material
failure.

      223. The United States and State Co-Plaintiffs further reserve all legal and equitable
remedies available to enforce the provisions of this Consent Decree. This Consent Decree shall
not be construed to limit the rights of the United States or State Co-Plaintiffs to obtain penalties
or injunctive relief under the CAA or regulations promulgated thereunder, or under other federal
or state laws, regulations, or permit conditions, except as expressly specified in Paragraphs 212-
221 above. The United States and State Co-Plaintiffs further reserve all legal and equitable
remedies to address any imminent and substantial endangerment to the public health or welfare
or the environment arising at, or posed by, Settling Defendants’ Covered Refineries, whether
related to the violations addressed in this Consent Decree or otherwise.

      224. Prior NSPS Applicability Determinations. Nothing in this Consent Decree shall affect
the status of any FCCU, FGCD, or Sulfur Recovery Plant currently subject to NSPS as
previously determined by any federal, state, or local authority, or any applicable permit.

      225. In any subsequent administrative or judicial proceeding initiated by the United States
or State Co-Plaintiffs for injunctive relief, civil penalties, and/or other appropriate relief relating
to the Covered Refineries for violations of PSD, NNSR, NSPS, NESHAP, LDAR, Title V, or
state law requirements incorporating the foregoing federal requirements not identified in this
Section:

          a. Settling Defendants shall not assert, and may not maintain, any defense or claim
based upon the principles of waiver, res judicata, collateral estoppel, issue preclusion, claim
preclusion, claim-splitting, or other defenses based upon any contention that the claims raised by
the United States or State Co-Plaintiffs in the subsequent proceeding were or should have been
brought in the instant case, except with respect to claims that have been specifically resolved
pursuant to Paragraphs 212-221 above of this Section and for which the resolution of liability has
not been voided pursuant to Paragraph 222.a above.


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            b. Except as set forth in Paragraph 225.a above, the United States and the State Co-
Plaintiffs may not assert or maintain that this Consent Decree constitutes a waiver, or
determination of, or otherwise obviates, any claim or defense by Settling Defendants whatsoever,
or that this Consent Decree constitutes an acceptance by Settling Defendants of any
interpretation or guidance issued by EPA related to the matters addressed in this Consent Decree.

     226. This Consent Decree is not a permit, or a modification of any permit, under any
federal, State, or local laws or regulations. Settling Defendants are responsible for achieving and
maintaining complete compliance with all applicable federal, State, and local laws, regulations,
and permits; and Settling Defendants’ compliance with this Consent Decree shall be no defense
to any action commenced pursuant to any such laws, regulations, or permits, except as set forth
herein. The United States and the State Co-Plaintiffs do not, by their consent to the entry of this
Consent Decree, warrant or aver in any manner that Settling Defendants’ compliance with any
aspect of this Consent Decree will result in compliance with provisions of the Act, 42 U.S.C.
§ 7401 et seq., or with any other provisions of federal, State, or local laws, regulations, or
permits.

      227. Nothing in this Consent Decree shall be construed to limit or disqualify Settling
Defendants, on the grounds that information was not discovered voluntarily, from seeking to
apply EPA’s Audit Policy to any violation or non-compliance that Settling Defendants discover
during the course of any audit, investigation, or enhanced monitoring that Settling Defendants
are required to undertake pursuant to this Consent Decree.

     228. Imminent and Substantial Endangerment. Nothing in this Consent Decree shall be
construed to limit the authority of the United States and Applicable State Co-Plaintiffs to
undertake any action against any person to abate or correct conditions which may present an
imminent and substantial endangerment to the public health, welfare, or the environment.

     229. This Consent Decree does not limit or affect the rights of Settling Defendants, the
United States, or State Co-Plaintiffs against any third parties that are not party to this Consent
Decree, nor does it limit the rights of third parties that are not party to this Consent Decree
against Settling Defendants, except as otherwise provided by law.

     230. This Consent Decree shall not be construed to create rights in, or grant any cause of
action to, any third party not party to this Consent Decree.

                             XVIII. GENERAL PROVISIONS

     231. Other Laws. Except as specifically provided by this Consent Decree, nothing in this
Consent Decree shall relieve Settling Defendants of their obligation to comply with all
applicable federal, state, regional, and local laws, regulations, and permits, including but not
limited to more stringent standards. In addition, nothing in this Consent Decree shall be
construed to prohibit or prevent the United States or the State Co-Plaintiffs from developing,
implementing, and enforcing more stringent standards subsequent to the Date of Lodging of this
Consent Decree through rulemaking, the permit process, or as otherwise authorized or required
under federal, state, regional, or local laws and regulations. Subject to Section XVII (Effect of

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Settlement/Reservation of Rights), Section XII (Stipulated Penalties), and Paragraph 233 (Permit
Violations) of this Consent Decree, nothing contained in this Consent Decree shall be construed
to prevent or limit the rights of the United States or the State Co-Plaintiffs to seek or obtain other
remedies or sanctions available under other federal, state, regional, or local statutes or
regulations, by virtue of Settling Defendants’ violations of this Consent Decree or of the statutes
and regulations upon which this Consent Decree is based, or for Settling Defendants’ violations
of any applicable provision of law. This will include any right the United States or the State
Co-Plaintiffs may have to invoke the authority of the Court to order Settling Defendants’
compliance with this Consent Decree in a subsequent contempt action. The requirements of this
Consent Decree do not exempt Settling Defendants from complying with any and all new or
modified federal, state, regional, and/or local statutory or regulatory requirements that may
require technology, equipment, monitoring, or other upgrades after the Date of Lodging of this
Consent Decree.

      232. Startup, Shutdown, and Malfunction. Notwithstanding the provisions of this Consent
Decree regarding Startup, Shutdown, and Malfunction, this Consent Decree does not exempt
Settling Defendants from the requirements of state laws and regulations or from the requirements
of any permits or plan approvals issued to Settling Defendants, as these laws, regulations,
permits, and/or plan approvals may apply to Startups, Shutdowns, and Malfunctions.

      233. Permit Violations. Except as set forth in Section XVII (Effect of
Settlement/Reservation of Rights) and subject to setoff for any Stipulated Penalties assessed
under Section XII (Stipulated Penalties), nothing in this Consent Decree shall be construed to
prevent or limit the right of the United States or the State Co-Plaintiffs to seek injunctive or
monetary relief for violations of permits.

      234. Failure of Compliance. The United States and the State Co-Plaintiffs do not, by their
consent to the entry of this Consent Decree, warrant or aver in any manner that Settling
Defendants’ complete compliance with this Consent Decree will result in compliance with the
provisions of the Clean Air Act, regulations promulgated thereunder or the corollary state and
local statutes, regulations, or permits. Notwithstanding the review or approval by EPA or an
Applicable State Co-Plaintiff of any plans, reports, policies, or procedures formulated pursuant
to this Consent Decree, Settling Defendants shall remain solely responsible for compliance with
the terms of this Consent Decree, all applicable permits, and all applicable federal, state,
regional, and local laws and regulations, except as provided in Section XIV (Force Majeure).

     235. Service of Process. Settling Defendants hereby agree to accept service of process by
mail with respect to all matters arising under or relating to this Consent Decree and to waive the
formal service requirements set forth in Rule 4 of the Federal Rules of Civil Procedure and any
applicable local rules of this Court, including but not limited to, service of a summons. The
persons identified by Settling Defendants in Section XIX (Notices) are authorized to accept
service of process with respect to all matters arising under or relating to this Consent Decree.

     236. Pre-Entry Obligations. Obligations of Settling Defendants under this Consent Decree
to perform duties scheduled to occur prior to the Date of Entry of this Consent Decree, shall be


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legally enforceable only on and after the Date of Entry of this Consent Decree. Liability for
stipulated penalties, if applicable, shall accrue for violation of such obligations and payment of
such stipulated penalties may be demanded by the United States or the Applicable State Co-
Plaintiff as provided in this Consent Decree, provided that the stipulated penalties that may have
accrued between the Day compliance is due and the Date of Entry of this Consent Decree may
not be collected unless and until this Consent Decree is entered by the Court.

      237. Costs. Each Party to this action shall bear its own costs and attorneys’ fees, except
that the State Co-Plaintiffs shall be entitled to collect permit administration fees as authorized by
state law for permits to be issued under this Consent Decree and Tesoro Alaska Company LLC
shall pay ADEC under AS 46.03.760 for all of the administrative fees, legal fees, costs, and
expenses incurred by the State of Alaska, including those of ADEC and the Alaska Department
of Law (“ADOL”), in connection with the detection, investigation, attempted correction, and
enforcement of the violations alleged above for the Kenai Refinery, including the preparation
and implementation of this Consent Decree, and any future review by ADEC or ADOL of any
proposed amendments, reports, notices, or submissions made pursuant to the provisions of this
Consent Decree. The provisions of Section XV (Dispute Resolution) shall not apply to any
administrative fees, costs, and expenses due under this Paragraph. Nothing in this Consent
Decree diminishes Tesoro’s right to appeal or request fee review under 18 AAC 15.190.

     238. Public Documents. All information and documents submitted by Settling Defendants
to EPA and the Applicable State Co-Plaintiffs pursuant to this Consent Decree shall be subject to
public inspection in accordance with the respective statutes and regulations that are applicable to
EPA and the Applicable State Co-Plaintiffs, unless subject to legal privileges or protection or
identified and supported as trade secrets or business confidential in accordance with the
respective state or federal statutes or regulations.

      239. Public Notice and Comment. The Parties agree to this Consent Decree and agree that
this Consent Decree may be entered upon compliance with the public notice procedures set forth
at 28 C.F.R. § 50.7, and upon notice to this Court from the United States Department of Justice
requesting entry of this Consent Decree. The United States and the Applicable State Co-
Plaintiffs reserve the right to withdraw or withhold their consent to this Consent Decree if public
comments disclose facts or considerations indicating that this Consent Decree is inappropriate,
improper, or inadequate.

     240. Opportunity for Comment by State Co-Plaintiffs. For all provisions of this Consent
Decree that provide for EPA approval or comment, the Applicable State Co-Plaintiff is entitled
to provide comments to EPA and to consult with EPA regarding the issue in question.

     241. Paperwork Reduction Act. The information required to be maintained or submitted
pursuant to this Consent Decree is not subject to the Paperwork Reduction Act of 1980,
44 U.S.C. §§ 3501 et.seq.

    242. Effect of Shutdown. The permanent Shutdown of a unit and the surrender of all
permits for that unit shall be deemed to satisfy all requirements of this Consent Decree


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applicable to that unit on and after the later of: (i) the date of the Shutdown of the unit; or (ii) the
date of the surrender of all permits. The permanent Shutdown of a Covered Refinery and the
surrender of all air permits related to operation as a refinery for that Covered Refinery shall be
deemed to satisfy all requirements of this Consent Decree applicable to that Covered Refinery.

      243. Integration. This Consent Decree constitutes the final, complete, and exclusive
agreement and understanding among the Parties with respect to the settlement embodied in the
Decree and supersedes all prior agreements and understandings, whether oral or written,
concerning the settlement embodied herein. No other document, nor any representation,
inducement, agreement, understanding, or promise, constitutes any part of this Consent Decree
or the settlement it represents, nor shall it be used in construing the terms of this Consent Decree.

     244. Agreement to Request Termination of Relevant Portions of the 2005 Martinez Consent
Decree and BP/Amoco Consent Decree. Tesoro and the United States agree that within sixty
(60) Days of the Date of Entry, they shall file a motion requesting termination of the 2005
Martinez Consent Decree and the BP/Amoco Consent Decree as to Tesoro and its obligations for
the Martinez Refinery, the SLC Refinery, and the Mandan Refinery.

                                        XIX.    NOTICES

     245. Each report, study, notification, or other communications between Parties to this
Consent Decree shall be submitted as specified in this Paragraph and Paragraphs 246-250 below.
Where this Consent Decree requires that notices and submissions are to be made to the “United
States” they shall be made to the U.S. Department of Justice, EPA Headquarters, and the EPA
regional office(s) for the Covered Refinery or Refineries the submission concerns. Where this
Consent Decree requires that notices and submissions are to be made to “EPA,” Settling
Defendants need not send copies to the U.S. Department of Justice. Where this Consent Decree
requires that notices and submissions are to be made to an Applicable State Co-Plaintiff or
Permitting Authority, they shall be submitted to the State Co-Plaintiff(s) and/or Permitting
Authority for the jurisdiction(s) in which the Covered Refinery or Refineries are located.

      246. Unless otherwise provided herein, notifications to or communications between the
Parties shall be deemed submitted on the date they are postmarked and sent by U.S. Mail,
postage pre-paid, or shipped by a delivery service with confirmation of delivery, except for
notices under Section XIV (Force Majeure) and Section XV (Dispute Resolution) which shall be
sent either by overnight mail or by certified or registered mail, return receipt requested.

      247. If the date for submission of a report, study, notification, or other communication falls
on a Saturday, Sunday, or legal holiday, the report, study, notification, or other communication
shall be deemed timely if it is submitted the next Working Day.

      248. Where an e-mail address is provided below, Settling Defendants may submit any
reports, notifications, certifications, or other communications required by this Consent Decree
electronically (other than submission of a permit application required by this Consent Decree,
payment of penalties under Section XI or Section XII and notices under Sections XIV and XV)
in lieu of submission by U.S. Mail. Electronic submissions shall be deemed submitted on the

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date they are transmitted electronically. Any report, notification, certification, or other
communication that cannot be submitted electronically shall be submitted in hard-copy as
provided in this Section XIX.

     249. Except as otherwise provided herein, all reports, notifications, certifications, or other
communications required or allowed under this Consent Decree to be submitted or delivered to
the United States, EPA, the State Co-Plaintiffs, and Settling Defendants shall be addressed as
follows:

       As to the United States:

       The Department of Justice
       Case No. DJ: 90-5-2-1-09512/1
       Chief, Environmental Enforcement Section
       Environment and Natural Resources Division
       U.S. Department of Justice
       P.O. Box 7611, Ben Franklin Station
       Washington, DC 20044-7611

       Overnight Address
       601 D. Street N.W.
       Washington, D.C. 20004

       EPA Headquarters
       Director, Air Enforcement Division
       Office of Civil Enforcement
       U.S. Environmental Protection Agency
       Mail Code 2242-A
       1200 Pennsylvania Avenue, N.W.
       Washington, D.C. 20460-0001

       And

       Director, Air Enforcement Division
       Office of Civil Enforcement
       c/o Eastern Research Group, Inc.
       14555 Avion Parkway, Suite 200
       Chantilly, VA 20151-1124

       and submitted electronically to:
       refinerycd@erg.com
       foley.patrick@epa.gov




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      EPA Regions

      Region 8:

      Director, Air and Toxics Technical Enforcement Program
      Mail Code ENF-AT
      U.S. Environmental Protection Agency Region 8
      1595 Wynkoop Street
      Denver, CO 80202-1129

      Region 9:

      Manager, Air & TRI Section (ENF-2-1)
      Enforcement Division
      U.S. Environmental Protection Agency Region 9
      75 Hawthorne Street
      San Francisco, California 94105

      and submitted electronically to:
      mintz.tom@epa.gov

      Region 10:

      Manager, Air and RCRA Compliance Unit
      Office of Compliance and Enforcement
      Environmental Protection Agency Region 10
      1200 Sixth Avenue, Suite 900
      Mailcode OCE-101
      Seattle, WA 98101

      As to the State Co-Plaintiffs

      The State of Alaska

      Alaska Department of Environmental Conservation (Department)
      Air Permits Program
      610 University Ave.
      Fairbanks, AK 99709-3643
      ATTN: Compliance Technician.

      The State of Hawaii

      Clean Air Branch
      Environmental Management Division
      Hawaii Department of Health

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      (U.S. Mail Address)
      P.O. Box 3378
      Honolulu, HI 96801-3378

      (Overnight Address)
      919 Ala Moana Blvd.,
      Room 203,
      Honolulu, HI 96814

      Northwest Clean Air Agency:

      Director
      Northwest Clean Air Agency
      1600 South Second Street
      Mount Vernon, WA 98273

      As to Tesoro

      Stoney K. Vining
      Senior Counsel
      Tesoro Companies, Inc.
      19100 Ridgewood Parkway
      San Antonio, Texas 78259
      Stoney.K.Vining@TSOCorp.com

      Douglas B. Price
      Director, Environmental
      Tesoro Companies, Inc.
      19100 Ridgewood Parkway
      San Antonio, Texas 78259
      Douglas.B.Price@tsocorp.com

      As to Tesoro Logistics L.P.

      Stoney K. Vining
      Senior Counsel
      Tesoro Companies, Inc.
      19100 Ridgewood Parkway
      San Antonio, Texas 78259
      Stoney.K.Vining@TSOCorp.com

      Douglas B. Price
      Director, Environmental
      Tesoro Companies, Inc.

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       19100 Ridgewood Parkway
       San Antonio, Texas 78259
       Douglas.B.Price@tsocorp.com

       As to Par

       James Vaughan
       Senior Vice President and General Counsel
       Par Petroleum
       One Memorial Plaza
       800 Gessner Road
       Suite 875
       Houston, Texas 77024

       Thomas Weber
       Vice President
       Par Hawaii Refining, LLC
       91-325 Komohana Street
       Kapolei, Hawaii 96707

       Theodore K. Metrose
       Par Hawaii Refining, LLC
       91-325 Komohana Street
       Kapolei, Hawaii 96707

       250. Any Party may change either the notice recipient or the address for providing notices
to it by serving all other parties with a notice setting forth such new notice recipient or address.
In addition, the nature and frequency of reports required by this Consent Decree may be
modified by mutual consent of the Parties. The consent of the United States to such modification
shall be in the form of a written notification from EPA, but need not be filed with the Court to be
effective.

                                   XX.    MODIFICATION

      251. This Consent Decree contains the entire agreement of the Parties and shall not be
modified by any prior oral or written agreement, representation, or understanding. Non-material
modifications to this Consent Decree shall be effective when signed in writing by the United
States, the Settling Defendants responsible for compliance at the Covered Refinery or Covered
Refineries affected by the modification pursuant to Paragraph 6 above and the Applicable State
Co-Plaintiff. The United States shall file non-material modifications with the Court on a
periodic basis. For purposes of this Paragraph, non-material modifications include but are not
limited to modifications to the frequency of reporting obligations and modifications to schedules
that do not extend the date for compliance with emissions limitations following the installation of
control equipment, provided that such changes are agreed upon in writing between the United
States, Applicable State Co-Plaintiff and Settling Defendant pursuant to Paragraph 6 above. A


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modification that does no more than incorporate new regulatory requirements, language, or
citations is also a non-material modification. Material modifications to this Consent Decree shall
be in writing, signed by the United States, the Applicable State Co-Plaintiff, and the Settling
Defendants responsible for compliance at the Covered Refinery or Covered Refineries affected
by the modification pursuant to Paragraph 6 above, and shall be effective upon approval by the
Court.

     252. In the event that the requirements of Clean Air Act or regulations promulgated
thereunder are modified after the Date of Lodging, a Settling Defendant may submit to the
United States and Applicable Co-Plaintiff for review and approval under Section XVI (Review,
Approval, and Comment on Deliverables) a request for relief from its Consent Decree
obligations or to modify its Consent Decree obligations to conform to the current statutory or
regulatory requirements. Any modification of this Consent Decree proposed by a Settling
Defendant and approved by the United States and Applicable State Co-Plaintiff shall be
incorporated into and enforceable under this Consent Decree.

                                  XXI.     TERMINATION

      253. Certification of Completion: Applicable Sections. Prior to moving for Termination
under Paragraphs 257-259 below, the Settling Defendants responsible for compliance at each
Covered Refinery pursuant to Paragraph 6 above may seek to certify completion of one or more
of the following Sections of this Consent Decree applicable to that Refinery:

          a.    Section V.A (Anacortes Refinery Requirements)

          b.    Section V.B (Kapolei Refinery Requirements)

          c.    Section V.C (Kenai Refinery Requirements)

          d.    Section V.D (Mandan Refinery Requirements)

          e.    Section V.E (Martinez Refinery Requirements)

          f.    Section V.F (SLC Refinery Requirements)

          g.    Section VI.A (Leak Detection and Repair (LDAR) Program Enhancements)

          h.    Section VI.B (Requirements for Control of Flaring Events)

          i.    Section IX (Environmental Mitigation Projects)

      254. Certification of Completion: Settling Defendants’ Actions. If a Settling Defendant
concludes that any of the Sections of this Consent Decree identified in Paragraph 253 above have
been completed at a Covered Refinery, that Settling Defendant may submit a written report to
EPA and the Applicable State Co-Plaintiffs describing the activities undertaken and certifying
that the applicable Section(s) have been completed in full satisfaction of the requirements of this


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Consent Decree for that Covered Refinery. The report shall contain the following statement,
signed by a responsible corporate official of the Settling Defendant:

                       To the best of my knowledge, after appropriate
               investigation, I certify that the information contained in or
               accompanying this submission is true, accurate, and complete. I
               am aware that there are significant penalties for submitting false
               information, including the possibility of fine and imprisonment for
               knowing violations.

      255. Certification of Completion: EPA Actions. Upon receipt of a Settling Defendant’s
certification and after opportunity for comment by the Applicable State Co-Plaintiff, EPA shall
notify the Settling Defendant in writing whether the requirements set forth in the applicable
Section have been completed in accordance with this Consent Decree:

           a. If EPA concludes that the requirements have not been fully complied with, EPA
will notify the Settling Defendant in writing as to the activities that EPA believes must be
undertaken to complete the applicable Section of this Consent Decree. The Settling Defendant
shall perform all activities described in the notice, subject to the terms of this Consent Decree
and Settling Defendant’s right to invoke the dispute resolution procedures set forth in Section
XV (Dispute Resolution); and/or

           b. If EPA concludes that the requirements of the applicable Section have been
completed in accordance with this Consent Decree, EPA shall so certify in writing to the Settling
Defendant. This certification shall constitute the certification of completion of the applicable
Section or Part for purposes of this Consent Decree. The Parties recognize that ongoing
obligations under such Sections remain and necessarily continue (e.g., reporting, recordkeeping,
training, auditing requirements), and that a Settling Defendant’s certification is that it is in
current compliance with all such obligations.

     256. Certification of Completion: No Impediment to Stipulated Penalty Demand. Nothing
in Paragraphs 254-255 above shall preclude the United States or the State Co-Plaintiffs from
seeking stipulated penalties for a violation of any of the requirements of this Consent Decree
based on acts or omissions occurring prior to the issuance of a Certificate of Completion or if the
Certificate of Completion is based on inaccurate representations by a Settling Defendant. In
addition, nothing in Paragraphs 254-255 above shall permit Settling Defendants to fail to
implement any ongoing obligations under this Consent Decree regardless of whether a
Certification of Completion has been issued.

     257. Termination of Tesoro Obligations and Requirements Under this Consent Decree.

           a. The United States and Tesoro agree that certain emission limits and standards of
the 2005 Martinez Consent Decree applicable to the Martinez Refinery are due for termination
upon issuance of a revised Title V Permit incorporating such emission limits and standards. To
that end, the United States and Tesoro agree that, upon issuance of a Title V Permit that


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incorporates the emission limits and standards set forth in Appendix A-2 (2005 Consent Decree
Requirements Applicable to the Martinez Refinery), the United States and Tesoro shall jointly
move the Court for Termination of the provisions in Appendix A-2 of this Consent Decree
within sixty (60) Days, provided that Tesoro has paid any stipulated penalties demanded by the
United States for any violations of Appendix A-2.

          b. Termination of other Tesoro Obligations and Requirements Under this Consent
Decree. The remaining requirements and obligations of this Consent Decree may be terminated
as to Tesoro, Tesoro Logistics L.P., and the Tesoro Refineries, once Tesoro and Tesoro Logistics
L.P. have completed and satisfied all of the following requirements of this Consent Decree at all
Tesoro Refineries:

              i.    Installation and operation of control technology systems as specified in this
Consent Decree at all Tesoro Refineries;

               ii. Compliance with Section VI.A (ELDAR Program) for at least six years at
each of the Tesoro Refineries;

                 iii. Compliance with all other provisions of this Consent Decree applicable to
Tesoro Refineries contained in this Consent Decree, such compliance may be established for
specific parts of this Consent Decree in accordance with Paragraphs 253-256 above;

                iv. Payment of all penalties and other monetary obligations due under the terms
of this Consent Decree;

               v.    Completion of the Environmental Mitigation Projects under Section IX;

                vi. Application for and receipt of permits incorporating the requirements
established for all Tesoro Refineries under this Consent Decree as required by Section VII;

                vii. Operation of each Tesoro Refinery for at least one year of each unit in
compliance with the emission limits established herein and certification of such compliance for
each unit within the first progress report following the conclusion of the one-year compliance
period; and

               viii. Requirements set forth in Appendix A-2.




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     258. Termination of Par Obligations and Requirements Under this Consent Decree. The
requirements and obligations of this Consent Decree may be terminated as to Par and the Kapolei
Refinery once Par has completed and satisfied all of the following requirements of this Consent
Decree at the Kapolei Refinery:

         a. Installation and operation of control technology systems as specified in this
Consent Decree;

          b.    Compliance with Section VI.A. (ELDAR Program) for at least six years;

          c. Compliance with all other provisions contained in this Consent Decree at the
Kapolei Refinery, such compliance may be established for specific parts of this Consent Decree
in accordance with Paragraphs 253-256 above;

          d. Payment of all penalties and other monetary obligations due under the terms of
this Consent Decree;

         e. Application for and receipt of permits incorporating the requirements for the
Kapolei Refinery established under this Consent Decree as required by Section VII; and

           f.    Operation for at least one year of each unit in compliance with the emission
limits established herein and certification of such compliance for each unit within the first
progress report following the conclusion of the compliance period.

      259. Termination: Procedure. At such time as Tesoro or Par believe that they have satisfied
the requirements for Termination applicable to each set forth in Paragraphs 257-258 above
respectively, Tesoro or Par shall certify such compliance and completion to the United States and
the Applicable State Co-Plaintiffs in accordance with the certification language of Paragraph 254
above. Unless the United States or a State Co-Plaintiff objects in writing with specific reasons
within one-hundred and twenty (120) Days of receipt of Tesoro’s or Par’s certification under this
Paragraph, the Court may upon motion by Tesoro or Par order that the provisions of this Consent
Decree pertaining to that Party be terminated. If the United States or a State Co-Plaintiff objects
to the certification by Tesoro or Par, then the matter will be submitted to the Court for resolution
under Section XV (Dispute Resolution). In such case, Tesoro or Par shall bear the burden of
proving that this Consent Decree should be terminated.

                                   XXII. SIGNATORIES

      260. Each undersigned representative of Settling Defendants and the Assistant Attorney
General for the Environment and Natural Resources Division of the Department of Justice
certifies that he or she is fully authorized to enter into the terms and conditions of this Consent
Decree and to execute and legally bind the Party he or she represents to this document.

     261. This Consent Decree may be signed in counterparts, and its validity shall not be
challenged on that basis.



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                                XXIII. APPENDICES

    262. The following appendices are attached to and part of this Consent Decree.

Appendix A: Martinez Refinery

         A-1: SAP Monitoring Plan

         A-2: 2005 CD Appendix

Appendix B: LDAR Commercial Unavailability Appendix

Appendix C: Flaring

         C - 1.1: S-Drwgs

         C - 1.2: Gen-Eqa

         C - 1.3: NHVcz and NHVdil

         C - 1.6: Tip-Area-Eq

         C - 1.7: G-Drwg

         C - 1.9: Gas Chromatograph-Compounds

         C - 1.10: Tech-Specs

         C - 1.11: Waste Gas Mapping

         C - 1.14: Nelson Complexity Index

         C - 1.15: Roll-Sum-Aver

         C - 2.1: Covered Flares and Applicability Dates For Certain Consent Decree
                 Requirements

         C - 2.2: Large High Pressure Hydrocarbon Relief Vales

         C - 2.3: Combustion Efficiency Test Protocol for Kenai Refinery Air Assisted Flare

         C - 2.4: Refinery Specific Flare Cap Calculations

         C - 2.5: Reports for Emissions and Flare Combustion Efficiency Testing



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Appendix D: Mitigation Projects

          D-1: Camera Project

          D-2 School Bus Project

          D-3 SLC Mitigation Project

                                XXIV. FINAL JUDGMENT

      263. Upon approval and entry of this Consent Decree by the Court, this Consent Decree
shall constitute a final judgment of the Court as to the United States, the State Co-Plaintiffs, and
Settling Defendants.

       __________________________
       [_____________________]
       UNITED STATES DISTRICT JUDGE
       [_______] District of [_________]




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THE UNITED STATES HEREBY CONSENTS TO ENTRY OF THE CONSENT DECREE IN
UNITED STATES ET AL. v. TESORO ET AL., SUBJECT TO THE PUBLIC NOTICE
REQUIREMENTS OF 28 C.F.R. § 50.7

FOR THE UNITED STATES OF AMERICA:

    THE UNITED STATES DEPARTMENT OF JUSTICE

DATE: __________                      __________________________________
                                      JOHN C. CRUDEN
                                      Assistant Attorney General
                                      Environment & Natural Resources Division


DATE: __________
                                      ELIZABETH L. LOEB
                                      Senior Counsel
                                      Environmental Enforcement Section
                                      Environment & Natural Resources Division
                                      P.O. Box 7611
                                      Washington, D.C. 20044
                                      Elizabeth.Loeb@usdoj.gov
                                      (202) 616-8916

                                      RICHARD L. DURBIN, JR.
                                      United States Attorney

                                      ___________________________________
                                      SUSAN STRAWN
                                      Tex. Bar No. 19374330
                                      Assistant United States Attorney
                                      601 NW Loop 410, Ste 600
                                      San Antonio, TX 78216
                                      Tel. (210) 384-7388
                                      Fax (210)384-7312
                                      SStrawn@usa.doj.gov




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THE ENVIRONMENTAL PROTECTION AGENCY OFFICE OF ENFORCEMENT AND
COMPLIANCE ASSURANCE

DATE: __________                 ________________________________________
                                  CYNTHIA GILES
                                  Assistant Administrator
                                  Office of Enforcement and Compliance Assurance
                                  United States Environmental Protection Agency
                                  1200 Pennsylvania Avenue, N.W.
                                  Washington, D.C. 20460


DATE: __________                 ______________________________________
                                  SUSAN SHINKMAN
                                  Director, Office of Civil Enforcement
                                  United States Environmental Protection Agency
                                  1200 Pennsylvania Avenue, N.W.
                                  Washington, D.C. 20460


DATE: __________                 _______________________________________
                                  PHILLIP A. BROOKS
                                  Director, Air Enforcement Division
                                  Office of Civil Enforcement
                                  United States Environmental Protection Agency
                                  1200 Pennsylvania Avenue, N.W.
                                  Washington, D.C. 20460


DATE: __________                 _______________________________________
                                  MELANIE SHEPHERDSON
                                  Assistant Regional Counsel
                                  United States Environmental Protection Agency, Region 9
                                  75 Hawthorne St.
                                  San Francisco, CA 94105




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    THE ENVIRONMENTAL PROTECTION AGENCY REGION 8:

      Signature Pages: Region 8



DATE: __________




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      THE ENVIRONMENTAL PROTECTION AGENCY REGION 9:

DATE: __________                 ____________________________________
                                  JARED BLUMENFELD
                                  Regional Administrator
                                  United States Environmental Protection Agency, Region 9


                                  Of Counsel:

                                  THOMAS P. MINTZ
                                  Assistant Regional Counsel
                                  U.S. Environmental Protection Agency, Region 9
                                  75 Hawthorne Street
                                  San Francisco, California 94105




United States, et al. v. Tesoro, et al. (W.D. Tex) Consent Decree               Page 175
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    THE ENVIRONMENTAL PROTECTION AGENCY REGION 10:

DATE: __________                      ______________________________
                                      ALLYN STERN
                                      Regional Counsel
                                      U.S. Environmental Protection Agency, Region 10


                                      Of Counsel:

                                      SHIRIN VENUS GALLAGHER
                                      Assistant Regional Counsel
                                      U.S. Environmental Protection Agency, Region 10
                                      Office of Regional Counsel
                                      1200 Sixth Avenue, Suite 900
                                      Seattle, WA 98109
                                      206-553-4194




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THE STATE OF ALASKA HEREBY CONSENTS TO ENTRY OF THE CONSENT DECREE
IN UNITED STATES ET AL. v. TESORO ET AL., SUBJECT TO THE PUBLIC NOTICE
REQUIREMENTS OF 28 C.F.R. § 50.7


FOR THE STATE OF ALASKA

                                  CRAIG W. RICHARDS
                                  Attorney General
                                  State of Alaska

DATE: __________                 By: ___________________________
                                     JENNIFER A. CURRIE (Alaska Bar No. 0609056)
                                     Senior Assistant Attorney General
                                     [ADDRESS AND PHONE]


                                 [NAME]
                                 Director
                                 Alaska Department of Environmental Conservation

DATE: __________                 By: ______________________________
                                     DENISE KOCH
                                     Director
                                     Division of Air Quality
                                     Alaska Department of Environmental Conservation
                                     [address and phone]




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THE STATE OF HAWAII HEREBY CONSENTS TO ENTRY OF THE CONSENT DECREE
IN UNITED STATES ET AL. v. TESORO ET AL., SUBJECT TO THE PUBLIC NOTICE
REQUIREMENTS OF 28 C.F.R. § 50.7

FOR THE STATE OF HAWAII:


                                  DOUGLAS S. CHIN (Hawaii Bar No. 6465)
                                  Attorney General
                                  State of Hawaii

DATE: __________                 By: _________________________________
                                     HEIDI M. RIAN (Hawaii Bar No. 3473)
                                     WILLIAM F. COOPER (Hawaii Bar No. 4501)
                                     Deputy Attorneys General
                                     [address and phone]


                                  [DIRECTOR NAME]
                                  Director
                                  Hawaii Department of Health

DATE: __________                 By: ___________________________
                                     KEITH E. KAWAOKA, D. Env.
                                     Deputy Director for Environmental Health
                                     Environmental Health Administration
                                     P.O. Box 3378
                                     Honolulu, HI 96801-3378




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THE NORTHWEST CLEAN AIR AGENCY HEREBY CONSENTS TO ENTRY OF THE
CONSENT DECREE IN UNITED STATES ET AL. v. TESORO ET AL., SUBJECT TO THE
PUBLIC NOTICE REQUIREMENTS OF 28 C.F.R. § 50.7

FOR THE NORTHWEST CLEAN AIR AGENCY:

DATE: __________                 ________________________________
                                  LAUGHLAN H. CLARK
                                  WSBA #10996
                                  Carmichael Clark, P.S.
                                  1700 D Street
                                  Bellingham, WA 98227
                                  (360) 647-1500

DATE: __________                 ________________________________
                                  MARK ASMUNDSON
                                  Executive Director
                                  Northwest Clean Air Agency
                                  1600 South Second Street
                                  Mount Vernon, WA 98273
                                  (360) 428-1617




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TESORO ALASKA COMPANY LLC HEREBY CONSENTS TO ENTRY OF THE
CONSENT DECREE IN UNITED STATES ET AL. v. TESORO ET AL.,

FOR TESORO ALASKA COMPANY LLC:

      Signature Page: Tesoro Alaska




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TESORO LOGISTICS L.P. HEREBY CONSENTS TO ENTRY OF THE CONSENT DECREE
IN UNITED STATES ET AL. v. TESORO ET AL.,


FOR TESORO LOGISTICS, L.P.:

      Signature Page: Tesoro Logistics




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  TESORO REFINING & MARKETING COMPANY LLC HEREBY CONSENTS TO
  ENTRY OF THE CONSENT DECREE IN UNITED STATES ET AL. v. TESORO ET AL.,

  FOR TESORO REFINING & MARKETING COMPANY LLC:


         Signature Page: Tesoro Refining & Marketing




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PAR HAWAII REFINING, LLC HEREBY CONSENTS TO ENTRY OF THE CONSENT
DECREE IN UNITED STATES ET AL. v. TESORO ET AL.,


FOR PAR HAWAII REFINING, LLC:




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